                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re                                                                  Chapter 11

 PATRIOT NATIONAL INC., et al., 1                                       Case No. 18-10189 (KG)

                                      Debtors.                          (Jointly Administered)



                                         AFFIDAVIT OF SERVICE

        I, Daniel Kounin, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

        On March 30, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

     •   Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization [Docket No. 471]

     •   Notice of Filing of Blackline of Debtors' Third Amended Joint Chapter 11 Plan of
         Reorganization [Docket No. 472]

     •   Plan Supplement [Docket No. 473]

     •   Notice of Filing of Debtors' Third Amended Joint Chapter 11 Plan of Reorganization and
         Plan Supplement [Docket No. 474]

     •   Letter from the Official Committee of Unsecured Creditors of Patriot National, Inc., et al.
         to Unsecured Creditors of Patriot National, et al., dated March 30, 2018, a sample of
         which is attached hereto as Exhibit B

    On March 30, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served via First Class Mail on the Master Mailing List
attached hereto as Exhibit C and on the Schedule G Parties Service List attached hereto as
Exhibit D:



1.   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
     number, are: Patriot National, Inc. (1376), Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
     (2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc. (0045); TriGen Hospitality Group,
     Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
     Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760); CWIBenefits, Inc.
     (0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
     (0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
     Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors’ headquarters are located at
     401 East Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.
   •   Letter from the Official Committee of Unsecured Creditors of Patriot National, Inc., et al.
       to Unsecured Creditors of Patriot National, et al., dated March 30, 2018, a sample of
       which is attached hereto as Exhibit B

   •   Notice of Filing of Debtors' Third Amended Joint Chapter 11 Plan of Reorganization and
       Plan Supplement [Docket No. 474]

       On March 30, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served via First Class Mail on the Schedule G Parties
Service List attached hereto as Exhibit D:

   •   Notice of Filing of Plan Supplement [Docket No. 473]

    On March 30, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served via overnight mail on the banks, brokers, dealer
agents, nominees or their agents (collectively, the “Nominees”) identified on the service list
attached hereto as Exhibit E:

   •   Letter from the Official Committee of Unsecured Creditors of Patriot National, Inc., et al.
       to Unsecured Creditors of Patriot National, et al., dated March 30, 2018, a sample of
       which is attached hereto as Exhibit B

   •   Notice of Filing of Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization and
       Plan Supplement [Docket 474]


      The Nominees were provided with instructions and sufficient quantities of the
aforementioned document to distribute to the beneficial owners of the Debtors’ public securities.

       In addition to the hard copy service detailed above, on March 30, 2018, at my direction
and under my supervision, employees of Prime Clerk caused the following documents to be
served via email on the parties identified on the service list attached hereto as Exhibit F:

   •   Letter from the Official Committee of Unsecured Creditors of Patriot National, Inc., et al.
       to Unsecured Creditors of Patriot National, et al., dated March 30, 2018, a sample of
       which is attached hereto as Exhibit B

   •   Notice of Filing of Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization and
       Plan Supplement [Docket 474]




                          [Remainder of page intentionally left blank]
Exhibit A
                                                                                                                   Exhibit A
                                                                                                             Core/2002 Service List
                                                                                                            Served as set forth below

                                DESCRIPTION                                             NAME                                            ADDRESS                                                   EMAIL             METHOD OF SERVICE
                                                                                                              Attn: Matthew G. Summers, Laurel D. Roglen
                                                                                                              919 N. Market Street
                                                                                                              11th Floor                                                       summersm@ballardspahr.com
Counsel to CVI Investments, Inc.                                    Ballard Spahr LLP                         Wilmington DE 19801                                              roglenl@ballardspahr.com         Email
                                                                                                              Attn: Brett M. Amron
                                                                                                              One Southeast Third Avenue
Counsel to CareWorks Managed Care Services f/k/a MCMC LLC                                                     Suite 1400
and York Risk Services                                              Bast Amron LLP                            Miami FL 33131                                                   bamron@bastamron.com             Email
                                                                                                              Attn: Shawn M. Christianson, Esq.
                                                                                                              55 Second Street
                                                                                                              17th Floor
Counsel to Oracle America, Inc.                                     Buchalter, A Professional Corporation     San Francisco CA 94105‐3493                                      schristianson@buchalter.com      First Class Mail and Email
                                                                                                              Attn: Bradley J. Bondi
Counsel to Certain of the Members of the Board of Directors of                                                1990 K Street NW 
Patriot National, Inc., in Certain Litigation Matters Pending in                                              #950
Other Courts                                                        Cahill Gordon & Reindel LLP               Washington DC 20006                                              bbondi@cahill.com                Email
                                                                                                              Attn: Joel H. Levitin, Jason M. Hall, Richard A. Stieglitz Jr.,  jhall@cahill.com
Counsel to Certain of the Members of the Board of Directors of                                                Peter J. Linken                                                  jlevitin@cahill.com
Patriot National, Inc., in Certain Litigation Matters Pending in                                              Eighty Pine Street                                               rstieglitz@cahill.com
Other Courts                                                        Cahill Gordon & Reindel LLP               New York NY 10005                                                plinken@cahill.com               Email
                                                                                                              Attn: Alexandra D. Blye
                                                                                                              CityPlace Tower
                                                                                                              525 Okeechobee Boulevard, Suite 1200
Counsel to Fifth Third Bank                                         Carlton Fields Jordan Burt P.A.           West Palm Beach FL 33401‐6350                                    ablye@carltonfields.com          First Class Mail and Email
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                                                                                                              Corporate Center Three at International Plaza
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                                                                                                              Robert K. Scheinbaum, J. Christopher Henschel                    pallogramento@connellfoley.com
                                                                                                              56 Livingston Avenue                                             rscheinbaum@connellfoley.com
Counsel to Aspen Specialty Insurance Company                        Connell Foley LLP                         Roseland NJ 07311                                                jhenschel@connellfoley.com       Email
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                                                                                                              Harborside 5
                                                                                                              Ste. 2510
Counsel to Aspen Specialty Insurance Company                        Connell Foley LLP                         Jersey City NJ 07311                                             wdeveau@connellfoley.com         Email
                                                                                                              Attn: James D. Silver, William Scherer 
                                                                                                              633 South Federal Highway                                        JSilver@conradscherer.com
Counsel to Steven Mariano                                           Conrad & Scherer LLP                      Fort Lauderdale FL 33301                                         WScherer@conradscherer.com       Email
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                                                                                                              1105 North Market Street
Counsel to CareWorks Managed Care Services f/k/a MCMC LLC                                                     Suite 901
and York Risk Services                                              Cross & Simon, LLC                        Wilmington DE 19801                                              csimon@crosslaw.com              First Class Mail and Email
                                                                                                              Attn: Bankruptcy Department
                                                                                                              Carvel State Office Building
                                                                                                              820 N. French Street, 6th Floor
Delaware Attorney General                                           Delaware Attorney General                 Wilmington DE 19801                                              attorney.general@state.de.us     First Class Mail and Email


          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                                   Page 1 of 6
                                                                                                              Exhibit A
                                                                                                        Core/2002 Service List
                                                                                                       Served as set forth below

                                DESCRIPTION                                        NAME                                          ADDRESS                                           EMAIL                 METHOD OF SERVICE
                                                                                                         Attn: Zillah Frampton
                                                                                                         820 N. French Street
Delaware Division of Revenue                                    Delaware Division of Revenue             Wilmington DE 19801                                       FASNotify@state.de.us             First Class Mail and Email
                                                                                                         Corporations Franchise Tax
                                                                                                         P.O. Box 898
Delaware Secretary of State                                     Delaware Secretary of State              Dover  DE 19903                                           dosdoc_Ftax@state.de.us           First Class Mail and Email
                                                                                                         Attn: Bankruptcy Department
                                                                                                         820 Silver Lake Boulevard
                                                                                                         Suite 100
Delaware State Treasury                                         Delaware State Treasury                  Dover  DE 19904                                           statetreasurer@state.de.us        First Class Mail and Email
                                                                                                         Attn: Peter D. Wolfson
                                                                                                         1221 Avenue of the Americas
Counsel to The Travelers Indemnity Company                      Dentons LLP                              New York NY 10020‐1089                                    peter.wolfson@dentons.com         Email
                                                                                                         Attn: Sam J. Alberts
                                                                                                         1900 K Street, NW
Counsel to The Travelers Indemnity Company                      Dentons LLP                              Washington DC 20006                                       sam.alberts@dentons.com           Email
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Counsel to Fifth Third Bank                                     Gellert Scali Busenkell & Brown, LLC     Wilmington DE 19801                                       mbusenkell@gsbblaw.com            First Class Mail and Email
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                                                                                                         333 S.E. 2nd Ave.
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Connecticut General Life Insurance Company and QualCare, Inc.   GrayRobinson, P.A.                       Miami FL 33131                                            leyza.blanco@gray‐robinson.com    Email
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Counsel to Kasowitz Benson Torres LLP                           Hogan♦McDaniel                           Wilmington DE 19806                                       gfmcdaniel@dkhogan.com            Email
                                                                                                         Attn: Kathryn A. Coleman, Christopher Gartman, Jacob 
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                                                                                                         One Battery Park Plaza                                    chris.gartman@hugheshubbard.com
Co‐Counsel to Debtor                                            Hughes Hubbard & Reed LLP                New York NY 10004‐1482                                    jacob.gartman@hugheshubbard.com   Email
                                                                                                         Centralized Insolvency Operation
                                                                                                         2970 Market Street
                                                                                                         Mail Stop 5 Q30 133
IRS Insolvency Section                                          Internal Revenue Service                 Philadelphia PA 19104‐5016                                                                  First Class Mail
                                                                                                         Centralized Insolvency Operation
                                                                                                         P.O. Box 7346
IRS Insolvency Section                                          Internal Revenue Service                 Philadelphia PA 19101‐7346                                                                  First Class Mail

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Counsel to MSA Administrators, LLC                              Jenkins & Kling, P.C.                    St. Louis MO 63105                                        lrobb@jenkinskling.com            Email
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Counsel to Kasowitz Benson Torres LLP                           Kasowitz Benson Torres LLP               New York NY 10019                                         MStein@kasowitz.com               Email




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                              Page 2 of 6
                                                                                                              Exhibit A
                                                                                                        Core/2002 Service List
                                                                                                       Served as set forth below

                               DESCRIPTION                                             NAME                                       ADDRESS                                           EMAIL                 METHOD OF SERVICE
                                                                                                         Attn: Robert R. Riggs, Stephen G. Preonas
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Counsel to Karen Rigsby, as Trustee of the Marsh Revocable Trust                                         Suite 300                                                rriggs@katzoffriggs.com
of 2003 and Donald P. Steinmeyer                                  Katzoff & Riggs LLP                    Emeryville CA 94608                                      spreonas@katzoffriggs.com           First Class Mail and Email
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                                                                                                         1114 Avenue of the Americas                              gfinizio@kilpatricktownsend.com
Counsel to Official Committee of Unsecured Creditors              Kilpatrick Townsend & Stockton LLP     New York NY 10036‐7703                                   kmoynihan@kilpatricktownsend.com    Email
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administrative agent for the proposed DIP Lenders and for the                                            Suite 1800                                               mcguire@lrclaw.com
prepetition secured lenders                                       Landis Rath & Cobb LLP                 Wilmington DE 19801                                      cree@lrclaw.com                     First Class Mail and Email
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                                                                                                         Attn: Serrin A. Turner, Jeffrey T. Mispagel
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Counsel to Hudson Bay Master Fund Ltd                             Latham & Watkins LLP                   New York NY 10022                                        jeffrey.mispagel@lw.com             Email
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Counsel to the Gingello/Kayce SDNY Plaintiffs: Court‐Appointed                                           300 Delaware Avenue
Lead Plaintiffs, ODS Capital LLC, Barry A. Smith and Sunil Shah   Margolis Edelstein                     Wilmington DE 19801                                         jhuggett@margolisedelstein.com   Email
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                                                                                                         Humiston, Michael P. Kelly, Andrew S. Dupre, Alexander  shumiston@mccarter.com
                                                                                                         M. Krischik, Daniel M. Silver                               mkelly@mccarter.com
Counsel to Cigna Health and Life Insurance Company,                                                      Renaissance Centre                                          adupre@mccarter.com
Connecticut General Life Insurance Company and QualCare, Inc.,                                           405 N. King Street, 8th Floor                               akrischik@mccarter.com
Henry Wasik and Aric McIntire, and MSA Administrators, LLC      McCarter & English, LLP                  Wilmington DE 19801                                         dsilver@mccarter.com             Email
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The Missouri Department of Revenue                                Missouri Department of Revenue         Jefferson City MO 65105‐0475                                deecf@dor.mo.gov                 Email
                                                                                                         Attn: John A. Moffa
                                                                                                         1776 N. Pine Island Road
                                                                                                         #102                                                        John@moffa.law
Counsel to Alvin Harvard                                          Moffa & Breuer, PLLC                   Plantation FL 33322                                         allusers@Moffa.law               Email
                                                                                                         Attn: Carl N. Kunz, III, Brenna A. Dolphin
                                                                                                         500 Delaware Avenue, Suite 1500
                                                                                                         P.O. Box 2306                                               ckunz@morrisjames.com
Counsel to Official Committee of Unsecured Creditors              Morris James LLP                       Wilmington DE 19899‐2306                                    bdolphin@morrisjames.com         Email


         In re:  Patriot National, Inc., et al.
         Case No. 18‐10189 (KG)                                                                               Page 3 of 6
                                                                                                                  Exhibit A
                                                                                                            Core/2002 Service List
                                                                                                           Served as set forth below

                                DESCRIPTION                                          NAME                                            ADDRESS                                           EMAIL               METHOD OF SERVICE
                                                                                                             Attn: Christopher R. Momjian, Senior Deputy Attorney 
                                                                                                             General
                                                                                                             The Phoenix Building
Counsel to Commonwealth of Pennsylvania, Department of                                                       1600 Arch Street, Suite 300
Revenue                                                           Office of Attorney General                 Philadelphia PA 19103                                     crmomjian@attorneygeneral.gov   Email
                                                                                                             Attn:  Linda J. Casey
                                                                                                             844 King Street
                                                                                                             Suite 2207
United States Trustee District of Delaware                        Office of the United States Trustee        Wilmington DE 19801                                       Linda.Casey@usdoj.gov           First Class Mail and Email
Counsel to Quentin P. Smith, Jr., Charles H. Walsh, and                                                      Four Embarcadero Center
Christopher A. Pesch                                              Ori Katz                                   San Francisco CA 94111                                    okatz@sheppardmullin.com        First Class Mail and Email

                                                                                                             Attn: Laura Davis Jones, James O'Neill, Peter J. Keane    ljones@pszjlaw.com
                                                                                                             919 North Market Street, 17th Floor                       jo'neill@pszjlaw.com
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Co‐Counsel to Debtor                                              Pachulski Stang Ziehl & Jones LLP          Wilmington DE 19899‐8705                                  joneill@pszjlaw.com             Email
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                                                                                                             1601 Elm Street
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Counsel to Mbago Kaniki                                           Reid Collins Tsai LLP                      Dallas TX 75201                                           emadden@rctlegal.com            Email
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                                                                                                             Ramos, Brett M. Haywood                                   nolen@rlf.com
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                                                                                                             920 North King Street                                     ramos@rlf.com
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                                                                                                             Attn: Norman M. Monhait, Edward B. Rosenthal
                                                                                                             919 N. Market Street, Suite 1401
                                                                                                             P.O. Box 1070                                             nmonhait@rmgglaw.com
Counsel to Mbago Kaniki                                           Rosenthal, Monhait & Goddess, P.A.         Wilmington DE 19899‐1070                                  erosenthal@rmgglaw.com          Email

Counsel for Cerberus Business Finance, LLC, as the administrative                                            Attn: Adam C. Harris, Tae Kim, Lucy F. Kweskin, Esquire   adam.harris@srz.com
agent for the proposed DIP Lenders and for the prepetition                                                   919 Third Avenue                                          tae.kim@srz.com
secured lenders                                                    Schulte Roth & Zabel LLP                  New York NY 10022                                         lucy.kweskin@srz.com            First Class Mail and Email
                                                                                                             Secretary of the Treasury
                                                                                                             100 F Street, NE
Securities and Exchange Commission ‐ Headquarters                 Securities & Exchange Commission           Washington DC 20549                                       secbankruptcy@sec.gov           First Class Mail and Email
                                                                                                             Attn: Bankruptcy Department
                                                                                                             Brookfield Place
                                                                  Securities & Exchange Commission ‐ NY      200 Vesey Street, Suite 400                               bankruptcynoticeschr@sec.gov
Securities and Exchange Commission ‐ Regional Office              Office                                     New York NY 10281‐1022                                    NYROBankruptcy@SEC.GOV          First Class Mail and Email




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                                  Page 4 of 6
                                                                                                                   Exhibit A
                                                                                                             Core/2002 Service List
                                                                                                            Served as set forth below

                                DESCRIPTION                                         NAME                                               ADDRESS                                            EMAIL               METHOD OF SERVICE
                                                                                                              Attn: Bankruptcy Department
                                                                                                              One Penn Center
                                                                 Securities & Exchange Commission ‐           1617 JFK Boulevard, Suite 520
Securities and Exchange Commission ‐ Regional Office             Philadelphia Office                          Philadelphia PA 19103                                       secbankruptcy@sec.gov           First Class Mail and Email
                                                                                                              Attn: Thomas M. Horan
                                                                                                              300 Delaware Avenue
                                                                                                              Suite 1370
Counselt to Hudson Bay Master Fund Ltd                           Shaw Fishman Glantz & Towbin LLC             Wilmington DE 19801                                         thoran@shawfishman.com          Email
                                                                                                              Attn: Kandace Watson
                                                                                                              12275 El Camino Real
Counsel to Quentin P. Smith, Jr., Charles H. Walsh, and                                                       Suite 200
Christopher A. Pesch                                             Sheppard, Mullin, Richter & Hampton LLP      San Diego CA 92130                                          kwatson@sheppardmullin.com      First Class Mail and Email
                                                                                                              Attn: Dana S. Plon
                                                                                                              123 South Broad Street
                                                                                                              Suite 2100
Counsel to Plymouth TFC, General Partnership                     Sirlin Lesser & Benson, P.C.                 Philadelphia PA 19109                                       dplon@sirlinlaw.com             Email
                                                                                                              Attn: Kathleen M. Miller 
                                                                                                              1000 West Street, Suite 1501
                                                                                                              P.O. Box 410 
Counsel to Steven Mariano                                        Smith, Katzenstein & Jenkins LLP             Wilmington DE 19899                                         kmiller@skjlaw.com              Email
                                                                                                              Attn: Bayard J. Snyder, Esq.
                                                                                                              3801 Kennett Pike
                                                                                                              Suite 201, Building C
Counsel to Aspen Specialty Insurance Company                     Snyder & Associates, P.A.                    Wilmington DE 19801                                         snyder90@aol.com                Email
                                                                                                              Attn: James E. Sorenson, D. Tyler Van Leuven, J. Blair 
                                                                                                              Boyd
                                                                                                              P.O. Box 3637
Counsel to Central Florida Educators Federal Credit Union        Sorenson Van Leuven, PLLC                    Tallahassee FL 32315‐3637                                   bk@svllaw.com                   Email

                                                                                                              Attn: Frederick B. Rosner, Esq., Scott J. Leonhardt, Esq.
Counsel to the Florida Department of Financial Services, Division                                             824 N. Market Street
of Rehabilitation and Liquidation (Department) as Receiver of                                                 Suite 810                                                   rosner@teamrosner.com
Guarantee Insurance Company                                        The Rosner Law Group LLC                   Wilmington DE 19801                                         leonhardt@teamrosner.com        First Class Mail and Email
                                                                                                              Attn: Adam D. Wolper, Esq.
                                                                                                              347 Mt. Pleasant Avenue
                                                                 Trenk, DiPasquale, Della Fera & Sodono,      Suite 300
Counsel to Cobb B., LLC, d/b/a Lamb Insurance Services           P.C.                                         West Orange NJ 07052                                        awolper@trenklawfirm.com        Email
                                                                                                              Attn: Alan S. Maza
                                                                                                              New York Regional Office
                                                                                                              200 Vesey Street, Suite 400
Counsel to U.S. Securities and Exchange Commission               U.S. Securities and Exchange Commission      New York NY 10281                                           mazaa@sec.gov                   Email
                                                                                                              Charles Oberly c/o Ellen Slights
                                                                                                              1007 Orange Street, Suite 700
                                                                                                              P.O. Box 2046
United States Attorneys Office for the District of Delaware      US Attorney for Delaware                     Wilmington DE 19899‐2046                                    usade.ecfbankruptcy@usdoj.gov   First Class Mail and Email




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                                   Page 5 of 6
                                                                                                         Exhibit A
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below

                                DESCRIPTION                                 NAME                                              ADDRESS                                       EMAIL       METHOD OF SERVICE

                                                                                                    Attn: James L. Patton, C. Barr Flinn, Kara Hammond Coyle bankfilings@ycst.com
                                                                                                    Rodney Square                                            jpatton@ycst.com
Counsel to Quentin P. Smith, Jr., Charles H. Walsh, and                                             1000 North King Street                                   bflinn@ycst.com
Christopher A. Pesch                                       Young Conaway Stargatt & Taylor, LLP     Wilmington DE 19801                                      kcoyle@ycst.com        First Class Mail and Email




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                         Page 6 of 6
Exhibit B
                                     The Official Committee of Unsecured
                                    Creditors of Patriot National, Inc., et al.
                                   c/o Kilpatrick Townsend & Stockton LLP
                               The Grace Building, 1114 Avenue of the Americas
                                          New York, NY, 10036-7703

March 30, 2018

To:       All Unsecured Creditors of Patriot National, Inc., et al.
Re:       Patriot National, Inc., et al., Chapter 11 Case No. 18-10189 (KG), Bankr. D. Del.
Dear Unsecured Creditors:
        The Official Committee of Unsecured Creditors (the “Committee”) of Patriot National, Inc., et al.
(the “Debtors”) submits this letter to all unsecured creditors concerning their consideration of whether to
vote in favor of the Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization [Docket No. 471]
(the “Amended Plan”).1
 THE COMMITTEE SUPPORTS THE AMENDED PLAN, INCLUDING THE AMENDED
 PLAN’S TREATMENT OF UNSECURED CREDITORS OF THE DEBTORS, AND URGES
 ALL UNSECURED CREDITORS TO VOTE TO ACCEPT THE AMENDED PLAN.
A.      Background
        On January 30, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for relief under
chapter 11 of Title 11, United States Code (the “Bankruptcy Code”).
        On February 16, 2018, the Office of the United States Trustee for Region 3 (the “U.S. Trustee”)
appointed a statutory committee of unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy
Code.
        The Committee has retained the following proposed professionals: (i) the law firm of Kilpatrick
Townsend & Stockton LLP as its lead counsel; (ii) the law firm of Morris James LLP as its Delaware
counsel; and (iii) Province Inc. as its financial advisor. The members of the Committee have devoted a
considerable amount of their own time working on these cases to protect the rights of all unsecured
creditors.
B.      The Plan and Disclosure Statement
        On the Petition Date, the Debtors filed the Joint Chapter 11 Plan of Reorganization [Docket No.
15], which was amended on March 9, 2018 [Docket No. 333] and on March 13, 2018 [Docket No. 382],
and further amended on March 30, 2018 [Docket No. 471]. On January 31, 2018, the Debtors filed the
Disclosure Statement of Patriot National, Inc., and Its Affiliated Debtors [Docket No. 16], which was
amended on March 9, 2018 [Docket No. 335] and March 14, 2018 [Docket No. 383] (as amended, the
“Disclosure Statement”). The Amended Plan is a plan of reorganization for the Debtors that attempts to
implement the transactions contemplated in that certain pre-Petition Date restructuring support agreement
entered into by the Debtors and the Debtors’ prepetition First Lien Lenders and First Lien Agent, Cerberus
Business Finance, LLC.
         The Amended Plan contemplates, among other restructuring transactions, the conversion of
approximately “$70.8 million to 81.5 million” of indebtedness related to the First Lien Lenders claim into
100% of the reorganized Debtors’ equity interests and potential recovery to unsecured creditors in the form
of distributions from a litigation trust (the “Litigation Trust”).
         The Amended Plan contemplates that the Litigation Trust will be vested with the claims pending
in certain prepetition derivative actions2 and other Litigation Claims that “include, but are not limited to,
all potential Causes of Action that the Debtors may have against certain of their current and former officers

1.    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Plan.
2.    The prepetition actions include McIntire, et al. v. Mariano, et al., No. 18-CV-60075-BB (S.D. Fla.); and Wasik
      v. Mariano, et al., C.A. No. 12953-VCL (Del. Ch.).
and directors, attorneys, accountants, Mr. Mariano and other third parties arising from (i) the events leading
to the commencement of these Chapter 11 Cases . . . (ii) the events leading to the commencement of GIC’s
Receivership Proceeding, (iii) the events leading to the IPO, (iv) the corporate acquisitions made by the
Debtors following the IPO, (v) the Debtors’ financial reporting prior to the commencement of these Chapter
11 Cases, and (vi) breaches of fiduciary duties prior to the commencement of these Chapter 11 Cases. The
Litigation Claims also include any actions to avoid or recover transfers made by the Debtors in the relevant
periods prior to the Petition Date.”
        The Litigation Trust will be controlled by the Litigation Oversight Committee which, pursuant to
the Amended Plan, will be comprised of three members: (a) one member selected by the First Lien Agents
and the First Lien Lenders, (b) one member selected by the Committee, and (c) one member who shall be
independent, selected by the First Lien Agents and First Lien Lenders, with the consent of the Committee.
Proceeds of the Litigation Trust will be distributed in the following order:
     1. “first, to the extent not previously paid from proceeds of the Litigation Trust Facility, all accrued
        and unpaid Litigation Trust Expenses included in the Litigation Trust Budget;
     2. second, to the repayment of the aggregate amount of the outstanding obligations under the
        Litigation Trust Facility;
     3. third, from the first $5 million available for distribution to the Holders of Allowed First Lien Lender
        Deficiency Claim and Allowed Class 5 General Unsecured Claims, ratably (a) 60% to the Holders
        of Allowed First Lien Lender Deficiency Claims and (b) 40% to the Holders of Allowed Class 5
        General Unsecured Claims;
     4. fourth, from the next $5 million available for distribution to the Holders of Allowed First Lien
        Lender Deficiency Claims and Allowed Class 5 General Unsecured Claims, ratably (a) 70% to the
        Holders of Allowed First Lien Lender Deficiency Claims and (b) 30% to the Holders of Allowed
        Class 5 General Unsecured Claims; and
     5. thereafter, from all funds available for distribution to the Holders of Allowed First Lien Lender
        Deficiency Claims and Allowed Class 5 General Unsecured Claims, ratably (a) 80% to the Holders
        of Allowed First Lien Lender Deficiency Claims and (b) 20% to the Holders of Allowed Class 5
        General Unsecured Claims.
     6. To the extent that the Allowed First Lien Lender Deficiency Claims are fully satisfied, any
        additional recoveries will be distributed to the Holders of Allowed Class 5 General Unsecured
        Claims. To the extent that Holders of Allowed Class 5 General Unsecured Claims are fully
        satisfied, any additional recoveries will be distributed to the Holders of Allowed First Lien Lender
        Deficiency Claims. For the avoidance of doubt, no holder of an Allowed Claim will receive
        payment in excess of the Allowed amount of their Claim.”
        A hearing was held on March 12, 2018 to consider approval of the Disclosure Statement. On
March 14, 2018, the Court entered an order approving the Disclosure Statement [Docket No. 381]
establishing procedures for the solicitation and tabulation of votes to accept or reject the Amended Plan,
and establishing deadlines and procedures for filing objections to confirmation of the Amended Plan.
C.       The Committee’s Views
         The Committee recommends that all holders of Class 5 General Unsecured Claims vote in favor of
the Amended Plan. The Amended Plan, which includes input and comments from the Committee, improves
the treatment afforded to the Holders of Allowed Class 5 General Unsecured Claims by, among other things:
(i) modifying the Litigation Proceeds Waterfall as set forth above; and (ii) providing that neither the DIP
Facility nor the Exit Facility will be repaid with Litigation Trust Assets.
        In addition, the Amended Plan also (i) modifies the process by which the Litigation Trustee will be
selected to provide that the Litigation Trustee will be selected by the First Lien Agents and shall be
     reasonably acceptable to the Committee, (ii) modifies the composition of the Litigation Trust Oversight
     Committee such that one member shall be selected by the First Lien Agents, one member shall be selected
     by the Committee, and one independent member shall be selected by the First Lien Agents with the consent
     of the Committee (such consent not to be unreasonably withheld), and (iii) modifies the definition of
     “Released Party” to include the Committee’s professionals.
              In light of the foregoing, the Committee believes that the Amended Plan is in the best
     interests of the Debtors’ unsecured creditors and the Committee recommends that all unsecured
     creditors VOTE FOR the Amended Plan by indicating your acceptance of the A m e n d e d Plan on
     the ballot that you received from the Debtors. Your vote to ACCEPT the Plan is crucial regardless
     of the size of your claim.
             Of course, before you cast your ballot, you should review the Amended Plan, the Disclosure
     Statement and the exhibits to the Disclosure Statement in their entirety, and you may want to consult your
     own legal and financial professionals. This letter is not intended or offered as legal advice as to any specific
     claim or the treatment of such specific claim under the Plan. It has been prepared for informational
     purposes only.
             By this letter, the Committee is expressing its support of the Amended Plan; however, this letter
     does not necessarily reflect the views of any individual Committee member, each of which reserves any
     and all of its rights.
           If you have any questions regarding voting procedures or otherwise, please contact counsel to the
     Committee, David M. Posner at (212) 775-8764.
                                                              Very truly yours,



                                                              THE OFFICIAL COMMITTEE OF UNSECURED
                                                              CREDITORS OF PATRIOT NATIONAL, INC.,
                                                              ET AL.

     YOU ARE URGED TO CAREFULLY READ THE AMENDED PLAN. THE DESCRIPTION OF
     THE AMENDED PLAN IN THIS LETTER IS INTENDED TO BE ONLY A SUMMARY.

     THIS COMMUNICATION DOES NOT CONSTITUTE, AND SHALL NOT BE CONSTRUED AS,
     A SOLICITATION BY ANY INDIVIDUAL MEMBER OF THE COMMITTEE.




If you have any questions with respect to this notice, you may contact the Debtors’ claims agent, Prime Clerk LLC
  (“Prime Clerk”) at (855) 631-5360 or, if calling from outside the United States or Canada, at (347) 897-3454, by
                email at patnatinfo@primeclerk.com, or visit https://cases.primeclerk.com/patnat.
Exhibit C
                                                                                                                  Exhibit C
                                                                                                             Master Mailing List
                                                                                                          Served via First Class Mail
 MMLID              NAME                                          ADDRESS 1                  ADDRESS 2               ADDRESS 3          ADDRESS 4                CITY    STATE   POSTAL CODE   COUNTRY
5462939 1‐2‐1 Claims Management                    444 Executive Center Blvd. Suite 125                                                             El Paso             TX       79902

5459037 1ST CLASS INSURANCE INC                    1140 Woodruff Rd                       Pmb 154 The Pointe                                        Greenville          SC       29607
5459531 1ST CLASS INSURANCE INC                    1155 Tampa Road                                                                                  Palm Harbor         FL       34683
           20*LAROCCA AND ASSOCIATES 
5460309 INC                                        3696 N Federal Highway, Suite 202                                                                Fort Lauderdale     FL       33308

5459532 3 COAST INSURANCE AGENCY                   P.O Box 593                                                                                      Montclair           NJ       07042
5460786 360 RISK MANAGEMENT INC                    21500 Haggerty Rd., Ste. 140                                                                     Northville          MI       48167
           3P Claims Management ‐ 
5462940 Cambridge                                  857 Calle Pluma                                                                                  San Clemente        CA       92673
        3RD MILLENNIUM INS & 
5459533 FINANCIAL SVS INC                          10001 Lake Forest Blvd, Suite 609                                                                New Orleans         LA       70127
                                                   401 EAST LAS OLAS BLVD, 16TH FLOOR, 
5462941 401 EAST OLAS LLC                          SUITE 1600                                                                                       FORT LAUDERDALE     FL       33301

5459534 4M INSURANCE SOLUTIONS LLC 2909 NW 156th Street                                                                                             Edmond              OK       73013

5459535 5 STAR SPECIALTY PROGRAM                   906 S. KIRKWOOD ROAD                                                                             ST. LOUIS           MO       63122
        5 STAR SPECIALTY 
        PROGRAMDIVISION CRC 
5460655 INSURANCE SERVICESINC                      158 N. Harbor City Blvd                                                                          Melbourne           FL       32935
                                                                                          PMB 154 THE 
5459529    5500 TAX GROUP INC                      1140 WOODRUFF RD                       POINTE                                                    GREENVILLE          SC       29607
5460298    59*IOA‐ATLANTA                          100 Galleria Parkway, Suite 600                                                                  Atlanta             GA       30339
5460235    A & E BROKERAGE                         3303 31st Ave                                                                                    Astoria             NY       11106
5460236    A&A UNDERWRITERS INC                    8778 SW Eight Street                                                                             Miami               FL       33174
           A&D ALL‐LINES INSURANCE 
5460656    ASSOCIATES INC                          5600 SW 135th Ave. #106                                                                          Miami               FL       33183
5733576    A.P. FISKE, CPA,P.A.                    1000 S. PINE ISLAND ROAD               SUITE 440                                                 PLANTATION          FL       33324
5460948    AARHUS, MICHAEL                         72‐68 WATSESSING                       NUMBER 17                                                 BELLEVILLE          NJ       07109
5459530    AASCIF                                  100 WEST TOWN RIDGE PARKWAY                                                                      SANDY               UT       84070

5460237 ABACOA INSURANCE GROUP                     8000 NW 7 Street. #202                                                                           Miami               FL       33126
5460834 ABBOTT, MARIE                              224 WOODHOUSE LANE                                                                               DELAND              FL       32724
5461278 ABBOTT, ROBERT                             35 FAWN HILL DRIVE                                                                               ANDERSON            SC       29621
5461603 ABBOTT, TERESA                             4037 LAUADA DRIVE                                                                                DOUGLASVILLE        GA       30135
5463413 ABBOTT‐HEALY, CHRISTINE                    1107 ROCK SPRINGS DRIVE                                                                          JOLIET              IL       60435
        Abercrombie, Simmons and 
5462944 Gillette                                   5300 Hollister St                                                                                Houston             TX       77040
        Abercrombie, Simmons and 
5462945 Gillette ‐ FL                              3390 Kori Rd. Suite 10                                                                           Jacksonville        FL       32257




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                                 Page 1 of 174
                                                                                                                   Exhibit C
                                                                                                            Master Mailing List
                                                                                                         Served via First Class Mail
 MMLID                     NAME                                   ADDRESS 1                 ADDRESS 2                ADDRESS 3         ADDRESS 4             CITY    STATE   POSTAL CODE   COUNTRY
           Abercrombie, Simmons, and 
5462946    Gillette ‐ GA                           130 Canal Street, STE 104                                                                       Pooler           GA       31322
           Abercrombie, Simmons, and 
5462947    Gillette ‐ Harris County                1310 Prairie St , Suite 422                                                                     Houston          TX       77002
           Abercrombie, Simmons, and 
5462948    Gillette ‐ TX                           5300 Hollister St, Suite 410                                                                    Houston          TX       77040
5462820    ABERNATHY, GAIL                         4425 SW 103RD CT.                                                                               GAINESVILLE      FL       32608
5460238    ABI INSURANCE AGENCY                    7165 E. University Drive. Suite 170                                                             Mesa             AZ       85207
5733577    ABI INSURANCE AGENCY                    911 WEST GRAND AVENUE                                                                           HOT SPRINGS      AR       71913

5460231 ABILITY SERVICE AGENCY INC                 2075 Grand Avenue                                                                               Baldwin          NY       11510
5461583 ABRAHAMIAN, TANIA                          13665 OTTOMAN STREET                                                                            ARLETA           CA       91331
                                                                                         20 Montchanin Rd., 
5458954 Abrams & Bayliss LLP                       Kevin Abrams                          Suite 200                                                 Wilmington       DE       19807

5460657 ABS INSURANCE CONSULTANTS 7500 NW 25 Street, Suite 256                                                                                     Doral            FL       33122
        ABSOLUTE INSURANCE OF 
5733578 PALM BEACH COUNTY INC                      3005 SOUTH FEDERAL HIGHWAY                                                                      DELRAY BEACH     FL       33483

5460787 ACC HALL INTERNATIONAL INC 200 SE 1st St, Ste 601                                                                                          Miami            FL       33131

5460232 ACCESS INSURANCE GROUP INC 8726 NW 26th St., Suite11                                                                                       Doral            FL       33172
        ACCESS TRANSPORT SERVICES 
5733579 HOLDING, INC               3210 LAKE EMMA ROAD                                   SUITE 3090                                                LAKE MARY        FL       32746
        ACCLAMATION INSURANCE 
5733580 MANAGEMENT                 27943 SECO CANYON RD                                                                                            SANTA CLARITA    CA       91350
        ACCLAMATION INSURANCE 
5459528 MANAGEMENT                 P.O. Box 269120                                                                                                 Sacramento       CA       95827

5462950 ACCLIMATION INS MGT                        Jeff Head                             28159 Ave Stanford #250                                   Valencia         CA       91355
5460647 ACCOUNT SERVICES GROUP                     P.O. BOX 3304                                                                                   RIDGELAND        MS       39158
5733581 ACCOUNTEMPS                                12400 COLLECTIONS CENTER DRIVE                                                                  CHICAGO          IL       60693
5462951 ACE COMPANIES                              150 East Highway 67, Suite 210                                                                  Duncanville      TX       75137
5460233 ACENTRIA INC                               4634 GULFSTARR DR.                                                                              DESTIN           FL       32541
5460234 ACENTRIA INC (ISURE)                       4634 Gulfstarr Drive                                                                            Destin           FL       32541
        ACHING, JACQUELINE 
5461986 BETANCUR                                   8108 NUTMEG WAY                                                                                 TAMARAC          FL       33321
5733582 ACQUIRENT, LLC                             1603 ORRINGTON AVE                    SUITE 500                                                 EVANSTON         IL       60201
        ACRISURE LLC DBA ACHS 
5460648 INSURANCE                                  PO Box 2987                                                                                     Evans            GA       30809‐2987

5460229 ACRISURE LLC DBA INSOURCE                  9500 S. Dadeland Blvd                                                                           Miami            FL       33156




          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                                Page 2 of 174
                                                                                                               Exhibit C
                                                                                                          Master Mailing List
                                                                                                       Served via First Class Mail
 MMLID                     NAME                                   ADDRESS 1                ADDRESS 2              ADDRESS 3          ADDRESS 4                CITY   STATE   POSTAL CODE   COUNTRY

           ACRISURE LLC DBA LUISI 
5460230 INSURANCE BROKERAGE INC                    201 Edward Curry Avenue              Suite 201                                                Staten Island       NY      10314

           ACRISURE LLC DBA LUISI 
5459524 INSURANCE BROKERAGE INC                    611 Midland Ave.                                                                              Staten Island       NY      10306
        ACRISURE LLC DBA RPM 
5459525 INSURANCE AGENCY                           201 Edward Curry Avenue, Suite 201                                                            Staten Island       NY      10314

           ACRISURE LLC DBA THE DUCEY 
5460225 INSURANCE AGENCY INC                       172 Main Street                                                                               Nanuet              NY      10954

           ACRISURE LLC DBA THE DUCEY 
5459526 INSURANCE AGENCY INC           43 S Liberty Dr.                                                                                          Stony Point         NY      10980
           ACRISURE LLC DBA THE 
5460649    ROBBINS GROUP               330 Superior Mall                                                                                         Port Huron          MI      48060
           ACRISURE LLC DBA THE 
5459521    SIGNATURE                   501 Franklin Avenue, Suite 218                                                                            Garden City         NY      11530
           ACRISURE LLC DBA THE 
5460650    WINFIELD GROUP              3 Corporate Drive, Suite 200                                                                              Clifton Park        NY      12065
           ACRISURE OF CALIFORNIA DBA 
           SURH RISK SVS OF CA INS 
5460226    BROKERS                     5300 Stevens Creek Rd, Floor 3                                                                            San Jose            CA      95129
           ACRISURELLC DBA SHINBERG 
5460299    AGENCY                      2163 University Drive. Suite 200                                                                          Okemos              MI      48864
           ACTIVE CENTURY INSURANCE 
5460227    AGENCY LLC                  523 32nd St.                                                                                              Union City          NJ      07087
5462952    Acuity                      Angie Zellner                                    P.O. Box 58                                              Sheboygan           WI      53081
5462953    Acuity                      Craig Snyder                                     P.O. Box 58                                              Sheboygan           WI      53081
5462954    Acuity                      Danni Williams                                   P.O. Box 58                                              Sheboygan           WI      53081
5462955    Acuity                      Scott Van Norwick                                P.O. Box 58                                              Sheboygan           WI      53081
5460651    ADA INSURANCE CENTER        7275 Bronson Street SE                                                                                    Ada                 MI      49301
5462903    ADAMO, GREGORY              2661 SE HAMDEN RD                                                                                         PORT ST. LUCIE      FL      34952
5461325    ADAMS, ROXELLA              1648 LEESBURG BLVD                                                                                        FRUITLAND PK        FL      34731
5461666    ADERENTE, THOMAS            123 SOUTH MANOR COURT                                                                                     WALL TOWNSHIP       NJ      07719
5462961    Adir International, LLC     1605 W Olympic Blvd #600                                                                                  Los Angeles         CA      90015
           ADMINISTRATIVE INSURANCE & 
5460640    LEASING INC                 92 Franklin Street                                                                                        Crossville          TN      38572

5462962 Adminsure/City of Santa Maria 1470 Balley Vista Dr. # 230                                                                                Diamond Bar         CA      91765
        ADVANCE RELOCATION & 
5733583 STORAGE                                    185 PRICE PKWY                                                                                FARMINGDALE         NY      11735
5460228 ADVANCED COMP                              170 Fitzgerald Dr., Ste. 2                                                                    Lakeland            FL      33813



          In re:  Patriot National, Inc., et al.
          Case No. 18‐10189 (KG)                                                                              Page 3 of 174
                                                                                                                Exhibit C
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                                                                                                        Served via First Class Mail
 MMLID           NAME                                             ADDRESS 1               ADDRESS 2                ADDRESS 3          ADDRESS 4              CITY      STATE   POSTAL CODE   COUNTRY
5459518 ADVANCED COMPANIES INC                     6400 Central Ave. NE                                                                           Minneapolis         MN       55432
           ADVANCED INS 
5733584 UNDERWRITERS LLC                           3250 N. 29TH AVENUE                                                                            HOLLYWOOD           FL       33020‐1313

           ADVANTAGE CAPITAL 
           COMMUNITY DEVELOPMENT 
5459004    FUND, L. L. C., AS AGENT                5000 PLAZA ON THE LAKE, SUITE 195                                                              AUSTIN              TX       78746
           ADVANTAGE COMP INC DBA 
5460222    ADVANTAGE SPECIALTY                     23 Mays Landing Road, Suite One                                                                Somers Point        NJ       08244
           ADVANTAGE INSURANCE 
5460641    AGENCY                                  505 N 27th Street, Suite 2                                                                     Lincoln             NE       68503
           ADVANTAGE PLUS INSURANCE 
5460642    SERVICES LLC                            P.O Box 2438                                                                                   Chubbuck            ID       83202
           ADVANTAGE ROTH IRA FBO 
5464603    JOHN R DEL PIZZO                        1520 ROYAL PALM SQUARE BLVD #320                                                               FORT MYERS          FL       33919
5462963    Adventist Health System                 900 Hope Way                                                                                   Altamonte Springs   FL       32714
5462964    AECOM                                   2201 W. Royal Ln. suite 125                                                                    Irving              TX       75063
5458921    AFCO DIRECT                             5600 North River Road               Suite 400                                                  Rosemont            IL       60018‐5187

                                                                                       5600 NORTH RIVER 
5458918 AFCO DIRECT                                RICH SKEPNEK                        ROAD, SUITE 400                                            ROSEMON             IL       60018‐5187
                                                                                       5600 N River Road 
5462967 AFCO Group                                 Kevin Bolger                        Suite 1600                                                 Rosemount           IL       60018
5460223 AFFILIATED AGENCY INC                      255 Executive Drive                 Suite 308                                                  Plainview           NY       11803
5459520 AFFILIATED AGENCY INC                      5925 Meridian Blvd Ste 300                                                                     Brighton            MI       48116
           AFFILIATED BROKERS 
5460224 INSURANCE                                  PO Box 1208                                                                                    Kearney             NE       68848
           AFFINITY RISK MANAGEMENT 
5460643    LLC                                     461 S. Main Street                                                                             Plymouth            MI       48170
5460644    AFFOLDER & ASSOCIATES                   8700 Perry Highway                                                                             Pittsburgh          PA       15237
5462968    AFLAC                                   1932 Wynnton Road                                                                              Columbus            GA       31999
5460645    AGAI‐MGA                                2301 Hwy 190 W.                                                                                DeRidder            LA       70634
5460218    AGENTS INC                              PO Box 80                                                                                      Stedman             NC       28391
           AG‐LC WARNER CENTER PHASE 
           IV OWNER LP C/O ANGELO 
5462969    GORDON & CO LP                          245 PARK AVENUE                     24TH FLOOR                                                 NEW YORK            NY       10167
5461055    AGUILERA, NADJA                         6 REDCOAT COURT                                                                                SIMPSONVILLE        SC       29680
5462972    AIG                                     Gerard Sore                         99 High Street                                             Boston              MA       02110

5462971 AIG                                        Sharon Russo                        2929 N Central Ave                                         Phoenix             AZ       85012

5462973 AIG ‐ Central/Southeastern US 175 Water Street                                 17th Floor                                                 New York            NY       10038




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5462974 AIG ‐ Gulf Region/Southern US 100 North Tampa Street, Suite 2650                                                                               Tampa               FL       33602

5462975 AIG ‐ Mid‐Atlantic/Great Lakes P.O. Box 9973                                                                                                   Wilmington          DE       19809
5462976 AIG ‐ Western US               One Macarthur Place, Suite 500                                                                                  South Coast Metro   CA       92707
           AIG Insurance Company 
5462977 (Commercial)                               22427 Network Place                                                                                 Chicago             IL       60661
           AIG Insurance Company                                                           1600 W Commercial 
5462978    (Commercial)                            Ayana Constant                          Blvd.                                                       Fort Lauderdale     FL       33309
           AIG Insurance Company                                                           1600 W Commercial 
5462983    (Commercial)                            Craig Valentine                         Blvd.                                                       Fort Lauderdale     FL       33309
           AIG Insurance Company                                                           1600 W Commercial 
5462979    (Commercial)                            Joseph Gerrity                          Blvd.                                                       Fort Lauderdale     FL       33309
           AIG Insurance Company                                                           1600 W Commercial 
5462982    (Commercial)                            Nicky Thomas                            Blvd.                                                       Fort Lauderdale     FL       33309
           AIG Insurance Company                                                           1600 W Commercial 
5462981    (Commercial)                            Sharon Russo                            Blvd.                                                       Fort Lauderdale     FL       33309
           AIG Insurance Company                                                           1600 W Commercial 
5462980    (Commercial)                            Susana Mendez                           Blvd.                                                       Fort Lauderdale     FL       33309
5462984    AIG Property and Casualty               175 Water Street                        17th Floor                                                  New York            NY       10038
           AIG SPECIALTY INSURANCE 
5462985    COMPANY                                 70 Pine Street                                                                                      New York            NY       10270
           AIRMONT INSURANCE 
5460744    BROKERS LTD                             1600 60th St.                                                                                       Brooklyn            NY       11204
5459516    AIRWATCH LLC                            P.O. BOX 742332                                                                                     ATLANTA             GA       30374
5462986    AIS NETWORK LLC                         8300 Greensboro Dr                                                                                  Tysons              VA       22102
5462987    AIX Group                               5 Waterside Crossing, Suite 201                                                                     Windsor             CT       06095
5460219    AJ POPE & COMPANY LLC                   600 PEACHTREE PARKWAY, SUITE 103                                                                    CUMMING             GA       30041

5460220    AJG INSURANCE AGENCY INC                219 CRYSTAL GROVE BLVD                                                                              LUTZ                FL       33548
5460221    AK INSURANCE SERVICES                   P.O. Box 472                                                                                        Lancaster           CA       93584
5461683    AKINS, TIFFANI                          1200 GOLDEN VIEW CT                                                                                 ARLINGTON           TX       76001
5460646    AL KAYAFAS AGENCIES INC                 P.O Box 115                                                                                         Wampum              PA       16157
           ALABAMA DEPARTMENT OF 
5733585    INSURANCE                               701 SOUTH 32ND STREET                                                                               BIRMINGHAM          AL       35233
           Alabama Department of                   Attn: Jimmy Gunn Producer, Licensing 
5458778    Insurance                               Manager                                 201 Monroe Street Suite 502                                 Montgomery          AL       36104
           Alabama Department of                   Attn: Jimmy Gunn Producer, Licensing 
5458777    Insurance                               Manager                                 P.O. Box 303351                                             Montgomery          AL       36130‐3351
           ALABAMA DEPARTMENT OF 
5458974    REVENUE                                 701 SOUTH 32ND STREET                                                                               BIRMINGHAM          AL       35233
           ALABAMA DEPARTMENT OF 
5733536    REVENUE                                 CORPORATE INCOME TAX                    P.O. BOX 327435                                             MONTGOMERY          AL       36132‐7435



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        ALABAMA DEPARTMENT OF 
5733535 REVENUE                                    PTE‐C P.O. BOX 327444                                                                            MONTGOMERY         AL       36132‐7444

5733537    ALABAMA DEPT. OF REVENUE                BUSINESS PRIVILEGE TAX SECTION       P.O. BOX 327320                                             MONTGOMERY         AL       36132‐7320
5733586    ALBERTONS                               PO BOX 14153                                                                                     LEXINGTON          FL       40512
5459517    ALBERTSONS                              250 Parkcenter Blvd.                                                                             Boise              ID       83706
5733587    ALBERTSONS                              PO BOX 14153                                                                                     LEXINGTON          FL       40512
                                                                                        1421 Manhattan 
5462992 ALBERTSONS HOLDING                         Aurora Timbol                        Ave                                                         Fullerton          CA       92831
        ALBRIGHT INSURANCE AGENCY 
5460634 INC                        P.O Box 1147                                                                                                     Ponca City         OK       74602
5459276 ALCHEMY, JOHN W            1221 N DUTTON AVE                                                                                                Santa Rosa         CA       95401‐4607
5461607 ALCOCER, TERRY             P.O. BOX 272                                                                                                     PICO RIVERA        CA       90660

5460214 ALCOTT INSURANCE AGENCY                    3945 IDAHO STREET                                                                                SAN DIEGO          CA       92104
5460822 ALDRIDGE, MARGARET                         111 WOODRIDGE CIRCLE                                                                             GREENVILLE         SC       29607

5459514 ALEGEUS TECHNOLOGIES LLC                   P.O. Box 88129                                                                                   Milwaukee          WI       53288
        ALEXANDER & GREEP 
5460788 INSURANCE                                  2727 East Oakland Park Blvd., #200                                                               Fort Lauderdale    FL       33306
5461240 ALICEA‐RIVERA, REBECCA                     8040 NW 27TH STREET                                                                              SUNRISE            FL       33322

5460789 ALL AMERICAN INSURANCE INC 6128 Havelock Ave.                                                                                               Lincoln            NE       68507
           ALL AMERICAN MIDWEST 
5460215    INSURANCE BROKERS INC                   1133 N. Dearborn St. #2204                                                                       Chicago            IL       60610
           ALL INSURANCE 
5460216    UNDERWRITERS                            2600 SUMERIAN DR., STE. 101                                                                      LAND O'LAKES       FL       34638
           ALL INSURANCE 
5460217    UNDERWRITERS INC                        2600 Sumerian Dr. Ste 101                                                                        Land O Lakes       FL       34638
5463346    ALLEN, CASSANDRA                        390 JEFFERSON DRIVE                  APT 201                                                     DEERFIELD BEACH    FL       33442
5462295    ALLEN, LARRY                            173 BRIDGEWAY COURT                                                                              ROSEVILLE          CA       95678

5463015 Allen, Shepherd, Lewis and Syra 4801 Lang Ave , Suite 200 NE                                                                                Albuquerque        NM       87109
           ALLEY REHBAUM & CAPES 
5460209    ASSURANCE INC                           9067 Belcher Road                                                                                Pinellas Park      FL       33782
5461983    ALLEY, JACOB                            111 TANKERSLEY DRIVE                                                                             SIMPSONVILLE       SC       29681
           ALLIANCE INS GROUP OF 
5460778    ARKADELPHIA INC                         P.O. Box 8                                                                                       Arkadelphia        AR       71923
           ALLIANCE INSURANCE 
5460808    PARTNERS INC                            941 Oak Street                                                                                   Eugene             OR       97401‐3105
           ALLIANCE RISK MANAGEMENT 
5460635    LLC                                     P.O Box 671                                                                                      Englishtown        NJ       07726
5460211    ALLIANCEPLUS INC                        900 Merchants Concourse              Suite 400                                                   Westbury           NY       11590



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5459513 ALLIANCEPLUS INC                           900 Merchants Concourse                                                                         Westbury           NY       11590
5463016 Allied Systems Ltd                         Ruth                                P.O. Box 1831                                               Jefferson City     MO       65102
5462956 ALLINA, ADAM                               3605 FINCH CT                                                                                   ROLLING MEADOWS    IL       60008
5463341 Allison, Carr                               100 Vestavia Parkway                                                                           Birmingham         AL       35216
        ALLSAFE INSURANCE GROUP 
5460212 INC                                        7171 Coral Way, Suite 209                                                                       Miami              FL       33155

5460213    ALLTRUST INSURANCE GROUP                17038 Collins Avenue                                                                            Sunny Isles        FL       33160
5459508    ALM MEDIA LLC                           120 Broadway                                                                                    New York           NY       10271
5733588    ALM MEDIA, LLC                          PO BOX 70254                                                                                    PHILADELPHIA       PA       19176‐0254
5461180    ALMARODE, PHYLLIS                       115 HANOVER AVENUE                                                                              COLONIAL HEIGHTS   VA       23834
5463020    AlphaTech, Inc.                         388 Cane Creek Rd                                                                               Fletcher           NC       28732
5459509    Alta Foodcraft                          20425 South Susana Road                                                                         Long Beach         CA       90810
           ALTANY LOYND & LINDQUIST 
5460208    INC                                     201 Corbet Street, Ste 3                                                                        Tarentum           PA       15084
           ALTERNATIVE INSURANCE 
5463021    RESOURCES INC                           1770 Independence Ct                                                                            Vestavia Hills     AL       35216
5461260    ALTMAN, RICHARD                         10 ARISTA COURT                                                                                 DIX HILLS          NY       11746
5463023    Alton Steel Inc                         Steve Meyer                         #5 Cut Street                                               Alton              IL       62002
5463038    ALVAREZ, AMBYR                          515 SE 5TH AVENUE UNIT B                                                                        CAPE CORAL         FL       33990
5463228    ALWINE, BETHANN                         340 NW 19TH ST                      APT 107                                                     BOCA RATON         FL       33432

5463029 AM Braswell, Jr. Food Co., Inc.            226 Zetterower                                                                                  Statesboro         GA       30458
5459510 AMBIUS INC                                 P.O. BOX 14086                                                                                  READING            PA       19612
                                                                                       P.O. Box 66149, MC 
5463039 Ameren                                     Jackie French                       1320                                                        St. Louis          MO       63166
                                                                                       1901 Chouteau 
5463040 Ameren ACIP ‐ Sioux                        Jackie French                       Avenue                                                      St. Louis          MO       63103
5463042 American Airlines                          4255 Amon Carter Boulevard                                                                      Fort Worth         TX       76155
5463041 American Airlines                          5041 W President George Bush Hwy                                                                Richardson         TX       75080
        AMERICAN BANKERS 
        INSURANCE COMPANY OF                       ATTENTION: SENIOR VICE PRESIDENT‐   8655 E. VIA DE 
5463043 FLORIDA                                    FLOOD                               VENTURA                                                     SCOTTSDALE         AZ       85258

5459511 AMERICAN DRIVING RECORDS P.O. Box 7289                                                                                                     Pasadena           CA       91109
           AMERICAN HERITAGE LIFE 
5463045    INSURANCE COMPANY                       76 SOUTH LAURA STREET                                                                           JACKSONVILLE       FL       32202
           American Home Assurance 
5463046    Corporation                             70 Pine St., Suite 1                                                                            New York           NY       10270
           AMERICAN INSURANCE 
5460636    BROKERS INC                             3650 NW 82 Avenue PH 504                                                                        Miami              FL       33166
           AMERICAN INSURANCE 
5460779    PLACEMENTS INC                          1445 Mac Arthur Drive, Suite 136                                                                Carrollton         TX       75007


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        AMERICAN INSURANCE 
5460637 SERVICES                                   1129 Raritan Road                                                                                 Clark                  NJ       07066
        AMERICAN INTERNATIONAL 
5733590 GROUP INC.                                 P.O. BOX 25565                                                                                    SHAWNEE MISSION        KS       66225

5459506 AMERICAN PUBLIC LIFE      Cristalle Cummins                                       2305 Lakeland Drive Bill Department                        Flowood                MS       39232
        AMERICAN SAFEGUARD GROUP 
5460780 INC                       1100 Bob Courtway Dr., Ste. 16                                                                                     Conway                 AR       72032
        AMERICAN SERVICES GROUP 
5460638 LLC                       1040 Indian Trail Road, Suite C‐2                                                                                  Lilburn                GA       30047

           AMERICAN STOCK TRANSFER & 
5459507 TRUST COMPANY LLC                          P.O. BOX 12893                                                                                    PHILADELPHIA           PA       19176

           AMERICAN TRANSPORTATION 
5460639 ADMIN SVCS CORP                            600 La Terraza Blvd.                                                                              Escondido              CA       92025‐3873

5463048 AmeriHealth Casualty Services P.O. Box 817                                                                                                   Mt. Laurel             NJ       08054
        AMERISAFE GENERAL AGENCY 
5460628 INC                       2301 Hwy 190 W.                                                                                                    DeRidder               LA       70634

5463049 Amtrust                                    Chris Amato                            903 NW 65th Street                                         Boca Raton             FL       33487
           AmTrust Group/Technology                                                       11330 Lake Field 
5463050    Insurance                               Bill Malphurs                          Drive                                                      Duluth                 GA       30098
           AmTrust Group/Technology                                                       11330 Lake Field 
5463051    Insurance                               Gina Forstman                          Drive                                                      Duluth                 GA       30098
           AmTrust Group/Technology                                                       11330 Lake Field 
5463053    Insurance                               Karen Hull                             Drive                                                      Duluth                 GA       30098
           AmTrust Group/Technology                                                       11330 Lake Field 
5463055    Insurance                               Kayleigh Brittian                      Drive                                                      Duluth                 GA       30097
           AmTrust Group/Technology                                                       11330 Lake Field 
5463054    Insurance                               Loucas Kobold                          Drive                                                      Duluth                 GA       30097
           AmTrust Group/Technology                                                       11330 Lake Field 
5463052    Insurance                               Oscar Pasley                           Drive                                                      Duluth                 GA       30098
           AmTrust International 
5463056    Underwriters, Ltd.                      No 2, Minster Court                                                                               Mincing Lane, London            EC3R 7BB      United Kingdom
5458919    AMTRUST NORTH AMERICA                   JEFF POWELL                            PO BOX 310704                                              BOCA RATON             FL       33431
           AMWINS BROKERAGE OF NEW 
5460629    JERSEY INC                              Raritan Plaza I, 110 Fieldcrest Ave.                                                              Edison                 NJ       08837
           AMWINS BROKERAGE OF 
5460205    PENNSYLVANIA                            1075 Virginia Drive, Suite 100                                                                    Fort Washington        PA       19034
           AMWINS PROGRAM 
5460630    UNDERWRITERS INC                        214 Senate Ave. Suite 201                                                                         Camp Hill              PA       17011



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                                                                                         Ana M. Frexes & 
5458973 Ana M Frexes & Associates                  Ana M. Frexes                         Associates PA         2355 Salzedo Street                    Coral Gables      FL       33134
           ANCHOR RISK AND CLAIMS 
5733591    MANAGEMENT                              14785 PRESTON ROAD #350                                                                            DALLAS            TX       75254
           ANDERSEN GROUP 
5460206    INCORPORATED                            2110 Roselake Circle                                                                               St Peters         MO       63376
5460916    ANDERSEN, MEGAN                         159H BRANDY MILL CIRCLE                                                                            HIGH RIDGE        MO       63049
           ANDERSON AND GREEN 
5460631    INSURANCE AGENCYLLC                     P.O Box 627                                                                                        Sikeston          MO       63801
           ANDERSON INSURANCE & 
5733592    WEALTH MGT                              570 VALE PARK RD. STE A                                                                            VALPARAISO        IN       46385
           ANDERSON INSURANCE & 
5460207    WEALTH MGT INC                          570 VALE PARK RD. STE A                                                                            VALPARAISO        IN       46385
5462970    ANDERSON, AGNES                         1 MARWOOD TURN                                                                                     WILLINGBORO       NJ       08046
5462565    ANDRADE, DAVID                          8977 WEST SUNRISE BLVD                                                                             PLANTATION        FL       33322
5461219    ANDRADE, RACHEL                         1760 SW 137TH WAY                                                                                  MIRAMAR           FL       33027
5462341    ANDRESEN, LINDA                         2024 NW 24TH TERRACE                                                                               CAPE CORAL        FL       33993

5463410 ANDRINOPOULOS, CHRISTINA                   346 GRANT AVENUE                                                                                   LYNDHURST         NJ       07071

                                                                                         18081 Chesterfield 
5460844 Andy, Mark                                 Annette Barnes                        Airport Road                                                 Chesterfield      MO       63005
5460949 ANSELMO, MICHAEL                           301 SPINDLE LANE                                                                                   WEST CHESTER      PA       19380
5459503 ANSWER ST LOUIS                            12520 D OLIVE BOULEVARD                                                                            ST LOUIS          MO       63141
5760825 Aon plc                                    c/o Investor Relations                200 East Randolph                                            Chicago           IL       60601
        AON RISK SERVICES 
5460632 NORTHEAST INC                              P.O Box 7247‐7376                                                                                  Philadelphia      PA       19179
                                                                                         122 Leadenhall 
5463116 AON SECURITIES INC                         The Leadenhall Building               Street                                                       London                     EC3V 4AN      United Kingdom
5463117 AP Green Industries                        Ruth Welschmeyer                      P.O. Box 1831                                                Jefferson City    MO       65102
5463118 AP Green Refractories                      Ruth Welschmeyer                      P.O. Box 1831                                                Jefferson City    MO       65102
           APEX INSURANCE 
5460633 CONSULTANTS                                P.O BOX 496                                                                                        ARKADELPHIA       AR       71923
           APEX INSURANCE RESOURCES 
5460203    LLC                                     640 North Volusia Ave, Suite C                                                                     Orange City       FL       32763
5460622    API GROUP                               5720 Margate Blvd                                                                                  Margate           FL       33063
5461548    APOLLONATOS, STEVEN                     82 ALBANO STREET                                                                                   ROSLINDALE        MA       02131
           APPALACHIAN UNDERWRITERS 
5460204    INC                                     800 Oak Ridge Turnpike, Ste. A‐1000                                                                Oak Ridge         TN       37830
5459504    APPLIED SYSTEMS INC                     208 W 23RD ST.                                                                                     NEW YORK          NY       10011
5733594    APPLIED SYSTEMS INC.                    200 APPLIED PARKWAY                                                                                UNIVERSITY PARK   IL       60466
5459499    APPULATE INC                            2801 TOWNSGATE RD STE 210                                                                          WESTLAKE VLG      CA       91361‐3022
5733595    APPULATE INC                            28348 ROADSIDE DRIVE                  SUITE 201                                                    AGOURA HILLS      CA       91301


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           AQUESTA INSURANCE SERVICES‐
5460623    CORNELIUSLLC                P.O Box 189                                                                                                            Cornelius         NC       28031
5462094    AQUINO, JOHN                17410 HAYNES STREET                                                                                                    VAN NUYS          CA       91406
5461026    ARAFA, MOHAMED              1401 MARINA BLVD                                    APARTMENT 108                                                      FORT LAUDERDALE   FL       33315
5462014    ARANDA, JANET               1322 EAST 14TH STREET                                                                                                  SANTA ANA         CA       92701
                                                                                           5334 South Prince 
5463122 Arapahoe County                            Becky McAvoy                            Street                                                             Littleton         CO       80166
5463123 ARBITRATION FORUMS INC                     ARBITRATION FORUMS, INC.                PO BOX 271500                                                      TAMPA             FL       33688‐1500
5460199 ARBOR INSURANCE GROUP                      1605 N Cedarcrest Boulevard             Suite 410                                                          Allentown         PA       18104‐2351
5459500 ARBOR INSURANCE GROUP                      3435 Winchester Rd., Suite 305                                                                             Allentown         PA       18104
5462019 ARCHER, JANNETH                            3787 NW 37TH STREET                                                                                        LAUDERDALE        FL       33309
5460200 ARCO INSURANCE AGENCY                      68 Croft Lane                                                                                              Smithtown         NY       11787
5462817 ARGENZIO, GABRIELLA                        13145 SOCIAL LANE                                                                                          WINTER GARDEN     FL       34787
5459501 ARGO INSURANCE                             413 W 14th St.                                                                                             New York          NY       10014
        ARGO INSURANCE GROUP ; 
        INTEGRO INSURANCE BROKERS 
5460201 ; INTEGRO USA                              2300 Contra Costa Blvd., Suite 375                                                                         Pleasant Hill     CA       94523

5458941 Argonaut Insurance Company                 100 Marine Parkway                      Suite 500                                                          Redwood City      CA       94065
                                                                                           Management 
                                                                                           Liability ‐ 
5465619 Argonaut Insurance Company                 Attn: ARGO GROUP US                     Underwriting          100 Marine Parkway         Suite 500         Redwood City      CA       94065
5459495 ARIBA INC                                  910 Hermosa Court                                                                                          Sunnyvale         CA       94089
        Aries Supermarket 2 (Romazi 
        Corporation dba Aries 
5463125 Supermarket 2)                             5945 W. 25th Court                                                                                         Hialeah           FL       33016

5459496 ARISSA COST STRATEGIES LLC                 17310 RED HILL AVENUE                   SUITE 300                                                          IRVINE            CA       92614
5760826 Arissa Cost Strategies, LLC                15901 Red Hill Ave Suite 201                                                                               Tustin            CA       92780

5463126 Arissa Strategies                          Kathy Torres                            17310 Red Hill Ave    Suite 300                                    Irvine            CA       92614
        Arizona Department of                      Attn: Steve Fromholtz Administrator,    2910 North 44th 
5458780 Insurance                                  Licensing Section                       Street                Suite 210                                    Phoenix           AZ       85018‐7269
        ARKANSAS DEPARTMENT OF 
5458975 REVENUE                                    1900 West 7th Street                                                                                       Little Rock       AR       72201
        ARKANSAS INSURANCE 
5459497 DEPARTMENT                    1200 West 3Rd Street                                                                                                    Little Rock       AR       72201
                                      Attn: Peggy Dunlap Insurance Licensing               1200 West Third 
5458781 Arkansas Insurance Department Manager, Agent Licensing                             Street                                                             Little Rock       AR       72201‐1904
5460197 ARLINGTON/ROE & CO            8900 KEYSTONE CROSSING, SUITE 800                                                                                       INDIANAPOLIS      IN       46240

5460198 ARM CAPACITY OF NEW YORK                   90 Broad Street                         Suite 1503                                                         New York          NY       10004




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5459498 ARM CAPACITY OF NEW YORK                   90 Broad St.                                                                                  New York          NY       10004
           ARMFIELD HARRISON & 
5460193    THOMAS INC                              20 South King Street                                                                          Leesburg          VA       20175
           ARMINE INSURANCE AGENCY 
5460194    LLC                                     Russell Armine                    10 North Gate Drive                                         Englishtown       NJ       07726
           ARMSTRONG COURY 
5460624    INSURANCE                               424 E. Main                                                                                   Farmington        NM       87401
5461196    ARORA, PRIYA                            1150 MARROGATE WAY                                                                            AMBLER            PA       19002
5462317    ARP, LEE                                1200 W MONROE ST.                 UNIT 812                                                    CHICAGO           IL       60607

5459493 ARROWMAIL COURIER SERVICE 1409 EAST BOULEVARD                                                                                            CHARLOTTE         NC       28203
        ARS/Kansas Eastern Region Ins. 
5463131 Trust                           Ed Reasoner                                  920 Main, Ste 1700                                          Kansas City       MO       64105

5460195 ARTHUR J GALLAGHER RMS INC 4350 W Cypress Street, Ste 300                                                                                Tampa             FL       33607

           Arthur, Chapman, Kettering, 
5463133 Smetak, and Pikala, PA                     811 1st Street, Suite 201                                                                     Hudson            WI       54016

5463135 AS and G Claims Administration 5300 Hollister St, Suite 410                                                                              Houston           TX       77040
        AS&G CLAIMS 
5733596 ADMINISTRATION                             5300 HOLLISTER STREET #400                                                                    HOUSTON           TX       77040
        AS&G Claims Administration, 
5463136 Inc.,                                      5300 Hollister St., Suite 400                                                                 Houston           TX       77040
5463137 ASARCO                                     Ruth Welschmeyer                  P.O. Box 1831                                               Jefferson City    MO       65102

                                                                                     5285 East Williams 
5463138 ASARCO Self‐Insured                        Chuck Watson                      Circle, Suite 2000                                          Tuscon            AZ       85711
5463139 Ascendant                                  Estela Lynch                      P.O. Box 141368                                             Coral Gables      FL       33114
5463141 Ascension Insurance                         700 Central Parkway                                                                          Stuart            FL       34994
           ASCENSION INSURANCE 
5460196 SERVICES INC                               1277 Treat Blvd., Ste. 400                                                                    Walnut Creek      CA       94597
5460188 ASH WELBORN INSURANCE                      103 Midway Dr. Ste. A                                                                         Cornelia          GA       30531
5463384 ASHBY, CHARLES                             1479 NW 153RD LANE                                                                            PEMBROKE PINES    FL       33028
           ASHCRAFT INSURANCE AGENCY 
5460625 OF VA LTD                                  2715 Enterprise Pkwy, Suite 100                                                               Richmond          VA       23294
5460189 ASHMERE                                    401 E. Las Olas Blvd              Suite 1540                                                  Ft. Lauderdale    FL       33301

5463148 Ashmere                                    Charlie Schuver                   401 E. Las Olas Blvd                                        Fort Lauderdale   FL       33301
                                                                                     401 E. Las Olas Blvd 
5463151 Ashmere Insurance Company                  Charles Schuver                   Suite 1650                                                  Fort Lauderdale   FL       33301




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                                                                                            401 E Las Olas Blvd, 
5463150 Ashmere Insurance Company                  Gary Roche                               Suite 1540                                                      Fort Lauderdale     FL       33301
           ASHMERE INSURANCE                                                                401 E. LAS OLAS 
5458920    COMPANY                                 JOYCE PREDMESKY                          BLVD                                                            FT. LAUDERDALE      FL       33301
           ASPEN RISK MANAGEMENT 
5459492    GROUP                                   2727 Camino del Rio S                                                                                    San Diego           CA       92108
           ASPEN SPECIALITY INSURANCE 
5458944    COMPANY                                 590 Madison Ave., 7th Floor                                                                              New York            NY       10022
5733597    ASPEN SPECIALTY INS. CO.                175 CAPITAL BOULEVARD, SUITE 300                                                                         ROCKY HILL          CT       06067
5458935    Aspen Specialty Insurance               175 Capital Boulevard                                                                                    Rocky Hill          CT       06067
           Aspen Specialty Insurance                                                        William D. Deveau,      Harborside 5, 185 Hudson 
5868144    Company                                 Connell Foley LLP                        Esq.                    Street, Suite 2510                      Jersey City         NJ       07311
           Aspen Specialty Insurance                                                        590 Madison 
5868144    Company                                 Michael Uzenski                          Avenue, 7th Floor                                               New York            NY       10022
                                                                                            Senior Vice 
           Aspen Specialty Insurance                                                        President, US           590 Madison Avenue, 7th 
5868156 Company                                    Michael Uzenski                          Casualty Claims         Floor                                   New York            NY       10022
                                                                                            Harborside 5, 185 
           Aspen Specialty Insurance                                                        Hudson Street, 
5868156 Company                                    William D. Deveau, Esq.                  Suite 2510                                                      Jersey City         NJ       07311
5460864 ASSAM, MARY                                810 NW 84TH DRIVE                                                                                        CORAL SPRINGS       FL       33071
           ASSOCIATED INSURANCE 
5460781 GROUP                                      150 WELDON PARKWAY                                                                                       MARYLAND HEIGHTS    MO       63043
        ASSOCIATED INSURANCE 
5460626 PROFESSIONALS INC                          P.O Box 25183                                                                                            Albuquerque         NM       87125

           ASSOCIATED RISK MANAGERS 
5460190 OF MID AMERICA INC                         2601 NE EXPRESSWAY. SUITE 810W                                                                           OKLAHOMA CITY       OK       73112
           ASSOCIATED SERVICES IN 
5460191    INSURANCE INC                           1438 SW Minter Way                                                                                       Grain Valley        MO       64029
           ASSOCIATED SERVICES IN 
5733599    INSURANCE INC                           P.O BOX 639                                                                                              GRAIN VALLEY        MO       64029
           ASSOCIATED SPECIALTY INS 
5460192    AGENCY INC                              1001 Baltimore Pike, Ste. 307                                                                            Springfield         PA       19064
           ASSOCIATED UNDERWRITERS 
5460184    INC                                     9412 Giles Rd.                                                                                           LaVista             NE       68128
           ASSOCIATES INSURANCE 
5460185    GROUP                                   8400 E Prentice Ave, Suite 300                                                                           Greenwood Village   CO       80111
           ASSURANT SPECIALTY 
5463154    PROPERTY                                501 W. Michigan St.                                                                                      Milwaukee           WI       53201‐3050
5460186    ASSURE LLC                              1931 Manatee Ave West                                                                                    Bradenton           FL       34205
           ASSURED BENEFITS 
5463155    ADMINISTRATORS INC                      8150 N. Central Expressway, Suite 1700                                                                   Dallas              TX       75206



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           ASSURED NL INSURANCE 
5460616    AGENCYINC‐COLUMBUS                      285 COZZINS ST.                                                                                   COLUMBUS            OH       43215
           ASSURED NL INSURANCE 
5460187    AGENCYINC‐INDIANA                       10401 N. Meridian St., Suite 300                                                                  Indianapolis        IN       46290
           ASSURED NL INSURANCE 
5460627    AGENCYINC‐KENTUCKY                      2305 River Road                                                                                   Louisville          KY       40206
           ASSUREDPARTNERS OF 
5460617    FLORIDA LLC                             200 Colonial Center Parkway Suite 150                                                             Lake Mary           FL       32746
           ASSUREDPARTNERS OF 
5460618    INDIANA LLC                             10401 N MERIDIAN ST. SUITE 300                                                                    INDIANAPOLIS        IN       46290
5463158    AstenJohnson, Inc.                      4399 Corporate Rd.                                                                                Charleston          SC       29405
5459490    AT & T Long Distance                    P.O. Box 105262                                                                                   Atlanta             GA       30348
5459491    AT & T MOBILITY                         P.O. Box 6463                                                                                     Carol Stream        IL       60197
5459025    AT&T                                    208 S. AKARD ST.                                                                                  DALLAS              TX       75202
5459013    AT&T                                    PO BOX 5025                                                                                       CAROL STREAM        IL       60197‐5014
5733600    AT&T MOBILITY                           NATIONAL BUSINESS SERVICES              PO BOX 9004                                               CAROL STREAM        IL       60197‐9004
5459026    AT&TLONG DISTANCE                       208 S. AKARD ST.                                                                                  DALLAS              TX       75202
5459014    AT&TLONG DISTANCE                       PO BOX 5017                                                                                       CAROL STREAM        IL       60197‐5017
5463159    Atchison Casting                        Ruth Welschmeyer                        P.O. Box 1831                                             Jefferson City      MO       65102
5463161    Athens Administrators                   920 Main St., Ste.# 450                                                                           Irvine              CA       92614

5460809 ATHENS INSURANCE AGENCY                    P.O Box 809                                                                                       Athens              TN       37371‐0809
5461328 ATKIN, RUSSELL                             9609 CYPRESS LAKE DRIVE                                                                           FORT WORTH          TX       76036
5459488 ATLANTA BRAVES                             755 Battery Ave Se                                                                                Atlanta             GA       30339
5733601 ATLANTA BRAVES                             PO BOX 4064                                                                                       ATLANTA             GA       30302‐4064
        ATLANTIC AGENCY 
5460180 HUNTINGTON STATION                         1469 Deer Park Ave.                                                                               N Babylon           NY       11703
        ATLANTIC CHARTER 
5460782 INSURANCE GROUP INC                        3008 Virginia Beach Blvd.                                                                         Virginia Beach      VA       23452

5460181 ATLANTIC PACIFIC INSURANCE 11382 PROSPERITY FARMS ROAD #123                                                                                  PALM BEACH GARDENS FL        33410

5460182 ATLANTIC RISK SPECIALISTS INC              1 International Blvd.                                                                             Mahwah              NJ       07495
5733602 ATLANTIC.NET                               P.O. BOX 864148                                                                                   ORLANDO             FL       32886
5760830 Atlantic.net440                            West Kennedy Blvd, Suite 3                                                                        Orlando             FL       32810
5463162 Atlanticare                                2500 English Creek Drive, suite 606                                                               Egg Harbor          NJ       08054
5463163 ATLANTICNET                                PO BOX 25897                                                                                      SARASOTA            FL       34277
        ATLAS BUSINESS & EMPLOYEE 
5460619 SERVICES LLC                               10000 NE 7th Avenue. Suite 345                                                                    Vancouver           WA       98685
        ATLAS GENERAL INSURANCE 
5460183 SERVICES LLC                               4365 Executive Drive, Suite 400                                                                   San Diego           CA       92121
5460620 ATLAS INSURANCE                            4365 Executive Dr., Suite 400                                                                     San Diego           CA       92121




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5460177 ATLAS INSURANCE GROUP LLC 1300 SE 17th St., Suite 220                                                                                      Fort Lauderdale   FL       33316
5459485 AT‐NET SERVICES INC       9625‐D Southern Pine Blvd                                                                                        Charlotte         NC       28273

5463164 Atterro Human Capital Group                730 Second Avenue South, Suite 520                                                              Minneapolis       MN       55402
5463219 ATTIDORE, BERNARD                          3392 CHESTERFIELD COURT                                                                         SNELLVILLE        GA       30039
                                                                                        6715 N. Big Hollow 
5463169 Auto Owners ‐ IL                           Cassandra Ori                        Road                                                       Peoria            IL       61615
                                                                                        6715 N. Big Hollow 
5463167 Auto Owners ‐ IL                           Gayle Trammell                       Road                                                       Peoria            IL       61615
                                                                                        6715 N. Big Hollow 
5463168 Auto Owners ‐ IL                           Rita Ford                            Road                                                       Peoria            IL       61615
                                                                                        6715 N. Big Hollow 
5463170 Auto Owners ‐ IL                           Sandy Mayberry                       Road                                                       Peoria            IL       61615
                                                                                        1600 East Pointe 
5463173 Auto Owners ‐ MO                           Anna Shaw                            Drive                                                      Columbia          MO       65201
                                                                                        1600 East Pointe 
5463171 Auto Owners ‐ MO                           Ashley Walker                        Drive                                                      Columbia          MO       65201
                                                                                        1600 East Pointe 
5463172 Auto Owners ‐ MO                           Joe Jackson                          Drive                                                      Columbia          MO       65201
           Auto Owners Insurance 
5463174    Company                                 2710 W Memorial Blvd                                                                            Lakeland          FL       33815
           Auto Owners Insurance 
5463182    Company                                 Chris Massey                         6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463186    Company                                 Cindy Wallick                        6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463176    Company                                 Eileen Fhaner                        6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463177    Company                                 Elisha Hess                          6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463179    Company                                 Landi Johnson                        6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463185    Company                                 Marion Townsend                      6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463175    Company                                 Robert Buchanan                      6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463181    Company                                 Roger L. Looyenga                    6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463178    Company                                 Sarah House                          6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463183    Company                                 Scott Michael                        6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968
           Auto Owners Insurance 
5463187    Company                                 Simone White                         6101 Anacapri Blvd.                                        Lansing           MI       48917‐3968


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           Auto Owners Insurance 
5463180    Company                    Stacey Keprios                                   6101 Anacapri Blvd.                                              Lansing          MI       48917‐3968
           Auto Owners Insurance 
5463184    Company                    Thomas Page                                      6101 Anacapri Blvd.                                              Lansing          MI       48917‐3968
           AUTOMATED OFFICE SYSTEMS 
5459486    INC                        341 WEST FALLBROOK AVENUE                                                                                         FRESNO           CA       93711
           AVALON INSURANCE PARTNERS 
5733603    LLC                        11523 PALMBRUSH TRAIL                            SUITE 306                                                        LAKEWOOD RANCH   FL       34202
           AVANTE INSURANCE AGENCY 
5460178    INC                        7490 West Flagler Stret                                                                                           Miami            FL       33144

5460179 AVENTINE RISK MANAGERS LLC 3836 W Humphrey St                                                                                                   Tampa            FL       33614
5461993 AVERILL, JAMES             1656 FOLKWAYS BLVD                                                                                                   LINCOLN          NE       68521
5461008 AVILA, MINERVA             8618 OSO AVE                                                                                                         WINNETKA         CA       91306
           AXA MATRIX RISK 
5733604 CONSULTANTS US, INC                        7887 WASHINGTON VILLAGE DR          SUITE 150                                                        DAYTON           OH       45459
                                                                                                              11680 GREAT OAKS WAY, 
5463190 AXIS REINSURANCE COMPANY ATTN: JOHN TATUM                                      AXIS INSURANCE         #500                                      ALPHARETTA       GA       30022
           AXIS SURPLUS INSURANCE                                                                             11680 GREAT OAKS WAY, 
5463189    COMPANY                                 ATTN: JOHN TATUM                    AXIS INSURANCE         #500                                      ALPHARETTA       GA       30022
           AYRES‐RICE INSURANCE 
5460621    AGENCY INC                              P.O Box 699                                                                                          Schoolcraft      MI       49087
5461031    AZIZ, MONA                              36 HILLCREST AVENUE                                                                                  EDISON           NJ       08817
5460175    B C AGENCY                              4485 Lawrenceville Hwy, Suite 207                                                                    Lilburn          GA       30047
5462342    BABIAK, LINDA                           14 DEERPATH LANE                                                                                     COLTS NECK       NJ       07722
5463395    BABIN, CHELSEA                          503 WHISPERING BROOK DRIVE                                                                           NEWTON SQUARE    PA       19073
5462131    BABIN, JOSEPH                           1209 MORSTEIN ROAD                                                                                   WEST CHESTER     PA       19380
5460877    BABIN, MATTHEW                          503 WHISPERING BROOKE DR                                                                             NEWTON SQUARE    PA       19073
5733605    BABYLON CONSULTING LLC                  543 BEACH POND ROAD                                                                                  WOLFEBORO        NH       03894
5462086    BACA, JIM                               29 RHINE COURT                                                                                       CLAYTON          CA       94517
5460823    BACON, MARGARET                         5523 January Ave                                                                                     ST. LOUIS        MO       63109‐3209
5461820    BAGWELL, WILLIAM                        728A CHEROKEE ROAD                                                                                   PELZER           SC       29669
5461606    BAILEY, TERRIE                          300 SHEOAH BOULEVARD                NUMBER 309                                                       WINTER SPRINGS   FL       32708
                                                                                                              191 N. Wacker Drive, Suite 
5458963    Baker & Hostetler                       Adam Skilken                        Baker Hostetler        3100                                      Chicago          IL       60606
5459483    BAKER HOSTETLER LLP                     45 Rockefeller Plaza                                                                                 New York         NY       10111
5733606    BAKER HOSTETLER LLP                     PO BOX 70189                                                                                         CLEVELAND        OH       44190‐0189
5463381    BAKER, CHANCE                           1636 WEST 22ND STREET                                                                                LAWRENCE         KS       66046
5462558    BAKER, DANYALE                          3722 ELMWOOD DALE DRIVE                                                                              FRESNO           TX       77545
5462632    BALASSONE, DIANE                        82 VREELAND AVENUE                                                                                   NUTLEY           NJ       07110
5460176    BALDON GROUP INC                        1 South Ocean Ave., Suite 206                                                                        Patchogue        NY       11772
                                                                                       1 South Ocean Ave., 
5459484 BALDON GROUP INC                           Brenda Colon                        Suite 206                                                        Patchogue        NY       11772


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        Baldwin & Lyons ‐ Protective                                                111 Congressional 
5463194 Insurance Co                               Brian Gray                       Blvd. 500                                                   Carmel           IN       46032
                                                                                    111 
                                                                                    CONGRESSIONAL 
5458908 BALDWIN&LYONS INC.                         KELSEY WINBERG                   BOULEVARD                                                   CARMEL           IN       46032
5460950 BALDWIN, MICHAEL                           1740 BLACK GOLD STREET SE                                                                    ALBUQUERQUE      NM       87123
5461004 BALDWIN, MIKE                              1740 Black Gold Street SE                                                                    Albuquerque      NM       87123
           BALLANTYNE INSURANCE 
5460610    GROUPINC                                3420 Toringdon Way, Ste. 100     P.O Box 49068                                               Charlotte        NC       28277
5463212    BALLINGER, BENJAMIN                     3622 SOMMERSWORTH LANE                                                                       INDIANAPOLIS     IN       46228
5463080    BALTRUSHUNAS, ANDREW                    88 BURNING TREE DRIVE                                                                        CHESTERFIELD     MO       63017
5462095    BALZRAINE, JOHN                         2214 DEHART FARM ROAD                                                                        WILDWOOD         MO       63038
           BANCFIRST INSURANCE 
5460170    SERVICES INC                            5591 S. Lewis Ave.                                                                           Tulsa            OK       74105
           BANCORPSOUTH INSURANCE 
5460171    SERVICES INC                            2616 Lakeward Drive                                                                          Jackson          MS       39216
           BANCORPSOUTH INSURANCE 
5459480    SERVICES INC                            PO BOX 251510                                                                                LITTLE ROCK      AR       72225‐1510
5458765    BANK OF AMERICA                         ATTN: SASHA MERCED               100 N. TYRON ST                                             CHARLOTTE        NC       28255
5460611    BANKERS INSURANCE LLC                   4490 Cox Road                                                                                Glen Allen       VA       23060
           BANKERS INSURANCE LLC‐
5460612    ASHEVILLE                               77 Central Avenue, Suite C                                                                   Asheville        NC       28801
5461265    BANKS, RICHELLE                         11511 APPLEWOOD DR                                                                           KANSAS CITY      MO       64134
           Banner Baywood Medical 
5720310    Center                                  6644 E Baywood Avenue                                                                        Mesa             AZ       85206‐1747
5462073    BARAD, JESSICA                          951 LYONS RD                     APT #6‐101                                                  COCONUT CREEK    FL       33063
5461887    BARAJAS, HEATHER                        409 TWO GAIT LANE                                                                            SIMPSONVILLE     SC       29680
5733607    BARAUD                                  PO BOX 1367                                                                                  GEORGE TOWN      CI       KY1‐1108      CAYMAN ISLANDS
           BARBARA FORT INSURANCE 
5460613    AGENCY INC                              10301 COMANCHE RD NE                                                                         ALBUQUERQUE      NM       87111
5462132    BARBATO, JOSEPH                         25 KIM COURT                                                                                 TAPPAN           NY       10983
5462646    BARBOUR, DONALD                         891 OCEAN AVENUE                                                                             WEST ISLIP       NY       11795
                                                                                    1ST FLOOR, 
5458766 BARCLAYS                                   ATTN: SHELLA THOETIS‐SOOPRAYEN   BARCLAYS HOUSE       68‐68A, CYBERCITY                      EBENE                                   MAURITIUS
        BARDELL & BARDELL 
5460172 INSURANCE AGENCY                           235 Woodlawn Avenue                                                                          Tahlequah        OK       74464
5460783 BARE & SWETT AGENCY INC                    P.O. Box 311                                                                                 Eureka Springs   AR       72632

5460772    BARKER‐PHILLIPS‐JACKSON INC             P.O. Box 4207                                                                                Springfield      MO       65808‐4207
5463198    Barnaba and Marconi                      315 Lowell Avenue                                                                           Trenton          NJ       08619
5462529    BARNES, CYNTHIA                         310 WEST 1ST STREET                                                                          BIRDSBORO        PA       19508
5461363    BARNES, SARAH                           3642 EAST CREEKS BEND CT                                                                     CASSELBERRY      FL       32707
5462894    BARNETT, GRADY                          517 WAGON TRAIL                                                                              SIMPSONVILLE     SC       29681


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                                                                                                            Master Mailing List
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5462200 BARNETT, KATHY                             721 SHILOH CHURCH RD                                                                            WELLFORD           SC       29385
5461059 BARNETT, NAOMI                             1840 BROOKFIELD DRIVE                                                                           ANN ARBOR          MI       48103

           BARNEY AND BARNEY DBA: 
5460173    MARSH & MCLENNAN AGENCY                 9171 TOWN CENTRE DR                                                                             SAN DIEGO          CA       92122
5460773    BARNEY INSURANCE INC                    PO Box 3199                                                                                     Kearney            NE       68848
5462162    BARNHART, JUSTIN                        1533 POLARIS DRIVE                                                                              ELLISVILE          MO       63011
5460174    BARROW GROUP LLC                        110 E. Crogan Street                                                                            Lawrenceville      GA       30046
5459266    BARTH, LAURA M                          4730 E Indian School Rd # 211                                                                   Phoenix            AZ       85018
5460951    BASS, MICHAEL                           1231 POINSETTIA AVENUE                                                                          ORLANDO            FL       32804
5459331    BASSETT, GALLAGHER                      Two Pierce Place                                                                                Itasca             IL       60143‐3141
5461813    BATES, WESLEY                           4634 PEBBLE LAKE DRIVE                                                                          PFAFFTOWN          NC       27040
5462757    BATISTA, EVELYN                         11119 WEST OKEECHOBEE ROAD            UNIT106                                                   HIALEAH GARDENS    FL       33018
5461342    BATTLE, SAIDIDA                         2825 THOMAS STREET                                                                              FT. MYERS          FL       33916
5462381    BAUER, LORI                             1665 DARDENNE RIDGE DRIVE                                                                       ST. PETERS         MO       63376
5462539    BAUWENS, DAN                            3290 RIVERMONT STREET                                                                           WEST SACRAMENTO    CA       95691
5463199    Baywood Hotels                          7871 Belle Point Drive                                                                          Greenbelt          MD       20770
5459478    BDO USA LLP                             P.O. Box 642743                                                                                 Pittsburgh         PA       15264
5461492    BEACHAM, SONJI                          204 MADDY LANE                                                                                  NORTH LAUDERDALE   FL       33068

5460166 BEACON GROUP INC                           6001 Broken Sound Pkwy NW, Ste. 500                                                             Boca Raton         FL       33486
        BEACON INSURANCE 
5460167 GROUPINC                                   P.O Box 2045                                                                                    Bluffton           SC       29910
5461389 BEAN, SEAN                                 11856 NW 53RD CT                                                                                CORAL SPRINGS      FL       33076

                                                                                         800 MARKET 
5733608 BEATTY, MICHAEL                            SIMON LAW FIRM PC                     STREET, SUITE 1700                                        ST. LOUIS          MO       63101
5461821 BEATTY, WILLIAM                            75 INNOVATION DRIVE                   APT 7301                                                  GREENVILLE         SC       29607

5460614    BEAUDRY INSURANCE AGENCY                603 Paseo Del Pueblo Norte                                                                      Taos               NM       87571
5462356    BECHTOLD, LISA                          10504 NW 85TH TERRACE                                                                           KANSAS CITY        MO       64153
5463090    BECK, ANGELA                            109 STONE RIDGE MEADOWS RD                                                                      O FALLON           MO       63366
5462410    BECK, MALORIE                           108 HWY 11                                                                                      GREENVILLE         SC       29356
5462253    BEDNER, KIMBERLY                        49 PENNSYLVANIA BLVD                                                                            MONESSEN           PA       15062
           Bee Hive Homes Staffing 
5463202    Corporation                             4811 Hardware Drive                   NE D‐1                                                    Albuquerque        NM       87109
5462904    BEHRENS, GREGORY                        26818 ALBION WAY                                                                                SANTA CLARITA      CA       91351
5459479    BEKINS OF SOUTH FLORIDA                 5300 N POWERLINE ROAD                 SUITE 100                                                 FORT LAUDERDALE    FL       33309
5461536    BELDING, STEFANIE                       2615 DEKALB PIKE                      APT 617‐1                                                 EAST NORRITON      PA       19401
5462357    BELFER, LISA                            2807 NW 111 AVENUE                                                                              SUNRISE            FL       33322
5461549    BELLAVIGNA, STEVEN                      4335 AEGEAN DRIVE                     # 146A                                                    TAMPA              FL       33611




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           BELLUCCI INSURANCE                                                             400 Post Avenue 
5460168    BROKERAGE                               George Bellucci                        Suite 201                                                      Westbury          NY       11590
           BELLWETHER INSURANCE 
5460169    GROUP LLC                               225 SE 15th Terrace                                                                                   Deerfield Beach   FL       33441
           BENDELL INSURANCE GROUP 
5460162    INC                                     P.O. Box 164235                                                                                       Miami             FL       33116
5760831    Benefit Guaranty, LLC                   725 Lowndes Hill Road                                                                                 Greenville        SC       29607
           BENEFIT SOLUTIONS GROUP 
5460774    LLC                                     PO Box 426                                                                                            Picayune          MS       39466
5733609    BENEFITFOCUS.COM INC                    DEPT 3383                              PO BOX 123383                                                  DALLAS            TX       75312‐3383
5459476    BENEFITFOCUSCOM INC                     P.O. Box 123383                        Department 3383                                                Dallas            TX       75312
                                                                                          725 LOWNDES HILL 
5463210 BENEFITS‐IN‐A‐CARD LLC           ATTN: CARL STACKER                               RD                                                             GREENVILLE        SC       29607
           BENNETT & BENNETT 
5460163    INSURANCE                     351 E Chestnut Street                                                                                           Corydon           IN       47112
5461566    BENNETT‐DOOLEY, SUSAN         24 AMAZON RD                                                                                                    CARMEL            NY       10512
           BENSALEM TOWNSHIP 
5458976    PENNSYLVANIA                  190 North Evergreen Avenue                       Suite 205                                                      Woodbury          NJ       08096
           BENSMAN RISK MANAGEMENT 
5460164    INC                           2333 Waukegan Road, Suite 275                                                                                   Bannockburn       IL       60015
           BENTRUST AIB LLC nka Brown & 
5460165    Brown, Inc.                   10 E 40th St.                                                                                                   New York          NY       10016
5463221    BERBERICH, BETH               139 HUNTERS LAKE COURT                                                                                          EUERKA            MO       63025
5461136    BERES, PAT                    103 SANDRA CTS.                                                                                                 N VERSAILLES      PA       15137
5460952    BERG, MICHAEL                 510 JAIME LYNN COURT                                                                                            EDWARDSVILLE      IL       62025
5462942    BERGMAN, AARON                4916 PENNSBURY DRIVE                                                                                            TAMPA             FL       33624
                                                                                          222 South 9th St. 
5463218 Berkley Risk Administrators                Paul Nerland                           Suite 1300                                                     Minneapolis       MN       55402
           BERKLEY RISK 
           ADMINISTRATORS COMPANY 
5460615    LLC                                     7807 East Peakview Avenue, Suite 350                                                                  Centennial        CO       80111
           BERKOWITZ POLLACK BRAND 
           ADVISORS AND ACCOUNTANTS 
5459474    LLP                                     750 Lexington Ave., Suite 1501                                                                        New York          NY       10022
5462191    BERLOT, KATHLEEN                        1805 OLD PLAINS ROAD                                                                                  PENNSBURG         PA       18073
           BERMACK CHAMPION & 
5460158    LEWINE                                  14 Penn Plaza                          Suite 1611                                                     New York          NY       10122
5460953    BERMACK, MICHAEL                        5572 VALLEY CIRCLE BLVD                                                                               WOODLAND HILLS    CA       91367
5461347    BERNERO, SAMUEL                         1320 LINCOLN AVENUE                    APT. 38                                                        PROSPECT PARK     PA       19076
5462235    BERNHARDT, KEVIN                        418 DEEP WILLOW DRIVE                                                                                 EXTON             PA       19341
5461351    BERRETTE, SAMY                          751 HARFLEUR COURT                                                                                    LEHIGH ACRES      FL       33974
5461766    BERRYHILL, VACOVA                       3118 MONTCALM CT                                                                                      MONROE            NC       28110




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           BESKIN‐DIVERS INSURANCE 
5460604    GROUP INC                               300 Southport Circle                                                                     Virginia Beach     VA       23452
5461663    BEST, THEODORE                          45 WELLINGTON RD                                                                         NEWTOWN            PA       18940
5461348    BETTLACH, SAMUEL                        2612 MELVIN AVE                                                                          BRENTWOOD          MO       63144
           BETZ ROSETTI & ASSOCIATES 
5463229    INC                                     2304 19th St., Suite 102                                                                 Gulfport           MS       39501
5733538    BEVAN, RHONDA                           111 SE 8TH AVE, APT #604                                                                 FT LAUDERDALE      FL       33301
5463017    BEVILACQUA, ALLISON                     146 BRUSHCREEK DR                                                                        SANFORD            FL       32771
5733610    BIDIC, NICK                             PO BOX 166‐665 LANDIS AVENUE                                                             ROSENHAYN          NJ       08352
5464602    BIDIC, SEAN M                           2604 W 16TH STREET                                                                       WILMINGTON         DE       19806

5460159 BIGSTAR INSURANCE SERVICES 955 S Western Ave, Suite 207                                                                             Los Angeles        CA       90006
           BILL PARSONS INSURANCE 
5460775    AGENCY INC                              PO Box 16128                                                                             Bristol            VA       24209
           BILLUPS SNYDER & ASSOCIATES 
5460776    LLC                                     P.O. Box 1268                                                                            Blue Springs       MO       64013
5460160    BINDER AGENCY INC                       511 Airport Executive Park                                                               Nanuet             NY       10954
           BIONDI INSURANCE AGENCY 
5460161    INC                                     525 Elmer Street                                                                         Vineland           NJ       08360
           BIONDI INSURANCE AGENCY 
5459475    INC                                     P.O Box 1418                                                                             Vineland           NJ       08362
5462222    BIRD, KELSEY                            31301 CHEVY CHASE DRIVE                                                                  SORRENTO           FL       32776
5462074    BISHOP, JESSICA                         639 FAWN BRANCH TR                                                                       BOILING SPRINGS    SC       29316
5463235    BITCO                                   3700 Market Square Circle                                                                Davenport          IA       52807
           Bituminous Insurance 
5463236    Companies                               3700 Market Square Circle                                                                Davenport          IA       52807
5459472    BIZNET SOFTWARE INC                     14755 PRESTON ROAD              SUITE 800                                                DALLAS             TX       75254

5460605 BLACK HILLS INSURANCE INC                  P.O Box 3330                                                                             Rapid City         SD       57709
5462586 BLACK, DAWN                                100 UNION AVENUE                                                                         LITTLE FERRY       NJ       07643
5462192 BLACK, KATHLEEN                            2828 OGDEN ST.                                                                           PHILIDELPHIA       PA       19130
5461173 BLACK, PHILIP                              2944 BILOXI TRAIL                                                                        MIDDLEBURG         FL       32068
        BLACKADAR INSURANCE 
5460154 AGENCY INC                                 1436 N Ronald Reagan Blvd                                                                Longwood           FL       32750
5463230 BLACKMON, BEVERLY                          810 LYNN AVE                                                                             SANFORD            NC       27330‐3410

           Blackstone Tactical 
5466074    Opportunities Advisors L.L.C.           345 Park Avenue                                                                          New York           NY       10154
5461791    BLAKE, VICTORIA                         278 BURGUNDY LN                                                                          NEWTOWN            PA       18940
5461774    BLANKENSHIP, VANCE                      260 MOUNTAIN ROAD                                                                        CARYVILE           TN       37714
5460155    BLI INSURANCE SOLUTIONS                 9559 Center Avenue, Suite A/B                                                            Rancho Cucamonga   CA       91730
5460810    BLOCK INSURANCE                         P.O Box 623188                                                                           Oviedo             FL       32762‐3188




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5460156 BLODGETT & ASSOCIATES INC                  3700 AIRPORT ROAD, SUITE 301                                                                          BOCA RATON        FL       33431
5462092 BLOOM, JODI                                10840 AVENIDA SANTA ANA                                                                               BOCA RATON        FL       33498
5462217 BLOUNT, KELLIE                             18410 RIEGER ROAD                                                                                     WILDWOOD          MO       63005
           Blue Chip Commercial Cleaning, 
5463238    Inc.                            7250 Edington Drive                                                                                           Cincinnati        OH       45249
5463240    Blue Cross Blue Shield          Debbie Hosty                                     2301 Main Street                                             Kansas City       MO       64108
5460157    BLUE RIDGE NATIONAL LLC         920 W Sproul Road, Suite 201                                                                                  Springfield       PA       19064
5463244    Bluestone Insurance, LLC        611 NE 4th Avenue                                                                                             Ft. Lauderdale    FL       33304

5463242 Bluestone Insurance, LLC                   David Bartholomew                        611 NE 4th Avenue                                            Ft. Lauderdale    FL       33304

5463243    Bluestone Insurance, LLC                Diana Carlsen                            611 NE 4th Avenue                                            Ft. Lauderdale    FL       33304
5462023    BLUM, JASON                             43644 FREE STONE TERRACE                 UNIT 103                                                     ASHBURN           VA       20147
5466075    BMO Capital Markets Corp.               3 Times Square, 28th Floor                                                                            New York          NY       10154
5463246    BMO FINANCIAL GROUP                     P.O. BOX 6138                                                                                         CAROL STREAM      IL       60197‐6138
           BMO HARRIS BANK N.A., AS 
5459001    ADMINISTRATIVE AGENT                    115 S. LASALLE STREET                                                                                 CHICAGO           IL       60603
5463247    BMO HARRIS BANK NA                      P.O. BOX 3200 RPO STREETSVILLE                                                                        MISSISSAUGA       ON       L5M 0S2       CANADA
5459473    BMO HARRIS BANK NA                      2100 A. Corporate Drive                  Box 5732                                                     Addison           IL       60101
5460148    BMR INSURANCE                           13732 NEWPORT AVE. #3                                                                                 TUSTIN            CA       92781

5463249 BoatsUS/Seaworthy Insurance 6255 Lake Gray Blvd                                                                                                  Jacksonville      FL       32244
5463250 Bobe and Snell, LLC          1095 Powers Place                                                                                                   Alpharetta        GA       30009
           BOCKMON INSURANCE 
5460149 AGENCYINC                                  450 E Corp 281 Suite C‐1                                                                              Longview          TX       75605
           BOGANI & CHRISTIANO 
5460150    INSURANCE LLC                           8401 Lake Worth Rd. Suite 111                                                                         Lake Worth        FL       33467
5463266    BOGEL, BRIAN                            9536 DEWEY PLACE                                                                                      CROWN POINT       IN       46307
5462173    BOGGS, KARA                             17 CHURCHILL STREET                                                                                   WESTAMPTON        NJ       08060
5462254    BOHNE, KIMBERLY                         7656 NW 60TH LANE                                                                                     PARKLAND          FL       33067

5460151 BOLDS INSURANCE BROKERAGE 851 Irwin Street ‐ Suite 300                                                                                           San Rafael        CA       94901
           BOLDS RISK & INSURANCE 
5460152    SERVICES                                101 Larkspur Landing Circle, Suite 222                                                                Larkspur          CA       94939
5462605    BOLLES, DEBRA                           1431 MOFFETT STREET                                                                                   HOLLYWOOD         FL       33020
5460153    BOLT INSURANCE AGENCY                   777 S PALM AVE UNIT 5                                                                                 SARASOTA          FL       34236‐7764
5463251    Bona Fide Investigations                P.O. Box 400                                                                                          Windermere        FL       34786
5463334    BONACCI, CAROLINE                       220‐48 75TH AVE                          APT 1                                                        OAKLAND GARDENS   NY       11364
           BOONE‐RITTER INSURANCE 
5460606    SERVICES COMPANY                        P.O Box 867                                                                                           Springdale        AR       72765
5733539    BOOTH, ADELINE                          32568 WILDOMAR ROAD                                                                                   LAKE ELSINORE     CA       92530
5460865    BOOTH, MARY                             32568 WILDOMAR RD                                                                                     LAKE ELSINORE     CA       92530


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           BORDENTOWN PROFESSIONAL 
           PLAZA LLC SUN NATIONAL 
5463254    BANK                                    525 MILLTOWN RD                 SUITE 402                                                   NORTH BRUNSWICK   NJ       08902
5459471    BORGOS HANLON & GARCIA                  James Henry                     593 Kearny Ave.                                             Kearny            NJ       07032
5460143    BORGOS HANLON & GARCIA                  PO Box 465                                                                                  Kearny            NJ       07032
           BOSWELL INSURANCE GROUP 
5460777    LLC                                     788 Prince Ave.                                                                             Athens            GA       30606
5460982    BOTERO, MICHELLE                        3423 DEER CREEK PALLADIAN CIR                                                               DEERFIELD BEACH   FL       33442
5461089    BOTICH, NICHOLAS                        7373 HYANNIS COURT                                                                          RIVERSIDE         CA       92506
5460954    BOTIS, MICHAEL                          1252 COLUMBIA ROAD                                                                          WOODBRIDGE        VA       22191
5463327    BOUCHARD, CAROL                         26 KENLEE GARDENS               APARTMENT D                                                 SOUTH HADLEY      MA       01075
5462075    BOUCKAERT, JESSICA                      5146 MCCALLISTER RD                                                                         GERALD            MO       63037
           BOUDREAUX & ASSOC INS 
5460144    AGENCY INC                              5200 Lapalco Blvd., Ste. 8                                                                  Marrero           LA       70072
5462995    BOUNTHONG, ALEX                         12428 FRIEDA PLACE                                                                          GARDEN GROVE      CA       92840
5462730    BOWERMAN, ERIC                          18 N. PEASE RD                                                                              WOODBRIDGE        CT       06525
5462498    BOWERS, CORY                            23 NATALIE COURT                                                                            GREER             SC       29651
5461153    BOWERS, PAUL                            10320 GRENDEL COURT                                                                         MECHANICSVILLE    VA       23116
5461809    BOWIE, WENDY                            5106 GARNER LANE                                                                            MERRIAM           KS       66203
5462675    BOWMAN, DUSTIN                          16475 BAILEY STREET                                                                         LAKE ELSINORE     CA       92530
5462211    BOWMAN, KAYSIE                          23833 ARROYO PARK DRIVE         APT 1307                                                    VALENCIA          CA       91355
           BOWSER WAGNER & 
5460145    ASSOCIATES INC                          922 Hwy 81                                                                                  McDonough         GA       30252
           BOYD & ASSOCIATES 
5460146    INSURANCE SERVICES                      P.O. Box 485                                                                                Tustin            CA       92781
           BOYD & ASSOCIATES 
5460147    INSURANCE SERVICES INC                  515 Cabrillo Park Dr.                                                                       Santa Ana         CA       92701
           BOYD INSURANCE & 
5460139    INVESTMENT SERVICES INC                 P.O Box 1749                                                                                Bradenton         FL       34206
5463005    BOYE, ALEXIS                            3815 SE 13TH AVE                                                                            CAPE CORAL        FL       33904
5462672    BOYLAND, DSANJA                         7300 EVERGREEN DRIVE                                                                        LITTLE ROCK       AR       72207

5460140 BOYLE INSURANCE AGENCYINC P.O Box 17800                                                                                                Memphis           TN       38187
5460784 BOYLES MOAK & STONE INC   P.O Box 16069                                                                                                Jackson           MS       39236‐6069
5460766 BOZEMAN INSURANCE INC     6400 Central Ave.                                                                                            St. Petersburg    FL       33707

5460141 BRAD BURNS INSURANCE INC                   2069 N. Monroe St.                                                                          Tallahassee       FL       32303
5459469 BRADLEY & PARKER INC                       320 S Service Rd.                                                                           Melville          NY       11747
           BRADLEY & PARKER INC T/A 
5460142    PROFILE COVERAGE                        320 South Service Road                                                                      Melville          NY       11747
5463231    BRADLEY, BIANCA                         1126 S FEDERAL HIGHWAY          NUMBER 120                                                  FORT LAUDERDALE   FL       33316
5460978    BRADSHAW, MICHELE                       3420 WALLACE STREET                                                                         PHILADELPHIA      PA       19104
5461057    BRADY, NANCY                            410 HILLSIDE AVENUE                                                                         WEST SAYVILLE     NY       11796


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5462883 BRANCH, GLORIA                             661 NE MARINE DRIVE                                                                      BOCA RATON          FL       33431
           BRANDYWINE INSURANCE 
5463261 ADVISORS LLC                       401 E. LAS OLAS BLVD, SUITE 1650                                                                 FORT LAUDERDALE     FL       33301
           Brandywine Insurance Advisors, 
5760832    LLC                             6 Berkley Rd.                                                                                    Devon               PA       19333
5462405    BRANNAN, MADELYNE               10 MIDDLEBURY LANE                                                                               CHESTERFIELD        MO       63017
5462096    BRANT, JOHN                     120 SW 22ND ROAD                                                                                 MIAMI               FL       33129
5461233    BRAR, RANJIT                    3042 CHARLOTTE STREET                                                                            NEWBURY PARK        CA       91320
5461802    BRAUER, WALTER                  324 HAWTHORNE AVENUE                                                                             WEBSTER GROVES      MO       63119
5462067    BRAZEAL, JERRY                  3864 FALCON CREST COURT                                                                          AUBURN              AL       36830
5461786    BREA, VICTOR                    609 COLUMBUS AVENUE                 NUMBER 6H                                                    NEW YORK            NY       10024
5462996    BRENER, ALEX                    18327 CORAL ISLES DRIVE                                                                          BOCA RATON          FL       33498
           BRENNAN & ASSOC MGMT & 
5460136    FIN INS                         6621 E Pacific Coast Hwy #200                                                                    Long Beach          CA       90803
5459466    BRENNAN & ASSOCIATES            2 Woodland Rd.                                                                                   Wyomissing          PA       19610
           BREVARD INSURANCE & 
5460137    MARKETING                       PO Box 320770                                                                                    Cocoa Beach         FL       32931
5464600    BREWER, NICOLE                  105 NE 13TH AVENUE                                                                               FORT LAUDERDALE     FL       33301
5761108    Brewer, Nicole                  125 W Tremont Ave. Apt 804                                                                       Charlotte           NC       28203
           BRIAN D KENNEDY DBA 
5460138    KENNEDY INSURANCE               P.O Drawer S                                                                                     Bartlesville        OK       74003
5461338    BRIDGE, SABRINA                 200 MAITLAND AVENUE                 NUMBER 140                                                   ALTAMONTE SPRINGS   FL       32701
           BRIDGEPORT CAPITAL 
5733611    FUNDING, LLC                    P.O. BOX 101004                                                                                  ATLANTA             GA       30392
5462097    BRIDGES, JOHN                   521 BROOK HOLLOW CIRCLE                                                                          MARIETTA            GA       30067
5462876    BRIERLEY, GLADYS                101 KENTWOOD DRIVE                                                                               NEWTON              MS       39345
5460767    BRIGGS AGENCY INC               4000 W. LINCOLN HWY.                                                                             MERRILLVILLE        IN       46410
5459460    BRIGHT HOUSE NETWORKS           P.O. BOX 30574                                                                                   TAMPA               FL       33630
           BRIGHT INSURANCE SERVICE 
5460607    INC                             1231 N State Street                                                                              North Vernon        IN       47265

5459461 BRIMINGHAM ENTERPRISE LLC 1463 LARKIN ROAD                                                                                          SPRING HILL         FL       34608
5459462 BRINKER & DOYEN LLP       34 N Meramec Ave., 5th Floor                                                                              St. Louis           MO       63105
5733612 BRINKER & DOYEN, L.L.P    34 N. MERAMEC AVENUE                         5TH FLOOR                                                    CLAYTON             MO       63105
                                                                               34 N. Meramec, 
5867421 Brinker & Doyen, LLP                       c/o Lawrence R. Smith       Floor 5                                                      Clayton             MO       63105
        Brinker International ‐ 
5462934 Maggiano's                                 6820 LBJ Frwy                                                                            Dallas              TX       75240
                                                                               5990 West Creek 
5463280 Bristol West                               Rockside Center III         Road                                                         Independence        OH       44131
        British American Insurance 
5463281 Company                                    P.O.Box 1590                                                                             Dallas              TX       75221‐1590




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                                                                                             One Biscayne           2 South Biscayne Blvd, 21st 
5458957 Broad and Cassel                           Jon Wilson                                Tower,                 Floor                                      Miami               FL       33131
        BROADBASE SAFETY 
5459463 SOLUTIONS LLC                              P.O. Box 472                                                                                                Ocoee               FL       34761
5463284 Broadspire ‐ Cemex                         5335 Triangle Parkway NW                                                                                    Peachtree Corners   GA       30092
5463285 Broadspire ‐ Dallas Branch                 1503 LBJ Freeway, Suite 600                                                                                 Dallas              TX       75234

5463286 Broadspire ‐ MV Transportation 1503 LBJ Freeway, Suite 600                                                                                             Dallas              TX       75234
5463287 Broadspire ‐ Sanofi            1001 Summit Boulevard                                                                                                   Atlanta             GA       30319
5463288 Broadspire ‐ West Rock         5335 Triangle Parkway NW                                                                                                Peachtree Corners   GA       30092

5463289 Broadspire ‐ Zachry Holdings   PO Box 14345                                                                                                            Lexington           KY       40512
           BROADSPIRE ANN TAYLOR 
5459464    STORES                      5335 Triangle Parkway NW                                                                                                Peachtree Corners   GA       30092
           BROADSPIRE ANN TAYLOR 
5733613    STORES                      PO BOX 14351                                                                                                            LEXINGTON           KY       40512‐4351
           BROADSPIRE‐ZACHRY 
5459465    HOLDINGS                    5335 Triangle Parkway NW                                                                                                Peachtree Corners   GA       30092
           BROADSPIRE‐ZACHRY 
5733614    HOLDINGS                    PO BOX 14345                                                                                                            LEXINGTON           KY       40512‐4345
5463291    Brock Group                 10343 Sam Houston Park Dr. #200                                                                                         Houston             TX       77064
           BROCKUS INSURANCE SERVICES 
5460130    INC                         1000 S Belcher Road, Suite 3                                                                                            Largo               FL       33771
           BROKEN ARROW INSURANCE 
5460131    AGENCY INC                  2720 N. Hemlock Ct. Suite A                                                                                             Broken Arrow        OK       74012
           BROKERAGE INSURANCE 
5460768    CONSULTANTS INC             PO Box 832707                                                                                                           Miami               FL       33283
5461456    BRONSON, SHARLENE           2601 WEST WEAVER ROAD                                                                                                   HAMPTON             VA       23666
           BROOKS INSURANCE AGENCY 
5460132    INC                         70 Bridge Plaza Dr.                                                                                                     Manalapan           NJ       07726
5462664    BROOKS, DOUGLAS             2285 TREEHOUSE LANE                                   NUMBER J‐111                                                      CORONA              CA       92879
           BROUWER HANSEN & IZDEBSKI 
5460608    ASSOCIATES                  PO Box 5018                                                                                                             Toms River          NJ       08754
                                                                                             Attn: Bankruptcy 
5458977 Broward County                             c/o Records, Taxes & Treasury             Section                115 S. Andrews Ave A‐100                   Fort Lauderdale     FL       33301
                                                   2601 W Broward Blvd Ft. Lauderdale, FL 
5463292 Broward Sheriff's Office                   33312                                                                                                       Miramar             FL       33027
5462041 BROWER, JEFFERY                            80 SWIMMING RIVER ROAD                                                                                      LINCROFT            NJ       07738
           BROWN & BROWN METRO LLC‐
5460133 MT LAUREL                2000 Midlantic Drive, Suite 440                                                                                               Mount Laurel        NJ       08054
        BROWN & BROWN METRO LLC‐
5460811 ROSELAND                 P.O Box 369                                                                                                                   Roseland            NJ       07068‐0369




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           BROWN & BROWN OF FL INC‐
5460134    HOMESTEAD DIVISION                      1780 N. KROME AVE                                                                           HOMESTEAD          FL       33030
           BROWN & BROWN OF FLORIDA 
5460812    INC ‐ OCALA                             1720 SE 16 Avenue, Suite 301                                                                Ocala              FL       34471‐4620
           BROWN & BROWN OF FLORIDA 
5460609    INC ‐ TALLAHASSEE                       3520 Thomasville Road, Suite 500                                                            Tallahassee        FL       32309
           BROWN & BROWN OF FLORIDA 
           INC DBA BEN TRUST 
5460599    INSURANCE GROUP                         701 Waterford Way, Suite 300                                                                Miami              FL       33126
           BROWN & BROWN OF FLORIDA 
5460598    INC‐DAYTONA                             220 S Ridgewood Avenue                                                                      Daytona Beach      FL       32114
           BROWN & BROWN OF FLORIDA 
5460769    INC‐MAITLAND                            2290 Lucien Way, Suite 400                                                                  Maitland           FL       32751
           BROWN & BROWN OF FLORIDA 
5460600    INC‐NAPLES                              1421 Pine Ridge Rd. Suite 200                                                               Naples             FL       34109

           BROWN & BROWN OF FLORIDA 
5460135 INC‐PINELLAS DIVISION        83 N Park Place Blvd., Suite 101                                                                          Clearwater         FL       33759
           BROWN & BROWN OF FLORIDA 
5460124    ‐MIAMI DIVISION           14900 NW 79th Court. Suite 200                                                                            Miami Lakes        FL       33016
           BROWN & BROWN OF FLORIDA‐
5460125    BREVARD                   6905 N Wickham Rd., Suite 501                                                                             Melbourne          FL       32940
           BROWN & BROWN OF FLORIDA‐
5460813    FT LAUDERDALE             P.O Box 5727                                                                                              Ft Lauderdale      FL       33310‐5727
           BROWN & BROWN OF LEHIGH 
5460126    VALLEY LP                 3001 EMRICK BLVD SUITE 120                                                                                BETHLEHEM          PA       18020
           BROWN & BROWN OF NEW 
5460127    MEXICO INC                P.O Box 94450                                                                                             Albuquerque        NM       87199
           BROWN & BROWN OF 
5460601    PENNSYLVANIA LP           125 E Elm Street, Suite 210                                                                               Conshohocken       PA       19428

           BROWN & BROWN OF SOUTH 
5460602 CAROLINA INC‐N CHARLESTON 7515 Northside Drive, Suite 150                                                                              North Charleston   SC       29420

           BROWN & RIDING INSURANCE 
           SERVICES INC D/B/A ALASKA 
5463293    GENERAL INSURANCE AGENCY                3003 Minnesota Drive # 300                                                                  Anchorage          AK       99503
           BROWN INSURANCE & 
5460770    FINANCIAL SERVICES                      2401 West Bay Drive ‐ Suite 603                                                             Largo              FL       33770
5460128    BROWN INSURANCE GROUP                   10 E 40th St.                                                                               New York           NY       10016
5463091    BROWN, ANGELA                           3736 METRO PKWY                    APT 1120                                                 FT. MYERS          FL       33916

5462541 BROWN, DANA                                19493 SKIDMORE WAY                 APARTMENT 201‐A                                          FORT MYERS         FL       33967



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5462543    BROWN, DANIEL                           14 GLENDALE STREET                                                                       GREENVILLE      SC       29605
5462556    BROWN, DANITA                           4517 DALMAHOY COURT             UNIT # 602                                               FORT MYERS      FL       33916
5462597    BROWN, DEBORAH                          P.O. BOX 1461                                                                            ADEL            GA       31620
5462140    BROWN, JOSHUA                           210 SHERWOOD DRIVE                                                                       LAURENS         SC       29360
5462300    BROWN, LAURA                            133 FLETCHER LEWIS RD                                                                    PICKENS         SC       29671
5460858    BROWN, MARKL                            PO BOX 6268                                                                              MORAGA          CA       94570
5461033    BROWN, MONICA                           1224 JOYCE STREET                                                                        MARRERO         LA       70072
5461268    BROWN, RICKIA                           2812 NW SS AVENUE               APARTMENT 2B                                             LAUDERHILL      FL       33313
5461792    BROWN, VICTORIA                         150 HOWELL CIRCLE               APT 409                                                  GREENVILLE      SC       29615
           BROWN‐HILLER‐CLARK & 
5460771    ASSOCIATES                              P.O. BOX 3529                                                                            FORT SMITH      AR       72913‐3529
5460129    BRP RYAN INSURANCE LLC                  302 W. New York Avenue                                                                   DeLand          FL       32720
           BRUCE HENDRY INSURANCE 
5460120    INC                                     711 W. Main Street                                                                       Immokalee       FL       34142
           BRUCE SWAFFORD INSURANCE 
5460603    AGENCY INC                              4911 N. State Road 9                                                                     Anderson        IN       46012
5462380    BRUCE, LORETTA                          1196 QUEEN LANE                 APARTMENT 6                                              WEST CHESTER    PA       19382
5461279    BRUENING, ROBERT                        1850 SW 75TH TERRACE                                                                     PLANTATION      FL       33317
5462908    BRUNSON, GRIFFIN                        13250 CORBEL CIRCLE UNIT 1412                                                            FORT MYERS      FL       33907
5463414    BRYAN, CHRISTINE                        8111 NW 73RD TERRACE                                                                     TAMARAC         FL       33321
5463030    BRYANT, AMANDA                          1903 S BENDELOW TRL                                                                      TAMPA           FL       33629
5461847    BRYANT, YOHIJI                          2106 AYRSLEY TOWN BLVD          NUMBER B                                                 CHARLOTTE       NC       28273
5459458    BUCKHEAD BEANS                          829 PICKENS INDUSTRIAL DR       SUITE 12                                                 MARIETTA        GA       30062

5460592 BUDD INSURANCE AGENCY INC 160 Division Street., Suite C                                                                             Coldwater       MI       49036
           BUDDY POPPELL INSURANCE 
5460121    SERVICE                                 PO Box 151                                                                               Lake Wales      FL       33859‐0151
5460593    BUFFALO AGENCY INC                      P.O Box 1306                                                                             Cabot           AR       72023
5462319    BUHMANN, LENNIE                         6169 LINCK CIRCLE                                                                        SHPHERD         MT       59079
5463300    Builders Trust                          5931 Office Blvd NE                                                                      Albuquerque     NM       87109
           BUKATY PROPERTY & 
5460122    CASUALTY                                4601 COLLEGE BLVD STE 100                                                                LEAWOOD         KS       66211‐1664
5462957    BULLARD, ADAM                           7015 NORTH BROADWAY                                                                      GLADSTONE       MO       64118

5459459    BUREAU OF FIRE PREVENTION               9 METROTECH CENTER              ROOM 3W‐2                                                BROOKLYN        NY       11201‐3857
5461457    BURG, SHARON                            821 2ND AVENUE                                                                           BRISTOL         PA       19007
5462566    BURGESS, DAVID                          4919 EMILEE GRACE LANE                                                                   ST. CLOUD       FL       34771
5461344    BURGESS, SAMANTHA                       5265 GRATIS LANE                                                                         ORANGE          TX       77632
5461707    BURGESS, TRACEY                         4919 EMILEE GRACE LANE                                                                   ST. CLOUD       FL       34771
5461470    BURGOS, SHERRY                          P.O BOX 781295                                                                           ORLANDO         FL       32878
5460123    BURKE & O'BRIEN                         432 US HIGHWAY 46                                                                        GREAT MEADOWS   NJ       07838
5463024    BURKE, ALVA                             733 SHEFWOOD DRIVE                                                                       EASLEY          SC       29642



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5461145 BURKE, PATRICK                             107 GRANT STREET                                                                          LOCKPORT           NY       14094
5462375 BURKEY, LONNIE                             PO BOX 1140                                                                               MILLBROOK          AL       36054
5462397 BURKEY, LYNETTE                            PO BOX 1042                                                                               ONEONTA            AL       35121

5460300 BURKHOLDER INSURANCE INC P.O Box 81569                                                                                               Mobile             AL       36689
5461710 BURKS, TRACY             17424 WEST GRAND PARKWAY                           NUMBER 527                                               SUGAR LAND         TX       77479
5462053 BURNS, JENNIFER          2721 SUNDOWNER DRIVE                                                                                        ST CHARLES         MO       63303
           BUSINESS INSURANCE GROUP 
5460760 INC                          7247 BRYAN DAIRY RD.                                                                                    LARGO              FL       33777
        BUSINESS INSURANCE SERVICES 
5460115 INC                          615 PI‘IKOI STREET                             SUITE 1901                                               HONOLULU           HI       96814
        BUSINESS INSURERS OF THE 
5460116 CAROLINAS INC                P.O Box 2536                                                                                            Chapel Hill        NC       27515

5460594 BUSINESS RISK SERVICES INC                 4331 Bay Beach Lane #553                                                                  Fort Myers Beach   FL       33931

5460117 BUSINESS RISK SERVICVES INC                4331 Bay Beach Lane                                                                       Fort Myers Beach   FL       33931
5463132 BUSTAMANTE, ARTHUR                         11531 STEPHANIE LANE                                                                      GARDEN GROVE       CA       92840

5462768 BUTCHER, FARRAH                            5862 SAN FERNANDO PLACE                                                                   RANCHO CUCAMONGA   CA       91739
5460118 BUTLER BUCKLEY DEETS INC                   6161 Blue Lagoon Dr., #420                                                                Miami              FL       33126
5462859 BUTLER, GAYLE                              5146 PANHANDLE CIRCLE                                                                     MATTHEWS           NC       28104
5461848 BUTLER, YOLANDA                            3935 ELLINGTON ROAD              2ND FLOOR                                                PHILADELPHIA       PA       19131
5461451 BUXTON, SHANNON                            19 COOPER RD                                                                              MORRILL            ME       04952
        BWT LIMITED LIABILITY 
5459457 COMPANY                                    6719 ACADEMY RD NE               STE C                                                    ALBEQUERQUE        NM       87109

5461473    BYER‐MODESTE, SHERRYANN                 10311 SW 24TH CT                                                                          MIRAMAR            FL       33025
5461877    BYFORD, HAROLD                          867 NORTH LAMB SPC 234                                                                    LAS VEGAS          NV       89110
5461994    BYRD, JAMES                             6003 MURRAY HILL DRIVE                                                                    TAMPA              FL       33615
5459753    BYRNE, PAUL C                           30100 TWON CENTER DR. #O‐317                                                              LAGUNA NIGUEL      CA       92677
           BYRNE‐KIM AND ASSOCIATES 
5460119    INN SVCS INC                            30100 Town Center Dr. Ste 0‐31                                                            Laguna Niguel      CA       92677
5460911    BYROM, MEAGAN                           213 CAMELOT DRIVE                                                                         WELDON SPRING      MO       63304
5463302    C & M Foods, Inc.                       235 Hwy. 15                      401 By‐Pass                                              Bennettsville      SC       29512
5463303    C TIMOTHY MORRIS                        49 ARCHDALE ST., 2FCHARLESTO                                                              CHARLESTON         SC       29401

5460112 C WALTER SEARLE INS AGENCY 410 Franklin Avenue                                                                                       Nutley             NJ       07110
        C WALTER SEARLE INSURANCE 
5459454 AGENCY                     410 Franklin Avenue                                                                                       Nutley             NJ       07110
        C WONG INSURANCE AGENCY ; 
        QUAIL RIDGE INSURANCE 
5460113 SERVICES                   506 A Merchant Steet                                                                                      Vacaville          CA       95688


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5460595 C&C INSURANCE BROKERS LLC 7411 E 6th Avenue. Ste 202                                                                                               Scottsdale       AZ      85251
5460761 C&C INSURANCE INC         1921 NW 150 AVE #101                                                                                                     PEMBROKE PINES   FL      33028
5459455 C3 GROUP LLC              P.O. Box 554                                                                                                             Clarks Summit    PA      18411
           CA Association of Licensed 
5463304 Repos                                      1000 Q Street                                                                                           Sacramento       CA      95811‐6518

5459027 CABLEVISION LIGHTPATH INC                  200 JERICHO QUADRANGLE                                                                                  JERICHO          NY      11753

5459015    CABLEVISION LIGHTPATH INC               PO BOX 360111                                                                                           PITTSBURGH       PA      15251‐6111
5460836    CADENA‐GREEN, MARIELA                   1320 SW 147TH AVENUE                                                                                    HOLLYWOOD        FL      33027
5460114    CAFARELLI AGENCY LTD                    1030 Jericho Tpke                                                                                       Smithtown        NY      11787
5459456    CAFARELLI AGENCY LTD                    Ronnie Keller                             1030 Jericho Tpke                                             Smithtown        NY      11787
5462146    CAGLE, JUDITH                           881 WHITE IVEY COURT                                                                                    APOPKA           FL      32712

5459451 CAHILL GORDON & REINDEL LLP 80 PINE STREET                                                                                                         NEW YORK         NY      10005
                                                                                             205 EAST MAIN 
5463305 CAISON ENTERPRISES INC                     ATTN: EMPLOYEE BENEFITS                   STREET                                                        WALLACE          NC      28466
           CALDWELL & ASSOC INS 
5460109    SERVICES                                1173 South 250 West #306                                                                                St. George       UT      84770
           CALDWELL & ASSOCIATES 
5460110    INSURANCE SERVICES INC                  1173 SOUTH 250 WEST #306                                                                                SAINT GEORGE     UT      84770
5462201    CALDWELL, KATHY                         30 BORDER AVENUE                                                                                        SIMPSONVILLE     SC      29680
5463160    CALHOON, ATHENA                         3968 BAYBERRY DRIVE                                                                                     MELBOURNE        FL      32901
           CALIFORNIA COALITION ON 
5459452    WORKERS COMPENSATION                    1415 L Street                              Suite 1000                                                   Sacramento       CA      95814
           California Department of                Attn: Charlene Ferguson, Bureau Assistant 
5458782    Insurance                               Chief, Producer Licensing                  300 Capitol Mall      17th Floor                             Sacramento       CA      95814
           CALIFORNIA DEPARTMENT OF 
5458978    REVENUE                                 P.O. Box 942840                                                                                         Sacramento       CA      94240
5461978    CALVAR, JACK                            1065 NW 125 STREET                        APT #100                                                      N MIAMI          FL      33161
5461667    CALVERT, THOMAS                         222 ABBERLY CREST BLVD                                                                                  GARNER           NC      27529
5463100    CALVIN, ANITA                           3440 EAST PRESCOTT CIRCLE                                                                               CUYAHOGA FALLS   OH      44223
5462884    CAMACHO, GLORIA                         1798 NE 36 ST                                                                                           OAKLAND PARK     FL      33334
           CAMERON M HARRIS & 
5460762    COMPANY LLC                             PO Box 220948                                                                                           Charlotte        NC      28222
5462715    CAMP, EMILY                             5723 CROWNTREE LANE                       APT 303                                                       ORLANDO          FL      32829
5460763    CAMPBELL & COMPANY                      P.O. Box D                                                                                              Camden           AR      71711
5463165    CAMPBELL, AUDRA                         1381 NW 18TH DRIVE                        NUMBER 303                                                    POMPANO BEACH    FL      33069
5460816    CAMPBELL, MANDY                         3560 BROAD STREET ROAD                                                                                  GUM SPRING       VA      23065
5461038    CAMPBELL, MORGAN                        5538 LEWIS MILL ROAD                                                                                    GOOCHLAND        VA      23063
5461664    CAMPBELL, THERESA                       449 CAROLINE                                                                                            KIRKWOOD         MO      63122




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           CANDID INVESTIGATION 
5463311    SERVICES LLC                            401 E. LAS OLAS BLVD, SUITE 1650                                                                 FORT LAUDERDALE    FL       33301
5460111    CANGELOSI AGENCY LLC                    1660 Goffle Road                                                                                 Hawthorne          NJ       07506
5459453    CANGELOSI AGENCY LLC                    Frank Cangelosi, Jr.                    1660 Goffle Road                                         Hawthorne          NJ       07506
           CANNASURE INSURANCE                                                             GEMINI TOWERS, 
5460107    SERVICES LLC                            1991 CROCKER ROAD                       STE. 320                                                 WEST LAKE          OH       44145
           CANNATELLA‐FERAZZOLI, 
5462454    CLAUDETTE                               8652 SE 162ND STREET                                                                             SUMMERFIELD        FL       34491
           CANON FINANCIAL SERVICES 
5459447    INC                                     14904 Collections Center Drive                                                                   Chicago            IL       60693
           CANON SOLUTIONS AMERICA 
5733616    INC.                                    15004 COLLECTIONS CENTER DRIVE                                                                   CHICAGO            IL       60693
5461236    CANTLEY III, RAVENELL                   944 RIDGEHILL DRIVE                                                                              SUMTER             SC       29154
           CANTOR INSURANCE GROUP 
5460597    LLC                                     26777 Central Park Blvd. Ste 250                                                                 Southfield         MI       48076
5460108    CAPACITY COVERAGE CO                    1 International Blvd.                                                                            Mahwah             NJ       07495
           CAPACITY COVERAGE 
5459449    COMPANY                                 One International Blvd Suite 300                                                                 Mahwah             NJ       07495
5459450    CAPINVAD LLC                            P.O. BOX 4997                                                                                    MANCHESTER         NH       03108
           CAPITAL INSURANCE & 
5460586    FINANCIAL SERVICES INC                  3701 Lake Boone Trail, Suite 200                                                                 Raleigh            NC       27607
           CAPITAL PROVIDER INSURANCE 
5460104    SERVICESINC                             20750 VENTURA BLVD., SUITE #305                                                                  WOODLAND HILLS     CA       91364
           CAPITAL PROVIDERS INS 
5459444    SERVICES INC                            20121 Ventura Blvd., Suite #307                                                                  Woodland Hills     CA       91364
           CAPITAL PROVIDERS 
5460105    INSURANCE                               20750 VENTURA BLVD #305                                                                          WOODLAND HILLS     CA       91364
5459445    CAPITOL COFFEE SYSTEMS                  1113 CAPITAL BLVD                                                                                RALEIGH            NC       27603
5460846    CAPLIN, MARK                            17615 SW 6TH STREET                                                                              PEMBROKE PINES     FL       33029
5462388    CAPPETTA, LUCCA                         10105 SW 200 ST                                                                                  MIAMI              FL       33157
5460843    CAPPS, MARISSA                          16609 WEST 146TH STREET                                                                          OLATHE             KS       66062
5461175    CAPPS, PHILLIP                          16609 WEST 146TH STREET                                                                          OLATHE             KS       66062
5461373    CAPPS, SAVANNAH                         16609 W. 146 STREET                                                                              OLATHE             KS       66062
           Caprock Claims Management, 
5463313    LLC                                     9330 Lyndon B Johnson Frwy, Suite 300                                                            Dallas             TX       75234
5460106    CAPSTONE BROKERAGE INC                  8681 W Sahara Ave. #100                                                                          Las Vegas          NV       89117
           CAPSTONE INSURANCE 
5460587    SERVICES LLC                            P.O Box 970                                                                                      Toms River         NJ       08754
5463314    Cardenas Market, Inc.                   2501 E. Guasti Rd.                                                                               Ontario            CA       91761
5462818    CARDILLO, GABRIELLA                     427 SW 37TH TER.                                                                                 CAPE CORAL         FL       33914
5459446    CAREER BUILDER LLC                      13047 COLLECTION CENTER DRIVE                                                                    CHICAGO            IL       60693

5460101 CAREY INSURANCE GROUP LLC 960 Chambers Blvd                                                                                                 Bardstown          KY       40004



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5463319 Carl Warren and Company                    7929 Brookriver Dr                 Ste. 225                                                    Dallas            TX       75247‐5052
5460102 CARMAN CORPORATION                         920 W Sproul Rd Ste 201                                                                        Springfield       PA       19064‐1241
5461090 CARNAHAN, NICHOLAS                         4614 ETHANS GLENN AVENUE                                                                       ORLANDO           FL       32812
5460103 CARNEY INSURANCE                           6938 W. Linebaugh Ave., Ste. 102                                                               Tampa             FL       33625
        Carolina Casualty Insurance                                                   Building 100, Suite 
5458938 Company                                    4600 Touchton Road E               400                                                         Jacksonville      FL       32246
        CAROLINA EXPRESS DELIVERY 
5459441 INC                                        P.O. Box 327                                                                                   Greenville        SC       29602

5463340 Carpenter and Company                      Sara Gilmore                       8301 State Line Rd.                                         Kansas City       MO       64114

5463339 Carpenter and Company                      Scott Gilmore                      8301 State Line Rd.                                         Kansas City       MO       64114
           CARPENTER AND COMPANY 
5460764    INC                                     8301 State Line Rd., Suite G‐A                                                                 Kansas City       MO       64114
5461108    CARPENTER, NORMA                        31 ORCHARD DRIVE                                                                               ARMAGH            PA       15920
5463328    CARR, CAROL                             3013 POTSHOP ROAD                                                                              EAST NORRITON     PA       19403
           CARRERA INSURANCE 
5460588    UNDERWRITERS INC                        13500 SW 88 STREET, SUITE 235                                                                  MIAMI             FL       33186
5463222    CARROW, BETH                            1521 STATE HIGHWAY 47                                                                          BONNE TERRE       MO       63628
5733617    CARROW, BETH ANN                        1521 STATE HWY 47                                                                              BONNE TERRE       MO       63628
5463099    CARTER, ANGIE                           12040 OLD EUREKA WAY                                                                           GOLD RIVER        CA       95670
5461230    CARTER, RANDY                           8436 LISMERE E.D.                  APARTMENT D                                                 INDIANAPOLIS      IN       46227
5463267    CARTWRIGHT, BRIAN                       9 WAITES WHARF                     APARTMENT 2                                                 NEWPORT           RI       02840
5463092    CASE, ANGELA                            16984 BOONE AND CROCKETT COURT                                                                 WRIGHT CITY       MO       63390
5733618    CASE, ANGELA M                          16984 BOONE & CROCKETT CT                                                                      WRIGHT CITY       MO       63390
5461032    CASE, MONA                              25143 VIA TERRACINA                                                                            LAGUNA NIGUEL     CA       92677
5461462    CASEY, SHAUN                            6631 NE 21ST AVENUE                                                                            FORT LAUDERDALE   FL       33308
5462249    CASH, KIERSTEN                          1300 FAYETTE STREET                APT 43                                                      CONSHOHOCKEN      PA       19428
5462065    CASHIN, JERI                            2917 MERAMEC TERRACE ROAD                                                                      ROBERTSVILLE      MO       63072
5460866    CASTELLANOS, MARY                       3302 W 110TH ST                                                                                INGLEWOOD         CA       90303
5462816    CASTELLON, GABRIELA                     3345 QUAIL DRIVE                                                                               DELTONA           FL       32738
5463079    CASTILLO, ANDRES                        3101 LUCAS DRIVE                                                                               BETHLEHEM         PA       18017
5461793    CASTILLO, VICTORIA                      721 MARSH AVE                                                                                  FORT MYERS        FL       33905
5462507    CASTOR, COURTNEY                        725 CREEKWATER TERRACE             APARTMENT 209                                               LAKE MARY         FL       32746
5461976    CASTRILLON, IVONNE                      7160 SW 10TH STREET                                                                            PEMBROKE PINES    FL       33023
5461105    CATA‐HERNANDEZ, NILKA                   8925 NW 10TH STREET                                                                            PEMBROKE PINES    FL       33024
5463423    CATANIA, CHRISTOPHER                    707 N. GRAND AVENUE #401                                                                       WAUKESHA          WI       53186
5460765    CATON‐HOSEY INSURANCE                   3731 Nova Rd.                                                                                  Port Orange       FL       32129
           CAYMAN CORPORATE CENTRE 
5733619    HOLDINGS LTD                            27 HOSPITAL ROAD                                                                               GEORGE TOWN                KY1‐9008      CAYMAN ISLANDS
           CAYMAN ISLAND MONETARY 
5459443    AUTHORITY                               80 SHEDDEN ROAD                    ELIZABETH SQUARE                                            GRAND CAYMAN               KY1‐1001      CAYMAN ISLANDS



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5460097 CBIZ INSURANCE SERVICE INC                 301 YAMATO ROAD. SUITE 3150                                                                    BOCA RATON         FL       33431

5460098 CBIZ INSURANCE SERVICE INC                 44 Baltimore Street                                                                            Cumberland         MD       21502
5463351 CBM Managed Services                       500 E 52nd Street North                                                                        Sioux Falls        SD       57104
                                                                                    500 E. 52ND. ST. 
5463350 CBM MANAGED SERVICES                       ATTN: AMBER                      NORTH                                                         SIOUX FALLS        SD       57104
        CCAB INSURANCE & BENEFITS 
5460099 INC                        2101 Oregon Pike, Suite 202                                                                                    Lancaster          PA       17602
                                                                                    TOWNE CENTRE 
5459439 CCMSI                                      2 EAST MAIN STREET               BUILDING                                                      DAVILLE            IL       61832‐5852
5463352 CCMSI ‐ Albuquerque                        P.O. Box 30870                                                                                 Albuquerque        NM       87190
5463353 CCMSI ‐ Dallas                             13601 Preston Road #318w                                                                       Dallas             TX       75240

5463354 CCMSI ‐ DMS Facility Services              18881 Von Karman Ave # 380                                                                     Irvine             CA       92612
5463356 CCMSI ‐ Houston                            1500 City West Blvd, Suite 120                                                                 Houston            TX       77042
           CCMSI ‐ Houston Independent 
5463357    School District                         5827 Chimney Rock Road                                                                         Houston            TX       77081
5463358    CCMSI ‐ Little Rock                     1501 North University Avenue     #767                                                          Little Rock        AR       72207
5463360    CCMSI ‐ Portland, ME                    324 Cummings Rd # 104                                                                          Portland           ME       04106
5463362    CCMSI ‐ UT System                       P. O Box 802082                                                                                Dallas             TX       75380
                                                                                    2 East Main St., 
5463363 CCMSI/Hospital Association                 Kathy Forsyth                    Suite 208                                                     Danville           IL       61832
           CCMSI/Workers Compensation                                               2 East Main Street, 
5463364    Trust of IL                             Darla Duckwitz                   Suite 208                                                     Danville           IL       61832
           CCO INSURANCE SOLUTIONS 
5460100    LLC                                     650 Townsend Street #410                                                                       San Francisco      CA       94103
5463365    CCS Holdings                            300 East Royal Lane              Suite 200                                                     Irvine             TX       75039
5459440    CDW DIRECT                              200 NORTH MILWAUKEE AVENUE                                                                     VERNON HILLS       IL       60061
5459436    CDW DIRECT LLC                          P.O. BOX 75723                                                                                 CHICAGO            IL       60675
5461159    CECCHETTINI, PAULA                      8128 CHIMANGO WAY                                                                              ANTELOPE           CA       95843
5733620    CECCHETTINI, PAULA A.                   8128 CHIMANGO WAY                                                                              ANTELOPE           CA       95843

5460094 CECIL W POWELL & COMPANY 219 N. Newnan Street                                                                                             Jacksonville       FL       32202
           CELENT A DIVISION OF OLIVER 
5459437    WYMAN INC                               P.O. BOX 3800‐28                                                                               BOSTON             MA       02241
5463368    Cemex                                   10100 Katy Fwy Ste 300                                                                         Houston            TX       77043‐5267
5460095    CENNAIRUS LLC                           PO Box 25897                                                                                   Sarasota           FL       34277
           Center Mutual Insurance 
5463370    Company                                 1211 3rd Avenue SE               P.O. Box 365                                                  Rugby              ND       58368
5463371    Center Point Energy                     1111 Louisiana, 40th floor                                                                     Houston            TX       77002
5463372    Center Point Energy                     1111 Louisiana Street                                                                          Houston            TX       77002




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5463374 Central Bank Insurance Agency Larry Mertens                                      PO Box 779                                                      Jefferson City    MO       65102

5463373 Central Bank Insurance Agency P.O Box 779                                                                                                        Jefferson City    MO       65102
        CENTRAL CITY INSURANCE 
5460096 AGENCY INC                                1040 Nevada Street #304                                                                                Redlands          CA       92374
        CENTRAL FL EDUCATORS 
5459438 FEDERAL CREDIT UNION                      P.O. BOX 958471                                                                                        LAKE MARY         FL       32795

          CENTRAL FLORIDA EDUCATORS 
5463375 FEDERAL CREDIT UNION                      1000 PRIMERA BLVD, SUITE 2130 & 3130                                                                   LAKE MARY         FL       32746
5463376 Central Parking                           507 Mainstream Drive                                                                                   Nashville         TN       37228
          CENTURION INSURANCE 
5460802 AGENCY INC                 2479 Woodlake Circle #300                                                                                             Okemos            MI       48864‐6931
        CENTURY ADVISORY SERVICES 
5460090 INC                        2600 N. Military Trail, Ste 240                                                                                       Boca Raton        FL       33431

5463377 CENTURY HOSIERY INC                       ATTN: KATHY MARTIN                     651 GARNER ROAD                                                 DENTON            NC       27239
5463378 Century Hosiery, Inc.                     PO Box 1410                                                                                            Denton            NC       27239
          CENTURY LINK BUSINESS 
5733621 SERVICES                                  13322 COLLECTIONS                                                                                      CHICAGO           IL       60693
5459434 CENTURYLINK                               PO BOX 4786                                                                                            MONROE            LA       71211

        Centurylink Communications, 
        LLC f/k/a Qwest 
5728707 Communications Company, LLC 220 N 5th St                                                                                                         New Century       KS       58501

        Centurylink Communications, 
        LLC f/k/a Qwest 
5728707 Communications Company, LLC 600 New Century Parkway                                                                                              New Century       KS       66031
5458942 CERBERUS                     875 Third Avenue                                                                                                    New York          NY       10022
                                                                                                                                                                           New 
5760854 Cerberus ASRS Funding LLC                 Cerberus Capital                       Paul Lusardi       875 Third Avenue           10th Floor        New York          York     10022
                                                                                                                                                                           New 
5760855 Cerberus ASRS Holdings LLC                Cerberus Capital                       Paul Lusardi       875 Third Avenue           10th Floor        New York          York     10022
                                                                                                                                                                           New 
5760856 Cerberus AUS Levered Holdings Cerberus Capital                                   Paul Lusardi       875 Third Avenue           10th Floor        New York          York     10022
                                                                                                                                                                           New 
5760857 Cerberus AUS Levered II LP  Cerberus Capital                                     Paul Lusardi       875 Third Avenue           10th Floor        New York          York     10022
        CERBERUS BUSINESS FINANCE, 
5733533 LLC                         875 THIRD AVENUE                                                                                                     NEW YORK          NY       10022




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           CERBERUS BUSINESS FINANCE, 
5459002 LLC, AS COLLATERAL AGENT                   875 THIRD AVENUE                                                                          NEW YORK          NY      10022
                                                                                                                                                               New 
5760858 Cerberus FSBA Holdings LLC                 Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760859 Cerberus FSBA Levered LLC                  Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760881 Cerberus ICQ Levered LLC (CLO) Cerberus Capital                      Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
        Cerberus ICQ Levered Loan                                                                                                                              New 
5760882 Opportunities Fund, L.P.                   Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760883 Cerberus ICQ Offshore Levered Cerberus Capital                       Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
        Cerberus ICQ Offshore Loan                                                                                                                             New 
5760884 Opp Master Fund LP                         Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
        Cerberus KRS Levered Loan                                                                                                                              New 
5760885 Opp                                        Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
        Cerberus Levered Loan                                                                                                                                  New 
5760886 Opportunities Fund III,                    Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760875 Cerberus Loan Funding XIX, L.P Cerberus Capital                      Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760876 Cerberus Loan Funding XV L.P. Cerberus Capital                       Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760877 Cerberus Loan Funding XVI LP               Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760878 Cerberus Loan Funding XVII Ltd Cerberus Capital                      Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
        Cerberus Loan Funding XVIII                                                                                                                            New 
5760879 L.P.                                       Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760880 Cerberus N‐1 Funding LLC                   Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
           Cerberus NJ Credit                                                                                                                                  New 
5760869    Opportunities Fund, L.P.                Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
           Cerberus Offshore Lev Loan                                                                                                                          New 
5760870    Opp Master Fund III                     Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
           Cerberus Offshore Levered III                                                                                                                       New 
5760871    LP                                      Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
           Cerberus Onshore Levered III                                                                                                                        New 
5760872    LLC                                     Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022
                                                                                                                                                               New 
5760873 Cerberus PSERS Levered LLC                 Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022

           Cerberus PSERS Levered Loan                                                                                                                         New 
5760874 Opportunities Fund, L.P.                   Cerberus Capital          Paul Lusardi       875 Third Avenue           10th Floor        New York          York    10022


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           Cerberus Redwood Lev Loan                                                                                                                                      New 
5760863    Opp Fund A                     Cerberus Capital                           Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022
           Cerberus Redwood Lev Loan                                                                                                                                      New 
5760864    Opp Fund B                     Cerberus Capital                           Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022
           Cerberus Redwood Levered A                                                                                                                                     New 
5760865    LLC                            Cerberus Capital                           Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022
           Cerberus Redwood Levered B                                                                                                                                     New 
5760866    LLC                            Cerberus Capital                           Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022
           Cerberus SWC Levered Holdings                                                                                                                                  New 
5760867    II                             Cerberus Capital                           Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022

           Cerberus SWC Levered Loan                                                                                                                                      New 
5760868 Opportunities Master Fund, L.P. Cerberus Capital                             Paul Lusardi         875 Third Avenue           10th Floor        New York           York     10022
           CERTIFIED INSURANCE 
5460589    SOLUTIONSINC                            11555 Heron Bay Blvd. Suite 200                                                                     Coral Springs      FL       33076
5460091    CERTISURE INC                           210 Security Square                                                                                 Winter Haven       FL       33880
5460590    CGB INSURANCE LLC                       2531 GREEN FOREST LANE #101                                                                         LUTZ               FL       33558
5461228    CHALLACOMBE, RANA                       304 PRAIRIE LANE                                                                                    BELTON             MO       64012
           CHALLENGER GRAY & 
5459435    CHRISTMAS INC                           P.O. BOX 324                                                                                        WINNETKA           IL       60093
           CHAMBERLIN & REINHEIMER 
5460092    INSURERS INC                            215 Wyoming Ave.                                                                                    Scranton           PA       18503
5462016    CHAMNESS, JANICE                        194 HORSESHOE DRIVE                                                                                 KIRKWOOD           MO       63122
5733622    CHANGE HEALTHCARE                       P O BOX 572490                                                                                      MURRAY             UT       84157‐2490
           CHARITY ONE INSURANCE 
5460093    AGENCY INC                              680 EAST ALOSTA, SUITE #104                                                                         AZUSA              CA       91702
           CHARLES L CRANE AGENCY 
5460087    COMPANY                                 100 N. BROADWAY, SUITE 900                                                                          SAINT LOUIS        MO       63102
5462133    CHARNIN, JOSEPH                         3301 NW 72ND TERR                                                                                   HOLLYWOOD          FL       33024

5459431 CHARTER COMMUNICATIONS                     P.O. BOX 790086                                                                                     ST LOUIS           MO       63179

                                                                                     212 N. 
5463392 Chase Park Plaza Hotel                     Paul Tomchyshyn                   Kingshighway Blvd.                                                St. Louis          MO       63108
        CHASTAIN AND ASSOCIATES 
5460591 INSURANCE AGENCY INC                       P.O Box 1908                                                                                        Athens             GA       30603
                                                                                     1715 West 38th 
5463393    Chattem                                 Derek Carlson                     Street                                                            Chattanooga        TN       37409
5461179    CHAU, PHONG                             8719 HONEYCOMB DR                                                                                   PORT RICHEY        FL       34668
5462054    CHAVEZ, JENNIFER                        20023 GILBERT DRIVE                                                                                 CANYON COUNTRY     CA       91351
5461094    CHAVEZ, NICK                            2418 VEREDA DE ENCANTO                                                                              SANTE FE           NM       87505
5462567    CHELSTOWSKI, DAVID                      1411 WEST COLT ROAD                                                                                 CHANDLER           AZ       85224
5460088    CHEN & ASSOCIATES INC                   750 Route 73 South, Unit 309B                                                                       Marlton            NJ       08053



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           CHEROKEE CAPITAL INC DBA 
5733623    HOBSON INSURANCE                        104 CENTRAL AVENUE                                                                           HOBSON          MT      59452
           CHEROKEE CAPITAL INC DBA 
5460089    HOBSON INSURANCE                        P.O Box 251                                                                                  Hobson          MT      59452
5461567    CHERVEN‐WIKER, SUSAN                    24800 WINTERBERRY LANE                                                                       PLAINFIELD      IL      60585
5463290    CHESBRO, BROCK                          15015 SOUTH STURGEON                                                                         OLATHE          KS      66062
5462689    CHESSER, EDNA MARIE                     2671 CAHILL WAY                                                                              LAKE MARY       FL      32746
5462174    CHILDS, KAREN                           20085 CRESTVIEW DRIVE                                                                        SANTA CLARITA   CA      91351
5462098    CHISENHALL, JOHN                        8079 GLEN ARBOR DRIVE                                                                        LAKE SAINT      MO      63367

5459432    CHLYSTEK & WHITE SERVICES               1601 GALBRAITH SE                SUITE 302                                                   GRAND RAPIDS    MI      49546
5463223    CHOQUETTE, BETH                         1831 SABAL PALM DRIVE 208        APT #208                                                    DAVIE           FL      33324
5463486    CHOROSZY, ZYGMUNT                       217 HARVARD CIRCLE                                                                           NEWTONVILLE     MA      02460
5463317    CHRISTENSEN, CARL                       191 PLEASANT HILL ROAD                                                                       SCARBORDOUGH    ME      04070
                                                                                    1328 East 
5463408 Christian Healthcare                       Darren Gee                       Evergreen                                                   Springfield     MO      65803
5460979 CHRISTIANSEN, MICHELE                      1406 CAYWOOD CIRCLE S                                                                        LEHIGH ACRES    FL      33936
5461668 CHRISTIANSEN, THOMAS                       5619 ELMHURST CIRCLE             BLDG 16 APT 313                                             OVIEDO          FL      32765
5463441 CHUBB ‐ California                         PO Box 30850                                                                                 Los Angeles     CA      90030
        CHUBB GROUP OF INSURANCE 
5463442 COMPANIES                                  202 Halls Mill Rd                                                                            White Hse Sta   NJ      08889‐3435
5463443 Chubb Inc                                  15 Mountain View Road                                                                        Warren          NJ      07059
5463451 Chubb Insurance                            555 Long Wharf Dr., 10th floor                                                               New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463444 Chubb Insurance                            Agarwal                          10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463448 Chubb Insurance                            Craig Powell                     10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463449 Chubb Insurance                            Lisa Robinson                    10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463445 Chubb Insurance                            Mark Berthiaume                  10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463446 Chubb Insurance                            Nicole Brouillard                10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463450 Chubb Insurance                            Patrick Sullivan                 10th floor                                                  New Haven       CT      06511
                                                                                    555 Long Wharf Dr., 
5463447 Chubb Insurance                            Paul J. Krump                    10th floor                                                  New Haven       CT      06511
5461810 CHUMIOQUE, WENDY                           9435 SW 52ND COURT                                                                           COOPER CITY     FL      33328
           CHUN‐HA INSURANCE 
5460580 SERVICESINC                                9122 Garden Grove Blvd                                                                       Garden Grove    CA      92844
5462246 CHURCH, KIASHA                             3760 METRO PKWY APT 624                                                                      FORT MYERS      FL      33916‐7495
5462017 CICCONE, JANINE                            1576 HEEBNER WAY                                                                             LANSDALE        PA      19446




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                                                                                                       Served via First Class Mail
 MMLID                     NAME                                  ADDRESS 1            ADDRESS 2                   ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY

5463456 Cincinnati Insurance Company Beth Phelps                                   P. O. Box 145496                                              Cincinnati        OH       45250‐5496

5463455 Cincinnati Insurance Company Bill Jansen                                   P. O. Box 145496                                              Cincinnati        OH       45250‐5496

5463457 Cincinnati Insurance Company Jon Millson                                   P. O. Box 145496                                              Cincinnati        OH       45250‐5496

5463454 Cincinnati Insurance Company               Tim Morris                      P. O. Box 145496                                              Cincinnati        OH       45250‐5496
5459427 CINTAS FIRE PROTECTION                     11411 EAST 51ST STREET                                                                        WESTMINSTER       CO       80234
5460085 CIS LLC                                    1991 CROCKER ROAD #320                                                                        WESTLAKE          OH       44145
5463460 CISCO                                      170 West Tasman Drive                                                                         San Jose          CA       95134
        CISCO SYSTEMS CAPITAL 
5459007 CORPORATION                                170 W. TASMAN DRIVE MS SJ13‐3                                                                 SAN JOSE          CA       95134
        Cisco Systems Capital                                                      M/S RTP 3L/2, 
5760833 Corporation                                7025‐3 Kit Creek Road           Research                                                      Triangle Park     NC       27709‐4987
        CISCO SYSTEMS CAPITAL 
5459428 CORPORATION                                P.O.Box 742927                                                                                Los Angeles       CA       90074
                                                                                   808 N Highlander 
5462414 Citizens Hanover                           Kevin Hunt                      Way, Ste 1                                                    Howell            MI       48843
                                                                                   808 N Highlander 
5462412 Citizens Hanover                           Sharon Warner                   Way, Ste 1                                                    Howell            MI       48843
                                                                                   808 N Highlander 
5462413    Citizens Hanover                        Tari Wyse                       Way, Ste 1                                                    Howell            MI       48843
5459028    CITRIX SYSTEMS INC                      851 CYPRESS CREEK ROAD                                                                        FORT LAUDERDALE   FL       33309
5459016    CITRIX SYSTEMS INC                      P O BOX 931686                                                                                ATLANTA           GA       31193‐1686
5462415    City Museum                             Rick Erwin                      701 N. 15th Street                                            St. Louis         MO       63103
                                                                                   1450 BRICKELL AVE. 
5458767 CITY NATIONAL BANK                         ATTN: ANALI ARIAS               SUITE 2800                                                    MIAMI             FL       33131
           CITY NATIONAL BANK OF 
5460264    FLORIDA                                 25 W FLAGER ST                  2ND FLOOR                                                     MIAMI             FL       33130
           CITY NATIONAL BANK OF 
5459012    FLORIDA                                 25 W. FLAGLER STREET                                                                          MIAMI             FL       33130
           CITY NATIONAL CAPITAL 
5460265    FINANCE LLC                             390 N. Orange Avenue            Suite 2600                                                    Orlando           FL       32801
           CITY NATIONAL CAPITAL 
5733624    FINANCE, LLC                            1608 13TH AVENUE SOUTH          SUITE 230                                                     BIRMINGHAM        AL       35205
                                                                                   5334 South Prince 
5462416    City of Arapahoe, CO                    Administration Building         Street                                                        Littleton         CO       80120‐1136
5462417    City of Brevard                         95 West Main Street                                                                           Brevard           NC       28712
5462418    City of Cape Girardeau                  Lori Meyers                     P.O. Box 617           401 Independence                       Cape Girardeau    MO       63702
5459429    CITY OF CHESTERFIELD                    690 CHESTERFIELD PARKWAY W                                                                    CHESTERFIELD      MO       63017‐0760
                                                                                   125 South Center 
5462420 City of Collinsville                       Tamara Ammann                   Street                                                        Collinsville      IL       62234



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5462422 City of Columbia                           Sarah Perry                       P.O. Box 6015                                                Columbia            MO       65205

5462424 CITY OF EAST ST LOUIS ILLINOIS 301 RIVERPARK DR                                                                                           EAST ST. LOUIS      IL       62201
5462426 City of Frankfort              P. O.  Box 697                                                                                             Frankfort           KY       40601
                                                                                     2000 Edison, PO 
5462427    City of Granite City                    Lynnette Kozer                    Box 73                                                       Granite City        IL       62040
5459430    CITY OF GREENVILLE                      206 SOUTH MAIN STREET                                                                          GREENVILLE          SC       29801
5462428    City of Houston                         611 Walker St., 13th Floor                                                                     Houston             TX       77002
5462429    City of Jacksonville                    117 W. Duval Street, Suite 335                                                                 Jacksonville        FL       32202
5462430    City of Jacksonville                    City Hall at St. James            Suite 400             117 West Duval Street                  Jacksonville        FL       32202
5462432    City of Jefferson WC                    Gail Strope                       320 East McCarty                                             Jefferson City      MO       65101
5462433    City of Joplin GL                       Patrick Hurn                      602 South Main St                                            Joplin              MO       64801
5462435    City of Joplin WC                       Patrick Hurn                      602 South Main St                                            Joplin              MO       64801
5462436    City of Kansas City                     Debbie Hosty                      2301 Main Street                                             Kansas City         MO       64108
5462437    City of Kansas City                     Eric Hallerud                     414 E 12th Street                                            Kansas City         MO       64106
                                                                                     139 S. Kirkwood 
5462438 City of Kirkwood & 1858                    Georgia Ragland                   Road                                                         Kirkwood            MO       63122
5462440 City of O'Fallon GL                        John Griesenauer                  100 North Main St                                            O'Fallon            MO       63366
5462442 City of O'Fallon WC                        John Griesenaur                   100 North Main St                                            O'Fallon            MO       63366
                                                                                     840 Boonville 
5462444 City of Springfield GL                     Doug Stone                        Avenue                                                       Springfield         MO       65802

5462446 City of Springfield WC                     Jenni Lewis                       840 North Boonville                                          Springfield         MO       65802
                                                                                     200 North Second 
5462449 City of St. Charles                        Shanton Fountain                  Street                                                       St. Charles         MO       63301
                                                                                     One St. Peters 
5462450 City of St. Peters                         Sharon Rocklage                   Centre                                                       St. Peters          MO       63376

5733625 CITY SECURITIES CORPORATION 30 S. MERIDIAN STREET, SUITE 600                                                                              INDIANAPOLIS        IN       46244‐0992
           CITY SECURITIES INSURANCE 
5460581    LLC                                     P.O. Box 44992                                                                                 Indianapolis        IN       46244
           CITY‐COUNTY INSURANCE 
5460086    SERVICE INC                             1212 COURT STREET NE                                                                           SALEM               OR       97301
           CITY‐COUNTY INSURANCE 
5460081    SERVICE INC                             212 Wilkesboro Blvd. SE, Ste. C                                                                Lenoir              NC       28645
           CITY‐COUNTY INSURANCE 
5733626    SERVICE INC                             325 WILKESBORO BLVD. NE                                                                        LENOIR              NC       28645
           City‐County Insurance Services 
5726453    Inc                                     325 Wilkesboro Blvd NE                                                                         Lenoir              NC       28645
5461261    CIUZIO, RICHARD                         39 ADAMS STREET                                                                                EAST ROCKAWAY       NY       11518
5460082    CKP INSURANCE LLC                       21845 POWERLINE ROAD #205                                                                      BOCA RATON          FL       33433
5462481    CLARK, CONNIE                           3152 LOOP RD                                                                                   LINCOLNTON          NC       28092
5462255    CLARK, KIMBERLY                         7191 WINDY PRESERVE                                                                            LAKE WORTH          FL       33467


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5461452 CLARK, SHANNON                             22 COTTAGE STREET                                                                          KEENE              NH       03431
5460922 CLARKE, MELBA                              1419 CHELWOOD PK NE             #C                                                         ALBUQUERQUE        NM       87112
        CLASSIC INFORMATICS PRIVATE                                                                                                           SAIDUALAJAB NEW 
5459425 LIMITED                      258/635,636 LANE – 3                          FIRST FLOOR          WESTEND MARG                          DELHI                       110030        INDIA
5460083 CLAUSEN AGENCY INC           333 Route 25A                                 Suite 150                                                  Rocky Point        NY       11778
                                                                                   333 Route 25A Suite 
5459426 CLAUSEN AGENCY INC                         Chris Clausen                   150                                                        Rocky Point        NY       11778
                                                                                   2199 Innerbelt 
                                                                                   Business Center 
5462455 Clayco                                     Nocona Schulz                   Drive                                                      St. Louis          MO       63114

5460084    CLEAR PATH BROKERAGE INC                3436 Fulton Street                                                                         Brooklyn           NY       11208
5461158    CLEAVE, PAUL VAN                        PO BOX 25444                                                                               GREENVILLE         SC       29616
5461582    CLEMENTE, TANEESHA                      4141 NW 90TH AVE                APT: 106                                                   CORAL SPRINGS      FL       33065
5462358    CLEMONS, LISA                           10385 POWELL ROAD                                                                          HOLLAND PATENT     NY       13354

5460077 CLINTON POLLEY GROUP INC                   12150 Tributary Point Dr.#200                                                              Gold Rivera        CA       95670
        CLUETT COMMERCIAL 
5460078 INSURANCE AGENCY INC                       8 PEMBROKE STREET                                                                          KINGSTON           MA       02364
5460202 CLUNIS, ANDREW R                           2130 Caton Avenue                                                                          Brooklyn           NY       11226
5459423 CMF VENDING                                3 Doe Run                                                                                  Thornton           PA       19373
                                                                                   333 SOUTH 
5462458 CNA Insurance                              CNA PLAZA                       WABASH AVENUE       21ST FLOOR                             CHICAGO            IL       60604‐4107
5462459 CoAdvantage Resources                      50 Buschwood Park Drive         Suite 200                                                  Tampa              FL       33618
           COAST NATIONAL INSURANCE 
5459424 COMPANY                                    P.O. Box 268994                                                                            OKLAHOMA CITY      OK       73126
           COASTAL FINANCIAL GROUP 
5460079    INC                                     150 River Road                  Suite E3                                                   Montville          NJ       07045
           COASTAL INSURANCE GROUP 
5460080    INC                                     150 Westward Drive                                                                         Miami Springs      FL       33166
           COASTAL PLAINS OUTDOORS 
5460582    INC                                     P.O Box 6869                                                                               Hilton Head        SC       29938
5460074    COBB B LLC                              145 W. 45 ST, 6TH FL #602                                                                  NEW YORK           NY       10036
5463336    COBLE, CAROLYN                          1267 PUTNAM CIRCLE                                                                         ROCHESTER          MI       48307
           Coca‐Cola Dr Pepper Bottling 
5462461    Co                                      Michelle Heidt                  P.O. Box 11250                                             Springfield        MO       65808
5460583    COCHRANE & COMPANY                      P.O Box 19150                                                                              Spokane            WA       99219
5462462    Cohen Drywall Co.                       1415 Old Hwy 52                                                                            Moncks Corner      SC       29461
5463004    COHEN, ALEXANDREA                       1526 STEVENS AVENUE                                                                        DELAND             FL       32720
5463019    COHN, ALON                              1160 SCENIC POINT RD                                                                       LONGWOOD           FL       32750

5462464 Coin Acceptors                             Steve O'Neal                    300 Hunter Avenue                                          St. Louis          MO       63124
5462385 COLARUSSO, LOUISE                          5622 BRECKENRIDGE                                                                          ORLANDO            FL       32818


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5463059 COLBURN, AMY                               1721 CYPRESSWOOD WAY                                                                       CLERMONT           FL       34714
5460983 COLE, MICHELLE                             100 SE 11TH STREET                                                                         POMPANO BEACH      FL       33060
5461458 COLEMAN, SHARON                            8077 MIZNER LANE                                                                           BOCA RATON         FL       33433
5459098 COLEMAN, TERRY                             912 5Th Ave W                                                                              Eastman            GA       31023
        COLEPAINE & CARLIN 
5460075 INSURANCE AGENCY INC                       P.O Box 18444                                                                              Oklahoma City      OK       73154
                                                                                  1200 MARKET 
5459420 COLLECTOR OF REVENUE                 CITY HALL                            STREET                ROOM 410                              ST. LOUIS          MO       63103
           COLLING INSURANCE SERVICES 
5460584    INC                               777 S. Wadsworth Blvd #1‐100                                                                     Lakewood           CO       80226
           COLLINS & ASSOCIATES 
5460585    CORPORATION                       5075 Cascade Rd. SE                                                                              Grand Rapids       MI       49546
5461312    COLLINS, RONALD                   14913 HONEYCRISP LANE                                                                            ORLANDO            FL       32827
           COLLINSWORTHALTERFOWLER 
5460574    & FRENCH LLC                      8000 Governors Sq Blvd. Suite 301                                                                Miami Lakes        FL       33016
5461359    COLONIA, SARA                     23100 AVENUE SAN LUIS #257                                                                       WOODLAND HILLS     CA       91364
           Colorado Department of Labor 
5725604    and Employment                    P.O. Box 8789                                                                                    Denver             CO       80201
           Colorado Department of 
           Regulatory Agencies, Division of  Attn: Steven Giampaolo, Director,    1560 Broadway, 
5458893    Insurance                         Investigations & Licensing           Suite 850                                                   Denver             CO       80202
           COLORADO DEPARTMENT OF 
5733627    REVENUE                           COLORADO DEPARTMENT OF REVENUE                                                                   DENVER             CO       80261‐0008

5462467 Columbia Insurance Group ‐ NE Carolyn Shaw                                10820 Harney Circle                                         Omaha              NE       68154

5462468 Columbia Insurance Group ‐ NE Karna Jarecki                               10820 Harney Circle                                         Omaha              NE       68154
        COMBINED GROUP INSURANCE 
5460803 SERVICES INC              P.O Box 819045                                                                                              Dallas             TX       75381‐9045

                                                                                  621 W Washington 
5462469 Combined Roofing Services LLC William O'Brien                             Street                                                      West Chicago       IL       60185
        COMBINED UNDERWRITERS OF 
5460076 MIAMI                     8240 NW 52 Terrace Ste 408                                                                                  Miami              FL       33166
5459421 COMCAST                   P.O. BOX 105257                                                                                             ATLANTA            GA       30348
5459422 COMCAST BUSINESS          P.O. BOX 37601                                                                                              PHILADELPHIA       PA       19101

5460070 COMEGYS INSURANCE CORNER PO BOX 1438                                                                                                  ST PETERSBURG      FL       33731‐1438

5462471 Commerce and Industry (AIG)                175 Water Street               18th Floor                                                  New York           NY       10038
        Commerce and Industry 
5462472 Insurance Company                          175 Water Street               18th Floor                                                  New York           NY       10038




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           COMMERCIAL INDEX BUREAU 
5733628    INC                                     5000‐18 US HWY 17 SOUTH #130                                                                    FLEMING ISLAND     FL       32003
           COMMERCIAL INDUSTRIAL 
           BUILDING OWNERS ALLIANCE 
5462473    INC (CIBA)                              655 N CENTRAL AVENUE                                                                            GLENDALE           CA       91203
           COMMERCIAL INSURANCE 
5460071    GROUP                                   P.OBox 60190                                                                                    Colorado Springs   CO       80960
           COMMERCIAL INSURANCE 
5460072    SPECIALISTS LLC                         18115 US Hwy 41 N., Ste. 400                                                                    Lutz               FL       33549
           Commercial Risk Management, 
5462474    Inc.                                     P.O. Box 18366                                                                                 Tampa              FL       33679
           COMMERCIAL RISK PARTNERS 
           LLC DBA GREENROAD 
5460575    INSURANCE                               5115 S lakeland Drive, Suite 3                                                                  Lakeland           FL       33813
5460754    COMMERCIAL RISK SERVICE                 P.O. Box 1827                                                                                   Bentonville        AR       72712

           COMMERCIAL RISK SPECIALISTS 
5459419 INSURANCE SERVICES INC                     5484 MAIN STREET                                                                                LEXINGTON          MI       48450‐9385

           COMMERCIAL RISK SPECIALISTS 
5460073 INSURANCE SERVICESINC                      P.O. Box 558                                                                                    Lexington          MI       48450
        COMMERCIAL SECTOR 
5460067 INSURANCE BROKERS LLC                      600 Corporate Parkway. Suite 250                                                                Birmingham         AL       35242

           Commodore, Inc./ Coup D'Etat, 
5462475 LLC dba Greenstreet Café/Lulu 3444 Main Highway                                   Suite #9                                                 Coconut Grove      FL       33133

5459415 COMMONWEALTH OF VIRGINIA 1000 Dmv Dr.                                                                                                      Richmond           VA       23220
           COMMUNITY ASSOC INS 
5459416    SOLUTIONS                               5045 ROBERT J MATTHEWS PKWY            SUITE 100                                                EL DORADO HILLS    CA       95762
           COMMUNITY ASSOCIATION                   5045 Robert J Mathews Parkway Suite 
5460068    INSURANCE SOLUTIONS LLC                 100                                                                                             El Dorado Hills    CA       95762
           COMMUNITY INSURANCE 
5460755    PROFESSIONALS INC                       P.O. BOX 2800                                                                                   BATESVILLE         AR       72503
           COMPANION LIFE INSURANCE 
5462476    COMPANY                                 303 MERRICK ROAD                       SUITE 503                                                LYNBROOK           NY       11563
           COMPASS INSURANCE AGENCY 
5459417    INC                                     280 ANN ST. NW                                                                                  GRAND RAPIDS       MI       49504
           COMPASS INSURANCE GROUP 
5460069    OF AGENCIES                             9310 TOPANGA CANYON BLVD.                                                                       CHATSWORTH         CA       91311

5460663 COMP‐CARE BROKERAGE INC                    1129 Raritan Rd.                                                                                Clark              NJ       07066
        COMPLETE BUSINESS 
5459411 SOLUTIONS                                  170 NW SPANISH RIVER BLVD                                                                       BOCA RATON         FL       33431


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5733629 COMPTROLLER OF MARYLAND REVENUE ADMINISTRATION DIVISION                   110 CARROL STREET                                            ANNAPOLIS           MD       21411‐0001

5733541 COMPTROLLER OF MARYLAND REVENUE ADMINISTRATION DIVISION                   PO BOX 2601                                                  ANNAPOLIS           MD       21404‐2601
           COMPTROLLER OF PUBLIC 
5733542    ACCOUNTS                      P.O. BOX 149348                                                                                       AUSTIN              TX       78714‐9348
           CompWest Insurance/Accident                                            3 Hutton Centre 
5462477    Fund                          Robert Shatsnider                        Drive                 Suite 550                              Santa Ana           CA       92707
5462997    CONCEPCION, ALEX              14232 NW 18TH PLACE                                                                                   PEMBROKE PINES      FL       33028
           CONDON BERGEN & SANTORO 
5460065    INSURANCE                     P.O. Box 7968                                                                                         Shrewsbury          NJ       07702
5462479    Condustrial, Inc.             514 East North Street                                                                                 Greenville          SC       29601
           CONFIDENTIAL INVESTIGATIVE 
5459412    SERVICES                      8600 TYLER BLVD #1158                                                                                 MENTOR              OH       44060
           CONFIDENTIAL INVESTIGATIVE 
5733630    SERVICES                      PO BOX 651                                                                                            HANOVER             MD       21076
           CONNECTICUT COMMUNITY                                                  10 EXECUTIVE 
5458768    BANK / INSURBANC              ATTN: BARBARA CARLEVALE                  DRIVE                                                        FARMINGTON          CT       06032
           Connecticut Insurance         Attn: Tanya Penman‐Sterling Principal 
5458895    Department                    Examiner, Licensing Unit                 153 Market Street     7th Floor                              Hartford            CT       06103
           Connecticut Insurance         Attn: Tanya Penman‐Sterling Principal 
5458894    Department                    Examiner, Licensing Unit                 P.O. Box 816                                                 Hartford            CT       06142‐0816
5460066    CONNELL INSURANCE INC         P.O. BOX 1840                                                                                         BRANSON             MO       65615
           CONNER STRONG & BUCKELEW 
5460576    LLC                           P.O Box 989                                                                                           Marlton             NJ       08053
5733631    CONNIE WILLIS                 616 WEST ELM AVE                                                                                      FULLERTON           CA       92832
5463406    CONNOR, CHRISTEN              910 SOUTH PARK AVENUE                                                                                 SANFORD             FL       32771
5461708    CONNOR, TRACEY                605 LONG MEADOW ROAD                                                                                  NORRISTOWN          PA       19403
           CONOVER BEYER ASSOCIATES 
5460577    INC                           2600 Highway 35                                                                                       Manasquan           NJ       08736
5733632    CONRAD & SCHERER, LLP         633 SOUTH FEDERAL HIGHWAY                P.O. BOX 14723                                               FORT LAUDERDALE     FL       33302
           Consolidated Communications, 
5760834    Inc.                          PO Box 66523                                                                                          St. Louis           MO       63166‐6523
           CONSOLIDATED INSURANCE 
5460062    AGENCY INC                    2909 Beaver Creek Drive                                                                               Cape Girardeau      MO       63701
           CONSOLIDATED INSURANCE 
5460061    AGENCY INC                    312 EAST MAIN STREET                                                                                  CARBONDALE          IL       62901
           CONSOLIDATED INSURANCE 
5460756    CONSULTANTS INC               1 Riverfront Place, Ste. 720                                                                          North Little Rock   AR       72116
           CONSOLIDATED INSURANCE 
5460063    SERVICES                      P.O Box 32909                                                                                         Knoxville           TN       37932
5460064    CONSOLIDATED UNION INC        504 HIGH STREET                                                                                       LOGANSPORT          IN       46947
5460578    CONSORTIO GROUP LLC           9375 Burt Street, Suite 101                                                                           Omaha               NE       68114



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5462484 Consulate Health Care                      800 Concourse Pkwy S. Ste. 200                                                                            Maitland           FL       32751
5459410 CONSULTAINMENT                             2028 DUTCHESS ROAD                                                                                        LITHIA SPRINGS     GA       30122
           CONTEGO INVESTIGATIVE 
5460241 SERVICES                                   401 East Las Olas Blvd                 Suite 1650                                                         Fort Lauderdale    FL       33301
           CONTEGO INVESTIGATIVE 
5733633    SERVICES, INC.                          401 EAST LAS OLAS BLVD                 SUITE 1650                                                         FORT LAUDERDALE    FL       33301
5460242    CONTEGO SERVICES GROUP                  401 East Las Olas Blvd                 Suite 1650                                                         Fort Lauderdale    FL       33301
           CONTEGO SERVICES GROUP, 
5733634    LLC                                     401 EAST LAS OLAS BLVD                 SUITE 1650                                                         FORT LAUDERDALE    FL       33301
           CONTEMPORARY ENGRAVING 
5459405    CO INC                                  425 LAMBERT AVENUE                                                                                        PALO ALTO          CA       94306
           CONTEMPORARY ENGRAVING 
5459406    COMPANY INC                             425 Lambert Ave                                                                                           Palo Alto          CA       94306
5462486    Contract Claims Services                P.O.Box 541328                                                                                            Dallas             TX       75354‐1328
5463322    CONTRERAS, CARLOS                       33295 LEON ROAD                                                                                           WINCHESTER         CA       92596
5460579    CONWAY E&S INC                          100 Allegheny Drive                                                                                       Warrendale         PA       15086
5463120    COOK, APRIL                             6533 TOWNE WOODS DRIVE                                                                                    ST. LOUIS          MO       63129
5462508    COOK, COURTNEY                          98 OAK ST APT 4707                                                                                        CLEMENTON          NJ       08021
5462665    COOK, DOUGLAS                           2601 NOBLE WAY                                                                                            LIMERICK           PA       19468
5460829    COOKE, MARIA                            188 E. CRYSTAL LAKE AVE                APT # 346                                                          LAKE MARY          FL       32746
5461266    COOMBS, RICHMOND                        101 SHELLY AVENUE                                                                                         SI                 NY       10314
5463128    COOPER, ARMAND                          3624 SW 22ND STREET                                                                                       FORT LAUDERDALE    FL       33312
5462076    COOPER, JESSICA                         13350 SUGARLOAF COURT                                                                                     CLERMONT           FL       34715
           COPPLE INSURANCE AGENCY 
5460568    INC                                     P.O BOX 83405                                                                                             LINCOLN            NE       68501
5461463    COPPOCK, SHAUNA                         7001 NW 59TH TERRACE                                                                                      BETHANY            OK       73008
5462081    CORA, JESSICA TIRADO                    3025 BROADWAY                          NUMBER 73                                                          FORT MYERS         FL       33901
5462128    CORCINO, JOSE                           10822 PARR AVENUE                                                                                         SUNLAND            CA       91040
5461316    CORDOVA, ROSA                           2831 S EVERGREEN CIRCLE                                                                                   BOYNTON BEACH      FL       33426
5464613    COREY, MICHAEL J                        104 LANCASTER BLVD                                                                                        OKATIE             SC       29909
                                                                                          12275 El Camino 
5729732 Corey, Michael J                           Kandace P. Watson                      Real                  Suite 200                                    San Diego          CA       92130

                                                                                           Four Embarcadero 
5729732 Corey, Michael J                           Ori Katz                                Center                                                            San Francisco      CA       94111
                                                                                           Christopher J. 
5734048 Corey, Michael J.                          Sheppard, Mullin, Richter & Hampton LLP Bosch, Associate  30 Rockefeller Plaza                            New York           NY       10112

5734048 Corey, Michael J.                          Sheppard, Mullin, Richter & Hampton LLP Kandace P. Watson 12275 El Camino Real          Suite 200         San Diego          CA       92130
5462491 Corish and Company                         PO Box 14518                                                                                              Savannah           GA       31416
           CORNELL INSURANCE SERVICES 
5460569 LLC                                        105 Fieldcrest Ave Ste 104                                                                                Edison             NJ       08837‐3628
5462236 CORNELL, KEVIN                             1742 GREEN STREET                      14A                                                                PHILADELPHIA       PA       19130


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           CORNERSTONE AGENCY 
5460570    SERVICES LLC                            2221 Dutch Gold Drive                                                                       Lancaster            PA       17601
           CORNERSTONE INSURANCE 
5733635    GROUP                                   103 EAST 1ST STREET                                                                         YORK                 NE       68467
           CORNERSTONE INSURANCE 
5460757    GROUP                                   PO Box 525                                                                                  York                 NE       68467
           CORPORATE CLAIMS 
5460243    MANAGEMENT INC                          782 SPIRIT 40 PARK DRIVE                                                                    CHESTERFIELD         MO       63005
           CORPORATE CLAIMS 
5733636    MANAGEMENT, INC.                        401 EAST LAS OLAS BLVD            SUITE 1650                                                FORT LAUDERDALE      FL       33301
           Corporate Claims Managment, 
5462493    Inc.                                     782 Spirit 40 Park                                                                         Chesterfield         MO       63005
           CORPORATE CREATIONS 
5733637    INTERNATIONAL INC                       11380 PROSPERITY FARMS RD #221E                                                             PALM BEACH GARDENS FL         33410
           Corporate Creations Network,                                              11380 Prosperity 
5760835    Inc.                                    Six Points Ventures 1, LLC        Farms Road #221E                                          Palm Beach Gardens   FL       33410
           CORPORATE INSURANCE 
5460758    ADVISORS LLC                            1401 E BROWARD BLVD, SUITE 103                                                              FORT LAUDERDALE      FL       33301
           CORPORATE INSURANCE 
5733638    GROUP LLC                               5674 CLEAVES CIRCLE. SUITE 102                                                              ARLINGTON            TN       38002
           CORPORATE INSURANCE 
5460059    GROUP LLC                               P.O Box 737                                                                                 Arlington            TN       38002
           CORPORATE INSURANCE 
5460060    SOLUTIONS LLC                           1000 Miller Court West                                                                      Norcross             GA       30071

6031265 Corporation Service Company                251 Little Falls                                                                            Wilmington           DE       19808
           CORPORATION SERVICE 
5459408    COMPANY                                 2711 CENTERFIELD ROAD             SUITE 400                                                 WILMINGTON           DE       19808
           CORRELL INSURANCE GROUP 
5460055    INC                                     P.O BOX 2707                                                                                SPARTANBURG          SC       29304
5462630    CORRIGAN, DIANA                         170 MOORESVILLE COMMONS WAY       APT 201                                                   MOORESVILLE          NC       28117
5462280    CORRIGAN, KYLE                          935 WEST RIVER ROAD                                                                         MOSINEE              WI       54455
5462314    CORSI, LAWRENCE                         289 BARRENGTON DRIVE                                                                        BRIDGEWATER          NJ       08807
5459403    CORT FURNITURE RENTAL                   11250 WAPLES MILL ROAD            SUITE 500                                                 FAIRFAX              VA       22030
5463093    CORTESIO, ANGELA                        9860 BLUE ISLE BAY                                                                          PARKLAND             FL       33076
5462495    Corvel                                  2010 Main Street                  Suite 600                                                 Irvine               CA       92614
5462494    Corvel                                  5401 W. Kennedy Blvd Suite 535                                                              Tampa                FL       33609
5462496    Corvel ‐ Cheesecake Factory             2010 Main Street                  Suite 600                                                 Irvine               CA       92614

5462497 Corvel Corporation ‐ US Sugar               5401 W Kennedy Blvd #535                                                                   Tampa                FL       33609
5460056 COTHROM LLC                                2300 NE 9th Street, Suite 3                                                                 Fort Lauderdale      FL       33304
           COTHROM RISK & INSURANCE 
5460057 SERVICES                                   440 N ANDREWS DRIVE                                                                         FORT LAUDERDALE      FL       33301



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           Cothrom, LLC DBA Cothrom 
5462505    Risk and Insurance Services             2300 NE 9th Street Suite #3                                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462500    Risk and Insurance Services             Alex Buschmann                     Suite #3                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462502    Risk and Insurance Services             Jordan Gillespie                   Suite #3                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462503    Risk and Insurance Services             Kevin Purvis                       Suite #3                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462501    Risk and Insurance Services             Michael Collum                     Suite #3                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462504    Risk and Insurance Services             Nikolai Tonello                    Suite #3                                                   Ft. Lauderdale   FL       33304
           Cothrom, LLC DBA Cothrom                                                   2300 NE 9th Street 
5462499    Risk and Insurance Services             Theresa Aubrey                     Suite #3                                                   Ft. Lauderdale   FL       33304
           COUCH BRAUNSDORF 
5460571    INSURANCE GROUP INC                     P.O Box 888                                                                                   Liberty Corner   NJ       07938
5461223    COULTER, RAD                            10540 PERUVIAN WAY                                                                            SACRAMENTO       CA       95830

5458945 COUNTRYWIDE HOLDINGS INC 3712 RINGGOLD ROAD #135                                                                                         CHATTANOOGA      TN       37412‐1638
5462506 Countrywide HR           707 Mendham Blvd.                                                                                               Orlando          FL       32825
5462134 COURTNEY, JOSEPH         4758 OLD CHATHAM ROAD                                APT 15                                                     SPRINGFIELD      IL       62711
        COVENANT INSURANCE 
5460058 ADVISORS                                   933 NW 164th St., Suite 4                                                                     Edmond           OK       73013
5459404 COVENTBRIDGE GROUP                         9485 REGENCY SQUARE BLVD.          SUITE 200                                                  JACKSONVILLE     FL       32225
5459401 COVENTRY                                   P.O. BOX 660776                                                                               DALLAS           TX       75266

           COVENTRY HEALTHCARE 
5462514 WORKERS COMPENSATION INC 3200 HIGHLAND AVENUE                                                                                            DOWNERS GROVE    IL       60515
                                                                                      3200 Highland 
5462515 Coventry/Aetna                             Mike Lemrick                       Avenue                                                     Downers Grove    IL       60515
5733640 COVERAGE INC                               14130‐J SULLYFIED CIRCLE                                                                      CHANTILLY        VA       20151
5460572 COVERAGE PRO INSURANCE                     6550 N Wickman Rd. Suite 8                                                                    Melbourne        FL       32940
5460051 COVERICA INC                               5999 Summerside Drive. Suite 200                                                              Dallas           TX       75252
5462516 Covert Solutions Group                     407 Howard St                                                                                 Riverton         NJ       08077
        COWELL INSURANCE SERVICES 
5460052 INC                                        7450 W. 130th Street,Suite 180                                                                Overland Park    KS       66213
5462662 COWSERT, DOUG                              5117 PRUITT                                                                                   THE COLONY       TX       75056
5460053 COX AGENCY LLC                             28 C MONUMENT PLACE                PO BOX 300                                                 TOPSHAM          ME       04086
                                                   6205‐B PEACHTREE DUNWOODY ROAD 
5459029 COX COMMUNICATIONS INC                     NE                                                                                            ATLANTA          GA       30328

5459017 COX COMMUNICATIONS INC                     PO BOX 53280                                                                                  PHOENIX          AZ       85072‐3280




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                                                                                            3850 South 
5462517    Cox Healthcare                          Julie Warman                             National, Suite 760                                         Springfield      MO       65807
5461255    COX, RETHA                              1394 ROCK HILL CH RD                                                                                 INMAN            SC       29349
5461608    COX, TERRY                              4908 TIGER LILY WAY                                                                                  AUSTIN           TX       78739
5461669    COX, THOMAS                             21022 RUSTLEWOOD AVENUE                                                                              BOCA RATON       FL       33428
5458964    Cozen O'Connor                          Camille M. Miller                        Cozen O'Connor    1900 Market Street                        Philadelphia     PA       19103
                                                                                                              1650 MARKET STREET, 
5733641 COZEN O'CONNOR                             CAMILLE M. MILLER                        ONE LIBERTY PLACE SUITE 2800                                PHILADELPHIA     PA       19103

5460054 CPC FINANCIAL SERVICES INC                 3835 SW 8 ST                                                                                         CORAL GABLES     FL       33134
5462518 CPE HR, Inc.                               9000 Sunset Blvd., #900                                                                              West Hollywood   CA       90069

5460596 CR GREGORY INSURANCE INC                   2726 E. OAKLAND AVENUE. SUITE 106                                                                    JOHNSON CITY     TN       37601
5459467 CRAWFORD, BRET K                           245 Condor Ct.                                                                                       St. Charles      MO       63303
           CRAWFORD‐BUTZ & 
5460573 ASSOCIATES                                 9700 Mackenzie, Suite 120                                                                            Saint Louis      MO       63123
5459395 CREATIVE DISPLAYS                          310 ANGELICA WAY                                                                                     ALPHARETTA       GA       30022
           CREIGHTON UNIVERSITY WC 
5733642 ACCOUNT                                    782 SPIRIT 40 PARK                                                                                   CHESTERFIELD     MO       63005
           CREIGHTON UNIVERSITY WC 
5459396    ACCOUNT                                 LABAJ BUILDING                           ROOM #125                                                   OMAHA            NE       68178
           CRESCENT HEALTH SOLUTIONS 
5459397    INC                                     1200 RIDGEFIELD BLVD.                    SUITE 215                                                   ASHEVILLE        NC       28806
           CRESS INSURANCE 
5460562    CONSULTANTS INC                         6101 Moon Street NE                                                                                  Albuquerque      NM       87111
5463224    CREWS, BETH                             110 PALM BEACH PLANTATION BLVD                                                                       WELLINGTON       FL       33411
5462055    CRITE, JENNIFER                         207 LAUREL DR.                                                                                       GREENVILLE       SC       29607
5463329    CRONN, CAROL                            120 SECOND STREET                                                                                    PARADISE         KS       67658
           CROSS POINTE INSURANCE 
5460759    ADVISORS LLC ‐ FORT SMITH               PO Box 1747                                                                                          Fort Smith       AR       72902‐1051
5462544    CROSS, DANIEL                           53 BERKSHIRE DRIVE                                                                                   WASHINGTON       MO       63090
           CROSSLET INSURANCE 
5460563    SERVICES INC                            13246 38th Street North                                                                              Clearwater       FL       33762
5459398    CROSSROADS COURIER INC                  4348 GREEN ASH DR                                                                                    EARTH CITY       MO       63045

5459399 CROW CANYON SYSTEMS INC                    565 LORI DR                              APT 71                                                      BENICIA          CA       94510

5733643 CRUM & FORSTER                             2400 LAKESIDE BLVD                       GREENWAY PLAZA II                                           RICHARDSON       TX       75082
        Crum & Forster Specialty 
5458903 Insurance Company                          305 Madison Avenue                                                                                   Morristown       NJ       07962

5462523 Crum and Foster                            6404 International Parkway, Suite 1000                                                               Plano            TX       75093‐8210



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5461568    CRUZ, SUSAN                             23530 SPIRES STREET                                                                              WEST HILLS         CA       91307
5733644    CRYSTAL SPRINGS                         P.O. BOX 660579                                                                                  DALLAS             TX       75266‐0579
5459393    CSI INSURANCE                           1394 E Alluvial #101                                                                             Fresno             CA       93720
5460047    CSI INSURANCE                           P.O Box 1284                                                                                     Russellville       AR       72801
5460048    CSI INSURANCE GROUP INC                 1394 E. Alluvial                                                                                 Fresno             CA       93720
5462526    CSIMS                                   1000 Q Street Suite #201                                                                         Sacramento         CA       95811‐6518
5459361    CSISZAR, ERNEST N                       1579 Kathwood Drive                                                                              Columbia           SC       29206
                                                                                      401 EAST OLAS 
                                                   PATRIOT NATIONAL INSURANCE GROUP,  BOULEVARD, SUITE 
5462744 CSISZAR, ERNST N                           INC.                               1650                                                          FORT LAUDERDALE    FL       33301

5460804 C‐TEK INSURANCE AGENCY INC 9412 GILES ROAD                                                                                                  LAVISTA            NE       68128‐3064
           CTP Transportation Products                                                725 Cool Springs 
5462527    LLC                                     Jie Liu                            Blvd, Ste 320                                                 Franklin           TN       37067
5460925    CUNEO, MELISSA                          701 RIVER OAKS CIRCLE                                                                            NEW SMYRNA BEACH   FL       32169
           CURATORS OF THE UNIVERSITY 
5733645    OF MISSOURI                             118 UNIVERSITY HALL                                                                              COLUMBIA           MO       65211‐3020
           CURATORS OF THE UNIVERSITY 
5459394    OF MISSOURI                             316 UNIVERSITY HALL                                                                              COLUMBIA           MO       65211
5461869    CURRY, HAL                              10409 CONDOR TERRACE                                                                             OKLAHOMA CITY      OK       73162
           CUSTOM ASSURANCE 
5460049    PLACEMENT LTD                           P.O BOX 5736                                                                                     COLUMBIA           SC       29250‐5736
           CUSTOM INSURANCE SERVICES 
5460748    INC                                     200 Mississippi Avenue                                                                           Crystal City       MO       63019
           CUSTOMERS RULE INSURANCE 
5460050    AGENCY INC                              1005 NE 125TH STREET               SUITE 202                                                     NORTH MIAMI        FL       33161
5462528    CVI INVESTMENTS INC                     401 E. LAS OLAS BLVD, SUITE 1650                                                                 FORT LAUDERDALE    FL       33301
5733646    CVI INVESTMENTS, INC.                   101 CALIFORNIA STREET              SUITE 3250                                                    SAN FRANCISCO      CA       94111
           CW ARCHER INSURANCE 
5733647    AGENCY INC                              P.O. BOX 91                                                                                      RICHMOND           VA       23218
5459390    CWI BENEFITS                            P.O. BOX 6125                                                                                    GREENVILLE         SC       29606
5733648    CWIBENEFITS, INC.                       401 EAST LAS OLAS BLVD             SUITE 1650                                                    FORT LAUDERDALE    FL       33301

5760836 CWIBenefits, Inc.                          c/o Gina Murphy                    80 International Dr Ste 500                                   Greenville         SC       29615‐6944

5760837 CWIBenefits, Inc.                          c/o Henry Price                    80 International Dr Ste 500                                   Greenville         SC       29615‐6944

                                                                                      80 INTERNATIONAL 
5760838 CWIBenefits, Inc.                          c/o Wally Buser                    DR STE 500                                                    Greenville         SC       29615‐6944

5460564 CWS INSURANCE AGENCY INC                   P.O. Box 1988                                                                                    Spartanburg        SC       29304
        CYPRESS INSURANCE GROUP 
5460044 INC                                        P.O Box 9328                                                                                     Fort Lauderdale    FL       33310



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        CYXTERA COMMUNICATIONS 
5459391 LLC                      BAC COLONNADE                                            OFFICE TOWERS        2333 PONCE DE LEON BLVD SUITE 900         CORAL GABLES        FL       33134
        CYXTERA COMMUNICATIONS, 
5733649 LLC                      BAC COLONNADE                                            OFFICE TOWERS                                                  CORAL GABLES        FL       33134

5460045 D & B INSURANCE SERVICES LLC 10754 Mead Road                                                                                                     Baton Rouge         LA       70816
        D&D Distributors LLLC dba Grey 
5462534 Eagle Dist                      Jerry Jasiek                                      2340 Millpark Drive                                            Maryland Heights    MO       63043
                                                                                          c/o Douglas J Von 
5463543 D&L Partners LP                            D & L Mgmt Corp Gen Part               Allmen              9 Isla Bahia Dr                            Fort Lauderdale     FL       33316
5460046 DA FOLKES LLC                              835 WEST CHESTER PIKE                                                                                 WEST CHESTER        PA       19382
5459392 DA‐COM CORPORATION                         2602‐A N STADIUM BLVD.                                                                                COLUMBIA            MO       65202
           DAGLEY INSURANCE & 
5460041 FINANCIAL SERVICES                         23102 Seven Meadows Parkway                                                                           Katy                TX       77494

           DAGLEY INSURANCE &                                                             23102 Seven 
5459387 FINANCIAL SERVICES                         Jamey Smith                            Meadows Parkway                                                Katy                TX       77494
           DAHLMEIER INSURANCE 
5460042    AGENCY                                  1368 Longfellow Ave.                                                                                  Chico               CA       95926
5462618    D'AMELIO, DENISE                        16 BORMAN DRIVE                                                                                       WANAQUE             NJ       07465
5460043    D'AMICO ASSOCIATES INC                  Chad D'Amico                           35 Ann Drive                                                   Syosset             NY       11791
           DAN WORON INSURANCE 
5460749    AGENCY LLC                              1981 SE PORT ST. LUCIE BLVD., STE. A                                                                  PORT ST. LUCIE      FL       34952
5461034    DANA, MONICA                            2349 SAPPHIRE RIDGE WAY                                                                               RENO                NV       89523
5462857    DANDRIDGE, GARY                         3740 CLUB DRIVE                        UNIT 4105                                                      DULUTH              GA       30096
5463411    DANIEL, CHRISTINA                       3460 SW 20TH STREET                                                                                   FORT LAUDERDALE     FL       33313
5462875    DANIELLO, GINO                          403 PERRY AUGER ROAD                                                                                  UPPER BLACK EDDY    PA       18972
5462563    Dart                                    P.O. Box 660163                                                                                       Dallas              TX       75266‐7244
5459388    DATAFIRM GROUP INC                      401 E LAS OLAS BLVD #130‐495                                                                          FT. LAUDERDALE      FL       33301
                                                                                          4700 Homewood 
5459389 Datastaff, Inc.                            Catherine Lee                          Court                 Suite 320                                Raleigh             NC       27609
                                                                                          3101 Industrial Dr., 
5459389 Datastaff, Inc.                            Glynda E. Mealer                       Suite 106                                                      Raleigh             NC       27609
5461725 DAVENPORT, TRICIA                          703 E. 41ST STREET                                                                                    KANSAS CITY         MO       64110
           DAVID HARWELL INSURANCE 
5460565 AGENCY LLC                                 P.O Box 3390                                                                                          Moriarty            NM       87035
           DAVID LEVOY INSURANCE 
5460038    AGENCY INC                              3615 TAYLOR RD.                                                                                       LOOMIS              CA       95650
5463337    DAVIES‐HARDY, CAROLYN                   465 RAVEN LN                                                                                          FLORISSANT          MO       63031
5462625    DAVILA, DEREK                           658 PYRAMID AVENUE                                                                                    DELTONA             FL       32725
5461955    DAVILA, INGRID                          1178 WOODLAND TERRACE TRAIL                                                                           ALTAMONTE SPRINGS   FL       32714
5460955    DAVILA, MICHAEL                         703 KIRKLAND STREET                                                                                   CAMDEN              SC       29020




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           DAVIS & GARRATT INSURANCE 
5460750    GROUP INC                               PO BOX 10140                                                                                        FAYETTEVILLE      AR      72703
5459385    DAVIS TRACHTENBERG INC                  15 Garrett Avenue, P.O Box 1530                                                                     Rosemont          PA      19010
5460039    DAVIS TRACHTENBERG INC                  P. O. Box 1530                                                                                      Rosemont          PA      19010
5463398    DAVIS, CHERI                            430 FOLCROFT AVE                       APT C                                                        FOLCROFT          PA      19032‐1307
5463424    DAVIS, CHRISTOPHER                      1515 GARY LANE                                                                                      LEHIGH ACRES      FL      33973
5462606    DAVIS, DEBRA                            910 SUMMER LEAF DRIVE                                                                               ST. PETERS        MO      63376
5462802    DAVIS, FRANCES                          1977 BRISTOL PKWY                                                                                   ROCK HILL         SC      29732
5462024    DAVIS, JASON                            11909 HAYDEN LAKES CIRCLE                                                                           JACKSONVILLE      FL      32218
5462056    DAVIS, JENNIFER                         607 HONEYSUCKLE WAY                                                                                 PENNSBURG         PA      18073
5462256    DAVIS, KIMBERLY                         18098 BURKE LANE                                                                                    YORBA LINDA       CA      92886
5461318    DAVIS, ROSALYNN                         3011 MEADOW WOOD DRIVE                                                                              ST. CHARLES       MO      63303
5733650    DAVIS, ROSALYNN M.                      3011 MEADOW WOOD DR                                                                                 ST. CHARLES       MO      63303
5460040    DAVIS‐GARVIN AGENCY INC                 1 FERNANDINA COURT                                                                                  COLUMBIA          SC      29212
5733651    DAWG, INC                               15685 N CAVE CREEK RD #200                                                                          PHOENIX           AZ      85032
5719426    Dawg, Inc dba The Best IRS              15685 N. Cave Creek Rd                                                                              Phoenix           AZ      85032

5460036 DCG INSURANCE SERVICES INC 139 Mirramont Lake Drive                                                                                            Woodstock         GA      30189
        DE LAGE LANDEN FINANCIAL 
5460266 SERVICES                                   PO BOX 41602                                                                                        PHILADELPHIA      PA      19101‐1602
        DE LAGE LANDEN FINANCIAL 
5459380 SERVICES INC                               P.O. BOX 41602                                                                                      PHILADELPHIA      PA      19101
        DE LAGE LANDEN FINANCIAL 
5459011 SERVICES, INC.                             1111 OLD EAGLE SCHOOL ROAD                                                                          WAYNE             PA      19087

5460037    DEALER PROTECTION GROUP                 36 Discovery #130                                                                                   Irvine            CA      92618
5462626    DEAN, DERRELL                           1320 FIRETOWER ROAD                                                                                 WILLIAMSTON       SC      29697
5461345    DEBICKI, SAMANTHA                       214 CROSS HALL                                                                                      UNIVERSITY PARK   PA      16802
5733652    DECISION UR, LLC                        401 EAST LAS OLAS BLVD                 SUITE 1650                                                   FORT LAUDERDALE   FL      33301
5461103    DECKER, NICOLIN                         P.O. BOX 5781                                                                                       EDMOND            OK      73083
                                                                                          3411 Silverside 
        Deerfield Insurance Holdings,                                                     Road, Tatnall 
5466081 Inc.                                       c/o Corporate Creations Network Inc.   Building              Suite 104                              Wilmington        DE      19810
5459381 DEGNAN & BATEMAN                           151 FRIES MILL RD.                     STE. 506                                                     BLACKWOOD         NJ      08012
5733653 DEGNAN & BATEMAN                           215 FRIES MILL ROAD #102                                                                            TURNERVILLE       NJ      08012

           DEIBLER STRAUB & TROUTMAN 
5460566    INC‐ELIZABETH BRANCH CODE 2 W. Main Street                                                                                                  Elizabethville    PA      17023
5463060    DEINES, AMY                840 S. DONNA AVE.                                                                                                GARDEN CITY       KS      67846
5459382    DEL PIZZO & ASSOCIATES PC  2098 WEST CHESTER PIKE                              STE. 101                                                     BROOMALL          PA      19008
5464598    DEL PIZZO, ARLENE A        9091 SAHALEE COURT                                                                                               NAPLES            FL      34113
5460240    DEL PIZZO, JOHN R          832 PADDOCK DRIVE                                                                                                NEWTOWN SQUARE    PA      19093



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                                                                                         2098 West Chester 
5729722 Del Pizzo, John R                          Del Pizzo & Associates, P.C.          Pike, Suite 101                                                        Broomall           PA       19008
                                                                                         Attn: Samuel A. 
5729722 Del Pizzo, John R                          Richards, Layton & Finger, P.A.       Nolen, Esq.        920 North King Street           One Rodney Square   Wilmington         DE       19801
                                                                                         401 EAST OLAS 
                                                   PATRIOT NATIONAL INSURANCE GROUP,  BOULEVARD, SUITE 
5462112 DEL PIZZO, JOHN ROBERT                     INC.                                  1650                                                                   FORT LAUDERDALE    FL       33301
5463283 DELANCETT, BRITTNEY                        947 DELFINO PLACE                                                                                            LAKE MARY          FL       32746
           Delaware Department of                  Attn: Robin David Supervisor, Market  841 Silver Lake 
5458896 Insurance                                  Conduct and Producer Licensing        Boulevard                                                              Dover              DE       19904
           DELAWARE DIVISION OF 
5459383    CORPORATIONS                            401 FEDERAL ST. #4                                                                                           DOVER              DE       19901
           DELAWARE DIVISION OF 
5733543    REVENUE                                 P.O. BOX 2044                                                                                                WILMINGTON         DE       19899‐2044
5461058    DELEONE, NANCY                          19 LEMOYNE AVE                         APT #89                                                               HILTON HEAD        SC       29928
           DELGADO INSURANCE AGENCY 
5460567    LC                                      P.O Box 2547                                                                                                 Laredo             TX       78045
5461262    DELONG, RICHARD                         206 GIESE LANE                                                                                               POINT PLESANT      NJ       08742
                                                                                          4th Floor ‐ 
5462617 Delta Airlines Global Services             980 Virginia Avenue                    Department 937                                                        Atlanta            GA       30354
5462121 DEMPS, JOHNOTON                            PO Box 62                                                                                                    Madison            TN       37116‐0062
5462226 DENARDO, KENNETH                           27 WHITEHEAD CIRCLE                                                                                          WESTON             FL       33326
                                                                                          1011 Arch Street 
5459377 DENGS INSURANCE SERVICES                   Suzanne Cheng                          Suite 101                                                             Philadelphia       PA       19107

5460033    DENG'S INSURANCE SERVICES               1011 Arch Street                       Suite 101                                                             Philadelphia       PA       19107
5460984    DENNING, MICHELLE                       2922 TWIN CREEKS LANE                                                                                        ROCKLIN            CA       95677
5462758    DENNIS, EVELYN                          1404A RIDGE ROAD                                                                                             GREENVILLE         SC       29607
5462099    DENNIS, JOHN                            1404A RIDGE ROAD                                                                                             GREENVILLE         SC       29607
5461216    DENNIS, QUINTRESSA                      22 GLEN LAUREL COURT                                                                                         MAULDIN            SC       29662
5733654    DEPARTMENT OF REVENUE                   PO BOX 5089                                                                                                  HARTFORD           CT       06102‐5089
           Department of the Treasury ‐ 
5722255    Internal Revenue Service                31 Hopkins Plaza, Rm 1150                                                                                    Baltimore          MD       21201
           Department of the Treasury ‐ 
5722245    Internal Revenue Service                PO Box 7346                                                                                                  Philadelphia       PA       19101‐7346
5461154    DERASMO, PAUL                           9900 COLVARD CIRCLE                                                                                          CHARLOTTE          NC       28269
5461592    DEREVYANNYKH, TATYANA                   3993 W. 37TH CT                                                                                              ANCHORAGE          AK       99517
5462301    DERRER, LAURA                           15606 LIGHT BLUE CIRCLE                                                                                      FORT MYERS         FL       33908
           DESERT MOUNTAIN AGENCY 
5460556    DBA JB MARTIN AGENCY                    8500 Menaul Blbd NE Ste B345                                                                                 Albuquerque        NM       87112
5460926    DESPAIN, MELISSA                        11922 PARK BEND COURT                                                                                        RIVERTON           UT       84096
5461797    DETRINIDAD, VIRGINIA                    20224 SHERMAN WAY                      UNIT 18                                                               WINNETKA           CA       91306



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           DEVELOPMENT DIMENSIONS                  DEVELOPMENT DIMENSIONS             1225 WASHINGTON  ATTN: SARAH REED, 
5462627 INTERNATIONAL INC                          INTERNATIONAL, INC.                PIKE             ACCOUNT REPRESENTATIVE                     BRIDGEVILLE        PA       15017
        DEWEY JOWERS INSURANCE 
        AGENCYINC DBA JOWERS‐
5460557 SKLAR INSURANCE AGENCY                     P.O Box 511                                                                                    Rome               GA       30162
        DEWITT INSURANCE AGENCY 
5460558 INC                                        13523 Barrett Parkway Drive #140                                                               Ballwin            MO       63021
5459378 DFN LI LC                                  4713 E 87Th Pl                                                                                 Tulsa              OK       74137
                                                                                      1051 Perimeter Dr. 
5462629 Diamond Insurance Company                  Colleen Boyle                      #620                                                        Schaumburg         IL       60173
5733655 DIAZ, MARIANELLA F                         9741 NW 11ST                                                                                   PLANTATION         FL       33322
           DIBUDUO & DEFENDIS INS 
5460034 BROKERS                                    P.O BOX 5479                                                                                   FRESNO             CA       93755‐5479
5461711 DIEHL, TRACY                               1706 GRANDVIEW RD                                                                              ALEXANDRIA         KY       41001‐6692
                                                                                      16690 Swingley 
5462636 Dierbergs GL                               Ronnett Brown                      Ridge Road                                                  Chesterfield       MO       63017
                                                                                      16690 Swingley 
5462638    Dierbergs WC                            Ronnett Brown                      Ridge Road                                                  Chesterfield       MO       63017
5460035    DIFORTE AGENCY INC                      3781 Amboy Road                                                                                Staten Island      NY       10308
5459379    DIFORTE AGENCY INC                      John DiForte Jr                    3781 Amboy Road                                             Staten Island      NY       10308
5462639    Digirad Corporation                     1048 Industrial Court              Suite E                                                     Suwanne            GA       30024
5463109    DIIENNO, ANTHONY                        765 BRDIGEVIEW ROAD                                                                            LANGHORNE          PA       19053
5462640    Dillards                                1600 Cantrell Road                                                                             Little Rock        AR       72201
5460878    DILLON, MATTHEW                         26 OVERLOOK AVENUE                                                                             WILLOW GROVE       PA       19090

5733656 DIMOND BROS INSURANCE LLC 110 W COURT STREET                                                                                              PARIS              IL       61944

5460559    DIMOND BROS INSURANCE LLC               110 W Court Street                 PO Box 1090                                                 Paris              IL       61944
5463338    DINGMAN, CAROLYN                        10853 LAVINIA DR.                                                                              ST. LOUIS          MO       63123
5459374    DIRECT TV                               2260 EAST IMPERAL HIGHWAY                                                                      EL SEGUNDO         CA       90245
5463301    DIRKSE, BURT                            29082 POMPANO                                                                                  LAGUNA NIGUEL      CA       92677

           District of Columbia Insurance,  Attn: Zadie Bowles Insurance Licensing 
5458897 Securities and Banking              Manager, Professional Services Branch    810 First St.          NE Suite 701                          Washington         DC       20002
           DIVERSIFIED INSURANCE 
5460560    INDUSTRIES INC                   2 Hamill Rd. Suite 155 West                                                                           Baltimore          MD       21210
                                            Attn: Kirsten Anderson, Senior Manager,  350 Winter Street 
5458855    Division of Financial Regulation Licensing                                NE                                                           Salem              OR       97301‐3883
5462642    DMS Facility Services            1040 Arroyo Dr                                                                                        South Pasadena     CA       91030
5462641    DMS Facility Services            417 E. Huntington Dr.                                                                                 Monrovia           CA       91016
5463031    DOBRICH, AMANDA                  5920 WHITEHAWK HILL ROAD                                                                              MINT HILL          NC       28227
5461174    DODD, PHILIP                     2663 HUMMEL DRIVE                                                                                     YORK               PA       17404


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5460923 DODSON, MELBA                              492 E BADGER LEE RD.                                                                             SALLISAW           OK      74955
           DOHERTY DUGGAN HART & 
5460751 TIERNAN INC                                PO Box 71628                                                                                     Albany             GA      31708‐1628
5461670 DOLAN, THOMAS                              798 CROTON ROAD                                                                                  WAYNE              PA      19087
5462643 DOLE                                       ONE DOLE DRIVE                                                                                   WESTLAKE VILLAGE   CA      91362
           DOLIN INSURANCE ASSOCIATES 
5460561 INC                                        67 Home Ave                                                                                      Rutherford         NJ      07070
5462644 Dollar General Corporation                  100 Mission Ridge                                                                               Goodlettsville     TN      37072
           DONALD F LAPENNA 
5460550    ASSOCIATES INC                          P.O Box 1868                                                                                     Cranford           NJ      07016
5461726    DONAVEN, TRICIA                         8165 SHANNON WOODS LANE                                                                          WEDDINGTON         NC      28104
5462651    Donegal Group                           Carl Weisser                         1195 River Road                                             Marietta           PA      17547
5462652    Donegal Group                           Shannon Moquin                       1195 River Road                                             Marietta           PA      17547
5459375    DONNELLEY FINANCIAL LLC                 1669 PHOENIX PARKWAY                 SUITE 210                                                   COLLEGE PARK       GA      30349
5733657    DONOGHUE, DEBORAH                       50 CANTITOE ROAD                                                                                 YONKERS            NY      10710
5462762    DOONAN, FAITH                           P.O. BOX 692                                                                                     TRABUCO CANYON     CA      92678
5462598    DORSEY, DEBORAH                         9131‐C NOLLEY COURT                                                                              CHARLOTTE          NC      28270
5461671    DOSTAL, THOMAS                          15807 CEDARMILL DRIVE                                                                            CHESTERFIELD       MO      63017
5461109    DOUGHERTY, NORMA                        16 EAST SELLERS AVENUE                                                                           RIDLEY PARK        PA      19078
5462666    Douglas County                          Darrel Neely                         1819 Farnam                                                 Omaha              NE      68183
5458979    DOVER PENNSYLVANIA                      1405 North Duke Street               P.O. Box 15627                                              York               PA      17405
5461822    DOWD, WILLIAM                           514 W. REBOUND RD                                                                                LANCASTER          SC      29720
5462705    DOWDY, ELLE                             815 IRMA AVE APT 4                                                                               ORLANDO            FL      32803
5460030    DOWNEY AND COMPANY                      6565 Americas Parkway NE Suite 750                                                               Albuquerque        NM      87110
5460551    DOYLE & OGDEN INC                       3330 Broad Moor Se. Ste E                                                                        Grand Rapids       MI      49512
5460879    DOYLE, MATTHEW                          304 TACIE LYNN DRIVE                                                                             WEST CHESTER       PA      19382

5462670 DP MARYVILLE 555 CENTRE LLC 555 MARYVILLE UNIVERSITY DRIVE                      SUITE 650                                                   ST. LOUIS          MO      63141
           DPT ASSOCIATES LLC DBA 
           MARINA INSURANCE 
5460031    SPECIALISTS                             P.O Box 1778                                                                                     Rogers             AR      72757
5463345    DRAPEAU, CASIE                          1575 CANOPY LANE                     APT 306                                                     ORANGE CITY        FL      32763
5461360    DREFFER, SARA                           PO BOX 952547                                                                                    LAKE MARY          FL      32795
5462343    DRION, LINDA                            3667 BURBECK DRIVE                                                                               ST. LOUIS          MO      63125
5459376    DROPOFF INC                             P.O Box 123696                       Department 3696                                             Dallas             TX      75312
           DRP INSURANCE ASSOCIATES 
5460032    LLC                                     535 Harrison Ave                                                                                 Harrison           NJ      07029
5462671    DS Services                             200 Eagles Landing Boulevard                                                                     Lakeland           FL      33810
5462186    DUDLEY, KATE                            103 LEGACY FARM DRIVE                                                                            FOUNTAIN INN       SC      29644
5459370    DUFF & PHELPS LLC                       55 E. 52Nd Street                    Floor 31                                                    New York           NY      10055
5463018    DUNCAN, ALLISON                         32 JACQUELINE CIRCLE                                                                             O FALLON           MO      63368
5460874    DUNCAN, MATHEW                          4107 LEGEND BEND DRIVE                                                                           SAN ANTONIO        TX      78230



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5461796    DUNCAN, VICTORINO                       2816 LOCK AVENUE                                                                         SACRAMENTO        CA       95822
5733658    DUNKIN, ANN                             2704 W. PEBBLE CREEK DR                                                                  NIXA              MO       65714
5462865    DUNN, GEORGE                            46278 YELLOWSTONE LANE                                                                   TEMECULA          CA       92592
5462025    DUNN, JASON                             73 2ND STREET                                                                            FORT MYERS        FL       33907
5461299    DUNN, ROBERTO                           3646 FAIRVIEW DRIVE                                                                      CORINTH           TX       76210
5461329    DUNN, RYAN                              1209 SE 7TH STREET                                                                       FORT LAUDERDALE   FL       33301
5462013    DUNNING, JANELLA                        777 LAKE CAROLYN PKWY 4111                                                               IRVING            TX       75039
           DUPRE CARRIER GODCHAUX 
5460552    AGENCY INC                              P.O Box 1298                                                                             Opelousas         LA       70570
5462674    Duran Insurance Network                 5000 Birch Str.                                                                          Newport Beach     CA       92660
5459371    DURKIN AGENCY INC                       106 Grand Avenue                                                                         Englewood         NJ       07631
5460028    DURKIN AGENCY INC                       P.O. Box 8049                                                                            Englewood         NJ       07631
5460029    DURYEA AGENCY                           P.O Box 278, 200 Main Street                                                             Glen Gardner      NJ       08826
5462607    DUSEK, DEBRA                            103 WOODLAND DRIVE             APARTMENT D                                               ANDERSON          SC       29621
5461098    DUTES, NICOLE                           101112 TWIN LAKES DR                                                                     CORAL SPRINGS     FL       33071
5462188    DWYER, KATHERINE                        146 WALLER STREET                                                                        WILKES BARRE      PA       18702
5461569    DWYER, SUSAN                            223 BROOKSTONE CREEK DRIVE                                                               WENTZVILLE        MO       63385
5733659    DWYER, SUSAN MARIE                      223 BROOKSTONE CREEK DR.                                                                 WENTZVILLE        MO       63385
5459372    DXC TECHNOLOGIES                        1775 TYSONS BOULEVARD                                                                    TYSONS            VA       22102

                                                                                  Victoria Commons, 
5460024 E & K AGENCY INC                           613 Hope Rd., P.O. Box 600     613 Hope Rd.                                              Eatontown         NJ       07724

                                                                                  Victoria Commons, 
5459373 E & K AGENCY INC                           Kenneth Auerbach               613 Hope Rd.                                              Eatontown         NJ       07724
        EAGLE AMERICAN INSURANCE 
5460025 AGENCY LLC                13361 Overseas Highway                                                                                    Marathon          FL       33050
        EAGLE AMERICAN INSURANCE 
5733660 AGENCY LLC                1855 WEST STATE ROAD 434                                                                                  LONGWOOD          FL       32750

           EAGLE AMERICAN INSURANCE 
           AGENCY LLC DBA KEYS 
5460026    INSURANCE SERVICE                       5800 Overseas Highway                                                                    Marathon          FL       33050
           Eagle American Insurance 
           Agency, LLC DBA Keys 
5462682    Insurance Services                      5800 Overseas Hwy.                                                                       Marathon          FL       33050
           Eagle American Insurance 
           Agency, LLC DBA Keys 
5462681    Insurance Services                      Cheyanne Tucker                5800 Overseas Hwy.                                        Marathon          FL       33050
           Eagle American Insurance 
           Agency, LLC DBA Keys 
5462678    Insurance Services                      Grimi Betancourt               5800 Overseas Hwy.                                        Marathon          FL       33050




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        Eagle American Insurance 
        Agency, LLC DBA Keys 
5462680 Insurance Services                         Linda Regan                        5800 Overseas Hwy.                                             Marathon            FL       33050
        Eagle American Insurance 
        Agency, LLC DBA Keys 
5462679 Insurance Services                         Mel Montagne                       5800 Overseas Hwy.                                             Marathon            FL       33050
        Eagle American Insurance 
        Agency, LLC DBA Keys 
5462677 Insurance Services                         Rick Aiken                         5800 Overseas Hwy.                                             Marathon            FL       33050

           EAGLE AMERICAN INSURANCE 
5460027 AGENCYLLC‐LONGWOOD                         P.O Box 162207                                                                                    Altamonte Springs   FL       32716
5733661 EARL BACON AGENCY INC                      P.O. BOX 12039                                                                                    TALLAHASSEE         FL       32317‐2039

5462684 Earnhardt Manufacturing, LLC               170 Strickland Drive                                                                              Roebuck             SC       29376
        East Penn Manfacturing 
5462685 Company                                    1 Deka Road                                                                                       Lyon Station        PA       19536
5461909 EASTER, HOLLY                              1181 JASMINE DRIVE                                                                                INDIAN LAND         SC       29707

           EASTERN CLASSIC COVERAGE 
5460020 INSURANCE AGENCY                           1055 Stewart Avenue                2nd Floor, Suite 5                                             Bethpage            NY       11714
           EASTERN INSURANCE GROUP 
5460752    INC                                     9570 SW 107 Avenue, #104                                                                          Miami               FL       33176
           EASTERN UNDERWRITING 
5460553    MANAGERS                                300 N Forest Park Blvd Suite 103                                                                  Knoxville           TN       37919
5462359    EATON‐ADAMS, LISA                       1288 FENTON RIDGE DRIVE                                                                           FENTON              MO       63026
           EBENSBURG INSURANCE 
5460753    AGENCY                                  129 E. High Street                                                                                Ebensburg           PA       15931
5462866    ECKINGER, GEORGE                        5 HOLLY COURT                                                                                     LAFAYETTE HILL      PA       19444
5460021    ED MOSQUERA & CO LTD                    87‐08 Justice Avenue               Suite 2‐I                                                      Elmhurst            NY       11373
           ED MOSQUERA & COMPANT                                                      87‐08 Justice 
5459366    LTD                                     Ed Mosquera                        Avenue, Suite 2‐I                                              Elmhurst            NY       11373
5463009    EDGAR, ALICE                            1343 INDEPENDENCE RD                                                                              APOPKA              FL       32703
           EDLEMAN INSURANCE AGENCY 
5460554    LLC                                     2108 WEALTHY STREET                                                                               EAST GRAND RAPIDS   MI       49506
           EDMOND INSURANCE AGENCY 
5460022    LLC                                     2000 East 15th Street #450‐B                                                                      Edmond              OK       73013
5462690    Edward J Krajewski, LLC                 38 Pumpkin Hill Road                                                                              Levittown           PA       19056
5462692    Edwards Risk Management                 1004 Marble Heights Drive                                                                         Marble Falls        TX       78654
5459367    EFAX CORPORATE                          6922 HOLLYWOOD BOULEVARD           5TH FLOOR                                                      LOS ANGELES         CA       90028
5461561    EHLING, SUE                             608 MATTIE LANE                                                                                   GREER               SC       29651
5463259    EICHNER, BRANDY                         718 ROSECLIFT DRIVE                                                                               GREER               SC       29651
5461490    EID, SONDRA                             583 EAST PALMETTO AVENUE                                                                          LONGWOOD            FL       32750



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                                                                                                        Served via First Class Mail
 MMLID             NAME                                            ADDRESS 1            ADDRESS 2                  ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
5462100 EIDSON, JOHN                               8008 EAST 99TH TERRACE                                                                         KANSAS CITY       MO       64134
5462867 EIZMAN, GEORGE                             1045 BONITA BLUFFS AVE.                                                                        HENDERSON         NV       89015
                                                                                    601 Travis; Ste. 
5462695 Electric Energy Inc (Joppa)                Pam Williams                     1400                                                          Houston           TX       77002
5462696 Electric Insurance                         75 Sam Fonzo Drive                                                                             Beverly           MA       01915
           ELEMENTAL RISK 
5460555 MANAGEMENT LLC                             11024 Montgomery Blvd NE #376                                                                  Albuquerque       NM       87111
                                                                                    BUILDING 9, 
5462568    ELISTIN, DAVID                          8580 NW 36TH STREET              APARTMENT 203                                                 SUNRISE           FL       33351
5462699    Elite Hospitality, Inc.                 45 Seton Trail                                                                                 Ormond Beach      FL       32176
5460023    ELITE P&C LLC                           985 OLD EAGLE SCHOOL RD # 505                                                                  WAYNE             PA       19087
5461738    ELKINS, TROY                            10116 ALLYSON PARK DRIVE                                                                       CHARLOTTE         NC       28277
           ELLERBROCK‐NORRIS AGENCY 
5460742    INC                                     PO BOX 816                                                                                     HASTINGS          NE       68902
5462764    ELLIS, FANIS                            3764 EAGLE ISLE CIRCLE                                                                         KISSIMMEE         FL       34746
5463298    ELWOOD, BRYNN                           9905 GROVER STREET                                                                             OMAHA             NE       68124
5462569    EMANUEL, DAVID                          170 BONAVENTURE BLVD                                                                           WESTON            FL       33326
5459362    EMBASSY SUITE                           1100 SE 17TH ST.                                                                               FORT LAUDERDALE   FL       33316
5462710    EMC                                     5200 Riverview Road Southeast                                                                  Mableton          GA       30126‐2953
5733662    EMC INSURANCE                           PO BOX 853906                                                                                  RICHARDSON        TX       75085‐3906
           EMERALD COAST INSURANCE 
5460544    SERVICES INC                            445 Corday Street, Suite 3                                                                     Pensacola         FL       32503
5459363    EMMANUEL INSURANCE                      2370 E. 8th Ave.                                                                               Hialeah           FL       33013
5460018    EMMANUEL INSURANCE                      800 Penllyn Pike                                                                               Blue Bell         PA       19422
           EMMANUEL INSURANCE & 
5460743    ASSOCIATES INC                          2370 E. 8th Ave.                                                                               Hialeah           FL       33013
           EMPIRE PACIFIC SOVEREIGN 
5460545    LLC                                     12665 SW 69th Ave                                                                              Tigard            OR       97223
5462717    Employbridge                            222 W. Las Colinas Blvd # 250E                                                                 Irving            TX       75039
           EMPLOYER SERVICES GROUP 
5460019    INC                                     203 BOMBAY LANE                                                                                ROSWELL           GA       30076
5462718    Employers                               Steve Marks                      P.O. Box 32036                                                Lakeland          FL       33802
5462720    Employers Insurance                      851 Trafalgar Ct,                                                                             Maitland          FL       32751
                                                                                    10375 
           EMPLOYERS INSURANCE                                                      PROFESSIONAL 
5458922    FUNDING                                 STEVE MARKS                      CIRCLE                                                        RENO              NV       89521
5462721    Employers Mutual                        Don Walls                        P.O. Box 712                                                  Des Moines        IA       50303
5462722    Employers Mutual                        Steve Albaugh                    P.O. Box 712                                                  Des Moines        IA       50303
5462723    Employers Mutual                        Trent Walkup                     P.O. Box 712                                                  Des Moines        IA       50303
           ENDURANCE AMERICAN 
           SPECIALTY INSURANCE 
5458946    COMPANY                                 333 WESTCHESTER AVENUE                                                                         WHITE PLAINS      NY       10604




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           ENDURANCE AMERICAN 
           SPECIALTY INSURANCE 
           COMPANY, ENDURANCE 
           AMERICAN INSURANCE 
           COMPANY, ENDURANCE 
           REINSURANCE CORPORATION 
           OF AMERICA, AND ENDURANCE 
           RISK SOLUTIONS ASSURANCE                                                          3333 NEW HYDE 
5462724    CO                         ENDURANCE INSURANCE                                    PARK RO                                                      NEW HYDE PARK    NY       11042
           Endurance Professional     Attn: Professional Lines Underwriting 
5465614    Solutions                  Department                                             750 Third Avenue      18th Floor                             New York         NY       10017
5460985    ENGLISH, MICHELLE          304 MARTIN ROAD                                                                                                     FOUNTAIN INN     SC       29644
5461466    ENGLISH, SHELLEY           2914 THRONE STREET                                                                                                  MURFREESBORO     TN       37129
5459364    ENTERPRISE FM TRUST        P.O. BOX 800089                                                                                                     KANSAS CITY      MO       64180
5459365    ENTERPRISE HOLDINGS INC    P.O. Box 840173                                                                                                     Kansas City      MO       64184
5459359    ENTERPRISE SERVICES LLC    P.O. Box 281935                                                                                                     Atlanta          GA       30384
5460546    ENTERTAINMENT RISK LLC     6300 Sagewood Drive Ste H‐251                                                                                       Park City        UT       84098
           Environmental Claims ‐ 
5462726    Illustration only          401 E Las Olas Blvd. Suite 1650                                                                                     Ft lauderdale    FL       33301
           EPIC INSURANCE SOLUTIONS 
5460015    LLC                        9700 Ormsby Station Road                                                                                            Louisville       KY       40223
5459360    ER DOWLING                 Edward Dowling, Jr.                                    1126 Broadway                                                W. Long Branch   NJ       07764
5460016    ER DOWLING                 P.O. Box 367                                                                                                        W. Long Branch   NJ       07764
5462728    Eraclides ‐ Maitland       1661 Sandspur Rd                                                                                                    Maitland         FL       32751

5462729 Eraclides, Gelman ‐ Tampa                  4631 Woodland Corporate Blvd, Suite 101                                                                Tampa            FL       33614
5461819 ERAUS, WILDER                              736 FIREBUSH CIRCLE                                                                                    IMMOKALEE        FL       34142

5460017    ERB & YOUNG INSURANCE INC               7575 Dr Phillips Blvd. Suite 240                                                                       Orlando          FL       32819
5462141    ERMATINGER, JOSHUA                      730 HAWTHORNE LANE                        APT 252                                                      CHARLOTTE        NC       28204
5461685    ERMATINGER, TIMOTHY                     41 NW 128TH AVE                                                                                        PLANTATION       FL       33325
5733663    ERMATINGER, TIMOTHY J.                  41 NW 128TH AVE                                                                                        PLANTATION       FL       33325
5461280    ERSKINE, ROBERT                         2C PALMS CT                                                                                            CARLISLE         PA       17015‐7546
5461535    ERTL, STEFANIA                          110 MATTHEWS DRIVE                                                                                     WENTZVILLE       MO       63385
5460547    ERWIN ENTERPRISES INC                   5243 Beach Blvd                                                                                        Jacksonville     FL       32207
           ERWIN INSURANCE AGENCY 
5460013    INC                                     242WEST CHOCOLATE AVENUE                                                                               HERSHEY          PA       17033
5462747    ESIS                                    PO Box 6560                                                                                            Scranton         PA       18505
5462748    ESIS ‐ ABM                              2100 KRAMER LANE                          STE. 800                                                     AUSTIN           TX       78758
5462749    ESIS ‐ GA                               11575 Great Oaks Way Suite 200                                                                         Alpharetta       GA       30022
5462750    ESIS ‐ Irving, TX                       225 E JOHN W CARPENTER FWY #1300                                                                       IRVING           TX       75062
5462751    ESIS ‐ McCoy's                          PO Box 6563                                                                                            Scranton         PA       18505‐6563


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           ESP Incorporated DBA HCay 
5718981    Search                                  600 Broadway, Ste 690                                                                             Kansas City        MO       64105
5463407    ESPARZA, CHRISTIAN                      2508 9TH AVENUE                                                                                   SACRAMENTO         CA       95818
5462754    Esurance                                P.O. Box 355                                                                                      Addison            TX       75001
5462707    EVANS, ELTON                            9059 LUNETTE LANE                                                                                 MECHANICSVILLE     VA       23116
5460880    EVANS, MATTHEW                          2248 CYPRESS CREEK COURT                                                                          COLUMBUS           OH       43228
5460956    EVANS, MICHAEL                          46 HURON AVENUE                     2ND FLOOR                                                     CLIFTON            NJ       07013
5461220    EVANS, RACHEL                           5851 STONEHORSE COURT                                                                             ST. LOUIS          MO       63129
           EVERBANK COMMERCIAL 
5459010    FINANCE, INC.                           10 WATERVIEW BOULEVARD                                                                            PARSIPPANY         NJ       07054
           Everest National Insurance                                                  477 Martinsville 
5465616    Company                                 Casualty Underwriting Department    Road                   P.O. Box 830                           Liberty Corner     NJ       07938
           EVERGREEN INSURANCE 
5460014    AGENCY INC                              583 105th Ave. North. Suite 2                                                                     Royal Palm Beach   FL       33411
5460548    EVINS INSURANCE AGENCY                  P.O BOX 17120                                                                                     JONESBORO          AR       72403
           EXCESS LINE ASSOCIATION OF              55 BROADWAY AVE, ONE EXCHANGE 
5459356    NY                                      PLAZA                               FLOOR 29                                                      NEW YORK           NY       10006
5459357    EXCESS RE                               P.O. Box 667                                                                                      Woodbury           NJ       08096
           EXECUTIVE LIMOUSINE & 
5459358    SECURITY SERVICES INC                   2200 BELLMORE AVENUE                                                                              BELLMORE           NY       11710
           Executive Risk Specialty 
5458926    Insurance Company                       P.O. Box 2002                                                                                     Simsbury           CT       06070

           EXOTIC AQUATIC AQUARIUM 
5459352 SALES & SERVICES LLC                       22952 OXFORD PI                     UNIT D                                                        BOCA RATON         FL       33433
5733664 EXPLORITECH INC.                           8225 LAUREL LAKES WAY                                                                             NAPLES             FL       34119
           EYDENT INSURANCE SERVICES 
5459354 LLC                                        1230 N. Robinson                                                                                  Oklahoma City      OK       73103
           EYDENT INSURANCE SERVICES 
5460010    LLC                                     14185 North Dallas Parkway          Suite 1000                                                    Dallas             TX       75254
5462619    FAGAN, DENISE                           13811 WEBER WAY                                                                                   HAGERSTOWN         MD       21742
           FAIRMONT INSURANCE 
5460011    BROKERS LTD                             1600 60TH STREET                                                                                  BROOKLYN           NY       11204
5462763    Falcon Insurance Group                  724 Enterprise Drive                                                                              Oak Brook          IL       60523
5461591    FALDUTO, TATE                           23 SUGAR BOWL LANE                                                                                PENSACOLA BEACH    FL       32561
5461120    FALGAS, OLGA                            2934 CARAMBOLA CIR                                                                                COCONUT CREEK      FL       33066
5462233    FALL, KERRY                             102 4TH STREET SE                                                                                 BONDURANT          IA       50035
5461376    FANCHER, SCOTT                          1418 PARK SHORE CIRCLE              UNIT 2                                                        FT. MYERS          FL       33901
5733665    FANELLI, DOREEN C                       1656 W 5TH ST                                                                                     BROOKLYN           NY       11223
           FANELLI‐HARLEY‐HARPER AND 
5460805    ASSOCIATES LTD                          42 E. Lancaster Avenue, Suite 101                                                                 Paoli              PA       19301‐1420
5462765    FARA                                    1625 West Causeway Approach                                                                       Mandeville         LA       70471




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 MMLID                     NAME                                  ADDRESS 1          ADDRESS 2               ADDRESS 3            ADDRESS 4               CITY   STATE   POSTAL CODE   COUNTRY
           FARALLONE PACIFIC 
5460012    INSURANCE SERVICES        859 Diablo Avenue                                                                                       Novato             CA      94947
5462202    FARLEY‐TRUMAN, KATHY      1950 DANVILLE HIGHWAY                                                                                   LEBANON            KY      40033
5462766    Farmers Insurance ‐ KS    10850 Lowell Avenue                                                                                     Overland Park      KS      66210‐1667
5462767    Farmers Insurance ‐ NJ    90 Merrick Ave, Suite 302                                                                               East Meadow        NY      11554
           FARMERS NATIONAL COMPANY 
           DBA ASSOCIATED 
5460549    UNDERWRITERS              9412 GILES RD.                                                                                          LAVISTA            NE      68128
5461888    FARRINGTON, HEATHER       1514 SW 12TH COURT                                                                                      FT LAUDERDALE      FL      33312
           FARRIS INSURANCE AGENCY 
5460745    INC                       PO Box 460                                                                                              Conway             AR      72033
5460007    FASTCOMPCOM LLC           6555 Dean Memorial Parkway, Ste 3                                                                       Hudson             OH      44236
5461740    FATCHETT, TRUDY           7728 RAVENSRIDGE ROAD                                                                                   ST. LOUIS          MO      63119
5461467    FAULKNER, SHELLY          98 LAT LANE                                                                                             SWANZEY            NH      03446
                                     2435 North Central Expressway, Suite 
5462770    FCCI Insurance Group      1000                                                                                                    Richardson         TX      75080
5462147    FEASTER, JUDITH           20014 THACKER DRIVE                                                                                     BOONSBORO          MD      21713
5458937    Federal Insurance Company 82 Hopmeadow Street                                                                                     Simsbury           CT      06070‐7683

5462771 Federated Insurance Company 121 East Park Square                                                                                     Owatonna           MN      55060
5462772 Federated Mutual            121 East Park Square                                                                                     Owatonna           MN      55060‐0328
           Federated Mutual Insurance 
5462773 Company ‐ CA                               11030 White Rock Rd.                                                                      Rancho Cordova     CA      91761
        Federated Mutual Insurance 
5462774 Company ‐ MN                               121 East Park Square                                                                      Owatonna           MN      55060‐0328
5459349 FEDEX                                      P.O. BOX 660481                                                                           DALLAS             TX      75266
                                                                                 Offi FedEx 
                                                                                 Express/Ground/Fre 3965 Airways Blvd, Module 
5868010    FedEx Corporate Services Inc.           as Assignee                   ight/Office        G, 3rd Floor                             Memphis            TN      38116‐5017
5462042    FEGER, JEFFREY                          P.O. BOX 152                                                                              NEW BERLIN         PA      17855
5460986    FEISE, MICHELLE                         26615 S. STRACKS CHRUCH RD.                                                               WRIGHT CITY        MO      63390
5462932    FELIX, GUERLANDE                        537 MEADOW ROAD                                                                           LEHIGH ACRES       FL      33973
5461281    FELIX, ROBERT                           394 EAST MESA DRIVE                                                                       RIALTO             CA      92376
5460538    FENNELL & ASSOCIATES INC                5800 E. Skelly. Ste 606                                                                   Tulsa              OK      74135
5462599    FERGUSON, DEBORAH                       1012 HIGHWAY Y                                                                            O'FALLON           MO      63366
5462880    FERGUSON, GLENLEY                       2560 CANTERBURY DR N                                                                      WEST PALM BEACH    FL      33407
5463129    FERNANDEZ, ARMAND                       807 MAPLETON AVENUE                                                                       OAK PARK           IL      60302

5460008    FERRER INSURANCE SERVICES               5 3rd Street. Unit 1025                                                                   San Francisco      CA      94103
5461006    FERRER, MINDY                           6687 NW 110TH WAY                                                                         PARKLAND           FL      33076
5463110    FERRONE, ANTHONY                        3269 WYNCOOP CREEK ROAD                                                                   VAN ETTEN          NY      14889
5462779    FFVA                                    800 Trafalgar Ct Suite 200                                                                Maitland           FL      32751



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5462786    FFVA Mutual                             800 Trafalgar Court          Suite 200                                                    Maitland              FL       32751
5462781    FFVA Mutual                             Bill Aries                   800 Trafalgar Ct                                             Maitland              FL       32751
5462784    FFVA Mutual                             Craig Menzl                  800 Trafalgar Ct                                             Maitland              FL       32751
5462782    FFVA Mutual                             Donna Grier                  800 Trafalgar Ct                                             Maitland              FL       32751
5462780    FFVA Mutual                             Fred Allen                   800 Trafalgar Ct                                             Maitland              FL       32751
5462785    FFVA Mutual                             Sandra Riding                800 Trafalgar Ct                                             Maitland              FL       32751
5462783    FFVA Mutual                             Sherrie Martin               800 Trafalgar Ct                                             Maitland              FL       32751

5459350 FFVA MUTUAL INSURANCE CO 800 TRAFALGAR COURT                            SUITE 200                                                    MAITLAND              FL       32751
5462788 Fiesta Mart              5235 Katy Freeway                                                                                           Houston               TX       77007
5462015 FIFE, JANET              4680 SADDLEHORN TRAIL                                                                                       MIDDLEBURG            FL       32068
                                                                                999 VANDERBILT 
                                                                                BEACH RD MD‐
5458769    FIFTH THIRD                             ATTN: JOAN M.RABORN          B9997A                                                       NAPLES                FL       34108
5458998    FIFTH THIRD BANK                        38 FOUNTAIN SQUARE PLAZA                                                                  CINCINNATI            OH       45263
5459006    FIFTH THIRD BANK                        38 FOUNTAIN SQUARE PLAZA     MD# 10904A                                                   CINCINNATI            OH       45263
5462793    FIFTH THIRD BANK                        3 Corporate Pl                                                                            Piscataway Township   NJ       08854
5462789    FIGO Pet Insurance                      540 N. Dearborn, #10873                                                                   Chicago               IL       60610
5460539    FILER INSURANCE INC                     9440 SW 77th Avenue                                                                       Miami                 FL       33156
5460009    FILOS AGENCY INC                        814 West Beech Street        P.O. Box 1149                                                Long Beach            NY       11561
                                                                                814 West Beech 
5459351 FILOS AGENCY INC                           Shaun McNutty                Street                                                       Long Beach            NY       11561
5459346 FINANCIAL PROFILES INC                     11601 WILSHIRE BLVD          SUITE 1920                                                   LOS ANGELES           CA       90025
           FINNEY INSURANCE 
5460004 CORPORATION                                5601 Sheridan Street                                                                      Hollywood             FL       33021
5462193 FINNICK, KATHLEEN                          107 PALMIRA RD.                                                                           DEBARY                FL       32713
5733666 FIOS RESEARCH INC                          233 E WILBUR AVE #115                                                                     LAKE MARY             FL       32746
           FIREMENS FUND INSURANCE 
5460005 COMPANY                                    1465 N MCDOWELL BLVD # 100                                                                PETALUMA              CA       94954‐6516
5462790 First Cardinal of Texas                    P.O. Box 630737                                                                           Irving                TX       75063
           FIRST CHOICE INSURANCE 
5460540 AGENCY LLC                                 1359 N Westwood Blvd #2                                                                   Poplar Bluff          MO       63901
           FIRST CHOICE INSURANCE 
5460006    CONSULTING                              409 Beltline Rd, Ste 140                                                                  Collinsville          IL       62234
5733534    FIRST INSURANCE FUNDING                 450 SKOKIE BLVD                                                                           NORTHBROOK            IL       60062
5458923    FIRST INSURANCE FUNDING                 WHITNEY WELCH                101 MAIN AVE                                                 ALBANY                NY       12205
           FIRST INSURANCE FUNDING 
5459348    CORPORATION                             P.O. Box 66468                                                                            Chicago               IL       60666
           FIRST INSURANCE GROUPLLC 
5460001    DBA INSUR                               P.O BOX 5884                                                                              GRAND ISLAND          NE       68802
           FIRST NIAGARA RISK 
5460746    MANAGEMENT INC                          6950 S. Transit Road                                                                      Lockport              NY       14095‐0514
5459343    FIS BUSINESS SYSTEMS LLC                104 INVERNESS CENTER PLACE                                                                BIRMINGHAM            AL       35242


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5459344    FIS IWORKS LLC                          11560 GREAT OAKS WAY               SUITE 200                                                    ALPHARETTA        GA       30022
5462697    FISCHHOF, ELIE                          319 AMBLER STREET                                                                               PORT CHARLOTTE    FL       33954
5462633    FISH, DIANE                             18 WEST 74TH STREET                                                                             KANSAS CITY       MO       64114
5460987    FISH, MICHELLE                          278 POE AVE                                                                                     FORT MYERS        FL       33917
           FISHER BROWN BOTTRELL 
5733667    INSURANCE INC                           1701 W. GARDEN ST.                                                                              PENSACOLA         FL       32502
           FISHER BROWN BOTTRELL 
5460002    INSURANCE INC                           P.O Box 711                                                                                     Pensacola         FL       32591‐0711
           FISHER PATTERSON SAYLER & 
5459345    SMITH LLP                               3550 SW 5TH STREET                                                                              TOPEKA            KS       66606
5463415    FISHER, CHRISTINE                       201 LANGEHORNE DRIVE                                                                            MOUNT HOLLY       NC       28120
5461099    FISHER, NICOLE                          169 EDENWOOD LANE                                                                               WYTHEVILLE        VA       24382
           FIVE COUNTY INSURANCE 
5460747    AGENCY INC                              14120 Metropolis Ave.                                                                           Fort Myers        FL       33912
           FIVE STAR INSURANCE AGENCY 
5460736    INC                                     13523 BARRETT PARKWAY DR STE 140                                                                BALLWIN           MO       63021‐3802
5461035    FLAMINI, MONICA                         2105 FORT BEVON ROAD                                                                            HARLEYSVILLE      PA       19438
5460835    FLANAGAN, MARIE                         4358 BUSS ROAD                                                                                  WOOSTER           OH       44691
           FLEMING INSURANCE AGENCY 
5460003    INC                                     P.O. Box 608                                                                                    Albany            GA       31702
5462330    FLEMING, LIAM                           PO BOX 10723                       KY1‐1007                                                     GRAND CAYMAN                             CAYMAN ISLANDS
5462291    FLETCHER, LA'KEISHA                     9413 CORREGIDOR DT                                                                              SAINT LOUIS       MO       63134

           FLORENCE COMFORT KEEPERS  218 DOZIER BOULEVARD ATTN: 
5462794 DBA COMFORT KEEPERS            EMPLOYEE                                                                                                    FLORENCE          SC       29502
           Florence, CK, LLC (Comfort 
5462796    Keepers Florence)           218 Dozier Boulevard                                                                                        Florence          SC       29502
5462994    FLORES, ALEJANDRO           1205 BOLINAS BAY COURT                                                                                      CHULA VISTA       CA       91913
5462797    Florida Beauty Flora, Inc.  3400 NW 74th Ave.                              Unit 1                                                       Miami             FL       33122
           FLORIDA CASUALTY INSURANCE 
5459998    AGENCY                      4441 10th Ave. N                                                                                            Palm Springs      FL       33461

5459999 FLORIDA CITY INSURANCE INC          1485 NE 1st Avenue, Suite 103                                                                          Florida City      FL       33034
           FLORIDA DEPARTMENT OF 
           AGRICULTURE & CONSUMER 
5733668    SERVICES                         6191 ORANGE DRIVE #6183Q                                                                               FORT LAUDERDALE   FL       33314
           Florida Department of Financial 
           Services Office of the Chief                                               J. Edwin Larson 
5458898    Financial Officer                Attn: Greg Thomas, Director               Building              200 East Gaines Street                 Tallahassee       FL       32399‐0301
           FLORIDA INSURANCE 
5460737    CONCEPTS INC                     470 S. Wickham Road                                                                                    West Melbourne    FL       32904
           FLORIDA WORKERS COMP 
5459340    ADMIN TRUST FUND                 200 East Gaines St                                                                                     Tallahassee       FL       32399



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                                                                                                    Served via First Class Mail
 MMLID                     NAME                                  ADDRESS 1            ADDRESS 2                ADDRESS 3          ADDRESS 4           CITY       STATE   POSTAL CODE      COUNTRY
5459341    FLOWERS BOTTLED WATER                   Box 1452                                                                                   Grand Cayman               KYI‐1110      CAYMAN ISLANDS
5461609    FLOWERS, TERRY                          11617 TUCKER FIELD ROAD                                                                    MIDLAND            NC      28107
5461164    FLUELLEN, PEIR                          5223 CRISFIELD RD.                                                                         CHARLOTTE          NC      28269
5461297    FLYNN, ROBERTA                          809 NW 30TH COURT                                                                          WILTON MANORS      FL      33311
5460000    FOLKS INSURANCE GROUP                   33 Main Street                                                                             West Sayville      NY      11796
5459342    FOLKS INSURANCE GROUP                   James Folks                     33 Main Street                                             West Sayville      NY      11796
5462716    FONOCK, EMILY                           222 NE 24TH AVE                                                                            CAPE CORAL         FL      33909
5461540    FORBES, STEPHEN                         504 HOLLAND ROAD                                                                           SIMPSONVILLE       SC      29681
5462753    FORD, ESTER                             58B PAINE AVENUE                APT 6                                                      IRVINGTON          NJ      07111
5462905    FORD, GREGORY                           12470 ROCK RIDGE LANE                                                                      FORT MYERS         FL      33913
5733670    FORDE, STEFON A                         11630 NW 56TH DRIVE             APT 109                                                    CORAL SPRINGS      FL      33076
5462483    FOREMAN, CONSTANCE                      4040 PRESIDENTIAL BLVD          APT #2317                                                  PHILADELPHIA       PA      19131
5461780    FORERO, VERONICA                        7322 HASKELL AVENUE             NUMBER 13                                                  VAN NVYS           CA      91406
5464619    FORMENTO SR., RONALD P                  120 SETTLERS DR                                                                            NAPERVILLE         IL      60565
5464618    FORMENTO, CARL M                        2007 GLADSTONE DR                                                                          WHEATON            IL      60189
5463153    FORREST, ASHTON                         8506 BOXFORD CT                                                                            CHARLOTTE          NC      28215
           FORSBERG ENGERMAN 
5460541    COMPANY                                 3575 South Sherman Street                                                                  Englewood          CO      80113
5460542    FORTUN INSURANCE INC                    365 Palermo Ave                                                                            Coral Gables       FL      33134
5462801    FORZA LIEN INC                          401 E Las Olas Blvd                                                                        Fort Lauderdale    FL      33301
5733671    FORZA LIEN, LLC                         401 EAST LAS OLAS BLVD          SUITE 1650                                                 FORT LAUDERDALE    FL      33301
5462531    FOULKES, CYNTHIA                        13835 N 44TH PLACE                                                                         ROYAL PALM BEACH   FL      33411

           FOUNTAIN PARKER 
5460543    HARBARGER & ASSOCIATES LLC              201 Washington Street NE                                                                   Huntsville         AL      35801
5463403    FOUNTAIN, CHRIS                         307 DUNKELD DRIVE                                                                          BRIARCLIFF         TX      78669
5459336    FOURTH SHIFT CONSULTING                 206 Johnson Street                                                                         Hampshire          IL      60140
5461364    FOUST, SARAH                            707 VILLA CIR                                                                              BOYNTON BEACH      FL      33435
5461056    FOWLER, NAKECHIA                        151 SW 15TH STREET              APT C                                                      POMPANO BEACH      FL      33060
5733672    FOX AGENCY INC                          1955 DREW STREET                                                                           CLEARWATER         FL      33765
5459337    FPL                                     700 Universe Boulevard                                                                     Juno               FL      33408
5461365    FRAILEY, SARAH                          10603 BROOKMERE DR.                                                                        ST LOUIS           MO      63123
           FRAMPTON INSURANCE 
5459338    AGENCY LP                               2097 N Collins Blvd Suite 200                                                              Richardson         TX      75080
           FRAMPTON INSURANCE 
5459996    AGENCY LP                               P.O Box 833190                                                                             Richardson         TX      75080
5733544    FRANCHISE TAX BOARD                     PO BOX 942857                                                                              SACRAMENTO         CA      94257‐0531
5463213    FRANCIS, BENJAMIN                       3873 PARKERS FERRY                                                                         FORT MILL          SC      29715
5463335    FRANCOIS, CAROLINE                      113 HARTEFELD DRIVE                                                                        AVONDALE           PA      19311
5460738    FRANK H FURMAN INC                      1314 E. Atlantic Blvd.                                                                     Pompano Beach      FL      33060
5462810    FRASCO                                  215 W. Alameda Ave                                                                         Burbank            CA      91502




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           FRED A WILLIAMS & SON 
5459997    INSURANCE AGENCY INC                    P.O Box 220                                                                                    Ashtabula           OH      44005
5460739    FRED DANIEL & SONS INC                  5727 S. Lewis, Ste. 420                                                                        Tulsa               OK      74105
5462608    FREDETTE, DEBRA                         187 BROOKS ST SE                    B601                                                       FORT WALTON BEACH   FL      32548
5459333    FREEMAN EXPOSITIONS INC                 P.O. Box 650036                                                                                Dallas              TX      75265

5462811 Freeman Health System                      Rebecca Houdyshell                  1102 W 32nd Street                                         Joplin              MO      64804

           FREEWAY INSURANCE SERVICES 
5459993 OF NEW JERSEY INC                          6913 Bergenline Avenue                                                                         Guttenberg          NJ      07093
5462219 FREIERMUTH, KELLY                          101 CEDAR VALLEY DRIVE NE                                                                      KENNESAW            GA      30144
        FRIDRICH & ASSOCIATES 
5460533 INSURANCE AGENCY INC                       3825 Bedford Ave. Suite 203                                                                    Nashville           TN      37215
5461586 FRIED, TARA                                822 ALBERT AVE                                                                                 LEHIGH ACRES        FL      33971
5460534 FRIEDMAN AGENCY INC                        233 BUSINESS PARK DRIVE #200                                                                   VIRGINIA BEACH      VA      23462
5461100 FRITH‐SMITH, NICOLE                        15237 DEVONSHIRE STREET                                                                        MISSION HILLS       CA      91345
        FRONT RANGE INSURANCE & 
5460535 FINANCIAL SERVICES LLC                     907 30th Ave, Suite 104                                                                        Greeley             CO      80634
5459030 FRONTIER                                   462 SOUTH 4TH STREET, SUITE 1600                                                               LOUISVILLE          KY      40202
5459018 FRONTIER                                   PO BOX 20550                                                                                   ROCHESTER           NY      14602‐0550

           FRONTIER COMMUNICATIONS 
5459334    CORPORATION                             P.O. BOX 740407                                                                                CINCINNATI          OH      45274
5463425    FRY, CHRISTOPHER                        7542 BYRON PLACE                    3F                                                         CLAYTON             MO      63105
5733673    FRY, CHRISTOPHER J.                     7542 BRYON PLACE                    3F                                                         CLAYTON             MO      63105
5464612    FRY, DAVID E                            224 FOSTER AVENUE                                                                              CHARLOTTE           NC      28203
5463214    FUCHS, BENJAMIN                         5512 WALSH STREET                                                                              ST. LOUIS           MO      63109
5462628    FULLER, DEXTER                          5255 NW 29TH AVE                    APARTMENT 510                                              MIAMI               FL      33142
5461146    FULLER, PATRICK                         215 BEHLMANN MEADOWS WAY                                                                       FLORISSANT          MO      63034
5461686    FULLER, TIMOTHY                         3057 SLEEPY HOLLOW ST                                                                          SIMI VALLEY         CA      93065
5461377    FULMER, SCOTT                           2023 SOUTH MAIN STREET              A1                                                         BOUNTIFUL           UT      84010
5463366    FURBUSH, CECILIA                        3855 GRANDPINE WAY                  APT 103                                                    CASSELBERRY         FL      32707
           FUS INSURANCE & FINANCIAL 
5459335    SERVICES INC                            2859 Rancho Cortes                                                                             Carlsbad            CA      92009
           FU'S INSURANCE & FINANCIAL 
5459994    SERVICES INC                            1005 Gwilym Circle                  1st Floor                                                  Berwyn              PA      19312
5459995    G & M INSURANCE AGENCY                  114 Hudson Avenue                                                                              Haverstraw          NY      10927
           GABLES INSURANCE AGENCY 
5459989    CORP                                    2875 NE 191 Street #603                                                                        Aventura            FL      33180
5462821    Gainsco Insurance                       3333 Lee Parkway,                   Suite 1200                                                 Dallas              TX      75219‐5134
           GALLAGHER BASSET SERVICES‐
5733674    PLANO, TX                               4120 INTERNATIONAL PARKWAY          SUITE 1050                                                 CARROLLTON          TX      75007
5733675    GALLAGHER BASSETT                       PO BOX BOX 785071                                                                              ORLANDO             FL      32878


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           Gallagher Bassett ‐ Atria Senior 
5462822    Living                                   100 Grand View Road, Suite 406                                                         Brantree            MA       02184
           Gallagher Bassett ‐ Baker 
5462823    Hughes                                  6750 West Loop South, Suite 300                                                         Bellaire            TX       77401
           Gallagher Bassett ‐ Baton 
5462824    Rouge, LA                               235 Highlandia Dr, #101                                                                 Baton Rouge         LA       70810
           Gallagher Bassett ‐ BBA 
5462825    Aviation ‐ NY                            3300 Vickery Road                                                                      North Syracuse      NY       13212

5462826 Gallagher Bassett ‐ Bellaire, TX 6750 West Loop South, Suite 300                                                                   Bellaire            TX       77401
5462827 Gallagher Bassett ‐ CEMEX        6750 West Loop South, Suite 300                                                                   Bellaire            TX       77401
           Gallagher Bassett ‐ Cheesecake 
5462828 Factory                                    26901 Malibu Hills Road                                                                 Calabasas Hills     CA       91301
5462829 Gallagher Bassett ‐ Delta                  980 Virginia Ave 4th Floor                                                              Atlanta             GA       30354
           Gallagher Bassett ‐ 
5462830 Employbridge                               222 W. Las Colinas Blvd # 250E                                                          Irving              TX       75039
5462831 Gallagher Bassett ‐ GA                      2915 Premiere Parkway Ste 350                                                          Duluth              GA       30097

5462832 Gallagher Bassett ‐ Houston, TX 6750 West Loop South, Suite 300                                                                    Bellaire            TX       77401
5462833 Gallagher Bassett ‐ IL           P.O. Box 8009,                                                                                    Itasca              IL       60143

5462834 Gallagher Bassett ‐ Irving, TX             222 W. Las Colinas Blvd # 250E                                                          Irving              TX       75039
5462835 Gallagher Bassett ‐ Itasca, IL             Two Pierce Place                                                                        Itasca              IL       60143
5462836 Gallagher Bassett ‐ KY                      PO Box 6928                                                                            Louisville          KY       40206
           Gallagher Bassett ‐ Las Vegas, 
5462837 NV                                         1850 E Flamingo Rd # 135                                                                Las Vegas           NV       89119
5462838 Gallagher Bassett ‐ MA                      100 Grand View Road, Suite 406                                                         Brantree            MA       02184

5462839 Gallagher Bassett ‐ Miramar, FL  2901 SW 149 Avenue, Ste 200                                                                       Miramar             FL       33027
5462840 Gallagher Bassett ‐ OH           545 Metro Place South, Suite 250,                                                                 Dublin              OH       43017
           Gallagher Bassett ‐ Oklahoma 
5462841 City, OK                                   14000 Quail Springs Pkwy, #300                                                          Oklahoma City       OK       73134

5462842 Gallagher Bassett ‐ Orlando, FL  4776 New Broad Street Suite 225                                                                   Orlando             FL       32814
           Gallagher Bassett ‐ San 
5462843    Antonio, TX                       16414 San Pedro Ave, Suite 950                                                                San Antonio         TX       78232
           Gallagher Bassett ‐ The Brock 
5462844    Group                             6750 West Loop South, Suite 300                                                               Bellaire            TX       77401
           Gallagher Bassett ‐ The Services 
5462845    Company                           6 Campus Dr # 14                                                                              Parsippany          NJ       07054
5462846    Gallagher Bassett ‐ TN            555 Marriott Dr # 650                                                                         Nashville           TN       37214
           Gallagher Bassett Services ‐ 
5462847    Briad Restaurant Group            78 Okner Parkway                                                                              Livingston          NJ       07039



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5462848 Gallagher Bassett Services ‐ CA  PO Box 4040                                                                                             Sacramento           CA      95812

5462849 Gallagher Bassett Services ‐ MO 1300 E 104th St #200                                                                                     Kansas City          MO      64131

5462850 Gallagher Bassett Services ‐ NC 9101 Southern Pine Blvd                         Ste 175                                                  Charlotte            NC      28273‐0041
           Gallagher Bassett Services ‐ 
5462851    Plano, TX                           6404 International Parkway, Suite 2300                                                            Plano                TX      75093
           Gallagher Bassett Services ‐ 
5462852    Rentokil                            1125 Berkshire Blvd. Suite 150                                                                    Reading              PA      19610
           Gallagher Bassett Services ‐ 
5462853    Scottsdale, AZ                      4110 N Scottsdale Rd #240                                                                         Scottsdale           AZ      85251
           Gallagher Bassett Services, Inc. ‐ 
5462854    NY                                  3300 Vickery Road                                                                                 North Syracuse       NY      13212

5459494 GALLAGHER CO ‐ CA, ARTHUR J 1255 Battery Street, Suite 450                                                                               San Francisco        CA      94111
        GALLAHER INSURANCE GROUP 
5460536 LLC                       P.O Box 798                                                                                                    Mexico               MO      65265
5461225 GALLEGOS, RALPH           6036 PALMDALE ST.                                                                                              EL PASO              TX      79932

5459990    GALLO INSURANCE AGENCY INC              4360 NORTHLAKE BLVD #214                                                                      PALM BEACH GARDENS   FL      33410
5462008    GALLO, JAMIE                            1017 SE 22ND AVENUE                  APT 101                                                  POMPANO BEACH        FL      33062
5462344    GAMBINO, LINDA                          3722 GATLIN PLACE CIRCLE                                                                      ORLANDO              FL      32312
5462916    GAMBLE, GUADALUPE                       16871 CATENIA PLACE                                                                           GRANADA HILLS        CA      91344
5459991    GANNON INSURANCE INC                    2040 County Line Rd                                                                           Huntingdon Valley    PA      19006
           GARBER ATLAS FRIED & 
5459992    ASSOCIATES INC                          3070 Lawson Blvd                                                                              Oceanside            NY      11572
5462813    GARCIA, FRIDA                           13348 NW 3RD LANE                                                                             MIAMI                FL      33182
5462213    GARCIA, KEISHLA                         7610 STIRLING ROAD                   APT G108                                                 HOLLYWOOD            FL      33024
5461880    GARDNER, HARVEY                         9715 TARTUFFE DR                                                                              HENRICO              VA      23238‐4930
5463310    GARDYSZEWSKI, CANDICE                   2816 GALLERIA POINTE CIRCLE                                                                   ROCK HILL            SC      29730
5459065    GARRIDO, VINCE                          2271 W. Malvern Ave                  #405                                                     Fullerton            CA      92833
5459332    GARTNER INC                             P.O. BOX 911319                                                                               DALLAS               TX      75391
5760839    Gartner, Inc.                           56 Top Gallant Road                                                                           Stamford             CT      06904
           GARY SMITH INSURANCE 
5460740    AGENCY INC                              439 North Martin St.                                                                          Warren               AR      71671

5459984 GARY THOMPSON AGENCY INC P.O Box 445                                                                                                     Red Cloud            NE      68970
5463101 GARZON, ANITA            15644 SAN FERNANDO                                     MISSION BLVD                                             GRANDA HILLS         CA      91344
5733676 GATEWAY INVESTIGATIONS   10805 SUNSET OFFICE DRIVE #300                                                                                  ST LOUIS             MO      63127
           GATEWAY‐ACENTRIA 
5459985 INSURANCE LLC                              P.O BOX 5648                                                                                  FT LAUDERDALE        FL      33310
5462057 GATHRIGHT, JENNIFER                        117 ARROWHEAD DRIVE                                                                           GREENVILLE           TX      75402



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5461147 GAY, PATRICK                               386 MAPLE HOLLOW RD                                                                                  MOUNT AIRY           NC       27030‐8759
5459986 GEHRING GROUP INC                          11505 Fairchild Gardens Avenue                                                                       Palm Beach Gardens   FL       33410
5462860 Geico                                      5260 Western Avenue                                                                                  Chevy Chase          MD       20815
           GENERAL INSURANCE SERVICES 
5459987 INC                            P.O. BOX 418                                                                                                     MICHIGAN CITY        IN       46361
           GENERAL INSURANCE SERVICES 
5459988    OF ASHVILLE INC             P.O BOX 17607                                                                                                    ASHEVILLE            NC       28816
           GENERAL RE‐NEW ENGLAND 
           ASSET MANAGEMENT INC 
           (NOW KNOWN AS NEW 
           ENGLAND ASSET 
5462862    MANAGEMENT INC)             74 Batterson Park Rd                                                                                             Farmington           CT       06032
5459980    GENERAZIO ASSOCIATES        Maria Overton                                 265 Broad Street                                                   Bloomfield           NJ       07003
5459328    GENEX SERVICES LLC          P.O. Box 88070                                                                                                   Chicago              IL       60680
5462731    GENTRY, ERIC                2005 TERRAPIN STREET                                                                                             INDIAN TRAIL         NC       28079
           GEO V BULLEN & SON FLORIDA 
5733677    INC                         8930 SE BRIDGE RD.                                                                                               HOBE SOUND           FL       33455

5459981 GEORGE EIDSON AGENCY INC                   2807 Edgewater Dr.                                                                                   Orlando              FL       32854
5459982 GEORGE M COMAS INC                         73 Jefferson Avenue                                                                                  Westwood             NJ       07675

5459329 GEORGE M COMAS INC                         Matt Comas                        73 Jefferson Avenue                                                Westwood             NJ       07675
           GEORGE MANGAN INSURANCE 
5460806    INC                                     P.O Box 2528                                                                                         Ocala                FL       34478‐2528
5462275    GEORGE, KRISTINA                        722 SUNSET PT DR                                                                                     ROCK HILL            SC       29732
           GEORGIA AGENCY PARTNERS 
5459983    INC                                     P.O Box 2457                                                                                         Gainesville          GA       30503
           GEORGIA COMMISSIONER OF 
5733678    INSURANCE                               2 MARTIN LUTHER KING JR                                                                              ATLANTA              GA       30334
                                                   PROCESSING CENTER GEORGIA 
           GEORGIA DEPARTMENT OF                   DEPARTMENT OF REVENUE, P.O.BOX 
5733545 REVENUE                                    740317                                                                                               ATLANTA              GA       30374‐0317
        GEORGIA DEPARTMENT OF 
5733546 REVENUE                                    PROCESSING CENTER                 PO BOX 740317                                                      ATLANTA              GA       30374‐0317
        GEORGIA DEPARTMENT OF 
5733679 REVENUE                                    PROCESSING CENTER                 PO BOX 740397                                                      ATLANTA              GA       30374‐0397

        Georgia Office of Insurance and  Attn: Tammy Holmes, Director, Agents        Two Martin Luther 
5458887 Safety Fire Commissioner         Licensing Division                          King, Jr. Drive    West Tower                    Suite 704         Atlanta              GA       30334
5461274 GERA, RITA PAMELA                725 S. HUALAPAI WAY                         NUMBER 2032                                                        LAS VEGAS            NV       89145
        GERMAN AMERICAN 
5459974 INSURANCE INC                    246 Third Avenue                                                                                               Jasper               IN       47546




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                                                                                                         Served via First Class Mail
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           GETTIS BERNAL & ASSOCIATES 
5459975    INC                                     12555 Biscayne Blvd #832                                                                           Miami             FL       33181
           GGSK1, Inc. (The Dalton 
5462872    Companies)                              3905 North Lake Boulevard                                                                          Lake Park         FL       33403
5463404    GHANDOUR, CHRIS                         3410 LA SIERRA AVE F333                                                                            RIVERSIDE         CA       92503
5459976    GHENTCO INC                             P.O Box 3766                                                                                       Enid              OK       73702

5459977    GHG INSURANCE GROUP INC                 1000 Riverside Ave, Suite 500                                                                      Jacksonville      FL       32204
5462175    GIACALONE, KAREN                        215 W 95TH ST                       APT 2G                                                         New York          NY       10025
5461672    GIANESIN, THOMAS                        5410 LEANDRA COURT                                                                                 KEYES             CA       95328
5461091    GIANGRECO, NICHOLAS                     1741 HINMAN AVE                                                                                    EVANSTON          IL       60201
5463277    GIBBS, BRIANNA                          1624 E SWAN CIRCLE                                                                                 BRENTWOOD         MO       63144
5461114    GIBBS, NURIA                            3082 CROSSWIND DRIVE                                                                               INDIAN LAND       SC       29707
5462873    Gibeaut, Mahan and Briscoe              6701 Center Drive West, Suite 611                                                                  Los Angeles       CA       90045
5460988    GIBSON, MICHELLE                        1017 SE 2ND STREET                  #2                                                             FORT LAUDERDALE   FL       33301
5461594    GIBSON, TAYLOR                          11005 TARA GLENN COURT              NUMBER 334                                                     CHARLOTTE         NC       28277
5461712    GIBSON, TRACY                           1908 N Ocean Dr Apt 2                                                                              HOLLYWOOD         FL       33019‐3406
5459978    GIC UNDERWRITERS INC                    4075 SW 83 Avenue                                                                                  Miami             FL       33155
5459979    GIGA Solutions Inc.                     315 SE Mizner Blvd., Suite 213                                                                     Boca Raton        FL       33432

5459970 GIL & ASSOCIATES INSURANCE 9485 SW 72nd St A120                                                                                               Miami             FL       33173
           GIL GARDEN AVETRANI 
5460741    INSURANCE GROUP                         10689 N. Kendall Dr., Suite 208                                                                    Miami             FL       33176
5461895    GILES, HEIDI                            5404 W. CINNAMON RIDGE DR                                                                          LECANTO           FL       34461
5462509    GILHAM, COURTNEY                        27 SIGNAL HILL DRIVE                                                                               VOORHEES          NJ       08043
5460891    GILLEN, MAUREEN                         6 PARKER AVENUE                                                                                    ROCHELLE PARK     NJ       07662
5460537    GILLMAN INSURANCE INC                   11375 South Bridge Parkway #100                                                                    Alpharetta        GA       30022
5462070    GILMAN, JESS                            17277 RACHELS WAY                                                                                  CHINO HILLS       CA       91709
5463320    GILREATH, CARLA                         15439 S 45th St                                                                                    PHOENIX           AZ       85044‐4932
5720308    Gingello, Anthony L                     105 Rosedale Street                                                                                Rochester         NY       14620‐1811
5720307    Gingello, Anthony L                     5701 Lincoln Road                                                                                  Ontario           NY       14519‐9114
                                                                                       Attn: Lesley Frank 
5466283    Gingello, Anthony L.                    c/o Glancy Prongay & Murray LLP     Portnoy               230 Park Avenue, Suite 530               New York          NY       10169
5462398    GIRARD, LYNETTE                         2522 SLICKROCK WAY                                                                                 SAN ANTONIO       TX       78258
5462085    GLAD, JILL                              7610 SUFFOLK AVENUE                                                                                ST. LOUIS         MO       63119
5462126    GLAD, JORDAN                            7610 SUFFOLK AVE                                                                                   ST LOUIS          MO       63119
5462406    GLAD, MADISON                           7610 SUFFOLK AVE                                                                                   ST LOUIS          MO       63119
5461361    GLANZ, SARA                             313 S FUQUAY AVE                                                                                   FUQUAY VARINA     NC       27526
5462238    GLASHEEN, KEVIN                         7211 SW 5TH STREET                                                                                 PLANTATION        FL       33317
5460881    GLATTSTEIN, MATTHEW                     3101 PORT ROYALE BLVD               APT 424                                                        FT LAUDERDALE     FL       33308
5459327    GLENN'S GREENERY                        10900 SW 48TH ST.                                                                                  FORT LAUDERDALE   FL       33328
5462881    Glidewell Laboratories                  18551 Von Karman Ave                                                                               Irvine            CA       92612



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MMLID                      NAME                                  ADDRESS 1             ADDRESS 2              ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
           GLOBAL FINANCIAL & 
5459971    INSURANCE SERVICES INC                  3006 Clairmont Road, Ste. 500                                                             Atlanta           GA       30329
5733681    GLOBAL HR RESEARCH                      9530 MARKETPLACE ROAD            SUITE 301                                                FORT MEYERS       FL       33912
5460730    GLOBAL RISK LLC                         5959 Blue Lagoon Dr. #101                                                                 Miami             FL       33126
5460526    GLOBAL RISK PARTNERS LLC                1622 Tilton Road                                                                          Northfield        NJ       08225
5459019    GLOBALVISION                            9401 OAKDALE AVE                 SUITE 100                                                CHATSWORTH        CA       91311
5459031    GLOBALVISION                            PO BOX 755                                                                                GREENVILLE        SC       29602
5459972    GMM INSURANCE INC                       114‐A LIBRARY HILL LANE                                                                   LEXINGTON         SC       29072
5462555    GOBER, DANIELLE                         1909 NATALEN RD                                                                           WINTER PARK       FL       32792
5463347    GOGA, CATHERINE                         214 SPENCER ROAD                                                                          WEBSTER GROVES    MO       63119
5462077    GOGUEN, JESSICA                         3300 RED ASH CIRCLE                                                                       OVIEDO            FL       32766
5462888    Goldberg Segalla                        902 Carnegie Center, Suite 100                                                            Princeton         NJ       08540
           GOLDEN GLOBAL INSURANCE 
5459973    LLC                                     19950 W. Country Club Dr. #902                                                            Aventura          FL       33180
           GOLDEN INSURANCE AGENCY 
5460527    LLC                                     18600 WEST 10 MILE RD. STE 208                                                            SOUTHFIELD        MI       48075
           GOLDEN RULE INSURANCE 
5733682    AGENCYINC                               4065 OSAGE BEACH PKWY. STE 1                                                              OSAGE BEACH       MO       65065
           GOLDEN RULE INSURANCE 
5460528    AGENCYINC                               P.O Box 810                                                                               Osage Beach       MO       65065
           GOLDEN RULE INSURANCE 
5459323    COMPANY                                 7440 Woodland Dr.                                                                         Indianapolis      IN       46278
5462339    GOMEZ, LIEMECHER                        7453 W 22 AVE #203                                                                        HIALEAH           FL       33016
5461775    GOMEZ, VANESSA                          9133D SW 20TH PLACE                                                                       DAVIE             FL       33324
5463278    GONSOREK, BRIANNA                       508 1/2 HILLCREST STREET                                                                  ORLANDO           FL       32803
5462587    GONYAW, DAWN                            7014 SOUTH FITZGERALD STREET                                                              TAMPA             FL       33616
5462988    GONZALES, ALBERT                        28 FERNDALE AVENUE                                                                        HIGHLAND MILLS    NY       10930
5461282    GONZALES, ROBERT                        33296 CALLE CANTU                                                                         TEMECULA          CA       92592
5461984    GONZALEZ, JACOB                         110 MOREE LOOP                                                                            WINTER SPRINGS    FL       32708
5461801    GONZALEZ, WALLY                         630 FORREST ROAD                                                                          SELLERSVILLE      PA       18960
5462167    GOODLUCK, KAMIE                         1536 WILSON MANOR CIRCLE                                                                  LAWRENCEVILLE     GA       30045
5459324    GORACK                                  800 WATER STREET                 SUITE 202                                                JACKSONVILLE      FL       32204
5460529    GORIN INSURANCE INC                     2711 SW 137th Ave. Ste #95                                                                Miami             FL       33175
5462452    GORMANLOVE, CLAIRE                      10324 GRENDEL COURT                                                                       MECHANICSVILLE    VA       23116
5462893    GORMANLOVE, GRACIE                      10324 GRENDEL COURT                                                                       MECHANICSVILLE    VA       23116
5461875    GORMANLOVE, HANNAH                      2525 O STREET                                                                             RICHMOND          VA       23223
5462609    GORSON, DEBRA                           1785 N ANDREWS SQUARE            APARTMENT 103E                                           FT LAUDERDALE     FL       33311
5461702    GOTT, TONI                              17121 CYPRESSWOOD WAY                                                                     CLERMONT          FL       34714
5463262    GOUGH, BRENDA                           4529 BRUCE OGLE WAY                                                                       PIGEON FORGE      TN       37863
5462321    GRADY, LESLIE                           241 BIDDLE DRIVE                                                                          EXTON             PA       19341
5462700    GRAHAM, ELIZABETH                       834 MARTHA AVENUE                                                                         CATAWISSA         MO       63015
5462806    GRANDE, FRANK                           PO BOX 825                                                                                BETHEL            CT       06801



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5460957 GRANDSTAFF, MICHAEL                        6935 LACANTERA CIRCLE                                                                             LAKEWOOD RANCH    FL       34202

5459967 GRANDVIEW BROKERAGE CORP PO BOX 40317                                                                                                        BROOKLYN          NY       11204

5460530 GRANITE INSURANCE AGENCY                   P.O Box 620                                                                                       Granite Falls     NC       28630
           Granite State Insurance 
5734154    Company                                 175 Water Street                 18th Floor                                                       New York          NY       10038
5461787    GRANT, VICTOR                           11100 CINNAMON TEAL DRIVE                                                                         SPOTSYLVANIA      VA       22553
5460867    GRANVILLE, MARY                         139 WYNDMOOR ROAD                                                                                 HAVERTOWN         PA       19083
5463426    GRASSI, CHRISTOPHER                     3 HAYLOFT COURT                                                                                   O'FALLON          MO       63368
5464605    GRAVES, JOSEPHINE L                     1381 SW 178TH WAY                                                                                 PEMBROKE PINES    FL       33029
           Great American Insurance                                                 Post Office Box 
5462897    Company                                 Daniel Boyer                     5789                                                             Cincinnati        OH       45201
           Great American Insurance 
5462896    Company                                 P.O Box 5789                                                                                      Cincinnati        OH       45201
           Great American Insurance 
5462898    Group                                   301 E. Fourth St.                                                                                 Cincinnati        OH       45202

5459968    GREAT SCOT! INSURANCE INC               12155 Metro Parkway, Suite 28A                                                                    Ft. Myers         FL       33996‐8302
5462545    GRECO, DANIEL                           207 PEEKE AVENUE                                                                                  KIRKWOOD          MO       63122
5460958    GRECO, MICHAEL                          426 PINE BEND DRIVE                                                                               WILDWOOD          MO       63005
5461550    GRECO, STEVEN                           1237 SADDLEMAKER DRIVE                                                                            ST. CHARLES       MO       63304
                                                                                                          401 E. Las Olas Blvd, Suite 
5458965 Greenberg Traurig                          Fred Karlinsky                   Greenberg Traurig     2000                                       Ft. Lauderdale    FL       33301
5462900 GREENBERG TRAURIG P A                      401 EAST LAS OLAS BLVD           SUITE 2000                                                       FORT LAUDERDALE   FL       33301
           GREENE‐HAZEL & ASSOCIATES 
5460670 INC                                        10739 Deerwood Rk Blvd., #200                                                                     Jacksonville      FL       32256
5461176 GREENEY, PHILLIP                           15610 IRIS CIRCLE                                                                                 WESTMINSTER       CA       92683
           GREENPOINT INSURANCE 
5460531 ADVISORS LLC                               P.O. BOX 2944                                                                                     PARKER            CO       80134

           GREENVILLE SOUTH CAROLINA 
5458992 PROPERTY ASSESSOR                          301 University Ridge             Suite 700                                                        Greenville        SC       29601‐3659
           GREGOIRE FAMILY INSURANCE 
5460520    INC                                     992 Tamiami Trail. Unit E2                                                                        Port Charlotte    FL       33953
5462600    GREISSINGER, DEBORAH                    452 MANOR OAK LANE                                                                                MARIETTA          GA       30067
5462043    GRENELL, JEFFREY                        50 NE 24TH STREET                                                                                 WILTON MANORS     FL       33305
5733683    GRIFFIN AND COMPANY INC                 2531 LAFAYETTE PLAZA. SUITE E                                                                     ALBANY            GA       31708
5459969    GRIFFIN AND COMPANY INC                 P.O Box 71725                                                                                     Albany            GA       31708
5462622    GRILIONE, DENNIS                        280 TRENTON AVENUE                                                                                CLOVIS            CA       93619
5460847    GRINDEY, MARK                           9450 PLAINFIELD DRIVE                                                                             ROCK HILL         MO       63119
5462910    Grinnell Mutual Group                   Steve Scherf                     4215 Highway 146                                                 Grinnell          IA       50112
5462909    Grinnell Mutual Group                   Todd Milburn                     4215 Highway 146                                                 Grinnell          IA       50112


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5461865    GRISBY, GUMERO                          133 SOUTH MASON                                                                             CHICAGO            IL       60644
5461768    GRIVETT, VALERIE                        166 DUSTY ROSE DRIVE                                                                        O'FALLON           MO       63368
5462911    Grocery Supply                          3131 East Holcombe Boulevard                                                                Houston            TX       77021‐2199
5460882    GROTKOWSKI, MATTHEW                     5714 MILL STREET                                                                            ERIE               PA       16509
5459325    Ground Courier Inc                      9 Portland Rd                                                                               Conshohocken       PA       19428
5459325    Ground Courier Inc                      #9 Portland Rd Unit D                                                                       W. Conshohocken    PA       19428
5459325    Ground Courier Inc                      James F Carracappa             294 White Ave.                                               King of Prussia    PA       19406
           Group Management Services 
5462913    (GMS)                                   3296 Columbia Road                                                                          Richfield          OH       44286
           Group Management Services,                                             3296 Columbia 
5462914    Inc.                                    Alexandria Hooshmani           Road                                                         Richfield          OH       44286
           Group Management Services, 
5719420    Inc.                                    Thomas S. Amato                3750 Timberlake Dr.                                          Richfield          OH       44286
5462915    GS Technologies                         Ruth Welschmeyer               P.O. Box 1831                                                Jefferson City     MO       65102
5459321    GTT COMMUNICATIONS INC                  P.O Box 842630                                                                              Dallas             TX       75284
5461313    GUADAGNA, RONALD                        1021 AREZZO CIRCLE                                                                          BOYNTON BEACH      FL       33436
5462654    GUADAGNO, DONNA                         21 SEALS DRIVE                                                                              MONROE             NY       10950
5462917    Guarantee Insurance                     401 East Las Olas Boulevard    Suite 1650                                                   Fort Lauderdale    FL       33301
           GUARANTEE INSURANCE 
5462918    COMPANY                                 401 EAST LAS OLAS BLVD         SUITE 1540                                                   FORT LAUDERDALE    FL       33301

5462928 Guarantee Insurance Company 401 E. Olas Street Suite 1500                                                                              Fort Lauderdale    FL       33301
                                                                                  401 E. Olas Street 
5462924 Guarantee Insurance Company Alyse Schuver                                 Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462927 Guarantee Insurance Company Amayae Williams                               Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462925 Guarantee Insurance Company Charles Schuver                               Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462926 Guarantee Insurance Company Debra Smith                                   Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462921 Guarantee Insurance Company Frank Kushler                                 Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462923 Guarantee Insurance Company Joyce Predmesky                               Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462920 Guarantee Insurance Company Karen Good                                    Suite 1500                                                   Ft. Lauderdale     FL       33301
                                                                                  401 E. Olas Street 
5462919 Guarantee Insurance Company Maria Allen                                   Suite 1500                                                   Ft. Lauderdale     FL       33301
        GUARANTEE INSURANCE 
5459322 GROUP                                      401 EAST LAS OLAS BLVD         SUITE 1540                                                   FORT LAUDERDALE    FL       33301
5760840 Guarantee Insurance Group                  401 East Las Olas Blvd.                                                                     Fort Lauderdale    FL       33301
        GUARANTEE INSURANCE                                                       401 E. LAS OLAS 
5462929 GROUP INC                                  ATTN: MICHAEL SLUKA            BLVD. SUITE 1540                                             FT LAUDERDALE      FL       33301



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           Guarantee Insurance Group, 
           Inc. (in receivership with Florida 
5462930    Dept of Insurance)                  401 E Las Olas BLVD                 Suite 1650                                                   Fort Lauderdale    FL       33301
5462931    Guard Insurance Companies           Jeanette Carter                     P.O. Box A‐H                                                 Wilkes‐Barre       PA       18703
5733684    GUARDIAN RELOCATION                 1113 S. FRANKLIN ROAD                                                                            INDIANAPOLIS       IN       46239
5463008    GUERRERO, ALFREDO                   7641 FLORENCE AVE #7                                                                             DOWNEY             CA       90240
                                                                                   9454 WILSHIRE 
                                                                                   BOULEVARD, 
5733685 GUERRERO, ANTHONY                          LAW OFFICES OF LOUIS BENOWITZ   PENTHOUSE                                                    BEVERLY HILLS      CA       90212
5461864 Gulf Coast Blood                           1400 La Concha Lane                                                                          Houston            TX       77054
           GULF COAST COMMERCIAL 
5459963 INSURANCE                                  815B CYPRESS VILLAGE BLVD.                                                                   SUN CITY CENTER    FL       33573
5460521 GULFSHORE INSURANCE INC                    4100 Goodlette Rd N                                                                          Naples             FL       34103
           GULFSTREAM INSURANCE 
5459964    GROUP INC                               P.O Box 8908                                                                                 Ft Lauderdale      FL       33310
5462276    GUSE, KRISTINA                          51 MOTT DRIVE                                                                                JEFFERSON TWP      PA       18436
5462101    GUSTIN, JOHN                            6 LINDA LN                                                                                   LONG BEACH         MS       39560
5462035    GUTIERREZ, JAVIER                       20224 SHERMAN WAY               NUMBER 18                                                    WINNETKA           CA       91306
           GW MOUNTCASTLE AGENCY 
5459965    INC                                     307 West Center St.                                                                          Lexington          NC       27292
5461868    H.E.B.                                  646 S Flores St,                                                                             San Antonio        TX       78204
5461541    HAAN, STEPHEN                           190 LEVISTER CT                 UNIT 102                                                     RALEIGH            NC       27601
5461515    HACKMAN, STACEY                         6013 SUN LAKE DR                                                                             ST CHARLES         MO       63301
5462148    HADDAD, JUDITH                          2140 NE 30TH STREET                                                                          LIGHTHOUSE POINT   FL       33064
5464601    HADDAD, JUDITH L                        22313 VISTA LARGO DRIVE                                                                      BOCA RATON         FL       33420
5719414    Haddad, Judith L.                       2140 NE 30th Street                                                                          Lighthouse Point   FL       33064

                                                                                   Richard David      8551 West Sunrise 
5719414 Haddad, Judith L.                          Richard D. Tuschman, P.A.       Tuschman, Attorney Boulevard ‐ Suite 303                     Plantation         FL       33322

5461076 HADDAD, NELYA KOVALCHUK                    7907 JEWELWOOD DRIVE                                                                         BOYNTON BEACH      FL       33437
           HAGAR BRANNEN INSURANCE 
5459966    INC                                     151 E Highland Blvd, Ste 171                                                                 Inverness          FL       34452
5462885    HAGGINS, GLORIA                         616 FORMOSA PLACE                                                                            BARTOW             FL       33830
5463234    HAGOOD, BILLY                           1519 WILLIAM STREET                                                                          VALDOSTA           GA       31601
5462026    HALL, JASON                             533 HEBRIDES COURT                                                                           APOPKA             FL       32712
           HALLAHAN MCGUINNESS & 
5459958    LORYS LTD                               553 Westchester Ave.                                                                         Rye Brook          NY       10573
           HALLAHAN MCGUINNESS &                                                   553 Westchester 
5459320    LORYS LTD                               Laurie Rubino                   Ave.                                                         Rye Brook          NY       10573
5461155    HALTER III, PAUL                        4312 STOURTON LN                                                                             CHARLOTTE          NC       28226
5463012    HALTER, ALISON                          4312 STOURTON LANE                                                                           CHARLOTTE          NC       28226
5462732    HALTER, ERIC                            1131 HUMMINGBIRD LN                                                                          ROCKHILL           SC       29732


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5464614 HALTER, PAUL                               4312 STOURTON LANE                                                                           CHARLOTTE         NC       28226
5463215 HAMAN, BENJAMIN                            30435 PASSAGEWAY PLACE                                                                       AGOURA            CA       91301
           HAMILTON INSURANCE 
5459959    AGENCY                                  Po Box 3334                                                                                  Rancho Santa Fe   CA       92067
5461873    Hampton Park Baptist                    875 State Park Road                                                                          Greenville        SC       29609
5461337    HAMRICK, SABEL                          2420 MUSSELWHITE AVENUE                                                                      ORLANDO           FL       32804
5461823    HAMRICK, WILLIAM                        421 TIMBER RIDGE DRIVE                                                                       LONGWOOD          FL       32779
5463440    HANCOCK, CHRISTY                        5528 LESSER DRIVE                                                                            ORLANDO           FL       32818
5462271    HANSEN, KRISTA                          579 SHADOWRIDGE                                                                              WILDWOOD          MO       63011
5461156    HANSEN, PAUL                            439 CREEKVIEW LANE SE                                                                        LELAND            NC       28451
5460959    HANSON, MICHAEL                         9631 NW 49TH CT                                                                              SUNRISE           FL       33351
           HANTZ COMMERCIAL 
5459960    INSURANCE AGENCY LLC                    26200 American Dr 5                                                                          Southfield        MI       48034
5461378    HARBACH, SCOTT                          10705 67TH ST                                                                                KENOSHA           WI       53142
           HARBOR INSURANCE AGENCY 
5460522    INC                                     6645 S US Hwy 1                                                                              Port St Lucie     FL       34952
5460523    HARDEN & ASSOCIATES INC                 501 RIVERSIDE AVENUE, SUITE 1000                                                             JACKSONVILLE      FL       32202
           HARDENBERGH INSURANCE 
5460524    GROUP INC                               P.O Box 8000                                                                                 Marlton           NJ       08053
5461876    Harford Mutual                          200 N Main St                                                                                Bel Air           MD       21014
5462090    HARMELING, JOANN                        5511 HAWTHORNE AVENUE                                                                        RICHMOND          VA       23227
           HARMON DENNIS BRADSHAW 
5460525    INC                                     7115 Halcyon Summit Drive                                                                    Montgomery        AL       36117
           HARMON VENTURES INC DBA 
5460514    HARMON INSURANCE                        709 W Washington Street                                                                      Broken Arrow      OK       74012
           HARPER INSURANCE GROUP 
5459961    LLC                                     3000 Gulf to Bay Blvd, Suite 311                                                             Clearwater        FL       33759
           HARRINGTON INSURANCE 
5459962    AGENCY INC                              39 S Peachtree Street                                                                        Norcross          GA       30071
5461995    HARRINGTON, JAMES                       9860 Blue Isle Bay                                                                           PARKLAND          FL       33076‐2886
5462102    HARRINGTON, JOHN                        6722 NW 108 AVE                                                                              PARKLAND          FL       33076
5461824    HARRINGTON, WILLIAM                     4949 BATTERY LANE                  APARTMENT 512                                             BETHESDA          MD       20814
           HARRIS NA (FORMERLY 
           KNOWN AS HARRIS TRUST AND 
5461878    SAVINGS BANKS)                          111 West Monroe Street                                                                       Chicago           IL       60603
5463114    HARRIS, ANTONIO                         2690 NW 15 STREET                                                                            FORT LAUDERDALE   FL       33311
5462799    HARRIS, FORREST                         P.O. BOX 25897                                                                               SARASOTA          FL       34277
5462039    HARRIS, JEFF (FORREST)                  711 S Osprey Ave                   Suite 2                                                   Sarasota          FL       32423
5462257    HARRIS, KIMBERLY                        10305 LOVING TRAIL DRIVE                                                                     FRISCO            TX       75035
5462296    HARRIS, LARRY                           4819 DARLENE ST                                                                              N CHESTERFLD      VA       23237‐4128
5462379    HARRIS, LORENE                          4528 STATE ROAD A                                                                            HIGBEE            MO       65257
5461253    HARRIS, RENITA                          102 ASHFORD COURT                                                                            HENDERSONVILLE    TN       37075



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5459319 HARRISON & NEWMAN CPA LLC 108 E 4TH ST                                                                                                CLARE              MI       48617
5463121 HARRISON, APRIL           80 BRIARVIEW CIRCLE                                                                                         GREENVILLE         SC       29615
           Hartford Casualty Insurance 
5461879 Company                         501 Pennsylvania Parkway                  Suite 400                                                   Indianapolis       IN       46280‐0014
           Hartford Casualty Insurance 
5458901    Company                      8711 University East Drive                                                                            Charlotte          NC       28213
           Hartford Fire Insurance 
5458900    Company                      8711 University East Drive                                                                            Charlotte          NC       28213
           Hartford Fire Insurance 
5719424    Company                      Bankruptcy Unit, NP‐3, Hartford Plaza                                                                 Hartford           CT       06155
           Hartford Fire Insurance 
5719424    Company                      The Hartford                              PO Box 660916                                               Dallas             TX       75266
           HARTLAND INSURANCE 
5460515    AGENCY INC                   P.O Box 129                                                                                           Hartland           MI       48353
5462378    HARTMAN, LOREN               701 WENNEKER DRIVE                                                                                    ST. LOUIS          MO       63124
5463306    HARTMANN, CAITLIN            1605 WHITE PINE COURT                                                                                 CEDAR KNOLLS       NJ       07927
5461673    HARTMANN, THOMAS             2 ABINGDON STREET                                                                                     MORRIS PLAINS      NJ       07950
5461273    HARTSELL, RITA               24818A CHEROKEE ROAD                                                                                  ALBEMARLE          NC       28001
5463026    HARVARD, ALVIN               10054 NW 2ND ST                                                                                       PLANTATION         FL       33324
5462251    HARVEY, KIM                  2703 JUNIPER DRIVE                                                                                    EDGEWATER          FL       32141
5462318    HASKINS, LEE                 115 NORTH GRAY AVENUE                                                                                 JOPLIN             MO       64801
5460516    HATFIELD GROUP LLC           311 Sumneytown Pike, Ste 1F                                                                           North Wales        PA       19454
           Hawaii Department of 
           Commerce and Consumer 
           Affairs (DCCA), Insurance    Attn: Emily Rakieten Insurance Licensing 
5458888    Division                     Assistant                                 P.O. Box 3614                                               Honolulu           HI       96811‐3614
5459953    HAWK ADVISORS INC            206 Williamson Road, Suite 100                                                                        Roanoke            VA       24011
           Haworth Rossman & Gerstman, 
5461883    LLC                          45 Broadway 21st Floor                                                                                New York           NY       10006

5459954    HAY INSURANCE AGENCY INC                4921 Calloway Drive Ste 101                                                                Bakersfield        CA       93312
5461825    HAYDEN, WILLIAM                         1074 NODDING PINES WAY                                                                     CASSELBERRY        FL       32707
5461576    HAYE, TAMAR                             5573 MONTE CARLO PLACE                                                                     MARGATE            FL       33068
5462620    HAYES, DENISE                           19545 HILLTOP TRAILS COURT                                                                 WARRENTON          MO       63383
5462149    HAYES, JUDITH                           1700 CALLAWAY DRIVE                                                                        PLANO              TX       75075
5460731    HAYMOND INSURANCE INC                   200 S. MAIN                                                                                SEARCY             AR       72143

5460517 HAYS COMPANIES OF ST LOUIS 16091 Swingley Ridge Road #160                                                                             Chesterfield       MO       63017
                                                                                 2214 Canterbury 
5461884 Hays Medical Center                        Roseanne Dreiling             Drive                                                        Hays               KS       67601
5463386 HAYTH, CHARLES                             282 GOVERNORS GRANT BLVD.                                                                  LEXINGTON          SC       29072
5733547 HAYTH, CHARLES DAVID                       282 GOVERNORS GRANT BLVD.                                                                  LEXINGTON          SC       29072


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5460518 HAYWARD BROWN INC                          202 Seabreeze Blvd                                                                                Daytona Beach     FL       32118
           HAYWARD BROWN‐FLAGLER 
5460519 INC                                        P.O Box 1669                                                                                      Bunnell           FL       32110
5462891 HAZE, GQ                                   3400 DAVIE ROAD                        #514                                                       DAVIE             FL       33314
5462345 HAZESKI, LINDA                             22900 OAK RIDGE DR                     #148                                                       SAUGUS            CA       91350
                                                                                          11330 Olive Street 
5461885 HBE 1724 & 1725                            Jim Phillips                           Road                                                       St. Louis         MO       63141
5459955 HBG INSURANCE & BONDS                      P.O Box 156                                                                                       Greencastle       IN       46135
           HBG INSURANCE & BONDS‐
5459956 GREENCASTLE                                P.O. Box 156                                                                                      Greencastle       IN       46135
           HBG INSURANCE & BONDS‐
5460508    PLAINFIELD                              P.O Box 156                                                                                       Greencastle       IN       46135
           HBG INSURANCE & BONDS‐
5459957    ZIONSVILLE                              P.O Box 156                                                                                       Greencastle       IN       46135
5733686    HCAP SEARCH DIVISION                    600 BROADWAY #690                                                                                 KANSAS CITY       MO       64105
           HEACOCK INSURANCE GROUP 
5459951    INC                                     1105 US Hwy 27N                                                                                   Sebring           FL       33870
           HEACOCK INSURANCE GROUP 
5459952    INC                                     32313 Broadway Street, Suite 101                                                                  Sebring           FL       33870
5459316    HEALTH TECH                             11730 W 135 STREET                     SUITE 31                                                   OVERLAND PARK     KS       66221
5462383    HECKROTH IV, LOUIS                      3702 GENERAL CHENNAULT                                                                            ALBUQUERQUE       NM       87111
5461745    HEDGES, TYLER                           1280 NE 38 ST                                                                                     FORT LAUDERDALE   FL       33334
           HEFFERNAN INSURANCE 
5459317    BROKERS ‐ MO                            1350 Carlback Avenue. Suite 200                                                                   Walnut Creek      CA       94596
           HEFFERNAN INSURANCE 
5459318    BROKERS ‐ ST LOUIS                      16100 Swingley Ridge Rd #250                                                                      Chesterfield      MO       63017
           HEFFERNAN INSURANCE 
5460732    BROKERS (MO)                            16100 Swingley Ridge Road, Suite 250                                                              Chesterfield      MO       63017
           HEFFERNAN INSURANCE 
5459947    BROKERS ‐WALNUT CREEK                   PO BOX 5608                                                                                       Walnut Creek      CA       94596
5462488    HEFNER, COREY                           304 ACADEMY STREET                                                                                FORT MILL         SC       29715
5462103    HEGNER, JOHN                            225 COHANSEY AVENUE                                                                               GILROY            CA       95020
5462591    HELM, DEAN                              403 OLDE HOUSE LANE                                                                               MEDIA             PA       19063
5462819    HENDRICKSON, GABRIELLE                  530 E 4TH STREET                                                                                  CHULUOTA          FL       32766
5463094    HENDRIX, ANGELA                         1936 EASTERN FINCH                                                                                NEW BRAUNFELS     TX       78130
5459948    HENRY DUNN INC                          317 Main St.                                                                                      Towanda           PA       18848
5460509    HENRY HAM AGENCY INC                    645 E. Evans Ave.                                                                                 Denver            CO       80210
5459949    HENRY HOLTZMANN INC                     169 Danforth Avenue                                                                               Jersey City       NJ       07305
                                                                                          169 Danforth 
5459313 HENRY HOLTZMANN INC                        Joan Introcaso                         Avenue                                                     Jersey City       NJ       07305
        HENRY INSURANCE SERVICE 
5460510 INC                                        9624 Brookline Ave                                                                                Baton Rouge       LA       70809
5459314 HENRY O BAKER INC                          75 Warren St.                                                                                     Dover             NJ       07801


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5459950    HENRY O BAKER INC                       7 South Warren St.              P.O. Box 271                                             Dover             NJ      07801
5463081    HENRY, ANDREW                           2060 YORKTOWN SOUTH                                                                      NORRISTOWEN       PA      19403
5462239    HENRY, KEVIN                            1727 NORTH MAPLE STREET                                                                  BURBANK           CA      91505
5460876    HENRY, MATT                             10345 BUTTERNUT CIRCLE                                                                   MANASSAS          VA      20110
5461687    HENRY, TIMOTHY                          330 W. MAIN STREET              APT A                                                    TRAPPE            PA      19426
5464611    HENSEN, ELIZABETH                       470 NE 5TH AVENUE               APT 3424                                                 FORT LAUDERDALE   FL      33301
5462389    HEREDIA, LUIS                           30160 PECHANGA DRIVE                                                                     TEMECULA          CA      92592
5460960    HERING, MICHAEL                         1361 SOUTH FEDERAL HIGHWAY      APT #113                                                 BOCA RATON        FL      33432
           HERITAGE INS GROUPINC‐
5459943    BENNETT & EDWARDS                       532 Princeton Road                                                                       Johnson City      TN      37605
           HERITAGE INSURANCE GROUP 
5460511    INC                                     P.O Box 420                                                                              Johnson City      TN      37605
5460868    HERMANS, MARY                           293 TERRACINA DRIVE                                                                      SANFORD           FL      32771
5462759    HERNANDEZ, EVELYN                       1024 SE 24TH AVE UNIT #2                                                                 CAPE CORAL        FL      33990
5461324    HERNANDEZ, ROXANA                       517 NW 3RD TERRACE                                                                       CAPE CORAL        FL      33993
5460961    HERR, MICHAEL                           3081 JESTER STREET                                                                       PORT CHARLOTTE    FL      33948
5461794    HERRON, VICTORIA                        650 PERSIMMON HILL LANE                                                                  SALEM             SC      29676
5461902    HERTZ                                   8001 Hertz Dr                                                                            Estero            FL      33928
5459944    HERZFELD INC                            P.O Box 849                                                                              Benton            AR      72018
5462302    HEWITT, LAURA                           4 BRYANT COURT                                                                           BELLOWS FALLS     VT      05101
5460239    HIBLER, GLENN                           652 Mateo Street                Loft 202                                                 Las Angeles       CA      90021
5733688    HIDALGO JR, ROBERT D                    1289 CABRILLO PARK DRIVE                                                                 SANTA ANA         CA      92701

           HIGGINBOTHAM INSURANCE 
5460512 AGENCY INC‐SOUTH                           500 West 13th Street                                                                     Fort Worth        TX      76102

5461904 Highland Insurance Company                 10200 Richmond, Suite 265                                                                Houston           TX      77042
           HIGHLAND INSURANCE 
5733689    COMPANY                                 PO BOX 42307                                                                             HOUSTON           TX      77242
5461905    Highlands Insurance                     1000 Lenox Drive East                                                                    Lawrenceville     NJ      08648
           HIGHSMITH INSURANCE 
5460513    AGENCY INC                              100 Brigade Street. 2nd Floor                                                            Charleston        SC      29403
5462203    HILL, KATHY                             3010 HIGHWAY V                                                                           VALLES MINES      MO      63087
5460962    HILL, MICHAEL                           1924 DIAMOND HILL                                                                        CARLSBAD          NM      88220
5461190    HILL, PRECIOUS                          1200 SW 130th Ave               APT G407                                                 Pembroke Pnes     FL      33027‐6822
5459945    HILLCREST AGENCY INC                    P.O BOX 1364                                                                             MOUNT DORA        FL      32756

5459311    HINSON INVESTIGATIONS LLC               P.O. BOX 5097                                                                            MORRESVILLE       NC      28117
5461269    HINSON, RICKY                           516‐D RIVER HIGHWAY             NUMBER 105                                               MOORESVILLE       NC      28117
5462384    HINTON, LOUIS                           513 E 1ST ST S                                                                           TRUMAN            MN      56088
5461330    HINTON, RYAN                            18564 SW 55TH ST                                                                         MIRAMAR           FL      33029
5460848    HIRSCH, MARK                            1070 EAGLEPASS COURT                                                                     CHESTERFIELD      MO      63017



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5461379    HISER, SCOTT              9027 NE 101ST ST                                                                                          KANSAS CITY          MO       64157
5459946    HJ SPIER CO INC           8250 Woodfield Crossing Blvd                                                                              Indianapolis         IN       46240
5461907    HMS Host                  6905 Rockledge Drive                                                                                      Bethesda             MD       20817
5462269    HOAG, KIRSTIE             3717 METRO PARKWAY                               UNIT 3205                                                FORT MYERS           FL       33916
5461551    HOBB, STEVEN              384 STEINER DRIVE                                                                                         HEMET                CA       92544
5460963    HOCHSTETLER, MICHAEL      1710 CHART DRIVE                                                                                          CROSBY               TX       77532
5462267    HOEHN, KIRSTEN            1112 WOODMONT ROAD                                                                                        GLADWYNE             PA       19035
5460849    HOEHN, MARK               1112 WOODMONT RD                                                                                          GLADWYNE             PA       19035
           HOFFMAN INSURANCE AGENCY 
5459938    INC                       800 Lowry Avenue                                                                                          Jeannette            PA       15644
           HOFFMAN INSURANCE AGENCY 
5459312    INC                       P.O Box 1364                                                                                              Mount Dora           FL       32756
5461570    HOFFMAN, SUSAN            9 SILVER RIDGE CT.                                                                                        GREER                SC       29651
           HOGAN INSURANCE SERVICES 
5459939    INC                       P.O. Box 7419                                                                                             Thousand Oaks        CA       91359
5461366    HOLLAND, SARAH            126 LUDLOW DR                                                                                             LONGWOOD             FL       32779
5463268    HOLLEN, BRIAN             1409 EAST BOULEVARD                              SUITE 1‐D                                                CHARLOTTE            NC       28203
5459281    HOLLRAH, JEREMEY R        1939 Kisher Dr.                                                                                           St. Charles          MO       63301
5462307    HOLMES, LAUREN            2649 MARKET STREET                                                                                        FORT MYERS           FL       33916‐4015
5461195    HOLMES, PRINCESS          19120 SW 24TH STREET                                                                                      MIRAMAR              FL       33029
                                                                                                                                               LAUDERDALE BY THE 
5462660    HOLMQUIST, DOREEN                       4425 POINCIANA STREET              NUMBER 5                                                 SEA                  FL       33308
5462252    HOLT, KIM                               10390 KALAMAZOO AVE S E                                                                     CALEDONIA            MI       49316
5461131    HOLT, PAMELA                            214 SOUTH FLOWER AVENUE                                                                     COMPTON              CA       90221
5463061    HOLTER, AMY                             2303 NORTH CONGRESS AVENUE         APT 18                                                   BOYNTON BEACH        FL       33426
5462058    HOMA, JENNIFER                          1690 VALERO LANE                                                                            FENTON               MO       63026
           HONIG INSURANCE AGENCY 
5459310    INC                                     129 W 27th St                                                                               New York             NY       10001
           HONIG INSURANCE AGENCY 
5459940    INC                                     129 West 27th Street               6th Floor                                                New York             NY       10001
5461139    HONRATH, PATRICIA                       105 MCKENNA CIRCLE                                                                          GREENVILLE           SC       29615
           HOOD HARGETT & ASSOCIATES 
5460733    INC                                     PO Box 30127                                                                                Charlotte            NC       28204

5460502 HOOPER HAYES & ROGAN INC                   2269 S. University Drive PMB#332                                                            Davie                FL       33324
        HOOSIER INSURANCE & 
5459941 FINANCIAL SERVICES LLC                     P.O Box 2310                                                                                Washington           IN       47501
5459942 HOPE AGENCY INC                            150‐21 34th Avenue                                                                          Flushing             NY       11354

5459934 HORIZON INSURANCE GROUP                    6 W 18th St # 11                                                                            New York             NY       10011
5462198 HORN, KATHRYN                              214 HARDWICKE LANE                                                                          VILLANOVA            PA       19085
5461996 HORNER, JAMES                              36722 SILK COURT                                                                            NEWARK               CA       94560



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5459935 HORVATH & JOHNSON INC                      75 Jackson Avenue, Po Box 202                                                                       Rockaway             NJ       07866

                                                                                            75 Jackson Avenue, 
5459308 HORVATH & JOHNSON INC                      Bertil Johnson, Jr.                      Po Box 202                                                 Rockaway             NJ       07866
5461063 HOSHYAR, NATHAN                            731 KEENELAND PIKE                                                                                  LAKE MARY            FL       32746
           HOSPITALITY INSURANCE 
5459936 AGENCY LLC                                 P.O Box 12010                                                                                       Florence             SC       29504
           HOSPITALITY SUPPORTIVE 
5459309    SYSTEMS                                 401 East Las Olas Blvd                   Suite 1650                                                 Fort Lauderdale      FL       33301
           HOSPITALITY SUPPORTIVE 
5461911    SYSTEMS LLC                             401 E. LAS OLAS BLVD, SUITE 1650                                                                    FORT LAUDERDALE      FL       33301
5462574    HOUGH, DAVID MICHAEL                    301 BUFFALO STREET                                                                                  CANANDAIGUA          NY       14424
5466082    Houlihan Lokey Capital, Inc.            245 Park Avenue, 20th Floor                                                                         New York             NY       10167
           HOURGLASS INSURANCE 
5460503    SOLUTIONS                               300 Avenue of the Champions, Suite 222                                                              Palm Beach Gardens   FL       33418
5461030    HOUSE, MOLLY                            309 VIGILANT STREET                                                                                 FORISTELL            MO       63348
5462204    HOVIS, KATHY                            1448 PROSPECT LAKES DRIVE                                                                           WENTZVILLE           MO       63385
           HOWARD HILDRETH REALTY 
5459937    &INS AGENCY INC                         1062 OAK RIDGE TURNPIKE. STE 200                                                                    OAK RIDGE            TN       37830

5460504 HOWARD INSURANCE AGENCY 6900 Wisconsin Avenue, Suite 450                                                                                       Chevy Chase          MD       20815
           HOWDEN INSURANCE SERVICES 
           INC DBA DUAL INSURANCE 
5459931    SERVICES                   16 Eastcheap                                                                                                     London                        EC3M 1BD      United Kingodm
5459305    HUB ENTERPRISES INC        406 E Madison St # 2002                                                                                          Broussard            LA       70518
5733690    HUB ENTERPRISES INC        PO BOX 3162                                                                                                      LAFAYETTE            LA       70502
           HUB INTERNATIIONAL 
5459932    INSURANCE SERVICES         470 E. HIGHLAND AVE.                                                                                             REDLANDS             CA       92373
5459306    HUB INTERNATIONAL          300 NORTH LASALLE STREET                              17TH FLOOR                                                 CHICAGO              IL       60654

5460505 HUB INTERNATIONAL FLORIDA P.O Box 1027                                                                                                         Clearwater           FL       33757
        HUB INTERNATIONAL FLORIDA ‐ 
5459307 DAVIE                        10368 W State Rd 84 #201                                                                                          Davie                FL       33324
        HUB INTERNATIONAL FLORIDA‐
5460506 DAVIE                        10368 WEST STATE ROAD 84, SUITE 201                                                                               DAVIE                FL       33324
        HUB INTERNATIONAL GULF 
5460807 SOUTH                        P.O Box 6650                                                                                                      Metairie             LA       70009‐6650

5459933 HUB INTERNATIONAL INS SVS                  40 E. ALAMAR AVE                                                                                    SANTA BARBARA        CA       93105
        HUB INTERNATIONAL INS SVS‐
5459925 SANTA BARBARA                              P.O. BOX 3310                                                                                       SANTA BARBARA        CA       93130‐3310




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           HUB INTERNATIONAL 
           INSURANCE SERVICES ; MARRS 
5459926    MADDOCKS & ASSOCIATES       1903 Wright Place                                                                                    Carlsbad          CA       92008
           HUB INTERNATIONAL MID‐
5460507    AMERICA                     5314 S Yale Avenue, Suite 900                                                                        Tulsa             OK       74135
           HUB INTERNATIONAL MIDWEST 
5460496    LIMITED‐MDW                 362 Minorca Avenue                                                                                   Coral Gables      FL       33134
           HUB INTERNATIONAL 
           MOUNTAIN STATES LTD‐NORTH 
5460497    PLATTE                      520 Main Street, Suite 800                                                                           Fargo             ND       58103
           HUB INTERNATIONAL 
5459927    NORTHEAST                   1065 AVENUE OF THE AMERICAS                                                                          NEW YORK          NY       10018
           HUB INTERNATIONAL 
5459928    SOUTHEAST‐BLUFFTON          P.O Box 1820                                                                                         Bluffton          SC       29910
           HUB INTERNATIONAL 
5460498    SOUTHEAST‐COLUMBIA          P.O Box 21308                                                                                        Columbia          SC       29221
           HUB INTERNATIONAL SVS 
5459929    INSINC‐RIVERSIDE            3390 University Ave Suite 300                                                                        Riverside         CA       92501
5461898    HUBBS, HENRY                937 SOROCK DRIVE                                                                                     TORRANCE          CA       90502
           HUDSON BAY MASTER FUND 
5733691    LTD.                        777 THIRD AVE                               30TH FLOOR                                               NEW YORK          NY       10017
5462795    HUDSON, FLORENCE            4400 KAYRON DRIVE                                                                                    CHARLOTTE         NC       28269
           HUGHES COMMERCIAL 
5459930    INSURANCE SERVICES LLC      5530 Corbin Ave, Suite 226                                                                           Tarzana           CA       91356

5459300 HUGHES HUBBARD & REED LLP One Battery Park Plaza                                                                                    New York          NY       10004
        HUGHES SECURITY 
5459301 CONTRACTORS INC                            185 DRENNEN ROAD                SUITE 317                                                ORLANDO           FL       32806
5461981 HUGHES, JACKSON                            20544 VENTURA BLVD              #108                                                     WOODLAND HILLS    CA       91364
5460824 HUGHES, MARGARET                           4320 YORKETOWNE ROAD                                                                     ORLANDO           FL       32812

5461258 HUMPHRIES, RHONDA                          4201 CATHEDRAL AVENUE           APARTMENT 404W                                           WASHINGTON        DC       20016

5461914 Hungry's Restaurants/Thrive                500 E 52nd Street North                                                                  Sioux Falls       SD       57104
           HUNTINGTON & 
5460499    WHEATSWORTH LLC                         1 Como Court                                                                             Towaco            NJ       07082
5460500    HUNTLEIGH MCGEHEE                       8235 Forsyth Blvd, Suite 1200                                                            Clayton           MO       63105
5462044    HURCHALLA, JEFFREY                      617 WEST BROOKHAVEN ROAD                                                                 WALLINGFORD       PA       19086
5463427    HURLER, CHRISTOPHER                     3114 SPRING HILL PARKWAY SE     APARTMENT I                                              SMYRNA            GA       30080
5460825    HURLEY, MARGARET                        161 LEVERINGTON AVENUE          APT. 2002                                                PHILADELPHIA      PA       19127
5461009    HUSTON‐RANGE, MIRANDA                   4003 CANEBRAKE VALLEY DRIVE                                                              DITTMER           MO       63023
5463385    HYATH, CHARLES DAVID                    282 Governors Grant Blvd.                                                                Lexington         SC       29072



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                                                                                                             Master Mailing List
                                                                                                          Served via First Class Mail
MMLID                      NAME                                  ADDRESS 1                   ADDRESS 2               ADDRESS 3          ADDRESS 4               CITY   STATE   POSTAL CODE   COUNTRY
           HYLANT GROUP INC‐LAKE                   250 INTERNATIONAL PARKWAY. SUITE 
5459924    MARY                                    330                                                                                              LAKE MARY          FL      32746
5463367    HYLTON, CEDRIC                          1095 FLAT SHOALS ROAD                                                                            ATLANTA            GA      30349
5462769    HYLTON, FAYE                            1605 RENAISSANCE COMMONS BLVD          #234                                                      BOYNTON BEACH      FL      33426
5460821    HYMAN, MARCUS                           13117 QUEENSDALE DRIVE                                                                           WOODBRIDGE         VA      22193
5461251    IAIA, RENEE                             1274 SOUTH NIGHTSTAR WAY                                                                         ANAHEIM            CA      92808
5459302    IAIABC                                  7780 Elmwood Avenue                    Suite 207                                                 Middleton          WI      53562
5460501    IBC INSURANCE AGENCY LTD                P.O Box 39790                                                                                    San Antonio        TX      78218
5458904    ICAT Lloyd's of London                  385 Interlocken Crescent, Suite 1100                                                             Broomfield         CO      80021
5461916    ICMaritime                              3440 Preston Ridge Road, Suite 300                                                               Alpharetta         GA      30005
5461917    ICW Group                               11455 El Camino Real                                                                             Carlsbad           CA      92130
5461928    ICW Group                               Adrienne Estrada                       PO Box 85563                                              San Diego          CA      92186
5461938    ICW Group                               Alyssa O'neill                         PO Box 85563                                              San Diego          CA      92186
5461929    ICW Group                               Amanda Granger                         PO Box 85563                                              San Diego          CA      92186
5461919    ICW Group                               Cathy Aguilar                          PO Box 85563                                              San Diego          CA      92186
5461935    ICW Group                               Chris Mcclure                          PO Box 85563                                              San Diego          CA      92186
5461921    ICW Group                               Christie Beers                         PO Box 85563                                              San Diego          CA      92186
5461932    ICW Group                               Christine Locksy                       PO Box 85563                                              San Diego          CA      92186
5461943    ICW Group                               Colleen Thorpe                         PO Box 85563                                              San Diego          CA      92186
5461926    ICW Group                               Dana Elyard                            PO Box 85563                                              San Diego          CA      92186
5461931    ICW Group                               David Hoppen                           PO Box 85563                                              San Diego          CA      92186
                                                                                          15025 Innovation 
5461918    ICW Group                               David Wallace                          Drive                                                     San Diego          CA      92128
5461927    ICW Group                               Edgar Escobedo                         PO Box 85563                                              San Diego          CA      92186
5461941    ICW Group                               Fred Rostamian                         PO Box 85563                                              San Diego          CA      92186
5461939    ICW Group                               Gabrielle Ovletrea                     PO Box 85563                                              San Diego          CA      92186
5461925    ICW Group                               Kisha Creasman                         PO Box 85563                                              San Diego          CA      92186
5461924    ICW Group                               Lynette Caldwell                       PO Box 85563                                              San Diego          CA      92186
5461922    ICW Group                               Michael Bender                         PO Box 85563                                              San Diego          CA      92186
5461930    ICW Group                               Monica Gutierrez                       PO Box 85563                                              San Diego          CA      92186
5461936    ICW Group                               Nick Minter                            PO Box 85563                                              San Diego          CA      92186
5461945    ICW Group                               Norberto Yap                           PO Box 85563                                              San Diego          CA      92186
5461933    ICW Group                               Owen Lord                              PO Box 85563                                              San Diego          CA      92186
5461946    ICW Group                               Paul Zamora                            PO Box 85563                                              San Diego          CA      92186
5461923    ICW Group                               Rachel Boyle                           PO Box 85563                                              San Diego          CA      92186
5461934    ICW Group                               Rob Lower                              PO Box 85563                                              San Diego          CA      92186
5461937    ICW Group                               Samantha Morlaes                       PO Box 85563                                              San Diego          CA      92186
5461944    ICW Group                               Sonja Yang                             PO Box 85563                                              San Diego          CA      92186
5461920    ICW Group                               Teena Barton                           PO Box 85563                                              San Diego          CA      92186
5461940    ICW Group                               Vincent Price                          PO Box 85563                                              San Diego          CA      92186
5461942    ICW Group                               Waleed Sharaf                          PO Box 85563                                              San Diego          CA      92186




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                                                                                                                    Master Mailing List
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 MMLID                     NAME                                   ADDRESS 1                    ADDRESS 2                    ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
                                                                                           700 West State 
5458891 Idaho Department of Insurance Attn: Lisa Tordjman, Supervisor                      Street                   3rd Floor                              Boise             ID       83720‐0043

5458890 Idaho Department of Insurance Attn: Lisa Tordjman, Supervisor                      P.O. Box 83720                                                  Boise             ID       83720‐0043
        IDLETTE‐TENTION, 
5461806 WAYNEASHA                                  3732 CENTRAL AVE APT 142                                                                                FORT MYERS        FL       33903‐7625

5460490 IEUTER INSURANCE GROUPINC P.O Box 552                                                                                                              Midland           MI       48640
5460883 IGOU, MATTHEW             12882 BEUBIEN ROAD                                                                                                       JACKSONVILLE      FL       32258
5733692 ILINGO2.COM               P.O. BOX 2197                                                                                                            VISTA             CA       92085
           ILLINOIS DEPARTMENT OF 
5733693 INSURANCE                                  320 W WASHINGTON ST                                                                                     SPRINGFIELD       IL       62767‐0001
           Illinois Department of                  Attn: Kelly Kruger, Assistant Deputy    122 S. Michigan 
5458881    Insurance                               Director                                Ave. 19th Floor                                                 Chicago           IL       60603
           Illinois Department of                  Attn: Kelly Kruger, Assistant Deputy    320 W. Washington 
5458892    Insurance State of Illinois             Director                                St.                4th Floor                                    Springfield       ID       62767‐0001
           ILLINOIS DEPARTMENT OF 
5733694    REVENUE                                 PO BOX 19028                                                                                            SPRINGFIELD       IL       62794‐9028
           ILLINOIS DEPARTMENT OF 
5733548    REVENUE                                 PO BOX 19053                                                                                            SPRINGFIELD       IL       62794‐9053
           Illinois National Insurance 
5458927    Company (AIG)                           175 Water Street                                                                                        New York          NY       10038‐4969

           Illinois Power Generating                                                       601 Travis Street, 
5461947 Company (Coffeen, Newton)                  Pam Williams                            Suite 1400                                                      Houston           TX       77002
        Illinois Power Generating                                                          601 Travis Street, 
5461948 Company (Newton OCIP)                      Pam Williams                            Suite 1400                                                      Houston           TX       77002
        Illinois Power Resources 
        Generating LLC (Duck Creek,                                                        601 Travis Street, 
5461949 Edwards)                                   Pam Williams                            Suite 1400                                                      Houston           TX       77002

5458993    ILLINOIS SECRETARY OF STATE             501 S. Second Street                    Rm 350                                                          Springfield       IL       62756
5461950    IMAGENET                                25 E. Main Street                                                                                       Cortez            CO       81321
5459304    IMAGENET CONSULTING LLC                 913 NORTH BROADWAY AVE                                                                                  OKLAHOMA CITY     OK       73102
5760841    ImageNet Consulting, LLC                14080 NW 82nd Avenue                                                                                    Miami Lakes       FL       33016
5463071    IMHOLTE, ANDREA                         16817 ENDERBUSH LANE                                                                                    EUREKA            MO       63025

5459920 IMPERATORIA INSURANCE LLC 7077 East Marilyn Road                                                                                                   Scottsdale        AZ       85254
        Imperial Premium Finance                                                           Gregg Gregg ‐ 
5729726 Services aka IPFS Corp                     Costello & Assoc. Insurance Agency      Authorized Agent         265 Union St                           Lodi              NJ       07644
5466083 In Touch Holdings LLC                      16600 Bear Cub Ct                                                                                       Fort Myers        FL       33908
        INDEPENDENT FINANCE AND 
5460491 INSURANCE INC                              299 CAMINO GARDENS BLVD, STE 203                                                                        BOCA RATON        FL       33432



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 MMLID                     NAME                                   ADDRESS 1                  ADDRESS 2               ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
           INDEPENDENT INSURANCE 
5459298    AGENTS OF NEBRASKA                      8231‐B Northwoods Dr                                                                             Lincoln           NE       68505
           INDEPENDENT INSURANCE 
           AGENTS OF SOUTH FLORIDA 
5459299    INC                                     13615 S. Dixie Hwy                     Suite 373                                                 Miami             FL       33176
           INDEPENDENT INSURANCE 
5733695    GROUP INC                               921 S. MCPHERSON CHURCH ROAD                                                                     FAYETTEVILLE      NC       28303
           Indian Harbor Insurance 
5458924    Company                                 1600 Market Street, Suite 1616                                                                   Philadelphia      PA       19103

           Indiana Department of                   Attn: Chet Pietras, Megan Canfield,    311 West 
5458882 Insurance                                  Amanda Northrop                        Washington Street   Suite 103                             Indianapolis      IN       46204‐2787
           INDIANA DEPARTMENT OF 
5733696    REVENUE                                 PO BOX 0595                                                                                      INDIANAPOLIS      IN       46206‐0595
           INDIANA DEPARTMENT OF 
5733550    REVENUE                                 PO BOX 7087                                                                                      INDIANAPOLIS      IN       46207‐7087
           INDIANA DEPARTMENT OF 
5733549    REVENUE                                 PO BOX 7205                                                                                      INDIANAPOLIS      IN       46207‐7205
5463036    INDOMENICO, AMARILIS                    32 VALLEY CREST DRIVE                                                                            WETHERSFIELD      CT       06109
5461979    INGALLS, JACK                           201 RIVER ROAD                                                                                   SATELLITE BEACH   FL       32937
           INLIGHT RISK MANAGEMENT 
5459921    LLC                                     1103 Sovereign Row, Suite A                                                                      Oklahoma City     OK       73108

5460492 INPRO INSURANCE AGENCY INC 2095 E Big Beaver, Suite 100                                                                                     Troy              MI       48083
5459922 INSPRO INC                 PO BOX 6847                                                                                                      LINCOLN           NE       68506
5461957 Insulation by Cohen's, LLC 1415 Old Hwy 52                                                                                                  Moncks Corner     SC       29461
           INSURANCE & RISK 
5459923 MANAGEMENT OF FLORIDA                      755 W SR 434, SUITE E                                                                            LONGWOOD          FL       32750
        INSURANCE AGENCY 
5460493 MANAGEMENT INC                             230 High Street                                                                                  Burlington        NJ       08016
        INSURANCE ASSOCIATES OF 
5460494 MAGEE INC                                  P.O Box 1070                                                                                     Magee             MS       39111
5460734 INSURANCE CENTER INC                       2200 Hidden Valley Drive, Suite 300                                                              Little Rock       AR       72212

5461958 Insurance Claims Unlimited, Inc. 2625 Keystone Rd                                                                                           Tarpon Springs    FL       34688
        Insurance Company of the State 
5458902 of Pennsylvania (AIG)           175 Water Street                                                                                            New York          NY       10038‐4969
        INSURANCE COMPANY OF THE 
5461959 WEST                            11455 EL CAMINO REAL                                                                                        SAN DIEGO         CA       92130

           INSURANCE COMPANY OF THE                                                       15025 INNOVATION 
5458912 WEST                                       PREMIUM AUDIT                          DRIVE                                                     SAN DIEGO         CA       92128




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                                                                                                    Served via First Class Mail
 MMLID                     NAME                                    ADDRESS 1           ADDRESS 2               ADDRESS 3                ADDRESS 4                CITY    STATE   POSTAL CODE   COUNTRY
        INSURANCE COMPLIANCE 
5459297 CENTER INC                                 1 Diamond Causeway Suite 21265                                                                   Savannah            GA       31406

5460735 INSURANCE CONSULTANTS INC 111 WEST PORT PLAZA, SUITE 600                                                                                    ST. LOUIS           MO       63146
        INSURANCE CONSULTANTS OF 
5459915 CENTRAL FLORIDA INC       1331 Palmetto Ave                                 Suite 100                                                       Winter Park         FL       32789

5459916 INSURANCE DESIGN GROUPINC 6100 Oak Tree Blvd. South                         Suite 420          Park Center Plaza l                          Cleveland           OH       44131
5459917 INSURANCE EXPRESSCOM      2005 Vista Parkway Suite 200                                                                                      West Palm Beach     FL       33411
5459918 INSURANCE LAND INC        P.O Box 2787                                                                                                      Sanford             FL       32772
           INSURANCE MANAGEMENT 
5460495 GROUP INC                    3700 Forest Drive, Suite 300                                                                                   Columbia            SC       29204
           INSURANCE MANAGEMENT 
5460484    SERVICE INC               P.O Box 88                                                                                                     Saint Joseph        MI       49085
5459919    INSURANCE MARKETERS INC   2600 S. Douglas Rd., Ste. 712                                                                                  Coral Gables        FL       33134‐6149
5460724    INSURANCE MIDWEST INC     103 S. First                                                                                                   Edina               MO       63537
           INSURANCE NETWORK AGENCY 
5460485    INC                       732 Capital Ave SW                                                                                             Battle Creek        MI       49015

5459910 INSURANCE NETWORK CORP                     P.O. Box 6337                                                                                    Scottsdale          AZ       85261‐6337

5459911 INSURANCE ONE AGENCY INC                   1214 N Hwy 81 Ste 106                                                                            Duncan              OK       73533
5460486 INSURANCE ONE INC                          6751 Academy Rd. NE Ste D                                                                        Albuquerque         NM       87109
           INSURANCE OVERLOAD 
5461961 SERVICES INC               5220 SPRING VALLEY ROAD                          SUITE 340                                                       DALLAS              TX       75254
        INSURANCE PARTNERS AGENCY 
5459912 INC                        26865 Center Ridge Road                                                                                          Westlake            OH       44145
        INSURANCE PEOPLE OF NORTH 
5459913 CAROLINA INC               1920 FRONT STREET, STE. 750                                                                                      DURHAM              NC       27715

           INSURANCE PROGRAM 
5460487 MANAGERS GROUP‐ILLINOIS                    225 SMITH ROAD                                                                                   ST CHARLES          IL       60174
           INSURANCE PROGRAM 
5460488    MANAGERS GROUP‐MO                       225 Smith Road                                                                                   St Charles          IL       60174
           INSURANCE RECRUITING 
5461962    SPECIALISTS ("IRS")                     15685 N Cave Creek Rd                                                                            Phoenix             AZ       85032
           INSURANCE SERVICE CENTER 
5461963    OF FAYETTEVILLE                         3820 Raeford Rd                                                                                  Fayetteville        NC       28304
           Insurance Service Group of the 
5725589    Southeast, Inc.                         Brian Thornton, President        PO Box 56119                                                    St. Petersburg      FL       33732
           Insurance Service Group of the                                           Lara R. Fernandez, 
5725589    Southeast, Inc.                         Trenam Law                       Esq.                101 E Kennedy Boulevard   Suite 2700        Tampa               FL       33602
5460725    INSURANCE SERVICES                      P.O. Box 797                                                                                     Hannibal            MO       63401



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 MMLID                     NAME                                    ADDRESS 1              ADDRESS 2               ADDRESS 3          ADDRESS 4               CITY    STATE   POSTAL CODE   COUNTRY

           INSURANCE SERVICES GROUP 
5733697 OF THE SOUTHEAST, INC.                     P.O. BOX 56119                                                                                ST PETERSBURG      FL       33732

5459294 INSURANCE SERVICES INTL LTD P.O. Box 452                                                                                                 Brightwater        NY       11718
5459907 INSURANCE SOURCECOM         302 Noble Street                                                                                             Spring             TX       77373
           INSURANCE UNDERWRITERS & 
5460489    ASSOCIATES INC                          2100 5th Ave., N                                                                              St Petersburg      FL       33713
5460478    INSURE ALL LLC                          402 Lauk Lane                                                                                 Stanley            VA       22851
5459908    INSURE SAFE INC                         2246 SW 57TH Avenue                                                                           Miami              FL       33155
5459909    INSURE SMART                            20286 NW 2 Avenue                                                                             Miami              FL       33169
5459295    INSUREGY AGENCY INC                     2500 Weschester Ave                                                                           Purchase           NY       10577
5459903    INSUREGY AGENCY INC                     2500 Westchester Avenue             Suite 400A                                                Purchase           NY       10577
           INSUREZONECOM OF TEXAS 
5460479    INC                                     550 Bailey Avenue, Suite 150                                                                  Fort Worth         TX       76107
5460796    INSURICA INC ‐ LAWTON                   P.O Box 949                                                                                   Lawton             OK       73502‐0949
5459904    INSURICA INC‐OKLAHOMA                   P.O Box 25928                                                                                 Oklahoma City      OK       73125
           INTEGRITY INSURANCE 
5459905    ADVISORS LLC                            4411 E. Arlington St.                                                                         Inverness          FL       34453
           INTERACTIVE DOCUMENT 
5459291    SOLUTIONS                               4800 Hampden Lane # 200                                                                       Bethesda           MD       20814
           INTER‐AGENCY INSURANCE 
5460480    SERVICEINC                              P.O Box 10348                                                                                 Knoxville          TN       37939
           INTERCARE SPECIALTY RISK 
5459906    SVCS                                    140 Diamond Creek Place                                                                       Roseville          CA       95747

5459292 INTERMOUNTAIN CLAIMS INC                   P.O. BOX 219                                                                                  POCATELLO          ID       83204

5458994 INTERNAL REVENUE SERVICE                   Department of the Treasury                                                                    Ogden              UT       84201‐0045

           INTERNATIONAL ASSOC OF 
5459289 SPECIAL INVESTIGATION UNITS N83 W13410 Leon Road                                                                                         Menomonee Falls    WI       53051
        INTERNATIONAL 
5459899 UNDERWRITERS                               217‐04 Northern Blvd                                                                          Bayside            NY       11361

           INTERNATIONAL 
5460481 UNDERWRITING AGENCY INC                    217‐04 Northern Blvd                                                                          Bayside            NY       11361

5461965 Interstate Brands ‐ MPSISIGC               Ruth Welschmeyer                    P.O. Box 1831                                             Jefferson City     MO       65102
        INTERWEST INSURANCE 
        SERVICES ‐ LINDO HANNA & 
5459900 ABBOT INSURANCE                            1357 East Lassen Ave., Suite #100                                                             Chico              CA       95973




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                                                                                                                 Served via First Class Mail
 MMLID                     NAME                                    ADDRESS 1                      ADDRESS 2                   ADDRESS 3        ADDRESS 4             CITY    STATE   POSTAL CODE   COUNTRY
           INTERWEST INSURANCE 
           SERVICES ‐ LINDO HANNA &                                                           2ND FLOOR SUITE 
5733698    ABBOT INSURANCE                         3636 AMERICAN RIVE DRIVE                   200                                                          SACRAMENTO       CA       95864
           INTERWEST INSURANCE 
5459290    SERVICES INC                            3636 American Rive Drive                   2nd Floor               Suite 200                            Sacramento       CA       95864
           INTERWEST INSURANCE 
5459901    SERVICES LLC                            PO BOX 255188                                                                                           SACRAMENTO       CA       95865
5460482    INVINCIA CORPORATION                    9330 Iron Bridge Road, Suite A                                                                          Chesterfield     VA       23832
5460483    IOA NORTHEAST INC                       1451 Route 34, Suite 101                                                                                Farmingdale      NJ       07727
5459902    IOA‐ATLANTA                             2839 Paces Ferry Rd SE # 1200                                                                           Atlanta          GA       30339
5460671    IOA‐COLUMBIA                            1221 Bower Parkway, Ste. 101                                                                            Columbia         SC       29212
5460472    IOA‐FT LAUDERDALE                       500 W. CYPRESS CREEK RD. SUITE 320                                                                      FT LAUDERDALE    FL       33309
5459894    IOA‐JACKSONVILLE                        1 Sleiman Parkway Suite 130                                                                             Jacksonville     FL       32216
5459895    IOA‐JUPITER                             1200 UNIVERSITY BLVD, STE 200                                                                           JUPITER          FL       33458
5459896    IOA‐LONGWOOD                            1855 WEST STATE ROAD, 434                                                                               LONGWOOD         FL       32750
5459897    IOA‐MIAMI                               1150 NW 72 Avenue. Suite 530                                                                            Miami            FL       33126
5460473    IOA‐MT LAUREL                           220 Lake Drive East, Ste 304                                                                            Cherry Hill      NJ       08002
5459898    IOA‐TAMPA                               4915 W. Cypress S                                                                                       Tampa            FL       33607
           IOWA DEPARTMENT OF 
5733699    REVENUE                                 PO BOX 10468                                                                                            DES MOINES       IA       50306
                                                   Attn: Tom O’Meara Bureau Chief, Product    Two Ruan Center 
5458883    Iowa Insurance Division                 and Producer Regulation                    601 Locust              4th Floor                            Des Moines       IA       50309‐3738
5461966    Iowa Mutual                             Amy Gilmore                                509 9th St                                                   Dewitt           IA       52742
5461967    Iowa Mutual                             Georgia Puls                               509 9th St                                                   Dewitt           IA       52742
5462069    IPPOLITO, JESILYN                       1112 BORDEN AVE                                                                                         PT PLEASANT      NJ       08742‐2923
5459288    IRC                                     122 E 42nd St                                                                                           New York         NY       10168
5459286    IRON MOUNTAIN                           P.O. BOX 27128                                                                                          NEW YORK         NY       10087

           IRON MOUNTAIN 
5733700 INTELLECTUAL PROPERTY MGT 2100 NORCROSS PARKWAY SUITE 150                                                                                          NORCROSS         GA       30071
        IRWIN INDEPENDENT 
5459890 INSURANCE AGENCY INC                       3401 W Rock Creek Road                                                                                  Norman           OK       73072
5459287 ISO SERVICES INC                           545 WASHINGTON BLVD                                                                                     JERSEY CITY      NJ       07310
                                                                                              111 N. Canal Street. 
5461969 ISOPAX                                     Marilyn Thrailkill                         Ste 950                                                      Chicago          IL       60606
                                                                                              111 N. Canal Street. 
5461970 ISOPAX                                     Susan Isaacs                               Ste 950                                                      Chicago          IL       60606
5461971 ISRIS‐MGA                                  6970 Destiny Drive                                                                                      Rocklin          CA       95677
5461972 ISS World                                  1019 Central Parkway North                                                                              San Antonio      TX       78232

                                                                                              32595 Wintergreen 
5461973 IUC‐IC                                     Beth Conlin                                Drive                                                        Solon            OH       44139
5461974 iUnlimited, Inc.                           7801 Folsom Blvd                           Ste 203                                                      Sacramento       CA       95826


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                                                                                                          Served via First Class Mail
 MMLID                     NAME                                      ADDRESS 1               ADDRESS 2               ADDRESS 3          ADDRESS 4            CITY      STATE   POSTAL CODE   COUNTRY

5460726    J FREEMAN & ASSOCIATES INC              PO Box 3597                                                                                      Greenville        SC       29608
5459891    J&L INSURANCE INC                       1881 NE 26th St., #80                                                                            Fort Lauderdale   FL       33305
5460727    JACK RICE INSURANCE LLC                 13080 S. Belcher Road, Suite H                                                                   Largo             FL       33773
5462104    JACKSON, JOHN                           3708 LEELA PALACE WAY                                                                            FORT MILL         SC       29708
5462258    JACKSON, KIMBERLY                       6149 SHALIMAN PLACE                                                                              FLORISSANT        MO       63033
5461720    JACKSON, TRAVIS                         948 MEADOW VIEW ROAD                                                                             BRISTOL           TN       37620
5462150    JACOBY, JUDITH                          3200 OAKSTAND LANE                                                                               ORLANDO           FL       32812
5461989    Jadar Watches Corporation               579 5th Ave., Suite #430                                                                         New York          NY       10017

5461992 JAMBOREE CENTER 3 LLC                      3 PARK PLAZA, 19TH FLOOR, SUITE 1920                                                             IRVINE            CA       92614
5733701 JAMBOREE CENTER 3 LLC                      5 PARK PLAZA                                                                                     IRVINE            CA       92614
           JAMES & ASSOCIATES 
5733702 INSURANCE INC                              1850 LEE ROAD, STE. 308                                                                          WINTER PARK       FL       32789
5459892 JAMES E MCGOVERN INC                       1625 El Camino Real                                                                              Belmont           CA       94002
5459893 JAMES G PARKER INS ASSOC                   1753 E. FIR AVENUE                                                                               FRESNO            CA       93720
           JAMES G PARKER INSURANCE 
5459887 ASSOCIATES                                 1753 EAST FIR AVE.                                                                               FRESNO            CA       93720
5459888 JAMES NOLAN INC                            4500 Bergen Turnpike                                                                             North Bergen      NJ       07047
           JAMES T CULLIGAN & 
5460728    ASSOCIATES LLC                          520 Tenth Street                                                                                 Oakmont           PA       15139
5461952    JAMIL, IMRAN                            660 NW 133RD DRIVE                                                                               PLANTATION        FL       33325
5733703    JAMS INC                                P.O. BOX 845402                                                                                  LOS ANGELES       CA       90084
5459283    JAMS INC, JAMS INC                      620 8th Ave                            34th Floor                                                New York          NY       10018
5462742    JANCLAES, ERIN                          4817 N ALBERTSON AVE                                                                             COVINA            CA       91722
5460861    JANCO, MARTIN                           3202 SOUTH 20TH STREET                                                                           PHILADELPHIA      PA       19145
5459889    JBJ INSURANCE                           2460 EXECUTIVE DRIVE, SUITE 109                                                                  SAINT CHARLES     MO       63303

5459284 JC WHITE OFFICE FURNITURE                  3501 COMMERCE PARKWAY                                                                            MIRAMAR           FL       33025
5460729 JDA INSURANCE GROUP LLC                    120 N. Federal Hwy, Ste 301                                                                      Lake Worth        FL       33460
           JEANNE S FREY INSURANCE 
5459885 AGENCY                                     2713 Route 23                          P.O. Box 289                                              Newfoundland      NJ       07435
           JEANNE S FREY INSURANCE 
5459285    AGENCY                                  Cindy Lindblad                         2713 Route 23                                             Newfoundland      NJ       07435
5461270    JEANTY, RICOT                           1214 14TH AVENUE SOUTH                                                                           LAKE WORTH        FL       33460
           JEFF JACOBSON INSURANCE 
5460467    AGENCY                                  708 Main Ave S #2                                                                                Brookings         SD       57006
5460989    JEHOICH, MICHELLE                       25912 TRITON CT                                                                                  MISSION VIEJO     CA       92691‐4762
5461354    JENKINS, SANDRA                         110 WILLOW BRANCH DR                                                                             SIMPSONVILLE      SC       29680
5461896    JENNINGS, HELAINA                       9109 ENID ST                                                                                     FT. SMITH         AR       72903
           JENNINGS‐BRYAN CHAPPELL 
5460468    INS SERVICES                            926 S. Main St.                                                                                  Burlington        NC       27215



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5462303 JETTE, LAURA                               131 CHURCH RD                    APT 13G                                                    NORTH WALES        PA       19454
5460474 JG ELLIOTT COMPANY                         P.O Box 1648                                                                                Scottsbluff        NE       69363
5462320 JHONES, LEONEL                             810 WEST 67TH STREET                                                                        HIALEAH            FL       33012
5460475 JIA INSURANCE SERVICES                     P.O Box 1642                                                                                Hobbs              NM       88241
        Jim Smith Contracting 
5462088 Company, LLC                               1108 Dover Rd.                                                                              Grand Rivers       KY       42045
5459886 JIMCOR AGENCY INC                          60 Craig Road                                                                               Montvale           NJ       07645

                                                                                    11555 Medlock 
5459282 JIMCOR AGENCY INC                          Joe Geracie                      Bridge Rd. Suite 100                                       Johns Creek        GA       30097
5460476 JJAMES INSURANCE AGENCY                    PO Box 1756                                                                                 Searcy             AR       72145

           JL INSURANCE GROUP INC DBA 
5460477 PROFESSIONAL INS SERVICES                  3836 W Humphrey Street                                                                      Tampa              FL       33614
           JM PRIVATE INSURANCE 
5459880    AGENCY INC                              7274 SW 48 Street                                                                           Miami              FL       33155
5459881    JM WILSON CORPORATION                   8036 MOORSBRIDGE ROAD                                                                       PORTAGE            MI       49024
5466280    JMP Securities LLC                      277 Park Avenue                                                                             New York           NY       10172
5466086    JMP Securities LLC                      600 Montgomery Street            Suite 1100                                                 San Francisco      CA       94111
5459882    JOANNE M BOEHM LLC                      51 Stahlman Place                P.O. Box 1906                                              Kingston           NY       12402
5459278    JOANNE M BOEHM LLC                      P.O Box 1906                                                                                Kingston           NY       12402
           JOE BROWN INSURANCE 
5459883    AGENCY INC                              1177 W Sunset Ave # 4                                                                       Springdale         AR       72764
5459884    JOE WEST COMPANY INC                    Joe West Insurance Co            406 S Boulder Ave      Ste 500                             Tulsa              OK       74103‐3845
           JOHN D MACKEY INS ‐ JOHN 
           MACKEY INSURANCE 
5459875    BROKERAGE INC                           1049 Yonkers Ave.                                                                           Yonkers            NY       10704
5459876    JOHN HACKNEY AGENCY INC                 P.O Box 998                                                                                 Wilson             NC       27894

5459877 JOHN M SMALL INSURANCE INC 300 MICHIGAN ST.                                                                                            WALKERTON          IN       46574
        JOHN MACKEY INSURANCE 
5459277 BROKERAGE INC                              1049 Yonkers Avenue                                                                         Yonkers            NY       10704

5459878 JOHN P ANTHONY AGENCY LLC 901 Route 168, Suite 110                                                                                     Turnersville       NJ       08012
5733704 JOHN WILLIAM LAURENZI     PO BOX 4917                                                                                                  WESTLAKE VILLAGE   CA       91359

5462122    Johns Eastern Company, Inc.             500 Winderley Pl # 215                                                                      Maitland           FL       32751
5460964    JOHNSEN, MICHAEL                        10 CAPEWOOD RD APT 287 BLDG 12                                                              SIMPSONVILLE       SC       29681
5459871    JOHNSON & JOHNSON INC                   200 WINGO WAY, STE 200                                                                      MOUNT PLEASANT     SC       29464
5459872    JOHNSON & JOHNSON INC                   PO Box 899                                                                                  Charleston         SC       29402
5462993    JOHNSON, ALCOVIA                        6294 BARKER STATION WALK NE                                                                 SUGAR HILL         GA       30518
5463095    JOHNSON, ANGELA                         29 UNEEDA DRIVE                                                                             GREENVILLE         SC       29605
5463143    JOHNSON, ASHANTE'                       4003 LAUREL BERRY LANE                                                                      HUNTERSVILLE       NC       28078


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5463201    JOHNSON, BEAU                           8084 CANONBURY DRIVE                                                                                    NOLENSVILLE       TN       37135
5463387    JOHNSON, CHARLES                        4111 BRIGHT ROAD                                                                                        CHARLOTTE         NC       28214
5462537    JOHNSON, DALE                           122 COBBLE HILL ROAD                                                                                    SWANZEY           NH       03446
5462040    JOHNSON, JEFF                           7712 XAVIER AVENUE                                                                                      CALIFORNIA CITY   CA       93505
5462151    JOHNSON, JUDITH                         526 SOUTH E STREET                                                                                      LAKE WORTH        FL       33460
5461449    JOHNSON, SHAMEKA                        3621 AVALON AVENUE                                                                                      CHARLOTTE         NC       28208
5461459    JOHNSON, SHARON                         5037 BEE RIDGE RD                                                                                       SARASOTA          FL       34233
5461552    JOHNSON, STEVEN                         42 SOUTH LINCOLN AVENUE                                                                                 BEVERLY HILLS     FL       34465
5462360    JOHNSON‐SHORT, LISA                     418 H HEATON ROAD                                                                                       ELIZABETHTON      TN       37643

5460469 JONES INSURANCE AGENCY INC P.O Box 229                                                                                                             David City        NE       68632
                                                                                            401 East Las Olas 
6060650    Jones Lang LaSalle                      Attn: General Manager                    Boulevard               Suite 175                              Miami             FL       33133
5463062    JONES, AMY                              PO BOX 212                                                                                              OAKLAND           TN       38060
5463263    JONES, BRENDA                           3959 HIRONDELLE LANE                                                                                    FLORISSANT        MO       63034
5461889    JONES, HEATHER                          19 MORGAN BROOK ROAD                                                                                    BARKHAMSTED       CT       06063
5462105    JONES, JOHN                             1424 BACK COVER ROAD                                                                                    VIRGINIA BEACH    VA       23454
5462240    JONES, KEVIN                            608 CRABAPPLE WAY                                                                                       MCKINNEY          TX       75070
5462259    JONES, KIMBERLY                         809 DAUPHINE CIRCLE                                                                                     DAPHNE            AL       36526
5733705    JONES, MARTIN                           2982 MABRY ROAD                                                                                         ATLANTA           GA       30319‐4701
5460917    JONES, MEGAN                            215 AUSTIN BROOK ST.                                                                                    SIMPSONVILLE      SC       29680
5462372    JORDAN, LIZ                             1003 COVINGTON STREET                                                                                   OVIEDO            FL       32765
5461610    JORDAN, TERRY                           7342 EAST SINGINGWOOD DRIVE                                                                             ANAHEIM HILLS     CA       92808

5460470 JOSEPH CHIARELLO & CO INC                  25 DeForest Avenue                                                                                      Summit            NJ       07901
           JOSEPH F MCHUGH AGENCY 
5459873    INC                                     300 Broad St                                                                                            Florence          NJ       08518
5461788    JOSEPH, VICTOR                          1362 SPREADING OAK DR                                                                                   PITTSBURGH        PA       15220‐2043
5462223    JOYCE, KELSEY                           11141 NW 26TH DRIVE                                                                                     CORAL SPRINGS     FL       33065
5733706    JOYCE, PATRICIA A.                      11202 LADINO ST                                                                                         BOCA RATON        FL       33428
5459874    JP PERRY INSURANCE                      3342 Kori Rd.                                                                                           Jacksonville      FL       32257

5460471 JPS INC DBA REMCO AGENCY                   14 Front St. Suite 200                                                                                  Hempstead         NY       11550
5459865 JS WARD & SON INC                          101 South Fourth St.                                                                                    Artesia           NM       88210
           JSMITH LANIER & CO‐
5460466 COLUMBUS                                   200 Brookstone Centre Parkway. Ste 118                                                                  Columbus          GA       31904
           JT NEAL INSURANCE AGENCY 
5733707    INC                                     P.O BOX 9                                                                                               LAWTON            OK       73502
5460460    JTS FINANCIAL SERVICES LLC              415 N Mckinley Street. Suite 305                                                                        Little Rock       AR       72205
5462145    JUDGE TECHNICAL STAFFING                JUDGE TECHINCAL SERVICES                 151 S WARNER RD                                                WAYNE             PA       19087‐2125
5460990    JUMALON, MICHELLE                       607 SW 12TH TERRACE                                                                                     CAPE CORAL        FL       33991
5460461    JUN CHEN                                730 Highmeade Ter                                                                                       Alpharetta        GA       30005



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 MMLID                     NAME                                   ADDRESS 1                     ADDRESS 2                ADDRESS 3          ADDRESS 4                CITY    STATE   POSTAL CODE   COUNTRY
        JUPITER COVERAGE 
5459275 CORPORATION                                425 Greenwich Cir #106                                                                               Jupiter             FL       33458
5460462 JUST INSURANCE BROKERS                     1200 NW 78 Avenue, Suite 105                                                                         Doral               FL       33126
5462018 JUSTICE, JANINE                            2 PIN OAKS DR.                                                                                       PHOENIXVILLE        PA       19460

5461355 JUSTICE‐KAUFFUNG, SANDRA                   30450 LAUREL CT                                                                                      SPANISH FORT        AL       36527

5459866 JUSTIN LARSEN INSURANCE INC 10410 S 144th Street, Suite 2A                                                                                      Omaha               NE       68138
           JW EDENS & CO COMMERCIAL 
5459867    INS                                     4650 S. Hopkins Avenue                                                                               Titusville          FL       32780
5462164    K2 Investigations, Inc.                 845 3rd Ave                                                                                          New York            NY       10022
           K2A LLC DBA WITKEMPER 
5459868    INSURANCE GROUP                         104 E. 10th Street                                                                                   Greensburg          IN       47240‐8202
           K2A LLC DBA WITKEMPER 
5733708    INSURANCE GROUP                         104 EAST 10TH STREET, PO BOX 547                                                                     GREENSBURG          IN       47240
5462036    KABBA, JAYEE                            837 SOUTHSIDE AVE                                                                                    WEST ISLIP          NY       11795
5462277    KAHMER, KRISTINA                        10 WEST WARD STREET                                                                                  RIDLEY PARK         PA       19078

5459869 KAHN‐CARLIN & COMPANY INC 3350 SOUTH DIXIE HWY                                                                                                  MIAMI               FL       33133
        KAISER INSURANCE SERVICES 
5459861 INC                                        3131 Bell #104                                                                                       Amarillo            TX       79106
5463032 KALIS, AMANDA                              1500 SE 14TH STREET                                                                                  DEERFIELD BEACH     FL       33441
5462588 KALLBRIER, DAWN                            3664 MORGAN WAY                                                                                      IMPERIAL            MO       63052

5459862 KALLMAN INSURANCE AGENCY PO Box 266736                                                                                                          Weston              FL       33326
5461767 KAMINSKYI, VADYM         5450 SOAPSTONE PLACE                                                                                                   SARASOTA            FL       34233
5460991 KAMLA, MICHELLE          1740 GURTLER COURT                                          APARTMENT 2                                                ORLANDO             FL       32804
        Kansas Association of School                                                         1420 SW 
5462168 Board Risk Mgmt                            Liz Maisberger‐Clark                      Arrowhead Rd.                                              Topeka              KS       66604
        Kansas Auto Dealers                                                                  4801 Main Street, 
5462169 Associations                               Diane Fuller                              Ste 350                                                    Kansas City         MO       64112
        Kansas Auto Dealers                                                                  4801 Main Street, 
5462170 Associations                               Sandy Hayward                             Ste 350                                                    Kansas City         MO       64112

5462171 Kansas Building Industry Group Doug Hamilton                                         2101 S.W. 36th St.                                         Topeka              KS       66611

5462172 Kansas Building Industry Group Kari Zeferjahn                                        2101 S.W. 36th St.                                         Topeka              KS       66611
                                                   Attn: Clark Shultz, Director, Nancy 
                                                   Strasburg Assistant Director, Producer 
5458884 Kansas Insurance Department                Licensing                                 420 SW 9th Street                                          Topeka              KS       66612‐1678
5461908 KAPUSTA, HOLLIE                            1054 SEBURN ROAD                                                                                     APOPKA              FL       32703

5462027 KAREM, JASON                               517 BRIAR HILL ROAD                                                                                  LOUISVILLE‐JEFFERSON KY      40206



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           Karen Rigsby, as Trustee of the                                          1500 Park Avenue, 
5719089 Marsh Revocable Trust of 2003 Katzoff & Riggs LLP                           Suite 300                                                   Emeryville          CA      94608

                                                                                    1500 PARK 
5733709 KAREN RIGSBY, TRUSTEE                      KATZOFF & RIGGS, LLP             AVENUE, SUITE 300                                           EMERYVILLE          CA      94608
5462538 KARNES, DALENE                             445 CYPRESS STREET                                                                           ALTAMONTE SPRINGS   FL      32714
           KASOWITZ BENSON TORRES & 
5733710 FRIEDMAN LLP                               1633 BROADWAY                                                                                NEW YORK            NY      10019

5733711 KASOWITZ BENSON TORRES LLP 1633 BROADWAY                                                                                                NEW YORK            NY      10019
5549845 Kasowitz Benson Torres LLP Attn: Matthew B. Stein                           1633 Broadway                                               New York            NY      10019

5458972    KASOWITZ BENSON TORRES LLP              Paramount Plaza                  Paramount Plaza                                             New York            NY      10019
5460818    KASPARIAN, MARAL                        6715 ALCOVE AVENUE                                                                           N. HOLLYWOOD        CA      91606
5733712    KASTLE SYSTEMS                          PO BOX 75177                                                                                 BALTIMORE           MD      21275
5463428    KAUFMANN, CHRISTOPHER                   16 HICKORY AVE                   APT #E4                                                     BERGENFIELD         NJ      07621
5720306    Kayce, ADAM                             604 NE 17TH WAY                                                                              FORT LAUDERDALE     FL      33304
                                                                                    Attn: Peter George 
5466076 Kayce, Adam                                c/o Safirstein Metcalf LLP       Safirstein          1250 Broadway, 27th Floor               New York            NY      10001
5461997 KAYLOR, JAMES                              6606 70TH STREET WEST                                                                        LAKEWOOD            WA      98499
5460463 KCIS OF GRANT COUNTY INC                   40 W 500 S, SUITE A                                                                          MARION              IN      46953
5461579 KEAFFABER, TAMMY                           2514 EAST STATE ROAD 524                                                                     WABASH              IN      46992
5459863 KEENAN & ASSOCIATES                        2355 Crenshaw Blvd #200                                                                      Torrance            CA      90510
5463134 KEHYEYAN, ARTIN                            19736 CRYSTAL HILLS LANE                                                                     PORTER RANCH        CA      91326
5462078 KEIPER‐BECKER, JESSICA                     PO BOX 320                                                                                   POCONO LAKE         PA      18347
5460718 KELLER INSURANCE INC                       117 FOREST PARK CT.                                                                          LONGWOOD            FL      32779
5461283 KELLEY, ROBERT                             300 WEDGEWOOD PT                                                                             CONWAY              AR      72034
5464609 KELLY, MICHELLE A                          3110 NE 57TH STREET                                                                          FORT LAUDERDALE     FL      33308
5461148 KELLY, PATRICK                             301 JOHN WILSON CIRCLE                                                                       WEST GROVE          PA      19390
5463461 KELLY, ZACHARY                             605 APPLETON COURT                                                                           KENNETT SQUARE      PA      19348
5461221 KELLY‐BROWN, RACHEL                        1101 TACKETTS POND DRIVE                                                                     RALEIGH             NC      27614
5461781 KELLY‐MORGAN, VERONICA                     8B FRIEDEN MANOR                                                                             SCHUYLKILL HAVEN    PA      17972
5461096 KENDRICKS, NICKOLAS                        9606 NW 36TH MANOR                                                                           CORAL SPRINGS       FL      33065
5733714 KENNEBECK, KAREN M.                        114 MCCLAY VILLAGE DR.                                                                       ST. PETERS          MO      63376
5462209 KENNEY, KATRINA                            1529 NORMAN ROAD                                                                             HAVERTOWN           PA      19083
        Kentucky Department of                                                      215 West Main 
5458886 Insurance                                  Attn: Lee Ellen Webb, Director   Street                                                      Frankfort           KY      40601
        Kentucky Department of 
5458885 Insurance                                  Attn: Lee Ellen Webb, Director   P.O. Box 517                                                Frankfort           KY      40602‐0517
        KENTUCKY DEPARTMENT OF 
5733715 REVENUE                                    KENTUCKY DEPARTMENT OF REVENUE                                                               FRANKFORT           KY      40620



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        KENTUCKY SECRETARY OF 
5458995 STATE                                      700 Capital Ave                     #152                                                                    Frankfort          KY      40601

5733551    KENTUCKY STATE TREASURER                                                                                                                            FRANKFORT          KY      40619‐0006
5460937    KETTER, MERIDEE                         138 NORTH ORCHARD DRIVE                                                                                     NORTH SALT LAKE    UT      84054
5462244    Key Risk                                 PO Box 49129                                                                                               Greensboro         NC      27419
5459274    KEYHOLE SOFTWARE                        8900 STATE LINE ROAD                SUITE 455                                                               LEAWOOD            KS      66206
5459864    KEYSTONE INSURER GROUP                  1995 Point Township Drive                                                                                   Northumberland     PA      17857
5462245    KFORCE INC                              1001 EAST PALM AVE                                                                                          TAMPA              FL      33605
5459271    KFORCE INC                              P.O. Box 277997                                                                                             Atlanta            GA      30384

5733716 KHAITAN & CO                               841 SENAPATI BAPAT MARG             ELPINSTONE ROAD                                                           MUMBAI                                 INDIA
                                                                                                           One Indiabulls Centre, 13th 
5458966 Khaitan & Co.                              Supratim Chakraborty                KHAITAN & CO.       Floor, Tower 1               841 Senapati Bapat Marg, Mumbai                   400 013       India
5462260 KIBBE, KIMBERLY                            134 SE 30TH STREET                                                                                            CAPE CORAL       FL      33904
5463082 KIDD, ANDREW                               6005 S. FIFE ST                                                                                               TACOMA           WA      98409
           KIELY HINES & ASSOCIATES INS 
5459857 AGENCY                                     6100 Dutchmans Ln                                                                                           Louisville         KY      40205
5461587 KIENZEL, TARA                              1501 CASA FLORIDA PL NW                                                                                     ALBUQUERQUE        NM      87120
           KiKi's Care, LLC (Comfort 
5462250 Keepers Spartanburg)                       945 E. Main Street, Suite 5                                                                                 Spartanburg        SC      29302
5461477 KILDAY, SIMON                              200 BORTONDALE ROAD                                                                                         MEDIA              PA      19063

           Kilpatrick Townsend & Stockton                                              Kilpatrick Townsend 
5458951    LLP                             Kandace Watson                              & Stockton LLP       1114 6th Ave                                       New York           NY      10036
5462374    KILROY, LOIS                    1182 NESHAMINY VALLEY DRIVE                                                                                         BENSALEM           PA      19020
5461899    KIM, HENRY                      P.O. BOX 721704                                                                                                     PINON HILLS        CA      92372
5461162    KIM, PECH                       16447 ORY CIRCLE                                                                                                    RIVERSIDE          CA      92503
5461238    KIMERY, RAYFORD                 534 SW 49                                                                                                           OKLAHOMA CITY      OK      73109
5462266    Kindred Health Care             680 South Fourth Street                                                                                             Louisville         KY      40202
           KING INS AGENCY OF 
5460719    GAINESVILLE INC                 2321 NW 41st Street                                                                                                 Gainesville        FL      32606
5460720    KING INSURANCE                  11326 Q St.                                                                                                         Omaha              NE      68137
                                           Attn: Emily Rakieten Insurance Licensing    335 Merchant 
5458889    King Kalakaua Building          Assistant                                   Street              Room 213                                            Honolulu           HI      96813
5463269    KING, BRIAN                     9531 CEDAR RIVER ROAD                                                                                               HUNTERSVILLE       NC      28078
5462399    KING, LYNN                      6425 EDGEWATER COVE                                                                                                 FAIRBURN           GA      30213
5461602    KINGSBOROUGH, TEMPLE            202 BRENLEIGH COURT                                                                                                 SIMPSONVILLE       SC      29680
5463383    KINLOCK, CHANTAL                1512 MARKDALE STREET EAST                                                                                           LEE COUNTY         FL      33936
5460920    KINWORTHY, MEGHANN              4856 LAURIER DR                                                                                                     SAINT LOUIS        MO      63129‐1524
5462210    KIRCHNER, KAYLA                 601 SIDEOATS AVENUE                                                                                                 AMARILLO           TX      79118
5461489    KIRKER, SOLVEIG                 4501 NE 21ST AVENUE                         NUMBER 409                                                              FT. LAUDERDALE     FL      33308



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 MMLID                     NAME                                  ADDRESS 1             ADDRESS 2                 ADDRESS 3         ADDRESS 4            CITY      STATE   POSTAL CODE   COUNTRY
5462050    KITCHEN, JEMEL                          8143 CASTLESTONE DRIVE                                                                      MINT HILL         NC       28227
5459502    KLEVE, ANDREW                           9607 Morse Mill Rd                                                                          Dittmer           MO       63023
5462601    KLEVE, DEBORAH                          222 OAK TREE DRIVE                                                                          COLUMBIA          IL       62236
5460721    KLING BROS INSURANCE LLC                43 West King Street                                                                         York              PA       17401
5460722    KLINGER ASSOCIATES INC                  PO Box 503526                                                                               Indianapolis      IN       46256
5462020    KLIPFEL, JARED                          4339 LEBOURGET AVENUE                                                                       CULVER CITY       CA       90232
5461811    KNEPPER, WENDY                          1007 CRAVEN STREET                                                                          INDIAN TRAIL      NC       28079
           KNIGHT INSURANCE SERVICES 
5459858    INC                                     535 N. BRAND BLVD., SUITE 1000                                                              GLENDALE          CA       91203
5463309    KNIGHT, CAMILLE                         202 HIGHLAND ROAD                                                                           DUNCAN            SC       29334
5461064    KNOELLER, NATIKA                        6 YACARE PATH                                                                               WEST MILFORD      NJ       07480
5459859    KNUTSON REEVES INS                      29970 Technology Drive.Ste 203                                                              Riverside         CA       92563
           KOCMAN INSURANCE GROUP 
5459860    INC                                     3217 E Market St,                                                                           York              PA       17402
5462560    KOEHLER, DARLA                          127 W. TOWNSHIP LINE RD                                                                     EAST NORRITON     PA       19401
5461375    KOHL, SCHYLER                           28 HIGHLAND BEND                 PO BOX 1478                                                ISLAND HEIGHTS    NJ       08732
5460927    KOKA, MELISSA                           12178 S PARK HOLLOW LANE                                                                    RIVERTON          UT       84096
5461308    KOVALCHUK, ROMAN                        7907 JEWELWOOD DRIVE                                                                        BOYNTON BEACH     FL       33437

           KPC HEALTH INC. C/O 
5733717 SUNSTONE ASSURANCE II, LLC                 PO BOX 696                                                                                  CONCORD           CA       94522
5462270 KPC Healthcare, Inc.                       1301 N. Tustin Ave                                                                          Santa Ana         CA       92705

5464462 KPMG LLP                                   Attn: Adria Thorington Tapp      450 E. Las Olas Blvd #1200                                 Fort Lauderdale   FL       33301

5459272 KPMG LLP                                   P.O. BOX 120608                  DEPARTMENT 0608                                            DALLAS            TX       75312
5461346 KRAHAM, SAMANTHA                           24908 STATE HIGHWAY EE                                                                      WARRENTON         MO       63383
           KRAMER LEVIN NAFTALIS & 
5459267 FRANKEL LLP                      1177 AVENUE OF THE AMERICAS                                                                           NEW YORK          NY       10036
        Kramer Levin Naftalis & Frankel                                             1177 Avenue of the 
5458960 LLP                              Arthur H. Aufses III                       Americas                                                   New York          NY       10036
5462283 KREHMEYER, LACEY                 1516 COUNTRY WOODS DR                                                                                 ROBERTSVILLE      MO       63072
5462028 KREIDER, JASON                   75 PRIZER ROAD                                                                                        PHOENIXVILLE      PA       19460

5460797    KRESSLER WOLFF & MILLER INC             P.O Box 634                                                                                 Easton            PA       18044‐0634
5461437    KRIBY, SELINDA                          171 OTIS STREET                  UNIT 3                                                     STRATFORD         CT       06615
5463145    KROGMAN, ASHLEY                         1806 CANTON ROAD                                                                            ORLANDO           FL       32803
5463429    KROUPA, CHRISTOPHER                     40 VILLA AVENUE                                                                             PITMAN            NJ       08071

5460723 KRULL AGENCY OF MINDEN INC 337 E. 4th St.                                                                                              Minden            NE       68959
5461460 KRUMEL, SHARON             7821 REFLECTION COVE DRIVE                       APT 304                                                    FORT MYERS        FL       33907
5462261 KSIAZKIEWICZ, KIMBERLY     741 HYDE DR                                                                                                 O'FALLON          MO       63366



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5462959    KULYNYCH, ADELINA                       3709 NELSON TILLIS BLVD. APT.                                                                 FORT MYERS         FL       33916
5462807    KUMAH, FRANK                            4692 CONCORDIA LN                                                                             BOYTON BEACH       FL       33436
5733718    KUPS COFFEE SERVICES INC                1808 TURKEY CREEK RD #5                                                                       PLANT CITY         FL       33566
5459268    KUPS COFFEE SERVICES INC                712 E Alsobrook St               #7                                                           Plant City         FL       33563
5462272    KUSHLER, KRISTEN                        1709 CHAMERWOOD COURT                                                                         WAXHAW             NC       28173
           L B KYLE & ASSOCIATES 
5459269    INTERNATIONAL LLC                       17748 Kings Point Drive                                                                       Cornelius          NC       28031
5460798    L&W INSURANCEINC                        P.O Box 918                                                                                   Dover              DE       19903‐0918
5461241    LABORDE, REBECCA                        8266 QUITO PLACE                                                                              WELLINGTON         FL       33414
5462998    LACY, ALEXANDER                         7820 AZTEC WAY                                                                                ANTELOPE           CA       95843
5462658    LACY, DONNIE                            521 SW TOWER PARK DRIVE          APT 314                                                      LEE'S SUMMIT       MO       64081
5462287    Lagrange                                Ruth Welschmeyer                 P.O. Box 1831                                                Jefferson City     MO       65102
5463265    LAJEUNESSE, BRENT                       401 EAST DESERT RANCH ROAD                                                                    PHOENIX            AZ       85086
5462290    Lake City Hospital                      PO Box 1479                                                                                   LAKE CITY          SC       29560
5462279    LALL, KRSNADATH                         2917 BELLAROSA CIRCLE                                                                         ROYAL PALM BEACH   FL       33411

5462292 Lamorte Burns and Company                  100 Century Parkway, Suite 300                                                                Mt. Laurel         NJ       08054
5462610 LAMOUREUX, DEBRA                           2800 N. LAKE SHORE DRIVE         #1007                                                        CHICAGO            IL       60657
5459855 LANCO BROKERAGE CORP                       497 Ft. Washington Avenue                                                                     New York           NY       10033
           LANCO BROKERAGE                                                          425 Greenwich 
5459270 CORPORATION                                Jeremy Sundack                   Circle Suite 106                                             Jupiter            FL       33458
5462542 LANDES, DANA                               1988 QUAIL LANE                                                                               SANTOGA            PA       19464
5462293 Landin, Inc.                                4912 Augusta Ave                                                                             Richmond           VA       23230
           LANDMARK INSURANCE OF THE 
5459856    PALM BEACHES               270 S. Central Blvd. #204                                                                                  Jupiter            FL       33458
5461448    LANG, SHADI                23064 ENADIA WAY                                                                                           WEST HILLS         CA       91367
5462746    LANGHANS, ERYNN            3416 REDBUD LANE                                                                                           HARRISONBURG       VA       22801
5462668    LANGLOIS, DOUGLAS          P.O. BOX 5265                                                                                              LAKE WORTH         FL       33466

5459263 LANIER PARKING SOLUTIONS                   200 NE 2ND STREET                                                                             FORT LAUDERDALE    FL       33301
5459853 LANIER UPSHAW INC                          PO Box 468                                                                                    Lakeland           FL       33802
        LANING INSURANCE AGENCY 
5460799 LLC                                        200 Executive Blvd, Suite 3A                                                                  Southington        CT       06489‐1042
5460869 LANTRY, MARY                               2714 VERONDAH VUE WAY                                                                         LAKELAND           FL       33812
5462559 LANYI, DARCY                               5807 33RD DRIVE EAST                                                                          PALMETTO           FL       34221
5461284 LAPATA, ROBERT                             1 COVE COURT                                                                                  HAINESPORT         NJ       08036
5462570 LAPOLE, DAVID                              16801 SE HWY 42                                                                               WEIRSDALE          FL       32195
5459264 LARJAR INC                                 4710 EISENHOWER BLVD             #C2                                                          TAMPA              FL       33634
5460884 LARKINS, MATTHEW                           9331 HILO ROAD                                                                                BON AQUA           TN       37025
5462571 LAROSE, DAVID                              1918 SHERWOOD DRIVE                                                                           CAPE GIRARDEAU     MO       63701
        LARRY MURPHY INSURANCE 
5459854 AGENCY INC                                 113 E. Grand                                                                                  Ponca City         OK       74601



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5462135 LASORSA, JOSEPH                            30502 KENTFIELD DRIVE                                                                MURRIETA           CA      92563
5460464 LASSITER‐WARE INC                          1317 Citizens Blvd                                                                   Leesburg           FL      34748
           LATIN AMERICAN ASSOC OF INS 
5733719    AGENCIES OF FL INC           PO BOX 520844                                                                                   MIAMI              FL      33152
5463204    Lauer, Ben                   2647 Woodgate Way                                                                               Roseville          CA      95747
5460933    LAURENT, MELISSA ST          64 WESTMINSTER DR.                                                                              FITZWILLIAM        NH      03447
5459870    LAURENZI, JOHN WILLIAM       Po Box 4917                                                                                     Westlake Village   CA      91359
5463255    LAVERGNE, BRANDON            332 NILES CT                                                                                    LITTLE ELM         TX      75068
5460928    LAVINDER, MELISSA            928 PINHURST DR                                                                                 ATLANTA            GA      30339
5462312    Law Office of Louis Bermeo   15315 Magnolia Blvd,                                                                            Sherman Oaks       CA      91403
           LAW OFFICE OF NATHAN COBB 
5459261    LLC                          317 COMMERCIAL ST NE                                                                            ALBUQUERQUE        NM      87102
5462313    Law Office of Wayne Bilsky   2431 Lee Rd                                                                                     Winter park        FL      32789
5460712    LAWHON & LAWHON LLC          1238 West Main St.                                                                              Tupelo             MS      38801
5461229    LAWHORNE, RANDALL            2505 STOCKWELL STREET                                                                           LINCOLN            NE      68502
5459849    LAWLEY SACHS LLC             256 Columbia Turnpike                Suite 201                                                  Florham Park       NJ      07932

                                                                             256 Columbia 
5459262    LAWLEY SACHS LLC                        Tom Sachs                 Turnpike Suite 201                                         Florham Park       NJ      07932
5460465    LAWLEY SERVICE INC                      361 Delaware Ave                                                                     Buffalo            NY      14202
5462123    LAWRENCE, JONATHAN                      2220 MELODY DRIVE                                                                    JEFFERSON CITY     MO      65109
5461674    LAZZARA, THOMAS                         5609 BOYD RD                                                                         ROME               NY      13440
5462163    LE, JUSTINE                             37 JUNIPER COURT                                                                     STANTON            CA      90680
           LEADER MARKETING SERVICE 
5459850    INC                                     16159 SW 54 Court                                                                    Miramar            FL      33027
5461298    LEADER, ROBERTA                         2603 EDENVILLE PATH                                                                  THE VILLAGES       FL      32162
5464608    LEAF, RYAN                              14 PATRIOT LANE                                                                      TURNERSVILLE       NJ      08012‐1606
5462368    LEAL, LISANDRA                          1510 NORTH 71ST TERRACE                                                              HOLLYWOOD          FL      33024
5461380    LEAMEY, SCOTT                           251 5TH AVENUE                                                                       ST. JAMES          NY      11780
5462165    LEARY, KAITLYN                          154 WINGHURST BLVD                                                                   ORLANDO            FL      32828

           LEAVITT INSURANCE SERVICES 
5459851 OF SOUTHERN CALIFORNIA INC 1820 E FIRST STREET, SUITE 500                                                                       SANTA ANA          CA      92705
        LEAVITT PACIFIC INSURANCE 
5459852 BROKERS INC                                1330 S. Bascom Ave.                                                                  San Jose           CA      95128

           LEAVITT RECREATION AND 
5459844 HOSPITALITY INSURANCE INC  942 14th Street                                                                                      Sturgis            SD      57785
        LEBRON INSURANCE SERVICES 
5459845 INC                        5116 N Armenia Ave                                                                                   Tampa              FL      33603
5459260 LECHNER & STAUFFER INC     589 Main Street                                                                                      Pennsburg          PA      18073
5459846 Lechner & Stauffer Inc     589 Main Street                           P.O. Box 26                                                Pennsburg          PA      18073



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5461605 LECLERC, TERRI                             5245 JENNIFER PL.                                                                    ORLANDO             FL       32807
           LEDBETTER INSURANCE 
5459847    AGENCY LLC                   P.O Box 18799                                                                                   Oklahoma City       OK       73154‐0799
5462106    LEDERHAUS, JOHN              161 FREEDOM DRIVE                                                                               LEXINGTON           SC       29072
5462616    LEDFORD, DELLA               114 THORNBERRY COURT                                                                            SIMPSONVILLE        SC       29680
5462655    LEE, DONNA                   11206 JEFFERSON TRACE BLVD                                                                      LOUISVILLE          KY       40291
5463025    LEE‐CARROLL, ALVAMAY         1428 SE 4TH AVENUE #B210                                                                        DEERFIELD BEACH     FL       33441
           LEGACY INSURANCE 
5459848    SOLUTIONS LLC                1410 Piedmont Drive E, 2nd Floor                                                                Tallahassee         FL       32308
5459257    LEGAL BILL REVIEW INC        P.O. BOX 780909                                                                                 ORLANDO             FL       32878
5459258    LEGAL SHIELD                 P.O. Box 2629                                                                                   Ada                 OK       74821
5461381    LEININGER, SCOTT             9869 GRANTVIEW FOREST DRIVE                                                                     ST. LOUIS           MO       63123
5462395    LEJEUNE, LYLE                PO BOX 41598                                                                                    BATON ROUGE         LA       70835
5462868    LENTZ, GEORGE                5413 SILVER CREEK DR                                                                            WAXHAW              NC       28173
5461237    LENTZ, RAY                   5119 BLOCK HOUSE COURT               NUMBER 637                                                 CHARLOTTE           NC       28277
5460830    LEON, MARIA                  2220 N. CYPRESS BEND DRIVE           APT. 210                                                   POMPANO BEACH       FL       33069
5463013    LEPORE, ALISON               3674 ROCHELLE LANE                                                                              APOPKA              FL       32712
5462045    LERMAN, JEFFREY              3934 JAMES ROAD                                                                                 HUNTINGDON VALLEY   PA       19006
5461769    LEROY‐JULIEN, VALERIE        8245 NW 9TH CT                                                                                  PLANTATION          FL       33324
           LESTER INSURANCE GROUP INC 
5459842    DBA HARPER AGENCY            165 W. Main St.                                                                                 Wytheville          VA       24382
5462814    LESTER, G                    470 EAST VAN DORN AVENUE                                                                        HOLLY SPRINGS       MS       38635
           LEVI & ASSOCIATES INSURANCE 
5460454    LLC                          2790 North Federal Highway #300                                                                 Boca Raton          FL       33431
5462687    LEVINS, EDDIE                1460 NORTH 62ND STREET                                                                          MESA                AZ       85205
           LEWIS & ASSOCIATES 
5459843    INSURANCE BROKERS            700 WEST CENTER                                                                                 VISALIA             CA       93291
           LEWIS & ASSOCIATES 
5459253    INSURANCE BROKERS INC        700 W Center Avenue                                                                             Visalia             CA       93291
           LEWIS BRISBOIS BISGARD & 
5459254    SMITH LLP                    221 North Figueroa Street            Suite 1200                                                 Los Angeles         CA       90012
           LEWIS BRISBOIS BISGARD & 
5733720    SMITH LLP                    633 WEST 5TH STREET                  SUITE 4000                                                 LOS ANGELES         CA       90071
5462322    LEWIS, LESLIE                1780 TURNBERRY TERRACE                                                                          ORLANDO             FL       32804
5461305    LEWIS, RODNEY                7404 BALANCING ROCK COURT                                                                       CHARLOTTE           NC       28262
5461862    LEXIS, YVES                  1147 LONGFELLOW ROAD                                                                            SARASOTA            FL       34243
           LEXISNEXIS RISK SOLUTIONS 
5459255    INC                          1000 ALDERMAN DRIVE                  SUITE 21 N57                                               ALPHARETTA          GA       30005

5459839 LIBERTY INSURANCE AGENCY                   1910 Cochran Rd Ste 800                                                              Pittsburgh          PA       15220

5462332 Liberty Mutual                             Bruce Smith               2100 Walnut Hill Ln                                        Irving              TX       75038




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5462333 Liberty Mutual                             David Voldan                           2100 Walnut Hill Ln                                        Irving              TX       75038

5462334 Liberty Mutual                             Steve Peters                           7894 Oakland Drive                                         Portage             MI       49024
5462335 Liberty Mutual ‐ SAFECO                    1600 N. Collins Blvd.                                                                             Richardson          TX       75080

5462336 Liberty Mutual ‐ StageStores               2100 Walnut Hill Lane Ste. 100                                                                    Irving              TX       75038

                                                                                          1001 Fourth 
5462337 Liberty Mutual Insurance                   Tara Sites                             Avenue, 29th Floor                                         Seattle             WA       98154
                                                                                          111 
           LIBERTY MUTUAL INSURANCE                                                       CONGRESSIONAL 
5458913 COMPANY                                    TARA SITES                             BOULEVARD                                                  BOSTON              MA       2116
           LIBERTY MUTUAL INSURANCE                                                       175 BERKELY 
5458907    COMPANY                                 TARA SITES                             STREET                                                     BOSTON              MA       2117
5463105    LIBRACH, ANNE                           3186 N. GREENLEAF CIR.                                                                            BOYNTON BEACH       FL       33426
           LIGHTHOUSE COMMERCIAL 
5460455    INSURANCE INC                           601 Penfield Ave                                                                                  Havertown           PA       19083
           LIGHTHOUSE INSURANCE 
5459840    GROUP INC                               877 E 16TH STREET                                                                                 HOLLAND             MI       49423
5462756    LILLICK, EVAN                           405 WEST ARGONNE                                                                                  ST. LOUIS           MO       63122
5459256    LINCOLN FINANCIAL GROUP                 P.O. BOX 0821                                                                                     CAROL STREAM        IL       60132
5463037    LINCOLN, AMBER                          1331 OGDEN STREET                                                                                 OMAHA               NE       68110
5462037    LINDSEY, JEANNE                         285 ROLLINGWOOD TRAIL                                                                             ALTAMONTE SPRINGS   FL       32714
5462323    LINEN, LESLIE                           103 TANACROSS WAY                                                                                 GREENVILLE          SC       29605
5463270    LINK, BRIAN                             27890 CLINTON KEITH RD . D297                                                                     MURRIETA            CA       92562
5462029    LINN, JASON                             424 E CENTRAL BLVD                     APT 191                                                    ORLANDO             FL       32803

5459836    LINQ RISK MANAGEMENT LLC                2100 Ponce De leon Blvd, #600                                                                     Coral Gables        FL       33134
5462370    Litigation Solutions, LLC               101 Towne Square Way # 251                                                                        Pittsburgh          PA       15227
5460837    LITMAN, MARILYN                         510 EAST 27TH STREET                   NUMBER 3L                                                  PATERSON            NJ       07514
5459837    LITTLE & SMITH INC                      PO BOX 1089                                                                                       MARIETTA            GA       30061
5461300    LITTLE, ROBIN                           2514 MISSION RIDGE DRIVE                                                                          MURFREESBORO        TN       37130
5459250    LITTLER MENDELSON P C                   P.O. BOX 45547                                                                                    SAN FRANCISCO       CA       94145
                                                                                                             333 SE 2nd Avenue, Suite 
5458967 Littler Mendelson PC                       Elaine Keyser                          Wells Fargo Center 2700                                    Miami               FL       33131
           LIVE OAK CORPORATE CENTER 
5462371    LLC                                     2201 CANTU COURT                       SUITE 206                                                  SARASOTA            FL       34232
           LIVE OAK CORPORATE CENTER, 
5733721    LLC                                     20416 HARPER AVENUE                                                                               HARPER WOODS        MI       48225
5459838    LLOYD PRO GROUP INC                     1720 Lakes Pkwy Ste 100                                                                           Lawrenceville       GA       30043‐8929
5733722    LLOYD PRO GROUP INC                     1720 LAKES PARKWAY                                                                                LAWRENCEVILLE       GA       30043
5458936    Lloyd's of London                       385 Interlocken Crescent, Suite 1100                                                              Broomfield          CO       80021


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 MMLID             NAME                                           ADDRESS 1               ADDRESS 2                  ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE       COUNTRY
5459252 LMS TECH                                   21 Grand Avenue                                                                                  Famingdale        NY       11735
5462373 LNR WARNER CENTER IV LLC                   21255 BURBANK BLVD, BUILDING D                                                                   WOODLAND HILLS    CA       91367
5463146 LOBELLO, ASHLEY                            972 FAIRFAX ROAD                                                                                 DREXEL HILL       PA       19026

5459832 LOBOSCO INSURANCE GROUP                    1003 McBride Avenue                                                                              Woodland Park     NJ       07424
                                                                                       1003 McBride 
5459248 LOBOSCO INSURANCE GROUP                    C. Luciano                          Avenue                                                       Woodland Park     NJ       07424
5462546 LOCKLEAR, DANIEL                           13013 ASHEFORD WOODS LN                                                                          CHARLOTTE         NC       28278
                                                   725 SOUTH FIGUEROA STREET, 35TH 
5459833 LOCKTON COMPANIES LLC                      FLOOR                                                                                            LOS ANGELES       CA       90017

5459834 LOCKTON INSURANCE BROKERS 4275 EXECUTIVE SQUARE STE 600                                                                                     LA JOLLA          CA       92037
5462572 LOEWER, DAVID             24556 92ND ROAD                                                                                                   BURDEN            KS       67019

                                                   ARIAS SANGUINETTI WANG & TORRIJOS,  6701 CENTER DRIVE 
5733723    LOGAN, TAMMY LYNN                       LLP                                 WEST, 14TH FLOOR                                             LOS ANGELES       CA       90045
5459249    LOGIC                                   P.O. Box 31112                                                                                   Grand Cayman                             Cayman Islands
5460850    LOHMAN, MARK                            1972 W. EAGLE RIDGE DR.             APT 202                                                      WAUKEGAN          IL       60087
5460851    LOHRMAN, MARK                           40 GREAT LAKES DRIVE                                                                             ST. PETERS        MO       63376
5462177    LOMBARDI, KAREN                         16847 ASHBERRY CIRCLE DRIVE                                                                      CHESTERFIELD      MO       63005
5460840    LOMBARDI, MARIO                         16847 ASHBERRY CIRCLE DRIVE                                                                      CHESTERFIELD      MO       63005
5463211    LOPEZ, BENIGNA                          15780 TREASURE ISLAND LANE                                                                       FORT MYERS        FL       33905
5461817    LORA, WIDMARK                           17641 NW 82ND CT                                                                                 HIALEAH           FL       33015
           LORD AND ASSOCIATES 
5459835    INSURANCE AGENCY INC                    P.O Box 847                                                                                      Covington         GA       30015
5462377    Loren Cook Company                      Mike Stone                          2015 Dale Street                                             Springfield       MO       65803
5462382    Loss‐Control                            6970 Destiny Drive                                                                               Rocklin           CA       95677
5462858    LOUCKS, GARY                            1678 WILDWOOD ROAD                                                                               CLEARWATER        FL       33756
5462107    LOUIS, JOHN                             3516 20TH STREET SW                                                                              LEHIGH ACRES      FL       33976
           Louisiana Department of 
5458876    Insurance                               Attn: Lorie Gasior, Manager         1702 N Third Street                                          Baton Rouge       LA       70802
           Louisiana Department of 
5458875    Insurance                               Attn: Lorie Gasior, Manager         P.O. Box 94214                                               Baton Rouge       LA       70804‐9214
           LOUISIANA DEPARTMENT OF 
5733724    INSURANCE                               PO BOX 94214                                                                                     BATON ROUGE       LA       70804‐9214
           Louisiana Department of 
5723909    Revenue                                 P.O. Box 66658                                                                                   Baton Rouge       LA       70896‐6658
           LOUISIANA DEPARTMENT OF 
5733725    REVENUE                                 PO BOX 91011                                                                                     BATON ROUGE       LA       70821‐9011
5461545    LOVE, STEVE                             10324 GRENDEL COURT                                                                              MECHANICSVILLE    VA       23116
5464620    LOVE, STEVEN D                          10324 GRENDEL COURT                                                                              MECHANICSVILLE    VA       23116
5733726    LOVE, STEVEN DONALD                     10324 GRENDEL COURT                                                                              MECHANICSVILLE    VA       23116
5462386    Love's Travel Stops                     10601 North Pennsylvania Avenue                                                                  Oklahoma City     OK       73120


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5461231 LOWNES, RANDY                              P.O. BOX 1173                                                                                         HEALDSBURG         CA       95448
5459247 LOWRY & ASSOCIATES INC                     P.O. BOX 1139                                                                                         DRAPER             UT       84020
        LOYALTY INSURANCE                                                                   205 North 9th 
5459827 ASSOCIATION                                Rita Ju                                  Street                                                       Philadelphia       PA       19107
5462387 Lozano and Associates                      20301 Ventura Blvd                                                                                    Woodland Hills     CA       91364
5462653 LOZANO, DONLEA                             6939 BROOKCREST WAY                                                                                   CITRUS HEIGHTS     CA       95621
5459828 LRA INSURANCE                              498 S. Lake Destiny Road                                                                              Orlando            FL       32810
5462178 LUCAS, KAREN                               6535 GOLDFINCH STREET                                                                                 SARASOTA           FL       34241
5461331 LUFFEY, RYAN                               254 SOUTH OLD MIDDLETOWN ROAD                                                                         MEDIA              PA       19063
5462155 LUKES, JULIA                               5817 WEST 148TH AVENUE                                                                                CROWN POINT        IN       46307
5463318 LUNDI, CARL                                9007 NOTCHWOOD COURT                                                                                  ORLANDO            FL       32825
        LUNDIE INSURANCE CENTER 
5460713 INC                                        1021 Boulevard                                                                                        Colonial Heights   VA       23834
5459829 LUTGERT INSURANCE                          1395 Panther Ln., Ste. 100                                                                            Naples             FL       34109
                                                                                            1150 Hanley 
5462390 Lutheran ‐ Safety National                 Beth Anderson                            Industrial Court                                             St Louis           MO       63144
                                                                                            1150 Hanley 
5462391 Lutheran Senior Services                   Beth Anderson                            Industrial Court                                             St Louis           MO       63144
5463399 LYNCH, CHERYL                              105 BROOKFOREST DR.                                                                                   GREENVILLE         SC       29605
5462071 MACIAS, JESSE                              P.O BOX 612                                                                                           LAKEWOOD           CA       90714

5733727 Mackinaw Administrators LLC                11801 E. Grand River                                                                                  Brighton           MI       48116
                                                                                            26255 American 
5733727 Mackinaw Administrators LLC                C. Kyle Lang, Senior Corporate Counsel   Drive                                                        Southfield         MI       48034
           MACKINAW ADMINISTRATORS 
5460456    LLC                                     P.O Box 489                                                                                           Brighton           MI       48116
           MACPHERSON INSURANCE 
5459830    AGENCY INC                              55 Merrick Way. Suite 408                                                                             Coral Gables       FL       33134
5463271    MADASCY, BRIAN                          3036 HOMESTEAD COURT                                                                                  CLEARWATER         FL       33759
           MADDEN COMPANY INC (DBA                                                          401 E. LAS OLAS 
5462404    TRANSMEDIA GROUP)                       CONTEGO SERVICES GROUP, LLC              BLVD., SUITE 1540                                            FT. LAUDERDALE     FL       33301
           Madden Company, Inc. (d/b/a) 
5760842    TransMedia Group                        240 West Palmetto Group, Suite 300                                                                    Boca Raton         FL       33432

5459831 MADISON INSURANCE GROUP                    800 Oak Ridge Turnpike, Suite B‐200                                                                   Oak Ridge          TN       37830
5462030 MAES, JASON                                7078 VANGORDON COURT                                                                                  ARVADA             CO       80004
5462087 MAEZ, JIM                                  8900 ARMISTICE ROAD NE                                                                                ALBUQUERQUE        NM       87109
5461367 MAGANA, SARAH                              1618 ORLEANS CIRCLE                      2G                                                           KANSAS CITY        MO       64116
        Magna Sign International, LLC 
        (NOTE: Stop loss renews 12/1 ‐ 
        changed plan year to 7/1 ‐ 6/30 
5462408 effective 7/1/17)                          224 Industrial Drive                                                                                  Lexington          SC       29072
5459823 MAGUIRE INSURANCE                          1 BALA PLAZA, STE. 100                                                                                BALA CYNWYD        PA       19004


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        MAGUIRE INSURANCE AGENCY 
        INCVALLEY FORGE INS 
5459824 BROKERAGE                 One Bala Plaza, Ste. 100                                                                                               Bala Cynwyd       PA      19004
        MAGUIRE INSURANCE AGENCY 
        INCVALLEY FORGE INS 
5459825 BROKERAGE                 StreetOne Bala Plaza, Ste. 100                                                                                         Bala Cynwyd       PA      19004
5461465 MAGUIRE‐PRICE, SHAWN      505 LAKE LENNOX DR                                                                                                     SIMPSONVILLE      SC      29681

5462409    Mahlum Insurance Services Inc           1635 Shaw Avenue                                                                                      Clovis            CA      93611
5460859    MAHONEY, MARLENE                        104 TOUCHSTONE DRIVE                                                                                  CARLISLE          PA      17015
5460457    MAI RISK ADVISORS                       3512 WHEELER ROAD                                                                                     AUGUSTA           GA      30909
5760843    Mail Finance, Inc.                      479 Wheeler's Farm Road                                                                               Milford           CT      06461

5459245 MAILFINANCE                        P O BOX 123682                                   DEPARTMENT 3682                                              DALLAS            TX      75312
           MAIN STREET FINANCIAL 
5459826    GROUP INC                       22 N. Trade Street                                                                                            Tryon             NC      28782
5462698    MAIN, ELISE                     2935 KNOX ROAD 400 EAST                                                                                       RIO               IL      61472
           Maine Bureau of Insurance, 
           Department of Professional and                                                   34 State House 
5458877    Financial Regulation            Attn: Pamela Roybal, Supervisor                  Station                                                      Augusta           ME      04333‐0034
           Maine Bureau of Insurance, 
           Department of Professional and                                                   76 Northern 
5458878    Financial Regulation            Attn: Pamela Roybal, Supervisor                  Avenue                                                       Gardiner          ME      04345
5460831    MAISONET, MARIA                 17 ARMSTRONG DR.                                                                                              WESTBOROUGH       MA      01581
5462933    MALDONADO, GUILLERMO            1812 EAST OAKLAND PARK BLVD                      NUMBER 20                                                    OAKLAND PARK      FL      33306
5463326    MALEBRANCHE, CARMEN             9500 NW 25TH STREET                                                                                           SUNRISE           FL      33322
5461163    MALL, PEGGY                     9110 W. 90 TERRACE                                                                                            OVERLAND PARK     KS      66212
           MALPIGLI & ASSOCIATES 
5459819    INSURANCE AGENCY INC            3311 Sunrise Highway                                                                                          Islip Terrace     NY      11752
5463033    MALTZ, AMANDA                   509 ALLENSVILLE ACRES RD                                                                                      SEVIERVILLE       TN      37876‐1675
           MANAGED CARE RISK SERVICES 
5462411    INC                             32531 N Scottsdale Rd,. Suite 105‐229                                                                         Scottsdale        AZ      85266
           MANAGED CARE RISK SERVICES                                                       ATTN: ROBERT A.       300 CROWN COLONY DRIVE, 
5460815    INC                             MCRS HOLDINGS, INC.                              MILLERICK             SUITE 203                              QUINCY            MA      02169

5459820 MANALE INSURANCE SERVICES 817 W. BEVERLY BLVD. SUITE 107                                                                                         MONTEBELLO        CA      90640
5462656 MANFRE, DONNA             9041 FOGGY MEADOW ROAD                                                                                                 CHARLOTTE         NC      28269

5460817    Manning and Kass                         801 South Figueroa Street, 15th Floor                                                                Los Angeles       CA      90017
5462282    MANNING, KYLEE                          3305 13TH ST W                                                                                        LEHIGH ACRES      FL      33971
5463002    MANNIRA, ALEXANDRA                      308 RACHELLE AVENUE                      APARTMENT 535                                                SANFORD           FL      32771
5463401    MANTI, CHERYLE                          2899 BOTTLE BRUSH DRIVE                                                                               LITHIA SPRINGS    GA      30122




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           MAR BUSINESS FORMS DBA 
5459243    MAR                                     523 South Meyer                                                                             Valmeyer          IL       62295
5461665    MARAINI, THERESA                        274 GLEAVES ROAD                                                                            SPRINGFIELD       PA       19064
           MARCHETTI & SABATELLI 
5459821    ASSOC                                   9217 5th Ave.                                                                               Brooklyn          NY       11209
           MARCHETTI & SABATELLI 
5459244    ASSOCIATES                              9217 5th Avenue                                                                             Brooklyn          NY       11209
5460841    MARCHINI, MARIO                         118 LIVINGSTON AVENUE                                                                       NEW PROVIDENCE    NJ       07974
           Marcos Rothman Scharf Valdes 
5460820    and Goldstein, PLLC                     4000 Hollywood Blvd Suite 715‐S                                                             Hollywood         FL       33021
           MARCOTTE INSURANCE 
5460458    AGENCY INC                              9394 West Dodge Rd, Suite 250                                                               Omaha             NE       68114
5462142    MARGOLIS, JOSHUA                        14345 SW 72 CT                                                                              MIAMI             FL       33158
           MARIA BLEECHER INSURANCE 
5460459    INC                                     3085 S Jones Blvd Ste A                                                                     Las Vegas         NV       89146
5462547    MARIANO, DANIEL                         414 RIVERA ISLE DRIVE                                                                       FORT LAUDERDALE   FL       33301
5462402    MARIANO, MACKENZIE                      414 RIVIERA ISLES                                                                           FORT LAUDERDALE   FL       33301
5462403    MARIANO, MACY                           333 NE 24TH STREET APT104                                                                   MIAMI             FL       33137
5733728    MARIANO, STEVEN                         401 E LAS OLAS BLVD                                                                         FORT LAUDERDALE   FL       33301
5733553    MARIANO, STEVEN                         414 RIVIERA ISLE                                                                            FORT LAUDERDALE   FL       33301
5463544    Mariano, Steven M.                      414 Riveria Drive                                                                           Fort Lauderdale   FL       33301
5461675    MARIANO, THOMAS                         401 E LAS OLAS BLVS               SUIT 1650                                                 FORT LAUDERDALE   FL       33301
5462220    MARIN, KELLY                            3340 WINDLESHORE WAY                                                                        SANFORD           FL       32773‐5700
5461183    MARIN, PILAR                            1800 JACKSON STREET               APARTMENT 503                                             HOLLYWOOD         FL       33020
5461998    MARINO, JAMES                           P.O. BOX 736                                                                                MOORPARK          CA       93020
           MARIS BROWN ROSSELL 
5459822    INSURANCE GROUP LLC                     612 W University Dr #300                                                                    Rochester         MI       48307
5459814    MARK INSURANCE SERVICES                 510 E. FOOTHILL BLVD. #105                                                                  SAN DIMAS         CA       91773
5460448    MARK WALTON                             22327 GOSLING ROAD                                                                          SPRING            TX       77389
5462324    MARKHAM, LESLIE                         7925 WOODWIND DRIVE NE                                                                      ALBUQUERQUE       NM       87109
5461446    MARKHAM, SETH                           9205 TANOAN DRIVE                                                                           ALBUQUERQUE       NM       87111

5463063 MARKHAM‐SANDOVAL, AMY    6300 DUNGAN STREET                                                                                            ALBUQUERQUE       NM       87109
        MARKS INSURANCE AGENCY 
5459815 INC                      1582 Village Square Blvd                                                                                      Miccosukee Cpo    FL       32309
        MARSH & MCLENNAN AGENCY 
5459242 LLC                      9850 NW 41ST ST                                                                                               MIAMI             FL       33178

           MARSH & MCLENNAN AGENCY 
5460801    LLC (SENN & DUNN)                       P.O Box 9375                                                                                Greensboro        NC       27429‐0375
5462989    MARSH, ALBERT                           6939 TOWN HARBOUR BLVD            # 623                                                     BOCA RATON        FL       33433
5461867    MARSHALL, GWEN                          1612 SE 12TH STREET APT 4                                                                   FORT LAUDERDALE   FL       33316
5462602    MARTIN, DEBORAH                         502 BALSAM ROAD                                                                             CHERRYHILL        NJ       08003


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5460863    Martinez Insurance Agency               6425 Reno Ave.                                                                                        New Port Richey    FL      34653
5462492    MARTINEZ, CORNELIA                      4736 GOLDEN RIDGE DRIVE                                                                               CORONA             CA      92880
5462573    MARTINEZ, DAVID                         1931 LAKE ARROWHEAD DRIVE                                                                             RICHMOND           TX      77406
5461356    MARTINO, SANDRA                         337 SYLVANIA AVENUE                                                                                   FOLSON             PA      19033
5459816    MARX & ASSOCIATES                       515 Madison Ave # 2316                                                                                New York           NY      10022
           MARYLAND DEPARTMENT OF 
5458996    TAXATION                                301 West Preston Street                   Rm 801                                                      Baltimore          MD      21201‐2395
           Maryland Insurance                      Attn: William Donahue Director, Producer 
5458879    Administration                          Licensing                                 200 Saint Paul Place Suite 2700                             Baltimore          MD      21202‐2272
5460819    MARZIALE, MARC                          2742 JUNEBERRY LANE                                                                                   SOUTHPORT          NC      28461
5461304    MASON, ROCHELLE                         9810 BERNWOOD PLACE DRIVE                 NUMBER102                                                   FT. MYERS          FL      33966

           Massachusetts Division of 
           Insurance Office of Consumer                                                      1000 Washington 
5458880    Affairs and Business Regulation         Attn: Diane Silverman‐Black, Director     Street               8th Floor                              Boston             MA      02118‐6200
5460715    MASSEY CLARK FISCHER INC                400 Executive Center Dr., Ste. 205                                                                    West Palm Beach    FL      33401
5460838    MATEEN, MARILYN                         431 HIERING AVNEUE                                                                                    SEASIDE HEIGHTS    NJ      08751
5463323    MATEO, CARLOS                           85‐11 LEFFERTS BLVD                       #6B                                                         NYC                NY      11415
5461271    MATHEWSIAN, RIMA                        981 EILINITA AVENUE                                                                                   GLENDALE           CA      91208
5460929    MATHORNE, MELISSA                       208 CRONIN STREET                                                                                     BRISTOL            CT      06010
5460875    Matrix ‐ Red Bull                        1630 Stewart Street                                                                                  Santa Monica       CA      90404
           MATRIX INSURANCE AGENCY 
5460449    INC                                     P.O Box 1909                                                                                          Newnan             GA      30263
5464155    Maudlin, Stephanie                      6178 Canyon Trl                                                                                       Denver             NC      28037

5459817 MAURY DONNELLY & PARR INC 24 Commerce Street                                                                                                     Baltimore          MD      21202
           MAVERICK INSURANCE GROUP 
5459818    LLC                                     1214 North Mayo Trail                     Suite 100                                                   Pikeville          KY      41501
5458970    MAXWELL, VIOLA                          930 EAST 76TH TERRACE                                                                                 KANSAS CITY        MO      64131
5461349    MAY, SAMUEL                             5432 OLD COURSE DRIVE                                                                                 CRAMERTON          NC      28032
5458950    Mayer Brown LLP                         Jennifer Bruni                            Mayer Brown LLP      71 S. Wacker Drive                     Chicago            IL      60606
5461362    MAYFIELD, SARA                          233 E WILBUR AVE                          #115                                                        LAKE MARY          FL      32746
5461871    MAYNE, HALLE                            107 CAMERON COURT                                                                                     WESTON             FL      33326
5463003    MAZER, ALEXANDRA                        542 NORTH UNIVERSITY DRIVE                                                                            PLANTATION         FL      33324
5462108    MAZZATELLI, JOHN                        157 PRINCETON PLACE                                                                                   BELFORD            NJ      07718
5733729    MAZZEO SONG P.C.                        444 MADISON AVE., FL 4                                                                                NEW YORK           NY      10022
5459239    MAZZEO SONG PC                          444 MADISON AVE                           4TH FLOOR                                                   NEW YORK           NY      10022
5459811    MB INSURANCE AGENCY INC                 605 Anderson Ave.                         P.O. Box 2149                                               Cliffside Park     NJ      07010
5459240    MB INSURANCE AGENCY INC                 P.O Box 2149                                                                                          Cliffside Park     NJ      07010
5461332    MCALLEN, RYAN                           31 BRIARGLEN PLACE                                                                                    GREENVILLE         SC      29615
5462297    MCBRIDE, LATOYA                         2716 LEMON STREET                                                                                     FORT MYERS         FL      33916
5733730    MCCARSON, LISA                          125 CLEARVIEW CIRCLE                                                                                  TRAVELERS REST     SC      29690



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5462361 MCCARSON, LISA                             PO BOX 1444                                                                              TRAVELERS REST     SC       29690
           MCCARTHY BURGESS & WOLFF, 
5733731    INC.                        26000 CANNON RD                                                                                      CLEVELAND          OH       44146
5463083    MCCARTHY, ANDREW            10826 BELLAMY COURT                                                                                  ORLANDO            FL       32817
5461676    MCCARTHY, THOMAS            1146 GREENSTONE BLVD                        # 202                                                    HEATHROW           FL       32746
5462647    MCCARTY, DONALD             200 SE 5TH AVE                              APT #401                                                 DANIA BEACH        FL       33004
           MCCASHLAND KIRBY 
5459812    INSURANCE AGENCY INC        PO Box 5186                                                                                          Lincoln            NE       68505
5461987    MCCLELLAN, JACQUELINE       2736 CARVER AVENUE                                                                                   WILLOW GROVE       PA       19090
5463084    MCCONNELL, ANDREW           524 WEST 123RD STREET                                                                                NEW YORK           NY       10027
5464607    MCCONNELL, JOHN D           295 VAN NOSTRAND AVE                                                                                 ENGLEWOOD          NJ       07631‐4710
5462181    MCCORD, KARI                1003 GWINMAR ROAD                                                                                    INDIAN TRAIL       NC       28079
5461333    MCCORMACK, RYAN             21 POND STREET                              UNIT 1                                                   WESTERLY           RI       02891
5460892    MCCORMICK, MAUREEN          1700 AIRLINE HIGHWAY                        NUMBER 315                                               HOLLISTER          CA       95023
5460894    McCune and Harber, LLP      515 S Figueroa St # 1150                                                                             Los Angeles        CA       90071
5460450    MCDOWELL ASSOCIATES         1002 Tower Way                                                                                       Greensburg         PA       15601
5460826    MCFADDEN, MARGARET          416 STANFORD ROAD                                                                                    FAIRLESS HILLS     PA       19030
5460965    MCFADDEN, MICHAEL           5141 DUNSMORE AVE                                                                                    LA CRESCENTA       CA       91214
5461152    MCGARRY, PATTI              248 ROSITA ROAD                                                                                      DEBARY             FL       32713
5461141    MCGEE, PATRICIA             2947 WAKEFIELD DRIVE                                                                                 HOLMES             PA       19043
5462205    MCGILL, KATHY               5199 SW 21 STREET                                                                                    WEST PARK          FL       33023
           MCGINTY‐GORDON & 
5459813    ASSOCIATES                  P.O Box 20668                                                                                        St Simons Island   GA       31522
5461142    MCGLASSION, PATRICIA        3435 HIGHWAY WEST                                                                                    EUREKA             MO       63025
5462752    MCGLYNN, ESRA               3760 NW 20TH STREET                                                                                  COCONUT CREEK      FL       33066
5461213    MCGLYNN, QUENTIN            3760 NW 20TH ST                                                                                      COCONUT CREEK      FL       33066
           MCGOWAN INSURANCE 
5459806    GROUP INC                   355 Indiana Ave., Ste. 200                                                                           Indianapolis       IN       46204
5461890    MCGUCKIN, HEATHER           633 SHERWOOD DRIVE                                                                                   ALT SPRINGS        FL       32701
5459246    MCGUIRE, MAJOR              1332 Taos Dr                                                                                         St Louis           MO       63138
5460895    MCIM                        4161 Clark Rd                                                                                        Sarasota           FL       34233
5461160    MCKANE, PAULA               193 MULBERRY GROVE RD                                                                                WEST PALM BEACH    FL       33411
5462262    MCKAY, KIMBERLY             PO BOX 452204                                                                                        LOS ANGELES        CA       90045
           MCKEE RISK MANAGEMENT       610 Freedom Business Center Drive, Suite 
5460451    INC                         300                                                                                                  King of Prussia    PA       19406
5463216    MCKEE, BENJAMIN             3309 GENEVA DRIVE                                                                                    MURFREESBORO       TN       37128
5461334    MCKEE, RYAN                 7750 NW 45TH ST                                                                                      LAUDERHILL         FL       33351‐5708
5460980    MCKENLEY, MICHELE           1636 THORNHILL CIRCLE                                                                                OVIEDO             FL       32765
5463388    MCKEOWN, CHARLES            9 PERRO LANE                                                                                         MARIETTA           SC       29661
           MCLAIN PIERCE & ASSOCIATES 
5460716    INC                         P.O. Box 1419                                                                                        Sanford            FL       32772




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 MMLID                     NAME                                  ADDRESS 1                       ADDRESS 2               ADDRESS 3          ADDRESS 4               CITY    STATE   POSTAL CODE   COUNTRY
        MCLEMORE INSURANCE 
5460790 AGENCY INC                                 P.O Box 700420                                                                                       Tulsa              OK       74170‐0420
5733732 MCMAHON BERGER P.C.                        2730 N. BALLAS RD                          SUITE 200                                                 ST. LOUIS          MO       63131
        MCMAHON HADDER 
5459807 INSURANCE INC                              11 WEST GARDEN STREET                                                                                PENSACOLA          FL       32502

                                                                                              ATTN: JOSIE 
5733733 MCMC LLC                                   PATRIOT RISK MANAGEMENT, INC.              GRAVES, PRESIDENT                                         FT. LAUDERDALE     FL       33301
5459808 MCNEARY INC‐LOUISIANA                      235 Highlandia Dr Ste 200                                                                            BATON ROUGE        LA       70810‐6056
5461785 MCNEIL, VICKEY                             126 DURHAM CREEK CT                                                                                  COLUMBIA           SC       29229

5462179 MCPHERSON, KAREN                           1002 S HARBOUR ISLAND BLVD UNIT 1107                                                                 TAMPA              FL       33602
5760844 MCRS Holdings, Inc.                        300 Crown Colony Drive, Suite 203                                                                    Quincy             MA       02169

5461215 MCSHAN, QUINTIN                            2003 SOUTHERN BLVD SE SUITE 102‐309                                                                  RIO RANCH          NM       87124
5462362 MCTAMNEY, LISA                             4565 NOTTINGHAM WAY                                                                                  TRENTON            NJ       08690‐3017
5463010 MCWHORTER, ALICIA                          605 VAN AVE                                                                                          DAPHNE             AL       36526

5459809    MDW INSURANCE GROUP INC                 362 Minorca Ave                                                                                      Coral Gables       FL       33134
5461677    MEADE, THOMAS                           1050 PEARL WAY                                                                                       BOGART             GA       30622
5460452    MEADORS ADAMS & LEE INC                 P.O Box 3456                                                                                         Little Rock        AR       72201
5460897    Meadowbrook                             4 Centerpointe Dr.                                                                                   La Palma           CA       90623
5460898    Meadowbrook ‐ Capital                   4266 I‐55 N Suite 106                                                                                Jackson            MS       39211
5460899    Meadowbrook ‐ KS                         PO Box 219559,                                                                                      Kansas City        MO       64121

5460900    Meadowbrook ‐ MA                        10 New England Business Center suite 303                                                             Andover            MA       01810
5460901    Meadowbrook ‐ Michigan                  26255 American Drive                                                                                 Southfield         MI       48034
5459810    MEADOWBROOK INC                         26255 American Drive                                                                                 Southfield         MI       48034
5460902    Meadowbrook Insurance                   Rande Kaufman                            P.O. Box 219559                                             Kansas City        MO       64121

5460903 Meadowbrook Insurance Group 10100 W Charleston Boulevard                              SUITE 200                                                 LAS VEGAS          NV       89135
           Meadowbrook/HUB ‐ Andover, 
5460904    MA                                      10 New England Business Center suite 303                                                             Andover            MA       01810
           Meadowbrook/HUB ‐ 
5460905    Bloomington, MN                         3600 American Boulevard Suite 350                                                                    Bloomington        MN       55431
           Meadowbrook/HUB ‐ Kansas 
5460906    City, MO                                 PO Box 219559,                                                                                      Kansas City        MO       64121
           Meadowbrook/HUB ‐ La Palma, 
5460907    CA                                      4 Centerpointe Drive Suite 300                                                                       La Palma           CA       90623
           Meadowbrook/HUB ‐ Las 
5460908    Vegas, NV                               10100 W Charleston Blvd. Suite 200                                                                   Las Vegas          NV       89135

5460909 Meadowbrook/HUB ‐ Michigan 26255 American Drive                                                                                                 Southfield         MI       48034



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           Meadowbrook/HUB ‐ Sarasota, 
5460910    FL                                      6000 Cattleridge Drive suite 302                                                              Sarasota           FL      34232
5462363    MEADOWS, LISA                           10126 RESEDA BLVD.                 #113                                                       NORTHRIDGE         CA      91324
5733734    MEAGAN MICHELLE BYROM                   213 CAMELOT DRIVE                                                                             WELDON SPRING      MO      63304
5462364    MEARKLE, LISA                           102 DOREEN DRIVE                                                                              HUMMELSTOWN        PA      17036
           MECKLENBURG COUNTY TAX 
5459234    COLLECTOR                               P.O. Box 71063                                                                                Charlotte          NC      28272
           MECKLENBURG NORTH 
           CAROLINA PROPERTY 
5458997    ASSESSOR                                P.O. Box 71063                                                                                Charlotte          NC      28272‐1063
5460717    MED JAMES INC                           PO BOX 2014                                                                                   SHAWNEE MISSION    KS      66201
5733735    MEDCOST INC.                            PO BOX 890240                                                                                 CHARLOTTE          NC      28289‐0240
5459235    MEDICAL COST REVIEW INC                 4924 BALBOA BLVD                   SUITE 485                                                  ENCINO             CA      91316
5460914    Medical Risk Services, Inc.             1516 Legacy Cir Ste 100                                                                       Naperville         IL      60563‐1253
5462688    MEDINA, EDGAR                           730 HARPS STREET                                                                              SAN FERNANDO       CA      91340
5462392    MEDINA, LUZ                             713 CLAYTON AVE                                                                               LEHIGH ACRES       FL      33972
           MEDLEY TURRENTINE & 
5459804    ASSOCIATESLLC                           3815 Classen Blvd.                                                                            Oklahoma City      OK      73118
           MEEKER SHARKEY ASSOCIATES 
5460301    LLC                                     21 Commerce Drive.Suite 302                                                                   Cranford           NJ      07016
5463348    MEEKS, CATHY                            795 VACCINIUM WAY                                                                             OSTEEN             FL      32764
5460453    MEGA INSURANCE CENTER                   1703 N Parham Rd, Suite 100                                                                   Richmond           VA      23229
           MEGAPATH CLOUD COMPANY 
5459020    LLC                                     6800 KOLL CENTER PARKWAY           Suite 200                                                  PLEASANTON         CA      94566
           MEGAPATH CLOUD COMPANY 
5459032    LLC                                     DEPT 0324                          PO BOX 120324                                              DALLAS             TX      75312‐0324

           MEHTA & PAZOL CONSULTING  A‐WING, MCCIA TRADE TOWER,                       THIRD FLOOR,                                                                  MAHARA
5459236 SERVICE PVT LTD              SENAPATI BAPAT RD                                NUMBER 305‐306                                             PUNE               SHTRA                 INDIA
5461353 MEHTA, SANDEEP               175 MICHIGAN COURT                                                                                          BLOOMINGDALE       IL     60108
           MEL HIMES & ASSOCIATES 
5460442    INSURANCE AGENCY INC      321 Straford Commons Ct.                                                                                    Deltona            FL      32725
5462083    MELENDEZ, JESUS           7850 W. MCDOWELL ROAD                            APT # 1120                                                 PHOENIX            AZ      85035
5461846    MELGAREJO, YEVONNE        8042 NW 14TH PLACE                                                                                          MIAMI              FL      33147
5462702    MELLER, ELIZABETH         108 WESTMORELAND AV                                                                                         GREER              SC      29650
           MEMORIAL HERMANN HEALTH 
5733736    SOLUTIONS                 929 GESSNER                                      SUITE 1500                                                 HOUSTON            TX      77024

5460443 MENA INSURANCE AGENCY INC P.O Box 1019                                                                                                   Mena               AR      71953
        MENDEZ & ASSOCIATES OF FTL 
5460706 INC                         9953 Pines Blvd                                                                                              Pembroke Pines     FL      33024
5463007 MENSAH, ALFRED              6424 BRICE DALE DRIVE                                                                                        CANAL WINCHESTER   OH      43110




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           MERCEDES‐BENZ FINANCIAL 
5459237    SERVICES                   P.O. BOX 5209                                                                                                  CAROL STREAM       IL       60197
           Mercedes‐Benz of Ft. 
5463547    Lauderdale                 2411 South Federal Hwy                                                                                         Ft. Lauderdale     FL       33316
           MERCHANT INSURANCE GROUP 
5459805    INC                        12326 Isabella Drive                                                                                           Bonita Springs     FL       34135
           MERCHANTS & PLANTERS 
5460707    AGENCY INC                 P.O. Box 59                                                                                                    Monticello         AR       71657
5460936    Merge Investigations, Inc. P.O. Box 6326                                                                                                  Lancaster          PA       17607
5461975    MERIDA, IVAN               18600 EAST LAXFORD ROAD                                                                                        COVINA             CA       91722

5460444 MERIDIAN FH NEW MEXICO LLC P.O Box 2018                                                                                                      Roswell            NM       88202
           MERIDIAN FH TEXAS LLC‐EL 
5459800    PASO                                    1200 GOLDEN KEY CIRCLE, SUITE 129                                                                 EL PASO            TX       79925
           MERIDIAN INSURANCE 
5460445    SERVICES ‐ EL PASO                      1200 Golden Key Circle, Suite 129                                                                 El Paso            TX       79925
5461538    MERISCA, STEPHANIE                      241 SAN REMO RD                                                                                   N. LAUDERDALE      FL       33068
5460966    MERRICK, MICHAEL                        907 S. 3RD STREET                                                                                 BOONVILLE          IN       47601
5459801    MESSER‐BOWERS COMPANY                   P.O Box 1349                                                                                      Enid               OK       73702‐1349
5462156    META, JULIA                             370 TWELVE OAKS DRIVE                                                                             WINTER SPRINGS     FL       32708

5460939 Metro                                      One Gateway Plaza Mail Stop: 99‐10‐1                                                              Los Angeles        CA       90012
        Metro Special Investigation 
5460940 Unit                                        One Gateway Plaza                                                                                Los Angeles        CA       90012
5460941 Metro Transit Authority                    Phillip Eng, Acting President          2 Broadway                                                 NEW YORK           NY       10004

           Metropolitan Sewerage District 
5460943 of Buncombe County                         2028 Riverside Drive                                                                              Asheville          NC       28804
                                                                                          P.O. Box 760, 200 
5460944    Mexico Plastic                          Janet Williams                         West Blvd.                                                 Mexico             MO       65265
5462561    MEYERS, DARRELL                         4811 SHELLBARK COURT                                                                              ERIE               PA       16506
5461688    MEYERS, TIMOTHY                         11 PEBBLE COURT                                                                                   BOLLINGBROOK       IL       60440
5460800    MF BLOCK INSURANCE INC                  32 Southpointe Drive                                                                              Paragould          AR       72450‐6536

           MFS INSURANCE INC DBA 
5460302 FLANAGIN INSURANCE AGENCY P.O BOX 1037                                                                                                       FORREST CITY       AR       72336

5460946 MG Capital Maintenance, Inc.               110 Pheasant Wood Court, Suite D                                                                  Morrisville        NC       27560
5459802 MHG SERVICES INC                           1600 SE 17th Street, Ste. 410                                                                     Fort Lauderdale    FL       33316
5460947 MI Windows and Doors                       650 West Market Street                                                                            Gratz              PA       17030
           MIAMI DISCOUNT INSURANCE 
5459803 INC                                        300 SW 107 Avenue, Suite 210                                                                      MIAMI              FL       33174




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           MIAMI VENDING MACHINES 
5459232    LLC                                     2346 SW 5TH STREET                                                                            MIAMI             FL       33135
5460303    MICHAEL GEE INC                         411 S Pineapple Ave                                                                           Sarasota          FL       34236
5461368    MICHELOTTI, SARAH                       1229 COMO PARK WAY                                                                            MODESTO           CA       95550
           MICHIGAN ASSOCIATION OF 
5459233    INSURANCE AGENCY                        1141 CENTENNIAL WAY                                                                           LANSING           MI       48917
           MICHIGAN DEPARTMENT OF 
5733737    INSURANCE                               P O BOX 30165                                                                                 LANSING           MI       48909‐7724
           Michigan Department of 
           Insurance and Financial 
5458870    Services                                Attn: Jean M. Boven Director     Mason Building        8th Floor 530 W. Allegan               Lansing           MI       48933
           Michigan Department of 
           Insurance and Financial 
5458869    Services                                Attn: Jean M. Boven Director     P.O. Box 30220                                               Lansing           MI       48909‐7720
           MICHIGAN INSURANCE 
5459798    STRATEGIC ALLIANCE LLC                  47798 Van Dyke Ave                                                                            Shelby Township   MI       48317
5733738    MICR TECH, LLC                          527 SAINT MARTIN COURT                                                                        WILIAMSTOWN       NJ       08094
           MID ATLANTIC INSURANCE 
5459799    SERVICES INC                            1912 E BROAD ST.                                                                              RICHMOND          VA       23223
           MID‐ALLIANCE INSURANCE 
5460708    ASSOCIATES INC                          5600 S 48th, Suite 114                                                                        Lincoln           NE       68516
                                                                                    1100 Walnut, Suite 
5461000 Midwest Builders Casualty                  John Crowley                     3010                                                         Kansas City       MO       64106
                                                                                    1100 Walnut, Suite 
5461001 Midwest Builders Casualty                  Monica Danner                    3010                                                         Kansas City       MO       64106
                                                                                    1100 Walnut, Suite 
5461002 Midwest Builders Casualty                  Shannon Barberich                3010                                                         Kansas City       MO       64106
5461003 Midwest Family Mutual                      PO Box 9425                                                                                   Minneapolis       MN       55440

5733739 MIDWEST ILLUSTRATION ONLY 401 EAST LAS OLAS BLVD., SUITE 1650                                                                            FORT LAUDERDALE   FL       33301
           MIDWEST INSURANCE AGENCY 
5460709    ALLIANCE INC                            6120 Havelock Ave.                                                                            Lincoln           NE       68507
           MIDWEST INSURANCE 
5460446    CONSULTANTS LLC                         401 N LINDBERG BLVD, SUITE 322                                                                SAINT LOUIS       MO       63141
           Midwest Technical Inspections 
5459229    Inc                                     5555 Arlington Drive East                                                                     Hanover Park      IL       60133
5462745    MIGUEL, ERNWIL SAN                      245 W. LORAINE STREET #135                                                                    GLENDALE          CA       91202
5460710    MIKE KEITH INSURANCE INC                P.O. Box 388                                                                                  Clinton           MO       64735
5462369    MILANES, LISETTE                        2636 BULLION LOOP                                                                             SANFORD           FL       32771
           MILLENNIUM INSURANCE 
5733740    SOLUTIONS INC                           6150 SOUTHARD TRACE #202                                                                      CUMMING           GA       30040
5462739    MILLER, ERICA                           35 15TH STREET                                                                                WEST BABYLON      NY       11704
5462194    MILLER, KATHLEEN                        143 LAKESIDE PARK DRIVE                                                                       HENDERSONVILLE    TN       37075



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5462224 MILLER, KELSEY                             8516 DIANTHUS COURT                        APARTMENT 203                                                  CHARLOTTE         NC       28277
5461319 MILLER, ROSE                               3506 OTTOMEYER ROAD                                                                                       HIGH RIDGE        MO       63049
5461357 MILLER, SANDRA                             143 LAKESIDE PARK DRIVE                                                                                   HENDERSONVILLE    TN       37075
5461461 MILLER, SHARON                             PO BOX 592                                                                                                GRETNA            FL       32332
5461695 MILLER, TINA                               4104 WALTERS DRIVE                                                                                        CHESTER           VA       23831
5461722 MILLER, TREVOR                             8516 DIANTHUS COURT                        APT 203                                                        CHARLOTTE         NC       28277
5462575 MILLIGAN, DAVID                            4415 WOODS END LANE                                                                                       CHARLOTTE         NC       28277
5460885 MILLS, MATTHEW                             5863 WALNUT CREEK BLVD                                                                                    ST CHARLES        MO       63304
5733741 MIMEO.COM INC                              P.O. BOX 654018                                                                                           DALLAS            TX       75265
5733742 MINER, SEAN                                5098 FOOTHILLS BOULEVARD                   #3126                                                          ROSEVILLE         CA       95747
5461311 MINHOLZ, RONA                              300 LISA PLACE                                                                                            NORTH BRUNSWICK   NJ       08902
        Minnesota Department of 
5458871 Commerce                                   Attn: Peter Bratsch, Director, Licensing   85 7th Place East       Suite 500                              St. Paul          MN       55101
5463272 MINOR, BRIAN                               20227 SATICOY STREET                       APT. 223                                                       WINNETKA          CA       91306

5460447 MINT INSURANCE GROUP LLC                   7971 Riviera Blvd Suite 201                                                                               Miramar           FL       33023
5461571 MIRANDA, SUSAN                             5420 N.W. 175 STREET                                                                                      MIAMI GARDENS     FL       33055
                                                                                              3002 Falling Leaf 
5461011 MIRMA                                      Glenn Price                                Court                                                          Columbia          MO       65201
        Mississippi Department of 
6060586 Revenue                                    Bankruptcy Section                         P.O. Box 22808                                                 Jackson           MS       39225‐2808
5461013 Mississippi Farm Bureau                    6311 Ridgewood Road                                                                                       JACKSON           MI       39215

           Mississippi Insurance                   Attn: Wanda Magers, Director, Licensing  1001 Woolfolk State 
5458873 Department                                 Division                                 Office Building      501 North West Street                       Jackson           MS       39201
        Mississippi Insurance                      Attn: Wanda Magers, Director, Licensing 
5458872 Department                                 Division                                 P.O. Box 79                                                      Jackson           MS       39205
        MISSOURI ‐ TOWN AND                                                                 1428 LAKELAND 
5458986 COUNTRY                                    1011 Municipal Center Drive              DRIVE                                                            Town & Country    MO       63131‐1101
        Missouri Association of 
5461017 Counties                                   516 East Capitol Avenue                    P.O. Box 234                                                   Jefferson City    MO       65102‐0234

           Missouri Association of                                                            12444 Powerscourt 
5461015 Counties                                   Devon Young                                Dr. #500                                                       St Louis          MO       63131

           Missouri Association of                                                            12444 Powerscourt 
5461016 Counties                                   Susan Fleming                              Dr. #500                                                       St Louis          MO       63131
        MISSOURI DEPARTMENT OF 
5733743 INSURANCE                                  PO BOX 4001                                                                                               JEFFERSON CITY    MO       65102
        Missouri Department of 
5458863 Insurance DIFP                             Attn: Brenda Otto, Manager, Licensing      301 W. High Street Suite 530                                   Jefferson City    MO       65101




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           Missouri Department of 
           Insurance Financial Institutions 
           and Professional Registration 
5458874    (DIFP)                                  Attn: Brenda Otto, Manager, Licensing   P.O. Box 690                                                  Jefferson City    MO       65102‐0690
           MISSOURI DEPARTMENT OF 
5458987    REVENUE                                 P.O. Box 3020                                                                                         Jefferson City    MO       65105‐3020
           Missouri Department of 
5722433    Revenue                                 PO Box 475                                                                                            Jefferson City    MO       65105‐0475
           MISSOURI GENERAL 
5460436    INSURANCE AGENCY INC                    1227 FERN RIDGE PARKWAY                                                                               SAINT LOUIS       MO       63141
5460711    MITCHELL INSURANCE INC                  PO Box 788                                                                                            Butler            PA       16003‐0788

5459224 MITCHELL INTERNATIONAL INC                 6220 GREENWICH DRIVE                                                                                  SAN DIEGO         CA       92122
5463396 MITCHELL, CHELSEA                          605 HIGHLAND STREET                                                                                   LONGWOOD          FL       32750
5462031 MITCHELL, JASON                            1416 PARK LANE                                                                                        LIBERTY           MO       64068
5460934 MITCHISON, MELODY                          7260 DE SOTO AVE.                       APT 18                                                        CANOGA PARK       CA       91303
5460437 MITTELSTADT AGENCY LLC                     1701 K Street                                                                                         Lincoln           NE       68508
5459796 MJ INSURANCE INC                           P.O. BOX 50435                                                                                        INDIANAPOLIS      IN       46250
5459797 MJ KELLY OF FLORIDA                        PO BOX 231                                                                                            TURNERS           MO       65765
        MLPF&S CUST FPO ANGELINA 
        M PIZZO RRA FBO ANGELINA M 
5464610 PIZZO IRA                                  9660 NW 67 PLACE                                                                                      PARKLAND          FL       33076
5461024 MMH Management                             4720 Jenn Drive                                                                                       Myrtle Beach      SC       29577

           MN PRIVATE DETECTIVE AND 
5459225 PROTECTIVE SERVICES BOARD                  1430 Maryland Avenue East                                                                             St. Paul          MN       55106
        MOBILE SAFETY AND 
5733744 CONSULTATION, LLC                          PO BOX 1813                                                                                           CARLSBAD          NM       88220
5463464 MODESTE, ZARIA                             10311 SW 24TH COURT                                                                                   MIRAMAR           FL       33025
                                                                                           1001 Highlands 
                                                                                           Plaza Drive West 
5461025    MOFAD                                   Steve Wicker                            #500                                                          St. Louis         MO       63110
5462206    MOLLETT, KATHY                          1618 BENTSHIRE COURT                                                                                  ELLISVILLE        MO       63011
5462032    MOLLOY, JASON                           87 CEDARHURST                                                                                         SELDEN            NY       11784
5462805    MONDONE, FRANCINE                       1845 NW 108TH AVE                                                                                     PLANTATION        FL       33322‐6431
5760845    Moneris Solutions                       150 N Martingale Rd #900                                                                              Schaumburg        IL       60173
5462708    MONGE‐SANDOZ, ELVIS                     10186 ROYAL PALM BLVD                                                                                 CORAL SPRINGS     FL       33065

5459227 MONOPRICE INC                              11701 6TH STREET                                                                                      RANCHO CUCAMONGA CA        91730




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           Montana Office of the 
           Commissioner of Securities and 
           Insurance, Montana State 
5458864    Auditor                                 Attn: Jeannie Keller, Bureau Chief         840 Helena Ave..                                             Helena               MT       59601
5462676    MONTANO, DYLAN                          10304 2ND STREET NW                                                                                     ALBUQUERQUE          NM       87114
           MONTE JOHNSON INSURANCE 
5460438    SERVICES INC                            P.O Box 128                                                                                             Tulelake             CA       96134
5462562    MONTGOMERY, DARRY                       5317 LADE RIDGE DRIVE                      APARTMENT 3B                                                 SOUTHAVEN            MS       38671
           MONTOYA PROPERTY &                      236 PONTE VEDRA PARK DRIVE, SUITE 
5459791    CASUALTY INSURANCE LLC                  101                                                                                                     PONTE VEDRA BEACH    FL       32082
           MONTOYA PROPERTY & 
5459792    CASUALTY INSURANCE LLC                  4233 Pablo Professional Court, Suite 201                                                                Jacksonville         FL       32224
5462091    MONTOYA, JOANNA                         12044 KING STREET                          APT L                                                        VALLEY VILLAGE       CA       91607
5460439    MOODY AGENCY INC                        270 South Tamiami Trail                                                                                 Venice               FL       34285
5459793    MOODY INSURANCE GROUP                   2302 Postoffice, Suite 601                                                                              Galveston            TX       77550
5459223    MOONAMI LLC                             12175 VISIONARY WAY                        SUITE 360                                                    FISHERS              IN       46038
5459794    MOON‐BAKER AGENCY INC                   PO Box 1237                                                                                             Ada                  OK       74821
5462218    MOONEY, KELLIE                          74 GROVE STREET                                                                                         WANAQUE              NJ       07465

5459795 MOORE & JOHNSON AGENCY                     P.O Box 17867                                                                                           Raleigh              NC       27619
        MOORE CAPITAL VENTURES 
5459787 INC                                        4563 Central Ave                                                                                        Saint Petersburg     FL       33713

5460700 MOORE INSURANCE AGENCY                     1009 Jernigan Street                                                                                    Perry                GA       31069
5463382 MOORE, CHANDRICA                           2702 GUM TREE TRAIL                                                                                     WYLIE                TX       75098
5462263 MOORE, KIMBERLY                            4120 LAKE HARNEY CR                                                                                     GENEVA               FL       32732

5461037 MOPRINT ‐ SNCC                             Alyssa Vance                               1832 Schuetz Road                                            St. Louis            MO       63146
5459279 MORALES, JENNIFER                          22222 Heather Drive                                                                                     Princeton Junction   NJ       08550
5462393 MORALES, LUZ                               6470 NW 22 STREET                                                                                       SUNRISE              FL       33313
           MOREMAN MOORE & 
5460292 COMPANY INC                                820 Jordan Street. Suite 400                                                                            Shreveport           LA       71101
5462489 MORENO, CORINA                             8555 INDEPENDENCE AVE                      NUMBER 213                                                   CANOGA PARK          CA       91304
                                                                                              6101 CARNEGIE 
5458770 MORGAN STANLEY                             ATTN: BERNARD F SANDLER                    BLVD                  PO BOX 11429                           CHARLOTTE            NC       28220
5460440 MORRIS & REYNOLDS INC                      14821 South Dixie Highway                                                                               Miami                FL       33176
           MORRIS NICHOLS ARSHT & 
5459221 TUNNELL LLP                                1201 North Market Street                   Floor 16                                                     Wilmington           DE       19801

           Morris Nichols, Arsht & Tunnel                                                     1201 North Market 
5458959 LLP                                        Kevin Coen                                 Street, PO Box 1347                                          Wilmington           DE       19899‐1347
        MORRIS, NICHOLS, ARSHT & 
5733745 TUNNELL LLP                                1201 NORTH MARKET STREET                   16TH FLOOR                                                   WILMINGTON           DE       19801



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5460441 MORRIS‐COX INSURANCE INC                   P.O Box 1130                                                                                 North Little Rock   AR       72115

5868173 Morrison Insurance Service Co. Michael Barry, President                       6 Alpine Road                                             Novato              CA       94945
        MORRISON INSURANCE 
5459222 SERVICE COMPANY                            6 ALPINE ROAD                                                                                NOVATO              CA       94945
5460994 MORRISSEY, MICHELLE                        179 BRISTOL FOREST TRAIL                                                                     SANFORD             FL       32771

5459788 MORROW INSURANCE GROUP 18936 NORTH DALE MABRY                                                                                           LUTZ                FL       33548
           MORSE INSURANCE AGENCY 
5459789    INC                                     1000 WEKIVA SPRINGS ROAD                                                                     LONGWOOD            FL       32779
5459790    MORSTAN ‐ BRANDON                       970 Lake Carillon Dr. Suite #200                                                             Saint Petersburg    FL       33716
5459784    MORSTAN ‐ MARGATE                       600 COMMUNITY DRIVE                                                                          MANHASSET           NY       11030
           MORSTAN GENERAL AGENCY ‐ 
5460430    HULL & CO                               P.O Box 20027                                                                                Saint Petersburg    FL       33742
           MORSTAN GENERAL AGENCY 
5459218    INC ‐ NEW YORK                          600 Community Drive                                                                          Manhasset           NY       11030
           MORSTAN GENERAL AGENCY 
5459785    INC (NEW YORK)                          P.O. Box 4500                                                                                Manhasset           NY       11030
           MORSTAN GENERAL AGENCY 
5460672    INC (NY)                                600 Community Drive                                                                          Manhasset           NY       11030‐4500
           MORSTAN GENERAL 
5459786    AGENCYINC(NY)                           600 COMMUNITY DRIVE                                                                          MANHASSET           NY       11030
5462011    MOSBLECH, JAN                           109 GENTLE CIRCLE                                                                            FENTON              MO       63026
           Moseley Partners, LLC (Five 
5461041    Guys)                                   1722 PINE ISLAND ROAD                                                                        MYRTLE BEACH        SC       29577
5462733    MOSELEY, ERIC                           3336 PRIMROSE DRIVE                                                                          GRAND ISLAND        NE       68801
5462576    MOSHO, DAVID                            PO BOX 61441                                                                                 NORTH CHARLESTON    SC       29419

5460431 MOSS INSURANCE AGENCY INC 529 Baldwin Street                                                                                            Jenison             MI       49428
5460852 MOSS, MARK                PO BOX 99277                                                                                                  LOUISVILLE          KY       40269
5461043 Mount Vernon Mills, Inc.  503 S. MAIN STREET                                                                                            MAULDIN             SC       29662
           Mountain States Insurance 
5461044    Group                                   5051 Joutnal Center Blvd, NE                                                                 Albuquerque         NM       87199‐3254
5459220    MOVE MONSTER                            5124 Vivian Place                                                                            Tampa               FL       33619
5460967    MOYER, MICHAEL                          PO BOX 8693                                                                                  MICHIGAN CITY       IN       46361
5459781    MPL RISK LLC                            240 American Drive                                                                           Richboro            PA       18954
5460432    MPR‐FINTRA ALABAMAINC                   1300 N. Federal Hwy. ste 110                                                                 Boca Raton          FL       33432

5733746 MR. MUNCH FT. LAUDERDALE                   6472 NW 5TH WAY                                                                              FT. LAUDERDALE      FL       33309

5733554 MS DEPARTMENT OF REVENUE P.O.BOX 23191                                                                                                  JACKSON             MS       37225‐3191
5733747 MSA ADMINISTRATORS, LLC  782 SPIRIT 40 PARK DRIVE                                                                                       CHESTERFIELD        MO       63005



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5461046 MSC                                        75 Maxess Road                                                                               Melville           NY       11747
5462935 MSC Direct                                 75 Maxess Road                                                                               Melville           NY       11747

5461047 MSD GL                                     Kurt Bussman                       2350 Market Street                                        St. Louis          MO       63103

5461048 MSD WC                                     Mike Grace                         2350 Market Street                                        St. Louis          MO       63103

5460714 MSILVER AND ASSOCIATES INC P.O. Box 164409                                                                                              Miami              FL       33116‐4409
5463273 MUHLBACH, BRIAN            327 SOMERSET DRIVE                                                                                           FORT WALTON        FL       32547
5461267 MULLINAX, RICK             115 AUGUSTA LANE                                                                                             SHELBY             NC       28150
           MULLING INSURANCE AGENCY 
5459782 INC                                        208 EAST PARK STREET                                                                         AUBURNDALE         FL       33823

5459215    MULTI PRINTING SOLUTIONS                8113 S LEMON ROAD                                                                            DARIEN             IL       60561
5462346    MUNGER, LINDA                           16039 NANTUCKET MEADOWS                                                                      WILDWOOD           MO       63040
5461699    MUNGER, TODD                            16039 NANTUCKET MEADOWS DRIVE                                                                WILDWOOD           MO       63040
5733748    MUNGER, TODD R                          16039 NANTUKET MEADOWS DR.                                                                   WILDWOOD           MO       63040
5733749    MUNSCH, JULIE                           7 ELDORADO CT                                                                                ST. LOUIS          MO       63119
5462594    MURDOCK, DEANDRA                        4737 30TH STREET SW                                                                          LEHIGH             FL       33973
5460968    MURGIA, MICHAEL                         40 WEST PARK DRIVE                                                                           WAKEFIELD          MA       01880
5462315    MURILLO, LAWRENCE                       17450 VANOWEN STREET               NUMBER 5                                                  VANNUYS            CA       91406
5462874    MURPHY, GINA                            105 APPLEWOOD DRIVE                                                                          GREENVILLE         SC       29615
5462159    MURPHY, JULIE                           14639 ADGERS WHARF DRIVE                                                                     CHESTERFIELD       MO       63017
5462304    MURPHY, LAURA                           5 WASHINGTON AVE                                                                             GOLDEN             CO       80403‐1313
5461007    MUSICK, MINDY                           47 SHANNON DR                                                                                HURRICANE          WV       25526
5461050    MV Transportation                       2711 N Haskell Ave # L82                                                                     Dallas             TX       75204‐2911
5463416    MYERS, CHRISTINE                        4215 CHERBOURG                                                                               ST. LOUIS          MO       63129
5462596    MYERS, DEBORA                           671 COUNTY ROAD 1000 NORTH                                                                   NEOGA              IL       62447
5461157    MYERS, PAUL                             13073 SUMMIT COMMONS BLVD          APARTMENT U                                               CHARLOTTE          NC       28277
5461450    MYERS, SHAMIKA                          2034 CANAL STREET                  NUMBER 101                                                FORT MYERS         FL       33901
5733750    MYRS, DEBORA KAY                        671 CO. RD. 1000N                                                                            NEOGA              IL       62447
           Myrtle Beach Chamber of 
5461052    Commerce                                1200 North Oak Street                                                                        Myrtle Beach       SC       29578
5462152    NACE, JUDITH                            284 CONRAD ROAD                    ALBURTIS                                                  ALBURTIS           PA       18011
5462059    NAIRN, JENNIFER                         10453 BLUCHER AVENUE                                                                         URANDA HILLS       CA       91344
5461027    NAJAR, MOHAMMED                         23635 CADENZA DRIVE                                                                          MURRIETA           CA       92562
5463027    NARCISO, ALVIN                          8345 HICKORY AVENUE                                                                          HESPERIA           CA       92345
           NARTKER & CHRISTENSEN 
5459783    INSURANCE SERVICES INC                  9711VILLAGE CENTER DR. SUITE 110                                                             GRANITE BAY        CA       95746
           NASDAQ CORPORATE 
5459217    SOLUTIONS INC                           One Liberty Plaza                  Floor 49                                                  New York           NY       10006




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        NASH & POWERS INSURANCE 
5460433 SERVICES LLC                               P.O Box 1568                                                                                          Bristol            TN       37621
5461065 National Casualty                          One Nationwide Plaza                                                                                  Columbus           OH       43215‐2220
5459779 NATIONAL CERTIFIED INC                     P.O. Box 189                                                                                          Whittier           CA       90608

           NATIONAL COUNCIL ON 
5459211 COMPENSATION INSURANCE                     12218 COLLECTIONS CENTER DRIVE                                                                        CHICAGO            IL       60693
        NATIONAL COUNCIL ON 
        COMPENSATION INSURANCE 
5461066 INC                                        901 PENINSULA CORPORATE CIRCLE                                                                        BOCA RATON         FL       33487
                                                                                          3411 Silverside 
                                                                                          Road, Tatnall 
5466281    National Fidelity Holdings, Inc.        c/o Corporate Creations Network Inc.   Building, Ste. 104                                             Wilmington         DE       19810
5459212    NATIONAL GENERAL                        59 Maiden Ln                                                                                          New York           NY       10038
5733751    NATIONAL GENERAL                        PO BOX 3199                                                                                           WINSTON‐SALEM      NC       27102
5461067    National Interstate                     3250 Interstate Drive                                                                                 Richfield          OH       44286‐9000
           NATIONAL SAFETY AND RISK 
5459213    INC                                     P.O. Box 1662                                                                                         Mattituck          NY       11952
           National Union Fire Insurance 
5461068    Company                                 175 Water St                                                                                          New York           NY       10038
           NATIONAL UNION FIRE 
5458929    INSURANCE COMPANY                       PHINLA SINPHAY                         175 Water Street                                               New York           NY       10038
           NATIONAL UNION FIRE 
           INSURANCE COMPANY OF 
5461069    PITTSBURGH PA                           5 WOOD HOLLOW ROAD, 3RD FLOOR                                                                         PARSIPPANY         NJ       07054

           National Union Fire Insurance 
5461070 Company of Pittsburgh, PA                  175 Water St                           18th Floor                                                     New York           NY       10038

           National Union Fire Insurance 
5458939 Company of Pittsburgh, Pa.                 175 Water Street                                                                                      New York           NY       10038‐4969
           NATIONWIDE PRINTING 
5733752    COMPANY                                 855 CONKLIN STREET                     SUITE N                                                        FARMINGDALE        NY       11735
5461072    NaturChem, Inc.                         270 BRUNER ROAD                                                                                       LEXINGTON          SC       29072
5460673    NATWICK INSURANCE INC                   1301 South Patrick Drive, Suite 73                                                                    Satellite Beach    FL       32937
           NAUGHT‐NAUGHT INSURANCE 
5460701    AGENCY                                  1441 Christy Drive                                                                                    Jefferson City     MO       65101
5462227    NAVARRETE, KENNETH                      2649 DUOMO STREET                                                                                     PALMDALE           CA       93550

5460434 NAVESINK RISK SERVICES LLC                 12 Christopher Way, Suite 200                                                                         Eatontown          NJ       07724
        Navigators Management                                                             230 West Monroe 
5461074 Company                                    Carl Schulze                           Street                                                         Chicago            IL       60606
5459280 NAZARI, JENNIFER                           628 Country Club Lane                                                                                 Havertown          PA       19083



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5733555 NC DEPARTMENT OF REVENUE NCDOR, PO BOX 25000                                                                                                             RALEIGH           NC       27640‐0650

5459780 NCF INSURANCE ASSOCIATES                   8700 W. Flagler Street #320                                                                                   Miami             FL       33174
           NEBRASKA DEPARTMENT OF 
5459214    INSURANCE                               941 O STREET                                                                                                  LINCOLN           NE       68508
           Nebraska Department of                  Attn: Kevin Schlautman, Administrator, 
5458865    Insurance                               Producer Licensing                        P.O. Box 82089                                                      Lincoln           NE       68501‐2089
           Nebraska Department of                  Attn: Kevin Schlautman, Administrator, 
5458866    Insurance                               Producer Licensing                        Terminal Building      941 O Street               Suite 400         Lincoln           NE       68508
           NEBRASKA INNOVATIVE 
5460435    INSURANCE                               P. O Box 5211                                                                                                 Lincoln           NE       68505
5461891    NEFF‐JONES, HEATHER                     247 SCARLET OAK LOOP                                                                                          VILLA RIDGE       MO       63089
5463225    NELDON, BETH                            79 CASTLE KEEP DRIVE                                                                                          WENTZVILLE        MO       63385
5462965    NELSON, AERICA                          11607 RIDGE RUN DRIVE                                                                                         HOUSTON           TX       77064
5459206    NEOFUNDS BY NEOPOST                     P.O. BOX 30193                                                                                                TAMPA             FL       33630
                                                                                             1749 Old Meadow 
5461077    NEOPOST                                 MIDATLANTIC                               Road, Suite 200                                                     MCLEAN            VA       22102
5459207    NEOPOST USA INC                         478 Wheelers Farms Road                                                                                       Milford           CT       06461
5462355    NERETTE, LIONEL                         1830 RADIUS DR                            UNIT 421                                                            HOLLYWOOD         FL       33020
5462648    NEUBAUER, DONALD                        527 ANDERSON ST                                                                                               BALDWIN           NY       11510
           Nevada Department of 
           Business and Industry Division          Attn: Joy Miller, Producer Licensing      1818 East College 
5458867    of Insurance                            Section                                   Parkway                Suite 103                                    Carson City       NV       89706
           New Hampshire Fire Insurance 
5461079    Company                                 175 Water St                              18th Floor                                                          New York          NY       10038
           New Hampshire Insurance 
5458868    Department                              Attn: John Elias Director of Operations   21 Fruit Street        Suite 14                                     Concord           NH       03301
           NEW HAMPSHIRE INSURANCE 
5733753    DEPT                                    21 S FRUIT ST                                                                                                 CONCORD           NH       03301
           NEW HAMPSHIRE INSURANCE 
5733754    DEPT                                    21 SOUTH FRUIT STREET                     SUITE 14                                                            CONCORD           NH       03301
           NEW JERSEY AGENCY 
5460652    NETWORK INC                             1129 Raritan Road                                                                                             Clark             NJ       07066
           NEW JERSEY DIVISION OF 
5459208    TAXATION                                P.O. Box 642                                                                                                  Trenton           NJ       08646
                                                                                             REVENUE 
           NEW JERSEY DIVISION OF                  STATE OF NEW JERSEY, DIVISION OF          PROCESSING 
5733556 TAXATION                                   TAXATION                                  CENTER                 PO BOX 666                                   TRENTON           NJ       08646‐0666

           NEW JERSEY MANUFACTURERS' 
5458915 INSURANCE COMPANY                          NJM PRECISION PAY                         301 SULLIVAN WAY                                                    WEST TRENTON      NJ       8628




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           New Jersey Manufacturers 
5461081    Insurance Group              Matthew Hardiman                               301 Sullivan Way                                             West Trenton      NJ       08628
5459209    NEW JERSEY STATE POLICE      P.O. Box 7068                                                                                               West Trenton      NJ       08628
           NEW MEXICO DEPARTMENT OF 
5733557    REVENUE                      P.O.BOX 25127                                                                                               SANTA FE          NM       87504‐5127
5461082    New Mexico Mutual            3900 SINGER BLVD NE                                                                                         ALBUQUERQUE       NM       87109
           New Mexico Office of 
           Superintendent of Insurance                                                 1120 Paseo de 
5458859    (OSI)                        Attn: Lorinda Martinez                         Peralta                                                      Santa Fe          NM       87501
           New Mexico Office of 
           Superintendent of Insurance 
5458858    (OSI)                        Attn: Lorinda Martinez                         P.O. Box 1689                                                Santa Fe          NM       87504‐1689
           NEW MEXICO TAXATION & 
5459210    REVENUE DEPT                 1100 South St. Francis Drive                                                                                Sante Fe          NM       87504

           NEW MEXICO TAXATION AND 
5733558 REVENUE DEPARTMENT                         P.O. BOX 25127                                                                                   SANTA FE          NM       87504‐5127

5459778 NEW PROGRAM FACILITY INC                   8010 20th Ave                                                                                    Brooklyn          NY       11214
           New York Marine and General 
5760846    Insurance Company                       412 Mt. Kemble Avenue, Suite 300C                                                                Morristown        NJ       07960
           New York State Department of 
5458860    Financial Services                      Attn: Agents and Brokers            One State Street                                             New York          NY       10004‐1151
           New York State Department of                                                Building #12, Room 
5725651    Labor                                   State Office Campus                 #256                                                         Albany            NY       12240
           NEW YORK STATE INSURANCE                                                    15 COMPUTER 
5458906    FUND                                    JIM DECONNO                         DRIVE WEST                                                   ALBANY            NY       12205
                                                                                       15 Computer Drive 
5461085 New York State Insurance Fund Mary Ellen Martin                                West                                                         Albany            NY       10007
           NEWPORT VALLEY INSURANCE 
5459775    SERVICES                    940 South Coast Drive                           Suite 190                                                    Costa Mesa        CA       92626
5459203    NEWS FINANCIAL & INS SVS    32475 Clinton Keith Rd                          Suite 101                                                    Wildomar          CA       92595
           NEWS FINANCIAL & INSURANCE 
5459776    SERVICES INC                P.O. BOX 987                                                                                                 MURRIETA          CA       92564
           NEWSURA INSURANCE 
5459777    SERVICES INC                1013 Galleria Blvd. Suite 250                                                                                Roseville         CA       95678
5461235    NEWTON, RAVEAN              3513 DALE ST APT 108                                                                                         FORT MYERS        FL       33916
           NEXUS INSURANCE SERVICES & 
5733755    SOLUTIONS, LLC              7965 STONE CREEK DRIVE, SUITE 30                                                                             CHANHASSEN        MN       55317
           NFP PROPERTY & CASUALTY 
5459771    SERVICES INC                1551 N TUSTIN AVENUEM, SUITE 500                                                                             SANTA ANA         CA       92705
           NFP PROPERTY & CASUALTY 
5459205    SERVICES INC                P.O BOX 49                                                                                                   BENTON            AR       72018



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                                                                                                            Master Mailing List
                                                                                                         Served via First Class Mail
 MMLID                     NAME                                    ADDRESS 1                ADDRESS 2               ADDRESS 3          ADDRESS 4               CITY     STATE   POSTAL CODE       COUNTRY

5461086 NGM INSURANCE COMPANY                      4601 TOUCHTON ROAD EAST, SUITE 3400                                                             JACKSONVILLE        FL       32246
                                                                                         4601 TOUCHTON 
                                                                                         ROAD EAST SUITE 
5458914 NGM INSURANCE COMPANY                      PHINLA SINPHAY                        3400                                                      JACKSONVILLE        FL       32246
                                                                                         4601 Touchton 
           NGM Insurance Company                                                         Road East, Suite 
5461087 (Parent of Main Street America) Deana Pessina                                    3400                                                      Jacksonville        FL       32246
5461595 NGUYEN, TAYLOR                  11607 LARIX DRIVE                                                                                          CHARLOTTE           NC       28273
           NIA FL LLC DBA NICEVILLE 
5460424 INSURANCE AGENCY                           109 Bullock Blvd                                                                                Niceville           FL       32578

5460425 NICEVILLE INSURANCE AGENCY 109 Bullock Blvd                                                                                                Niceville           FL       32578

5459772 NICHOLAS DEVITO AGENCY INC 620 Route 2517, Suite C                                                                                         Mount Sinai         NY       11766
5463096 NICHOLS, ANGELA            2222 PROVIDENCE PARK LANE                                                                                       HERCULANEUM         MO       63048
5461709 NICKEY, TRACI              5273 NW 63RD PLACE                                                                                              OCALA               FL       34482
           NICKIE HEATH INSURANCE 
5459773 AGENCY                                     16855 W. Bernardo Drive. #230                                                                   San Diego           CA       92127
           NICKLAS INSURANCE AGENCY ‐ 
5460293    SAINT MARYS                             101 Madison St.                                                                                 St Marys            PA       15857
5462396    NIELD, LYNDON                           582 WOODFORD DRIVE                                                                              DEBARY              FL       32713
           NIELSEN & ASSOCIATES 
5459774    INSURANCE SERVICES INC                  PO BOX 177                                                                                      EXETER              CA       93221
5461121    NIEVES, OLGA                            816 COLEMAN AVE                                                                                 DELTONA             FL       32725
5459112    NIKOLAISEN, STEVE                       784 Julia Ann Lane                                                                              Waterloo            IL       62298
5460426    NIP GROUP INC                           900 Route 9 North Ste 503                                                                       Woodbridge          NJ       07095
5462734    NITZ, ERIC                              2116 MEADOW LANE                                                                                CENTRALIA           IL       62801
5463458    NIXON, CINDIELLA                        5870 NORFOLK CHASE RD                                                                           PEACHTREE CORNERS   GA       30092
5459202    NJ & ASSOCIATES INC                     2612 LONG PRAIRIE ROAD                SUITE B                                                   FLOWER MOUND        TX       75022
           NM Taxation & Revenue 
5546617    Department                              PO Box 8575                                                                                     Albuquerque         NM       87198‐8575
5462735    NOBLE, ERIC                             4505 NE SKYVIEW DR                                                                              LEE'S SUMMIT        MO       64064
5462870    NOBLEJAS, GERARD                        11540 SASSARI LANE                                                                              PORTER RANCH        CA       91326
           NON‐PROFIT INSURANCE 
5460427    SERVICES INC                            20 North Orange Avenue, Suite 500                                                               Orlando             FL       32801
5462524    NOONAN, CRYSTAL                         101 WOODLAND HEIGHTS DR                                                                         SWANZEY             NH       03446

5461106 Noranda Aluminum MPSISIGC                  Ruth Welschmeyer                      P.O. Box 1831                                             Jefferson City      MO       65102

5460814 NORDIC AVIATION COMPANY                    Bedford Place                         Henry Street                                              Limerick City                              Ireland




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                                                                                           P.O. Box 8809, 8000 
5461107 Nordyne LLC                                Greg Simpson                            Phoenix Parkway                                              O'Fallon           MO       63368
5461111 Normandy Harbor                            800 Fairway Drive, Suite 160                                                                         Deerfield Beach    FL       33441
           NORMANDY HARBOR 
5458916 INSURANCE COMPANY             JAYSON BUECHLER                                      PO BOX 403027                                                MIAMI BEACH        FL       33140
5461285 NORRIS, ROBERT                9481 OAK GROVE CIRCLE                                                                                             DAVIE              FL       33328
        North Carolina Department of  Attn: Rebecca Shigley, Deputy                        1201 Mail Service 
5458861 Insurance                     Commissioner                                         Center                                                       Raleigh            NC       27699‐1201
        North Carolina Department of  Attn: Rebecca Shigley, Deputy 
5458862 Insurance                     Commissioner                                         Dobbs Building         430 N. Salisbury Street               Raleigh            NC       27603‐5926
        NORTH CAROLINA 
5733559 DEPARTMENT OF REVENUE         PO BOX 25000                                                                                                      RALEIGH            NC       27640‐0640
        NORTH CAROLINA RATE 
5459198 BUREAU                        P.O. Box 60058                                                                                                    Charlotte          NC       28260

           North Dakota Insurance                  Attn: Kelvin Zimmer, Agent Licensing    600 East Boulevard 
5458851 Department                                 Division Director                       Avenue              5th Floor                                Bismarck           ND       58505‐0320
           NORTHEAST ILLUSTRATION 
5459768    ONLY                                    401 East Las Olas Blvd., Ste. 1650                                                                   Fort Lauderdale    FL       33301
5459199    NORTHERN ADJUSTERS INC                  1401 RUDAKOF CIR                                                                                     ANCHORAGE          AK       99508
           NORTHSHORE INSURANCE 
5459769    MANAGERS LLC                            350 S. NORTHWEST HWY SUITE 300                                                                       PARK RIDGE         IL       60068
           NORTHSHORE INSURANCE 
5459200    MGRS LLC                                350 S Northwest Hwy. Suite 300                                                                       Park Ridge         IL       60068
           NORTON AGENCY INSURANCE 
5459770    LLC                                     P.O Box 2976                                                                                         Gainesville        GA       30501
5462207    NOTT, KATHY                             310 LONGSTREET DR                                                                                    GREER              SC       29650
5459765    NOTTINGHAM AGENCY INC                   2277 Route 33                           Suite 404                                                    Hamilton Square    NJ       08690
5459195    NOTTINGHAM AGENCY INC                   2277 Route 33, Suite 494                                                                             Hamilton           NJ       08690
5459196    Novarica, Inc.                          175 Federal Street                      Suite 510                                                    Boston             MA       02110
5460428    NSI INSURANCE GROUP                     8181 NW 154 Street, Suite 230                                                                        Miami Lakes        FL       33016
5459766    NSI INSURANCE GROUP LLC                 8181 NW 154 Street, Suite 230                                                                        Miami Lakes        FL       33016
                                                                                           555 North Lane 
5461113 NSM Arch                                   Jennifer Porter                         Suite 6060                                                   Conshohocken       PA       19428
                                                                                           555 NORTH LANE, 
5458917 NSM INSURANCE GROUP                        JENNIFER PORTER                         SUITE 6060                                                   CONSHOHOCKEN       PA       19428
5463417 NUCERA, CHRISTINE                          58 WILLOWBROOK WAY                                                                                   EASTAMPTION        NJ       08060

5459197 NW BRIXHAM GREEN THREE LP 13860 BALLANTYNE CORPORATE PLACE                         SUITE 300                                                    CHARLOTTE          NC       28277
5463548 Nw Brixham Green Three LP 13925 Ballantyne Corporate Pace                                                                                       Charlotte          NC       28277
           NXTGEN LLC DBA THE DEHAYES 
5459767 GROUP                                      11118 COLDWATER ROAD                                                                                 FORT WAYNE         IN       46845



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           NYS UNEMPLOYMENT 
5459190    INSURANCE                               P.O. Box 4301                                                                                        Binghamton        NY      13902
5459191    O3 CONSTRUCTORS LLC                     2201 Cantu Court               Suite 218                                                             Sarasota          FL      34232
5460702    OAK TREE INS AGENCY INC                 315 W. Edmond Road                                                                                   Edmond            OK      73003
5462634    OAKES, DIANE                            151 S. BISHOP AVE              APT F2                                                                SECANE            PA      19018
                                                                                  3 CityPlace Drive, 
5462938 Oatey ‐ Lockton Rep                        Danielle Lifritz               Suite 900                                                             St Louis          MO      63141
                                                                                  20600 Emerald 
5461116 Oatey Company                              Neal Restivo                   Pkwy                                                                  Cleveland         OH      44135‐6022
5461999 OBERDIER, JAMES                            1595 MAXWELL LANE                                                                                    DELTONA           FL      32738
5464615 OBRIEN, JAMES E                            5521 CAROLINA PLACE NW                                                                               WASHINGTON        DC      20016
                                                                                  1717 K Street NW 
5729582 O'Brien, James E.                          c/o R.W. Baird                 Suite 920                                                             Washington        DC      20006
                                                                                  Attn: Irwin H. 
5729582    O'Brien, James E.                       Weil, Gotshal & Manges LLP     Warren                   Attn: Kelly DiBlasi        767 5th Avenue    New York          NY      10153
5462325    O'BRIEN, LESLIE                         12276 NORTH OAKS DRIVE                                                                               ASHLAND           VA      23005
5463342    OCAMPO, CARYL                           10511 CAMINO BELLO MAR         UNIT 4                                                                SAN DIEGO         CA      92127
5462160    OCANA, JULIO                            9135 RAMBLEWOOD DRIVE          APARTMENT 124                                                         CORAL SPRINGS     FL      33071
           OCCUPATIONAL SAFETY & 
5459192    HEALTH INC                              830 Tri City Center                                                                                  Lenoir City       TN      37772
5460674    OCG & ASSOCIATES INC                    7480 Bird Road, Ste 610                                                                              Miami             FL      33155
5459402    O'CONNOR, COZEN                         P.O. Box 7247                                                                                        Philadelphia      PA      19170
5462603    O'CONNOR, DEBORAH                       11865 MARSYAS WAY                                                                                    RANCHO CORDOVA    CA      95742
5462009    O'CONNOR, JAMIE                         397 SW 14TH COURT                                                                                    POMPANO BEACH     FL      33060
5462241    O'CONNOR, KEVIN                         664 KNOLLWOOD ROAD                                                                                   FRANKLIN LAKES    NJ      07417
5463343    O'DONNELL, CASEY                        6405 WESTGATE DR APT 308                                                                             ORLANDO           FL      32835‐7019
5462536    O'DONNELL, DAISY                        1331 STANLEY ST.                                                                                     LONGWOOD          FL      32750
5462120    ODONNELL, JOHNATHON                     606 NC MUSIC FACTORY BLVD      APT 411                                                               CHARLOTTE         NC      28206
5462208    O'DONNELL, KATHY                        1250 COLBY DR                                                                                        ST PETERS         MO      63376
5462212    O'DONNELL, KEELY                        1308 BANCROFT DRIVE                                                                                  LONGWOOD          FL      32779
                                                                                  Second Floor 125 
        Office of the Commissioner of                                             South Webster 
5458836 Insurance State of Wisconsin GEF–III                                      Street                                                                Madison           WI      53703‐3474

           Office of the Commissioner of 
5458835 Insurance State of Wisconsin               P.O. Box 7873                                                                                        Madison           WI      53707‐7873
5459193 OFFICETEAM                                 12400 COLLECTIONS CENTER DR                                                                          CHICAGO           IL      60693

                                                                                  Karen Lima, 
5760815    OfficeTeam                              Robert Half International      Recovery Manager         2613 Camino Ramon                            San Ramon         CA      94583
5760815    OfficeTeam                              Robert Half                    Attn: Karen Lima         PO Box 5024                                  San Ramon         CA      94583
5460886    OGNISSANTI, MATTHEW                     219 GARFIELD AVENUE            APT D                                                                 COLLINGSWOOD      NJ      08108
5463316    OHARA, CARISSA                          3269 WYNCOOP CK RD                                                                                   VAN ETTEN         NY      14889


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5462089 O'HARE, JOAN                 2523 SW 52ND TERRACE                                                                                                 CAPE CORAL         FL       33914
                                     Attn: Agent Licensing Karen 
                                     Vourvopoulos, Licensing – License                      50 West Town 
5458852 Ohio Department of Insurance Division                                               Street                 Suite 300                              Columbus           OH       43215
5463034 OHNETH, AMANDA               1735 BRANTLEY RD APT 1105                                                                                            FORT MYERS         FL       33907
5461826 OJILE, WILLIAM               752 140TH LANE NW                                                                                                    ANDOVER            MN       55304
5460429 OK INSURE                    115 N 5th Street                                                                                                     Henryetta          OK       74437
                                                                                            Five Corporate 
        Oklahoma Insurance                                                                  Plaza, 3625 NW 
5458853 Department                                 Attn: Courtney Phipps, Licensing Manager 56th Street            Suite 100                              Oklahoma City      OK       73112‐4511

5733560 OKLAHOMA TAX COMMISSION FRANCHISE TAX                                                P. O. BOX 26920                                              OKLAHOMA CITY      OK       73126‐0920
        Oklahoma Workers'                          Attn: Patricia Sommer, Interim Executive  1915 N Stiles 
5719785 Compensation Commission                    Director                                  Avenue, Ste. 305                                             Oklahoma City      OK       73105

5461117 OLD GUARD RISK SERVICES INC 201 East Oregon Road                                                                                                  Lancaster          PA       17604‐3010
                                                                          ATTENTION: 
                                       PATRIOT NATIONAL INSURANCE GROUP,  CHRISTOPHER L.                           401 E. LAS OLAS 
5461118    OLD GUARD RISK SERVICES INC INC.                               PIZZO                                    BOULEVARD, SUITE 1650                  FORT LAUDERDALE    FL       33301
           OLD NATIONAL INSURANCE / 
5461119    EMPLOYEE PLANS LLC          600 E 96th St, Ste 400                                                                                             Indianapolis       IN       46240
5459194    OLD VINE PROPERTIES         1459 S Pearl St.                                                                                                   Denver             CO       80210
5462109    OLDHAM, JOHN                825 LIGHHOUSE LANE                                                                                                 SAVANNAH           TX       76227
           OLIVIER‐VANDYK INSURANCE 
5460294    AGENCY INC                  2780 44th Street SW                                                                                                Wyoming            MI       49519
5462273    OLSON, KRISTEN              2049 49 TERR SW                                                                                                    NAPLES             FL       34116
5460839    OLSSON, MARILYN             6021 NE 18TH TERRACE                                                                                               FORT LAUDERDALE    FL       33308
           OMAHA INSURANCE 
5459764    SERVICESINC                 11132 0 Street                                                                                                     Omaha              NE       68137
5463330    O'MAHONY, CAROL             100 WHITECAPS CIRCLE                                                                                               MAITLAND           FL       32751
           OMEGA INSURANCE 
5459760    SOLUTIONSINC                1820 E Edgewood Dr.                                                                                                Lakeland           FL       33803
           OMEGA INSURANCE 
5733757    SOLUTIONSINC                1933 E EDGEWOOD DR., SUITE 102                                                                                     LAKELAND           FL       33803
5459188    OMG REAL ESTATE LLC         750‐782 SPIRIT 40 PARK DRIVE                                                                                       CHESTERFIELD       MO       63005
5463549    OMG Real Estate LLC         782 Spirit 40 Park Drive                                                                                           Chesterfield       MO       63005
           ONE CALL INSURANCE 
5459761    SERVICES LLC                501 N Mustang Rd., #D3                                                                                             Mustang            OK       73064
           ONE MEDIA PLACE ASSOCIATES 
5461124    LP                          940 WEST SPROUL ROAD, SUITE 201                                                                                    SPRINGFIELD        PA       19064
5460930    O'NEAL, MELISSA             4239 SHEFFIELD COURT                                                                                               KENNSAW            GA       30144
5462347    O'NEILL, LINDA              5035 HARBOUR DRIVE                                                                                                 OXFORD             FL       34484




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5459762 ONESOURCE INSURANCE LLC                    P.O. Box 4263                                                                                       Plant City          FL       33563
           ONI RISK PARTNERS INC‐
5459189    INDIANAPOLIS                            600 EAST 96TH STREET, STE. 400                                                                      INDIANAPOLIS        IN       46240
           ONI RISK PARTNERS INC‐
5459763    INDIANAPOLIS                            P.O. Box 80159                                                                                      Indianapolis        IN       46280
           ONI RISK PARTNERS INC‐TERRE 
5459757    HAUTE                                   P.O. Box 80159                                                                                      Indianapolis        IN       46280
5462130    ONOFRIO, JOSEE                          233 ALFERO WAY                                                                                      NORTH VENICE        FL       34275
5461317    OPALKA, ROSALIE                         16173 MARIPOSA CIR N                                                                                FT. LAUDERDALE      FL       33331
           OPTIMA INSURANCE SERVICES 
5460418    LLC                                     P.O Box 29351                                                                                       Greensboro          NC       27429
5459021    OPTIMUM                                 1111 STEWART AVENUE                                                                                 BETHPAGE            NY       11714
5459033    OPTIMUM                                 PO BOX 371378                                                                                       PITTSBURGH          PA       15250‐7378
5733758    OPTINS                                  1100 WALNUTS ST.                        SUITE 1500                                                  KANSAS CITY         MO       64106
5461727    O'QUINN, TRICIA                         6 MOUNTAIN ROSE CT                                                                                  SIMPSONVILLE        SC       29681
5459185    ORACLE AMERICA INC                      500 Oracle Parkway                                                                                  Redwood Shores      CA       94065
           ORACLE IPS DBA ORACLE 
5459758    INSURANCE                               9840 S. 168TH AVE, SUITE 3                                                                          OMAHA               NE       68136
5461126    O'REGAN, ORLA                           PO BOX 10803 GEORGETOWN                 KY1‐1007                                                    GRAND CAYMAN                               CAYMAN ISLANDS
           Oregon Department of 
           Consumer and Business 
           Services Division of Financial          Attn: Kirsten Anderson, Senior Manager, 
5458854    Regulation                              Licensing                                P.O. Box 14480                                             Salem               OR       97309‐0405
           OREGON DEPARTMENT OF 
5733561    REVENUE                                 PO BOX 14260                                                                                        SALEM               OR       97309‐5060

5733759 ORION INVESTIGATIONS, LLC                  200 MAIN STREET, STE 352                                                                            STONEHAM            MA       02180
5733760 ORKIN, LLC                                 3375 SE 3RD AVE                                                                                     FT LAUDERDALE       FL       33315
5462736 ORLOW, ERIC                                8330 HASKELL AVE                        APARTMENT 207                                               NORTH HILLS         CA       91343
5461170 ORLOW, PHIL                                11427 PORTER RANCH DRIVE                #223                                                        PORTER RANCH        CA       91326
5463196 ORR, BARBARA                               610 EAST GORE STREET                                                                                ORLANDO             FL       32806
5461005 ORTIZ, MILADYS                             5235 KESTER AVENUE                      APARTMENT 220                                               SHERMAN OAKS        CA       91411
5462264 OSBORNE, KIMBERLY                          2821 SUN LAKE LOOP                      APT #101                                                    LAKE MARY           FL       32746
5463308 OTAEGUI, CAMILA                            4611 ADDISON STREET                                                                                 BOCA RATON          FL       33428
5462889 OTAEGUI, GONZALO                           4611 ADDISON ST                                                                                     BOCA RATON          FL       33428
5463147 OTT, ASHLIE                                809 WHISPERING VILLAGE CIR                                                                          BALLWIN             MO       63021
5462548 OTT, DANIEL                                10550 BAYMEADOWS RD #924                                                                            JACKSONVILLE        FL       32256
        OTTAWA‐ KENT INSURANCE 
5460295 AGENCYINC                                  P.O Box 349                                                                                         Jenison             MI       49428
5459759 OTTERSTEDT INSURANCE                       540 Sylvan Avenue                                                                                   Englewood Cliffs    NJ       07632
5461101 OUELLETTE, NICOLE                          3070 VALLEY ROAD                                                                                    SULLIVAN            NH       03445




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           OUTDOOR INSURANCE 
5459754    GROUPINC                                1371 Hecla Drive, Suite E                                                                      Louisville       CO      80027
5463409    OUTTEN, CHRISTIAN                       1242 BERRY CREEK DRIVE            APT. 111                                                     MOUNT PLEASANT   SC      29466
5459182    OVERLAND SOLUTIONS INC                  P.O. BOX 871166                                                                                KANSAS CITY      MO      64187
5462755    OVERLAY, ETTA                           7435 DOTTS COURT                                                                               CHARLOTTE        NC      28226
5462604    OVERTON, DEBORAH                        311 WEST BERKLEY STREET                                                                        PHILADELPHIA     PA      19144
5459755    OWEN & ASSOCIATES LLC                   P.O Box 1056                                                                                   Marietta         GA      30061
           OXFORD INSURANCE AGENCY 
5460419    INC                                     P.O Box 408                                                                                    Oxford           MS      38655

5733562 PA DEPARTMENT OF REVENUE                   2 REVENUE PLACE                                                                                HARRISBURG       PA      17129‐0001
5460420 PA POST AGENCY LLC                         1 International Blvd. Suite 405                                                                Mahwah           NJ      07495
5459183 PA STATE POLICE                            P.O. Box 311                                                                                   Norristown       PA      19404
5461128 Pac Pizza                                  220 Porter Drive, Suite 100                                                                    San Ramon        CA      94583
        PACIFIC HORIZON INSURANCE 
        SERVICES LLC : CALIFORNIA 
5459756 COASTAL                                    1416 VERSAILLES AVE.                                                                           ALAMEDA          CA      94501

                                                                                     600 WILLOWBROOK 
5459022    PAETEC                                  ONE PAETEC PLAZA                  OFFICE PARK                                                  FAIRPORT         NY      14450
5459034    PAETEC                                  PO BOX 9001013                                                                                 LOUISVILLE       KY      40290‐1013
5463192    PAGAN, AYNSLEY                          122 MIDDLEBY WAY                                                                               GREER            SC      29650
5460421    PAGE AND CANOVA INC                     93A Orange Street                                                                              St Augustine     FL      32084
5462775    PAIGE, FELICIA                          3298 NOAH ST.                                                                                  DELTONA          FL      32738
5462182    PAISLEY, KARL                           4223 SW KARLUK DRIVE                                                                           PORT ST. LUCIE   FL      34953

5460703    PALM HARBOR INSURANCE LLC               2534 Wood Pointe Dr.                                                                           Holiday          FL      34690
5462248    PALMER, KIERA                           3675 PEACHTREE RD. NE             #28                                                          ATLANTA          GA      30319
5464604    PALMER, TIMOTHY                         658 COLLINGWOOD TERRACE                                                                        GLENMOORE        PA      19343
5463430    PALMIERI, CHRISTOPHER                   PO BOX 2102                                                                                    ST PETERSBURG    FL      33731
5462577    PALUMBO, DAVID                          2083 SCARSDALE DR                                                                              CLEARWATER       FL      33764
5461133    Pancake South, LLC                      4840 Forest Drive                                                                              Columbia         SC      29206
5462999    PANU, ALEXANDER                         1968 STILLCREEK PASS                                                                           WILDWOOD         MO      63011
                                                                                     P.O. Box 98, #1 
5461134 Paramount                                  Kelly Long                        Paramount Drive                                              Bourbon          MO      65441
5460704 PARK & ASSOCIATES INC                      5255 N. Federal Hwy. 2nd Fl.                                                                   Boca Raton       FL      33487
           PARK PLACE TECHNOLOGIES 
5459179    LLC                                     P.O. BOX 78000                    DEPT 781156                                                  DETROIT          MI      48278
5463431    PARKS, CHRISTOPHER                      1448 BRADFORD DRIVE                                                                            SULLIVAN         MO      63080
5460969    PARNELL, MICHAEL                        5107 CREEK PATH                                                                                MARIANNA         FL      32446
5461369    PARR, SARAH                             1275 RAVENS WAY                                                                                OSTEEN           FL      32764
5463380    PARSONS, CHADLEY                        7920 34TH STREET                                                                               BALTIMORE        MD      21237



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5733761 PARTAP BISSOON                             7512 NW 23RD STREET                                                                            PEMBROKE PINE     FL       33024
5733762 PARTIDA, GILBERT                           8504 FIRESTONE BLVD. #122                                                                      DOWNEY            CA       90241
5461321 PARTIDA, ROSIE                             1930 VILLAGE CENTER CIRCLE            SUITE 3‐148                                              LAS VEGAS         NV       89134

5459751    PARTNERS RISK SERVICES LLC              P.O Box 3272                                                                                   Duluth            GA       30096
5459180    PARTSFLEET INC                          2251 Lynx Lane, Suite 7                                                                        Orlando           FL       32804
5462592    PASTOR, DEAN                            6001 BARNSIDE PL                                                                               ROSEVILLE         CA       95747
5463279    PASZNIK, BRIDGET                        3 MARGARET COURT                                                                               HASKELL           NJ       07420

5460422 PAT CAMPBELL INSURANCE LLC 141 ROADRUNNER PARKWAY, SUITE 109                                                                              LAS CRUCES        NM       88011
5459752 PAT MITCHELL INSURANCE     10 York Pl                                                                                                     Washingtonville   NY       10992
5459181 PATEWOOD HOLDINGS LLC      30 Patewood Dr.                                                                                                Greenville        SC       29615
           PATEWOOD HOLDINGS LLC C/O 
5461137 TRINITY PARTNERS                           440 S. CHURCH STREET                  SUITE 800                                                CHARLOTTE         NC       28202

5460246 PATRIOT AUDIT SERVICES INC                 401 E. Las Olas Blvd                  Suite 1540                                               Ft. Lauderdale    FL       33301

5733763 PATRIOT AUDIT SERVICES, LLC                401 EAST LAS OLAS BLVD                SUITE 1650                                               FORT LAUDERDALE   FL       33301
           PATRIOT CAPTIVE 
5460259    MANAGEMENT                              401 E. Las Olas Blvd                  Suite 1540                                               Ft. Lauderdale    FL       33301
           PATRIOT CAPTIVE 
5460260    MANAGEMENT ‐ BAHAMAS                    401 E. Las Olas Blvd                  Suite 1540                                               Ft. Lauderdale    FL       33301
           PATRIOT CAPTIVE 
5460261    MANAGEMENT ‐ CAYMAN                     401 E. Las Olas Blvd                  Suite 1540                                               Ft. Lauderdale    FL       33301
           Patriot Captive Management                                                                                                                               KY1‐
5463545    (Cayman)                                Patriot Captive Management (Cayman)   PO Box 10723                                             Grand Cayman      1007                   Cayman Islands
           PATRIOT CAPTIVE 
5460262    MANAGEMENT INC                          401 East Las Olas Blvd                Suite 1650                                               Fort Lauderdale   FL       33301

           PATRIOT CAPTIVE 
5460263 MANAGEMENT INC ‐ BAHAMAS 401 East Las Olas Blvd                                  Suite 1650                                               Fort Lauderdale   FL       33301

           PATRIOT CAPTIVE 
5460252 MANAGEMENT INC ‐ CAYMAN 401 East Las Olas Blvd                                   Suite 1650                                               Fort Lauderdale   FL       33301
           PATRIOT CAPTIVE 
5733764    MANAGEMENT, LLC                         401 EAST LAS OLAS BLVD                SUITE 1650                                               FORT LAUDERDALE   FL       33301
           PATRIOT CARE MANAGEMENT 
5460253    INC                                     401 East Las Olas Blvd                Suite 1650                                               Fort Lauderdale   FL       33301
           PATRIOT CARE MANAGEMENT, 
5733765    LLC                                     401 EAST LAS OLAS BLVD                SUITE 1650                                               FORT LAUDERDALE   FL       33301
5460254    PATRIOT CARE SERVICES INC               401 E. Las Olas Blvd                  Suite 1540                                               Ft. Lauderdale    FL       33301
5460255    PATRIOT CLAIM SERVICES                  401 East Las Olas Blvd                Suite 1650                                               Fort Lauderdale   FL       33301
5733766    PATRIOT NATIONAL, INC.                  401 EAST LAS OLAS BLVD                SUITE 1650                                               FORT LAUDERDALE   FL       33301



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5461150 Patriot National, Inc.                     401 E Las Olas BLVD               Suite 1540                                                  Fort Lauderdale   FL       33301
5460423 PATRIOT PROGRAMS                           401 E Las Olas Blvd. Suite 1650                                                               Fort Lauderdale   FL       33301

5460257 PATRIOT RISK CONSULTANT INC 401 E. Las Olas Blvd                             Suite 1540                                                  Ft. Lauderdale    FL       33301
        PATRIOT RISK CONSULTANTS, 
5733767 LLC                                        401 EAST LAS OLAS BLVD            SUITE 1650                                                  FORT LAUDERDALE   FL       33301

5733768 PATRIOT RISK SERVICES, INC.                401 EAST LAS OLAS BLVD            SUITE 1650                                                  FORT LAUDERDALE   FL       33301
5460249 PATRIOT SERVICES INC                       401 East Las Olas Blvd            Suite 1650                                                  Fort Lauderdale   FL       33301
5733769 PATRIOT SERVICES, LLC                      401 EAST LAS OLAS BLVD            SUITE 1650                                                  FORT LAUDERDALE   FL       33301
           PATRIOT TECHNOLOGY 
5460250 SOLUTIONS INC                              401 East Las Olas Blvd            Suite 1650                                                  Fort Lauderdale   FL       33301
        PATRIOT TECHNOLOGY 
5733770 SOLUTIONS, LLC                             401 EAST LAS OLAS BLVD            SUITE 1650                                                  FORT LAUDERDALE   FL       33301

5733771    PATRIOT UNDERWRITERS, INC.              401 EAST LAS OLAS BLVD            SUITE 1650                                                  FORT LAUDERDALE   FL       33301
5462776    PATTERSON, FELICIA                      2418 TED AVENUE SOUTH                                                                         LEHIGH ACRES      FL       33973
5462195    PATTERSON, KATHLEEN                     666 N TYSON AVE                                                                               GLENSIDE          PA       19038
5461123    PATTERSON, OLLIE                        1014 PIEDMONT CIRCLE                                                                          ST. CHARLES       MO       63304
5461370    PATTISON, SARAH                         7524 MOHAWK DRIVE                                                                             PRAIRIE VILLAGE   KS       66208
5459748    PAUL SPROWLS AGENCY INC                 217 West Main Street              P.O Box 1447                                                Uniontown         PA       15401
5459176    PAULA A CECCHETTINI                     8128 Chimango Way                                                                             Antelope          CA       95843
5462298    PAULK, LATRAVIA                         2121 TOWLES STREET                                                                            FORT MYERS        FL       33916
5760847    Paylocity Corporation                   615 Crescent Exec Ct.                                                                         Lake Mary         FL       32746

5459749 PAYROLL ALLIANCE INS AGENCY 217 Via Osuna                                                                                                Rancho Santa Fe   CA       92091
        PAYROLL ALLIANCE INSURANCE 
5460296 AGENCY INC                  217 Via Osuna                                                                                                Rancho Santa Fe   CA       92091
5733772 PBMS, INC.                  204 PHILLIPS LANE                                                                                            GREER             SC       29650

5459177 PC CONNECTION SALES CORP                   P.O. BOX 536472                                                                               PITTSBURGH        PA       15253
        PEACHTREE SPECIAL RISK 
5461161 BROKERS LLC                                403 King George Rd., #202                                                                     Basking Ridge     NJ       07920
5463418 PEACOCK, CHRISTINE                         1916 NW 13TH PLACE                                                                            CAPE CORAL        FL       33993

5460791    PEARL INSURANCE GROUP LLC               1200 E Glen Avenue                                                                            Peoria Heights    IL       61616‐5348
5461991    PEARSALL, JAIME                         18 EASTVIEW ROAD                                                                              KEENE             NH       03431
5462196    PEARSON, KATHLEEN                       21104 BRANDON ROAD                                                                            KILDEER           IL       60047
5462214    PECINA, KEITH                           4748 W. ATLANTIC BLVD.            BLDG 5, APT 107                                             COCONUT CREEK     FL       33063
5459178    PECO                                    P.O. Box 13439                                                                                Philadelphia      PA       19162
5462242    PEERY, KEVIN                            417 NE SUNVIEW CIRCLE                                                                         BLUE SPRINGS      MO       64014
5733773    PEKOL, LARISSA ANN                      27 N. 7TH STREET                  APT#436                                                     ALLENTOWN         PA       18101
5460842    PELAGALLI, MARIO                        9150 CHIANTI COURT                                                                            BOYNTON BEACH     FL       33472


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5463324 PELLA, CARLOS                              4910 LOUGHBORO ROAD NW                                                                                                 WASHINGTON         DC      20016
           PELNIK INS & FINANCIAL SVCS 
5459750 OF CARY INC                                100 Ridgeview Drive, Ste. 100                                                                                          Cary               NC      27511
5463432 PENNELL, CHRISTOPHER                       16080 E. 98TH AVE                                                                                                      COMMERCE CITY      CO      80022
           PENNSYLVANIA 
           COMPENSATION RATING                     United Plaza Building, 30 South 17th 
5459170    BUREAU                                  Street                                    Suite #1500                                                                  Philadelphia       PA      19103
           Pennsylvania Department of 
5762053    Revenue                                 Bankruptcy Division                       PO Box 280946                                                                Harrisburg         PA      17128‐0946
           Pennsylvania Department of                                                        4th and Walnut 
5762053    Revenue                                 Sean Grimm                                Street                                                                       Harrisburg         PA      17128
           Pennsylvania Insurance                  Attn: Robert Downie, Director, Bureau of  1326 Strawberry 
5458856    Department                              Producer                                  Square                                                                       Harrisburg         PA      17120
           PENNSYLVANIA SURPLUS LINES 
5459171    ASSOCIATION                             180 SHEREE BLVD., SUITE 3100                                                                                           EXTON              PA      19341
5460938    PERDOMO, MERLYN                         124 MELROSE AVENUE                                                                                                     NORTH ARLINGTON    NJ      07031
5462578    PEREZ, DAVID                            220 ATKINS AVENUE                                                                                                      BROOKLYN           NY      11208
5462157    PEREZ, JULIA                            7464 PARKSIDE LANE                                                                                                     MARGATE            FL      33063
5733774    PEREZ, SARAY                            232 KENSINGTON WAY                                                                                                     WELLINTON          FL      33414
5461453    PEREZ, SHANNON                          232 KENSINGTON WAY                                                                                                     WELLINGTON         FL      33414
5459172    PERKINS COIE LLP                        P.O. BOX 24643                                                                                                         SEATTLE            WA      98124
5461323    PERKINS, ROTH                           5721 VIRGINIAN ROAD                                                                                                    PHILADELPHIA       PA      19141
5459173    PERR & KNIGHT INC                       401 WILSHIRE BLVD                         SUITE 300                                                                    SANTA MONICA       CA      90401
5461062    PERRINE, NATHALIE                       4401 TILLMAN ROAD                                                                                                      CHARLOTTE          NC      28208
5462326    PERRY, LESLIE                           4111 CHANTICLEER DR.                                                                                                   KENNESAW           GA      30152
5461371    PERRY, SARAH                            2320 MARINA BAY DRIVE                     APT 105                                                                      FORT LAUDERDALE    FL      33312
5463142    PERTI, ASH                              977 READING STREET                                                                                                     BARLETT            IL      60103
5463433    PESCH, CHRISTOPHER                      940 SE 9TH STREET                                                                                                      FT. LAUDERDALE     FL      33316
                                                                                           12275 El Camino 
5729711 Pesch, Christopher A                       Kandace P. Watson                       Real                  Suite 200                                                San Diego          CA      92130
                                                                                           Christopher J. Bosch 
5729711 Pesch, Christopher A                       Sheppard, Mullin, Richter & Hampton LLP ‐ Associate           30 Rockefeller Plaza                                     New York           NY      10112
                                                                                           James L. Patton, C.                                 1000 North King Street,                       Delawar
5729711 Pesch, Christopher A                       Young Conway Stargate & Taylor, LLP     Barr Flinn            Kara Hammond Coyle            Rodney Square              Wilmington         e       19801
                                                                                                                 Sheppard, Mullin, Richter, & 
5734077 Pesch, Christopher A.                      Christopher J. Bosch                    Associate             Hampton LLP                   30 Rockefeller Plaza       New York           NY      10112

                                                                                             Four Embarcadero 
5734077 Pesch, Christopher A.                      Ori Katz                                  Center                                                                       San Francisco      CA      94111

5734077 Pesch, Christopher A.                      Sheppard, Mullin, Richter & Hampton LLP Kandace P. Watson 12275 El Camino Real              Suite 200                  San Diego          CA      92130
                                                                                           James L. Patton, C.                                 1000 North King Street 
5734077 Pesch, Christopher A.                      Young Conaway Stargatt & Taylor, LLP    Barr Flinn           and Kara Hammond Coyle         Rodney Square              Wilmington         DE      19801



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5461122 PESCH, OLIVIA                              940 SE 9TH STREET                                                                                 FORT LAUDERDALE    FL       33316
                                                                                          5420 LBJ Frwy, Ste 
5461169    PestSure                                Two Lincoln Center                     400                                                        Dallas             TX       75240
5461239    PETRO, RAYMOND                          353 VOMEL DR                                                                                      NEW MILFORD        NJ       07646
5463331    PETROVIC, CAROL                         818 RIVER WIND AVENUE                                                                             ORLANDO            FL       32825
5463111    PETTY, ANTHONY                          401 WEST 10TH AVENUE                                                                              GASTONIA           NC       28052
5462611    PETTY, DEBRA                            1004 EDGEWORTH                                                                                    ST. LOUIS          MO       63122
5462265    PFEIFFER, KIMBERLY                      940 GARLINGTON CIRCLE                                                                             WEST CHESTER       PA       19380
                                                   11562 84TH STREET CIRCLET EAST UNIT 
5461286 PFEIFFER, ROBERT                           101                                                                                               PARRISH            FL       34219

5733775 PHIA GROUP CONSULTING, LLC 163 BAY STATE DRIVE                                                                                               BRAINTREE          MA       02184
           PHILADELPHIA INSURANCE 
5459175    COMPANIES                               One Bala Plaza, Suite 100                                                                         Bala Cynwyd        PA       19004
           PHILADELPHIA INSURANCE 
5733776    COMPANIES                               PO BOX 8952                                                                                       PHILADELPHIA       PA       19178‐8952
           Philadelphia Insurance 
5461172    Company                                 231 St. Asaphs Road, Suite 100                                                                    Bala Cynwyd        PA       19004
           Philadelphia Insurance 
5461171    Company                                 Christina Coles                        1 Bala Plaza                                               Bala Cynwyd        PA       19004
5463256    PHILLIPS, BRANDON                       1323 GASPARILLA                                                                                   FORT MYERS         FL       33901
5460887    PHILLIPS, MATTHEW                       1716 SOUTH RIVER OAK AVENUE                                                                       BRANDON            SD       57005
5462669    PHILMON, DOYLE                          8682 NORTH STATE HWY 23                                                                           MAGAZINE           AR       72943
5462153    PIDGEON, JUDITH                         100 SHADELAND AVENUE                   APARTMENT 102                                              DREXEL HILL        PA       19026
           PIEDMONT INSURANCE 
5460412    ASSOCIATES INC                          P.O Box 406                                                                                       Huntersville       NC       28070
5463064    PIERALISI, AMY                          405 ELIZABETH COURT                                                                               OXFORD             MS       38655
5461182    Pierburg US, LLC                        5 Southchase Court                                                                                Fountain Inn       SC       29644
5462079    PIERCE, JESSICA                         4292 PRAIRIE VIEW DRIVE SOUTH                                                                     SARASOTA           FL       34232
5461010    PIERRE‐LOUIS, MIREILLE                  11 LORRAINE TERRACE                    #124                                                       MOUNT VERNON       NY       10553
5460827    PIERSIG, MARGARET                       12804 ELNORA ROAD                                                                                 PHILADELPHIA       PA       19154
5462046    PIKE, JEFFREY                           1882 CROCKETTS COVE ROAD                                                                          WYTHERVILLE        VA       24382
5463085    PILGRIM, ANDREW                         1850 MADISON COURT                                                                                BOGART             GA       30622
5462612    PINA, DEBRA                             15 ALFRED DRIVE                                                                                   BORDETOWN          NJ       08505
5463379    PINHEIRO, CHAD                          27 HOSPITAL ROAD                                                                                  GRAND CAYMAN                KY1‐1003      CAYMAN ISLANDS
5460413    PINKHAM AGENCY INC                      40 Commerce Place, Suite #100                                                                     Hicksville         NY       11801
           PIP Printing and Marketing 
5459168    Services                                5303 NW 35th Terrace                                                                              Fort Lauderdale    FL       33309
5463028    PIPITONE, ALYSSA                        11450 NW 56TH DRIVE                    NUMBER 103                                                 CORAL SPRINGS      FL       33076
           PITNEY BOWES GLOBAL 
5459169    FINANCIAL SERVICES LLC                  P.O. BOX 371874                                                                                   PITTSBURGH         PA       15250
5463434    PIZZO, CHRISTOPHER                      3433 NE 31ST AVENUE                                                                               LIGHTHOUSE POINT   FL       33064



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           PJ RAMAEKERS & ASSOCIATES 
5459744    INC                                     7915 L Street                                                                                     Omaha              NE       68127
5459745    PLATINUM INSURANCE LLC                  13902 N Dale Mabry Hwy Suite 217                                                                  Tampa              FL       33618
           PLYMOUTH TFC GENERAL 
5461185    PARTNERSHIP                             401 PLYMOUTH ROAD                                                                                 PLYMOUTH MEETING   PA       19462
           Plymouth TFC General 
5463550    Partnership                             555 E. Lancaster Ave., Suite 100                                                                  Radnor             PA       19087
           PLYMOUTH TOWNSHIP 
5458989    PENNSYLVANIA                            700 Belvoir Road                                                                                  Plymouth Meeting   PA       19462
5461186    PMA Companies                           2701 N Rocky Point Dr #250                                                                        Tampa              FL       33607
5733777    PMA COMPANIES                           380 SENTRY PARKWAY                                                                                BLUE BELL          PA       19422

5459746 PMC INSURANCE AGENCY INC                   209 BURLINGTON ROAD #109                                                                          BEDFORD            MA       01730
5462215 POBOCEK, KEITH                             21 NORTH GREEN STREET                                                                             EAST STROUDSBURG   PA       18301
           POINTENORTH INSURANCE 
5459747 GROUP LLC                                  P.O Box 724728                                                                                    Atlanta            GA       31139‐1728
5461132 POLGLAZE, PAMELA                           40 CEDAR BROOK ROAD                                                                               HEWITT             NJ       07421
5462864 POLLOCK, GEOFFREY                          980 GALWAY BLVD                                                                                   APOPKA             FL       32703

5458956 Polsinelli PC                              Jennifer Osborn Nix                 Polsinelli         6201 College Blvd, Suite 500               Overland Park      KS       66211
           POMS & ASSOCIATES 
5459741    INSURANCE BROKERS INC                   5700 CANOGA AVE. STE 400                                                                          WOODLAND HILLS     CA       91367
           POMS & ASSOCIATES 
5460414    INSURANCE BROKERS LLC                   320 Osuna Road NE, Suite C1                                                                       Albuquerque        NM       87107
           PONTELL INSURANCE AND 
5460415    FINANCIAL GROUP INC                     1484 Tuskawilla Road                                                                              Oviedo             FL       32765
5462579    POOLE, DAVID                            26772 MARYS WAY                                                                                   ROBERTSDALE        AL       36567
5462064    POOLE, JEREMY                           9097 GAYLORD RD                                                                                   SANDERSON          FL       32087
5461382    POOLE, SCOTT                            1180 SW 21ST AVE                                                                                  BOCA RATON         FL       33486

5460416    POPLARVILLE INSURANCE INC               P.O Box 329                                                                                       Poplarville        MS       39470
5462815    PORRAS, GABRIEL                         12920 HUECO PIT                                                                                   EL PASO            TX       79938
5461187    Ports America                           55 N. Arizona Place, Suite 400                                                                    Chandler           AZ       85225
5462936    Posillico, Inc.                         1750 New Highway                                                                                  Farmingdale        NY       11735

5463200    POSTL, BEATRIZ                          5807 TOPANGA CANYON BLVD APT H301                                                                 WOODLAND HLS       CA       91367‐4607
5462154    POTE, JUDITH                            102 HEDGEWOOD TERRACE                                                                             GREER              SC       29650
5460417    POTTER & ROOSE INC                      503 S. Saginaw #906                                                                               Flint              MI       48502
5462743    POTTER, ERIN                            5318 MANOR GLEN                                                                                   KINGWOOD           TX       77345
5460857    POWELL, MARKISHA                        1716 NW 14 PLACE                                                                                  CAPE CORAL         FL       33993
5463035    POWERS, AMANDA                          701 ZEMIL CT                                                                                      FORT MYERS         FL       33913
5462000    POWERS, JAMES                           608 PECHER ROAD                                                                                   FAIRFIELD          PA       17320
5462549    PRADO, DANIEL                           65 HIGH STREET                                                                                    COLLINSVILLE       CT       06019


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                                                                                                          Master Mailing List
                                                                                                       Served via First Class Mail
 MMLID             NAME                                           ADDRESS 1              ADDRESS 2                ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
5461188 Praetorian                                 200 Green St # 200                                                                            San Francisco     CA       94111
           PRAXIOM RISK MANAGEMENT 
5460675 LLC                                        123 West Bloomingdale #300                                                                    Brandon           FL       33511
5461218 PREDDY, RACHAEL                            808NORTH EOLA DRIVE                                                                           ORLANDO           FL       32803
5462143 PREDMESKY, JOYCE                           9630 CLUB SOUTH                    CIRCLE #6102                                               SARASOTA          FL       34238
           Preferred Consultants of 
5549902    America                                 1624 Lost Creek Drive                                                                         Allen             TX       75002
5733779    PREFERRED PRINTING INC                  9000 EQUUS CIRCLE                                                                             BOYNTON BEACH     FL       33472
           PREFERRED PROPERTIES OF 
5459165    AMERICA                                 1624 LOST CREEK DRIVE                                                                         ALLEN             TX       75002
           PREFERRED REINSURANCE 
5459742    INTERMEDIARIES INC                      14 Monckton Blvd                                                                              Columbia          SC       29206
           PREMIER RECREATION 
5459743    INSURANCE SERVICES LLC                  1041 East Julian Drive                                                                        Gilbert           AZ       85295
5461191    PRESIDIO                                1 Pennsylvania Plaza                                                                          New York          NY       10119
           PRESIDIO TECHNOLOGY 
5459166    CAPITAL LLC                             DEPT# 2058                         P.O. BOX 74390                                             CHICAGO           IL       60690
           PRESIDIO TECHNOLOGY 
5459008    CAPITAL, LLC                            TWO SUN COURT                                                                                 NORCROSS          GA       30092
5460888    PRESTON, MATTHEW                        PO Box 577                                                                                    Sarasota          FL       34230‐0577
5460406    PRICE & RAMEY INC                       1524 Bridgewater Lane #101                                                                    Kingsport         TN       37660
5460407    PRICE MY POLICY INC                     1937 E. ATLANTIC BLVD, #104                                                                   POMPANO BEACH     FL       33060
5461900    PRICE, HENRY                            1165 SOUTHERN                      COMFORT DRIVE                                              WOODRUFF          SC       29388

5459167 PRICEWATERHOUSECOOPERS                     300 Madison                        24th Floor                                                 New York          NY       10017
           PRICEWATERHOUSECOOPERS 
5459163    LLP                                     P.O. Box 932011                                                                               Atlanta           GA       31193
5460653    PRIME INSURANCE AGENCY                  960 E Country Line Road                                                                       Lakewood          NJ       08201
           PRIME INSURANCE SOLUTIONS 
5459737    INC                                     3040 N. Wickham Rd., Ste. 8                                                                   Melbourne         FL       32935
5461193    Prime Tanning                           Ruth Welschmeyer                   P.O. Box 1831                                              Jefferson City    MO       65102
           PRIMEGROUP INSURANCE 
5460297    SERVICES INC                            5402 W. Laurel Street. Suite 220                                                              Tampa             FL       33607
           PRIMERA TOWERS (FL) JOINT 
5461194    VENTURE LLC                             14800 FRYE ROAD                    2ND FLOOR                                                  FORT WORTH        TX       76155

5460408 PRINCE INSURANCE GROUP INC 4350 Wadsworth Blvd                                                                                           Wheat Ridge       CO       80033
           PRINS INSURANCE OF SIOUX 
5460409    FALLS INC                               5517 N Cliff Ave                                                                              Sioux Falls       SD       57104
6060578    Print Management Partners               701 Lee Street, Suite 1050                                                                    Des Plaines       IL       60016
5459738    PRITCHARD & JERDEN INC                  950 East Paces Ferry Rd NE #2000                                                              Atlanta           GA       30326
5461248    PRITCHETT, REGINALD                     12220 CHATTANOOGA PLAZA            STE 149                                                    MIDLOTHIAN        VA       23112




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           PRIVATE INVESTIGATIONS 
5459164    ADVISORY BOARD                          P.O. Box 25101                                                                                 Santa Fe          NM       87505
           PROACTION INSURANCE 
5459739    SERVICES                                710 E. Parkridge Ave. #103                                                                     CORONA            CA       92879
           PROACTION INSURANCE 
5459740    SERVICES INC                            710 E. PARKRIDGE AVE #103                                                                      CORONA            CA       92879
           PROACTIVE INFORMATION 
5459160    MANAGEMENT LLC                          310 HILL CARTER PKWY SUITE B                                                                   ASHLAND           VA       23005
           PROBE INFORMATION 
5733780    SERVICES                                6375 AUBURN BLVD                                                                               CITRUS HEIGHTS    CA       95621
5461197    ProcessOne TPA                          P.O.Box 450728                                                                                 Garland           TX       75045‐0728
           PROFESSIONAL CONSULTING 
5459161    SERVICES INC                            750 WARRENVILLE ROAD,                 STE 303                                                  LISLE             IL       60532
           PROFESSIONAL INSURANCE 
5459734    SERVICES OF FL INC                      6161 Blue Lagoon Drive , Suite 150B                                                            Miami             FL       33126
           Professional Pathology 
5461199    Services, PC                            One Science Court                     Suite 200                                                Columbia          SC       29203

           Professional Process Service 
5461200 and Investigations LLC                     5111 N. 10th Street, Suite 194                                                                 McAllen           TX       78504
5462613 PROFFITT, DEBRA                            12601 LAKEBROOK DRIVE                                                                          ORLANDO           FL       32828
        PROGRESSIVE TOWER 
5459735 INSURANCE SVS INC                          7334 TOPANGA CANYON BLVD. SUITE 108                                                            CANOGA PARK       CA       91303
5459162 PROHOST INC                                166 Hilltop Road                                                                               Germantown        NY       12526
5459736 PROHOST INC                                P.O.Box 537                                                                                    Germantown        NY       12526‐0537
5462110 PROKOP, JOHN                               169 LOTT ROAD                                                                                  WANTAGE           NJ       07461
5461201 Pronto Insurance                           P.O. Drawer 3267                                                                               Brownsville       TX       78523
5733781 PROPEL INSURANCE                           1201 PACIFIC AVENUE. SUITE 1000                                                                TACOMA            WA       98402
5460410 PROPEL INSURANCE                           P.O Box 2940                                                                                   Tacoma            WA       98402
5461110 PROPHET, NORMA                             15237 WILLARD STREET                                                                           PANORAMA CITY     CA       91402
        PROTECTION ONE ALARM 
5459155 MONITORING INC                             1267 Windham Parkway                                                                           Romeoville        IL       60446
5459156 PROTIVITI INC                              12269 COLLECTIONS CENTER DRIVE                                                                 CHICAGO           IL       60693
                                                                                         2613 Camino 
5761112 Protiviti Inc               Recovery Manager                                     Ramon                                                    San Ramon         CA       94583
5761112 Protiviti Inc               Robert Half / Attn: Karen Lima                       Po Box 5024                                              San Ramon         CA       94583
5459157 PROVANTAGE LLC              7576 Freedom Ave NW                                                                                           North Canton      OH       44720
5459733 PROVINSURE INC              9700 International Drive                                                                                      Orlando           FL       32819
5760848 PRS Group                   401 E. Las Olas Boulevard                                                                                     Fort Lauderdale   FL       33301
5461203 PRS GROUP                   5800 Heritage Landing Dr., Suite E                                                                            East Syracuse     NY       13057‐9378
        PRUDENTIAL INSURANCE CO OF 
5461204 AMERICA                     750 WARRENVILLE ROAD                                                                                          LISLE             IL       60532




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           Prudential Insurance Co. of 
5463551    America                                 213 Washington St.                                                                                     Newark               NJ       07102
5459158    PSE&G                                   5 CENTURY ROAD                                                                                         SOUTH PLAINFIELD     NJ       07080
5461205    PTS Intercompany                        1301 Fulling Mill Road                                                                                 Middletown           PA       17078
5463419    PUENTE, CHRISTINE                       2042 CALVERT AVENUE                                                                                    COSTA MESA           CA       92626
5460286    PUI INSURANCE AGENCY                    401 E Las Olas Blvd. Suite 1650                                                                        Fort Lauderdale      FL       33301
5460287    PUI JUA PROGRAM                         401 E Las Olas Blvd. Suite 1650                                                                        Ft Lauderdale        FL       33301
5462580    PUMMER JR, DAVID                        1971 MONTECITO AVE                                                                                     DELTONA              FL       32738
5461028    PUNJWANI, MOHAMMED                      329‐5 IVES DAIRY ROAD                     UNIT 5                                                       MIAMI                FL       33179
                                                                                             Attn: Michael         1177 Avenue of the 
5729399 Purcell, Michael                           c/o Kramer Levin Naftalis & Frankel LLP   Purcell               Americas                               New York             NY       10036
                                                                                             Attn: Arthur H.       1177 Avenue of the 
5729399    Purcell, Michael                        Kramer Levin Naftalis & Frankel LLP       Aufses                Americas                               New York             NY       10036
5464616    PURCELL, MICHAEL J                      10 BARLEYCOM DRIVE                                                                                     BROOMALL             PA       19008
5459159    PURCHASE POWER                          1349 WEST PEACHTREE STREET #1100                                                                       ATLANTA              GA       30309
5462139    PURVIS, JOSETTE                         1505 LARAMORE STREET                                                                                   DELTONA              FL       32725
5461207    QBE                                     Sr. VP of Claims                          88 Pine Street                                               New York             NY       10005
5458934    QBE Insurance Corporation               55 Water Street                                                                                        New York             NY       10041
5461209    QPWB Law                                70, Willis Tower, 233 S Wacker Dr,                                                                     Chicago              IL       60606
5461210    QPWB Law ‐ FL                            1 E Broward Blvd # 1400                                                                               Fort Lauderdale      FL       33301

5461211 Quality Century Holdings                   Brian Schwegel                            12810 County Rd 17                                           Holdingford          MN       56340

5459152 QUALITY INVESTIGATIONS INC.                401 W. 10TH AVE.                                                                                       GASTONIA             NC       28052
5459730 QUASAR RISK ADVISORS LLC                   4702 Roundview Court                                                                                   Land O Lakes         FL       34639
5462278 QUEEN, KRISTINA                            2569 GRASSY POINT DRIVE                   NUMBER 215                                                   LAKE MARY            FL       32746
5733783 QUEST DIAGNOSTICS                          PO BOX 740709                                                                                          ATLANTA              GA       30374‐0709
5461214 QuickChek                                  3 Old Highway 28                                                                                       Whitehouse Station   NJ       08889
5462581 QUIGLEY, DAVID                             918 VERSAILLES COURT                                                                                   MELBOURNE            FL       32940
5459731 QUINN INSURANCE INC                        11815 M St., Suite 200                                                                                 Omaha                NE       68137
5463112 QUINTANA, ANTHONY                          2958 W. BELMONT AVE                                                                                    CHICAGO              IL       60618
5461471 QUINTO, SHERRY                             108 COUNTRY PLACE                                                                                      SANFORD              FL       32771
        QWEST COMMUNICATIONS 
        COMPANY LLC DBA 
5461217 CENTURYLINK QCC                            100 CenturyLink Drive                                                                                  Monroe               LA       71203
                                                                                             2233 RIDGE ROAD, 
5459153 R DYLONG & ASSOCIATES INC                  P.O. BOX 132                              SUITE 202                                                    ROCKWALL             TX       75087
5460411 R&R AGENCY LLC                             1170 Raritan Avenue                                                                                    Highland Park        NJ       08904
5733784 R2 UNIFIED TECHNOLOGIES                    980 N FEDERAL HIGHWAY                     SUITE 410                                                    BOCA RATON           FL       33432

5459154 R2 Unified Technologies, LLC               980 N. Federal Highway                    Suite 410                                                    Boca Raton           FL       33432
5459732 RA BRANDON & CO INC                        217 Aragon Ave                                                                                         Coral Gables         FL       33134



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5462331 RADFORD, LIBBY                             861 WHITE BUFFALO ROAD                                                                        MT. AIRY          NC       27030
           RADIUS INSURANCE SERVICES 
5459725    LLC                                     135 S. STATE COLLEGE BLVD.#200                                                                BREA              CA       92821
5733785    RAFIQ M. WALIMOHAMED                    10423 WAVES WAY                                                                               PARKLAND          FL       33076
5462550    RAINS, DANIEL                           1508 LAUREL HILL DRIVE                                                                        WAXHAW            NC       28173
5460889    RAINS, MATTHEW                          904 TURTLE CREEK DR.                                                                          ASHEVILLE         NC       28803
5461892    RAINVILLE, HEATHER                      1434 PLANTATION PINE CIRCLE                                                                   GARNER            NC       27529
           RALPH WEINER & ASSOCIATES 
5460401    LLC                                     720 Astor Lane                                                                                Wheeling          IL       60090
           RALPH WHITEHURST 
5459726    INSURANCE AGENCY INC                    4909 Unicon Drive, Suite 200                                                                  Wake Forest       NC       27587
5461287    RALPH, ROBERT                           4116 SOLAR SYSTEM STREET                                                                      NORTH LAS VEGAS   NV       89032
5463065    RAMIREZ, AMY                            4824 SAINT SIMONS TERRACE                                                                     WAXHAW            NC       28173
5461307    RAMOS, ROEL                             2108 EL PARAISO DRIVE                                                                         BROWNSVILLE       TX       78521
5459727    RAMSGATE INSURANCE                      250 East Park Avenue                                                                          Lake Wales        FL       33853
           RANCHO MESA INSURANCE 
5459728    SERVICES                                250 Riverview Parkway, Suite 401                                                              Santee            CA       92071
5462047    RANDALL, JEFFREY                        503 E MAIN STREET                  PO BOX 277                                                 ARCADIA           IN       46030
5460931    RANDALL, MELISSA                        1649 FRUITLAND DRIVE                                                                          DELTONA           FL       32725
5461744    RANDELL, TY                             16680 45TH ROAD                                                                               WELLBORN          FL       32094
5461029    RANGE, MOLLIE                           1185 LONDON CIRCLE LANE            APT 208                                                    FENTON            MO       63026
5733786    RANGE, MOLLIE J                         1185 LONDON CIRCLE LANE                                                                       FENTON            MO       63026
5462595    RANKS, DEBBIE                           3080 YORKSHIRE DR.                                                                            DELTONA           FL       32738
5461690    RARICK, TIMOTHY                         523 SW 10TH ST                                                                                FT LAUDERDALE     FL       33315‐1217
5460932    RAULD, MELISSA                          1700 CROSSVINE COURT                                                                          TRINITY           FL       34655
5462124    RAVA, JONATHAN                          22 RED FOX LANE                                                                               GLENMORE          PA       19343
5462136    RAVA, JOSEPH                            1025 LONGSPUR RD.                                                                             AUDUBON           PA       19403
5459151    RAY'S LOCK & SAFE CO                    924 S 3RD ST W                                                                                MISSOULA          MT       59801
5461288    RAYSER, ROBERT                          1483 SOUTHWIND DR                                                                             CASSELBERRY       FL       32707
5459729    RC FISCHER & CO                         P.O. Box 8101                                                                                 Walnut Creek      CA       94596
5460288    RC LAIN INC                             P.O BOX 1117                                                                                  PORT JERVIS       NY       12771
5462593    READ, DEAN                              14 MOHAWK ROAD                                                                                MASHPEE           MA       02649

5463257 REANEY‐GRAHAM, BRANDON                     11341 NW 29TH ST                                                                              SUNRISE           FL       33323
5461691 REARER, TIMOTHY                            621 NW 102 AVENUE                                                                             CORAL SPRINGS     FL       33071
5463197 REASONOVER, BARBARA                        1121 CASCADE FALLS DRIVE                                                                      MURFREESBORO      TN       37129
5462466 REAVES, COLLEEN                            15314 BRYNFIELD DRIVE                                                                         CHARLOTTE         NC       28277
5462001 REAVES, JAMES                              15314 BRYNFIELD DRIVE                                                                         CHARLOTTE         NC       28277
5459147 RECORDS RESEARCH INC                       11230 GOLD EXPRESS DRIVE 310‐373                                                              GOLD RIVER        CA       95670‐4484
        Recovery Mgmt Group dba 
5461243 Cargo Largo                                Glen Davis                         13900 E 35th Street                                        Independence      MO       64055
5459148 RED CARD                                   PO BOX 673                                                                                    MINNEAPOLIS       MN       55440



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5461866 REDMAN, GUY                                2261 PHEASANT RUN DRIVE                                                                          BOURBONNAIS        IL       60914
           Redpoint Workers' 
5461246 Compensation                               11612 RM 2244 #1‐200                                                                             AUSTIN             TX       78738
5760849 Reed Group                                 10155 Westmoor Drive, Suite 210                                                                  Westminster        CO       08021

                                                                                         10155 WESTMOOR 
5733787 REED GROUP LTD                             REED GROUP, LLC                       DRIVE                                                      WESTMINSTER        CO       80021

5460705 REED WERTZ & ROADMAN INC PO Box 640                                                                                                         Bedford            PA       15522
5462510 REED, COURTNEY           22 AUTUMN MIST COURT                                                                                               O'FALLON           MO       63366
5463097 REESE, ANGELA            1290 ROSEFIELD CT                                                                                                  NORFOLK            VA       23513
           REGAN INSURANCE AGENCY 
5459723 INC                                        90144 OVERSEAS HIGHWAY                                                                           TAVERNIER          FL       33070
5461588 REGAN‐COLLINS, TARA                        138 DISTINCTION DRIVE                                                                            LAKE SAINT LOUIS   MO       63367
           REGENCY INSURANCE 
5459724 BROKERAGE SERVICES INC                     P.O Box 190                                                                                      Hallandale Beach   FL       33008
5733788 REGIONAL REPORTING, INC.                   90 JOHN STREET                                                                                   NEW YORK           NY       10038
                                                                                         1900 FIFTH AVENUE 
5458771 REGIONS BANK                               ATTN: REGGIE GRANT                    NORTH                                                      BIRMINGHAM         AL       35203

5461249 REGUS                                      6565 AMERICAS PARKWAY NE, SUITE 200                                                              ALBUQUERQUE        NM       87110

                                                                                         2850 Horizon Ridge 
5463553 Regus                                      Horizon Ridge Parkway                 Pkwy, Suite 200                                            Henderson          NV       89052
           REGUS MANAGEMENT GROUP 
5459150    LLC                                     15305 DALLAS PARKWAY # 300                                                                       ADDISON            TX       75001
5461166    REID, PENNY                             4227 GRANT MARTIN DRIVE                                                                          CHARLOTTE          NC       28208
5461289    REINHARDT, ROBERT                       17 PINEHOLLOW DRIVE                                                                              BALLSTON SPA       NY       12020
5461782    REIS, VERONICA                          4223 WEST 82ND PLACE                                                                             CHICAGO            IL       60652
5461129    REISS, PAIGE                            1081 E HANCOCK DRIVE                                                                             DELTONA            FL       32725
5459719    RELIABLE COVERAGE CORP                  1225 Franklin Avenue                  Suite 325                                                  Garden City        NY       11530
           REMCO INSURANCE SERVICES 
5459720    INC                                     80 2nd St Pike #8                                                                                Southampton        PA       18966
           REMCO INSURANCE SERVICES 
5459145    INC                                     80 Second Street ste 8                                                                           Southampton        PA       18966
5460870    REMICK, MARY                            14427 DESILU DR                                                                                  ORLANDO            FL       32832
5461290    REMY, ROBERT                            11642 HUMMER BAY LOOP                                                                            EAGLE RIVER        AK       99577
5760850    Renee L. Iaia                           1274 S. Night Star Way                                                                           Anaheim            CA       92808
5462906    RENFRO, GREGORY                         1448 EAST 52ND STREET                                                                            CHICAGO            IL       60615
5760851    Rennie Rodriguez                        6 Berkeley Road                                                                                  Devon              PA       19333
5459721    RENU INSURANCE GROUP                    13700 US highway One, Suite 202B                                                                 Juno Beach         FL       33408

5460402 RESEARCH UNDERWRITERS LLC 4240 Greensburg Pike                                                                                              Pittsburgh         PA       15221


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5459146 REVENUE SYSTEM INC                         P.O. BOX 15257                                                                                   CLEARWATER        FL       33766
5461256 Review Med L.P.                            Nelletta Ivey                         12700 Hillcrest Rd   Suite 175                             Dallas            TX       75230
5462305 REY, LAURA                                 703 WATERLEMON WAY                                                                               MONROE            NC       28110
5462877 REYES, GLADYS                              2829 VAN BUREN STREET                 APARTMENT 102                                              HOLLYWOOD         FL       33020
        REYNOLDS & RODAR 
        INSURANCE GROUP INC‐SANTA 
5460403 FE                                         400 Kiva Court                                                                                   Santa Fe          NM       87505

5459722 RFR FINANCIAL SERVICES INC                 1700 N. University Drive. Suite 215                                                              Coral Springs     FL       33071
           RHODE ISLAND DIVISION OF 
5459143    TAXATION                                1 Capitol Hill                                                                                   Providence        RI       02908
5462306    RHODES, LAURA                           2463 COBBLESTONE COURT                                                                           IMPREIAL          MO       63052
5460289    RIBS NY LLC                             201 Edward Curry Avenue, Suite 200                                                               Staten Island     NY       10314
           RIC INSURANCE GENERAL 
5459715    AGENCY INC                              P.O Box 12279                                                                                    Santa Rosa        CA       95403
5459716    RICH & CARTMILL INC                     2738 E. 51st, Ste. 400                                                                           Tulsa             OK       74105
           RICHARD PITTS FINANCIAL 
5460664    GROUP INC                               800 N. Main St.                                                                                  Meadville         PA       16335
5459144    RICHARDS ASSOCIATES                     1126 Clifton Avenue                                                                              Clifton           NJ       07013
5459717    RICHARDS ASSOCIATES                     1126 Clifton Avenue                                                                              Clifton           NJ       07015
5460853    RICHARDS, MARK                          2746 NW 94TH AVENUE                                                                              CORAL SPRINGS     FL       33065
5461982    RICHES, JACLYN                          337 BELLAIR ROAD                                                                                 FORT MYERS        FL       33905
           RICHMOND VIRGINIA 
5458990    PROPERTY ASSESSOR                       900 E Broad Street                                                                               Richmond          VA       23219
5459718    RICK CARROLL INSURANCE                  P.O Box 877                                                                                      Jensen Beach      FL       34958
5460404    RICK GIBBS PA                           1000 South SR 7                                                                                  Plantation        FL       33317
5463294    RICKMAN, BRUCE                          216 CLEARVIEW DR                                                                                 COLUMBIA          SC       29212
5459140    RICOH USA INC                           P.O. Box 827577                                                                                  Philadelphia      PA       19182
5462808    RIGGITANO, FRANK                        601 LANDMARK LANE                                                                                MIDDLETOWN        DE       19709
5462311    RIGGS, LAURNECIA                        3154 STOCKTON STREET                                                                             RICHMOND          VA       23224
5462365    RILEY, LISA                             1716D WHISPERING CREEK DRIVE                                                                     BALLWIN           MO       63021
5462225    RIMES, KELSEY                           1505 BIRCH DRIVE                                                                                 GREENWOOD         MO       64034
5462703    RINCON, ELIZABETH                       601 RT 206                            SUITE 26‐444                                               HILLSBOROUGH      NJ       08844
5462002    RINERE, JAMES                           27 MICHELE LANE                                                                                  MADISON           CT       06443
5463127    RIOS, ARLENE                            562 WEST 193RD STREET                 APARTMENT 4A                                               NEW YORK          NY       10040
5461053    RIOUX, NADA                             PO BOX 27268                                                                                     GREENVILLE        SC       29616
           RISK ADVISORS OF AMERICA 
5460405    LLC                                     240 Lookout Place                                                                                Maitland          FL       32751
           RISK AND INSURANCE 
5460394    CONSULTANTS INC                         5416 Glenridge Drive                                                                             Atlanta           GA       30342
           RISK CONSULTING PARTNERS 
5460395    LLC                                     8112 Maryland Avenue, Suite 400                                                                  Saint Louis       MO       63105



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5460694 RISK INNOVATIONS LLC‐GA                    211 Perimeter Center Pkwy, Ste. 1050                                                               Atlanta             GA       30346
                                                   211 PERIMETER CENTER PARKWAY, SUITE 
5459712 RISK INNOVATIONS LLC‐MO                    1050                                                                                               ATLANTA             GA       30346
           RISK INSURANCE SERVICES 
5460396    AGENCY LLC                              141 North Meramec, Ste. 20                                                                         Saint Louis         MO       63105
           RISK MANAGEMENT 
5459713    INSURANCE                               PO BOX 62487                                                                                       Fort Myers          FL       33906‐2487
           RISK MANAGEMENT PARTNERS 
5460665    INC                                     PO Box 5069                                                                                        Brandon             MS       39047
           Risk Management Services 
5461272    Company                                 2211 River Rd                                                                                      Louisville          KY       40206
5459714    RISK MANAGERS INC                       P.O Box 608                                                                                        Ayden               NC       28513
5460397    RISK PARTNERS INC                       444 E. Kings Highway Suite 100                                                                     Maple Shade         NJ       08052
           RISK SOLUTIONS INSURANCE 
5460398    GROUP INC                               1110 Pinellas Bayway S. Unit 111                                                                   Tierra Verde        FL       33715
5463435    RISOLA, CHRISTOPHER                     2528 BELLEVILLE COURT                                                                              CAPE CORAL          FL       33991
5462183    RITTER, KARLA                           12476 COUNTRY DAY CIR                                                                              FORT MYERS          FL       33913‐7628
5463232    RIVERA, BIANCA                          421 NORTHLAKE BLVD.                    APT. #2087                                                  ALTAMONTE SPRINGS   FL       32701
5462709    RIVERA, ELVIS                           34 VIA POINCIANA LANE                                                                              BOCA RATON          FL       33487
5462129    RIVERA, JOSE                            701 PINE AVENUE                        NUMBER 107                                                  LONG BEACH          CA       90813
5462161    RIVERA, JULIO                           152 SECOND STREET                                                                                  TRENTON             NJ       08611
5461789    RIVERA, VICTOR                          16108 STONEBROOK DRIVE                                                                             STANFORD            FL       32773
5459141    RIVERSIDE HOTEL                         620 EAST LAS OLAS BLVD                                                                             FORT LAUDERDALE     FL       33301

5459142 RIVIERA FINANCE OF TEXAS INC P.O. Box 535213                                                                                                  Atlanta             GA       30353
5460400 RK TONGUE CO INC             575 S. Charles St. #205                                                                                          Baltimore           MD       21201
           RLA INSURANCE 
5459707 INTERMEDIARIES LLC                         75 Federal Street, Suite 1250                                                                      Boston              MA       02110
5459139 RLD ASSOCIATES INC                         320 CUMBERLAND ST                                                                                  LEBANON             PA       17042
                                                                                          9025 North 
5458932    RLI Insurance Company                   Attention: Risk Services               Lindbergh Drive                                             Peoria              IL       61615‐1431
5733789    RMA BROKERAGE LLC                       11555 N.MERIDIAN ST. SUITE 100                                                                     CARMEL              IN       46032
5459708    RMA Brokerage, LLC                      5875 Castle Creek Parkway N Drive      Suite 215                                                   Indianapolis        IN       46250
5459709    RMC CONSULTANTS LTD                     12295 W 48th Ave                                                                                   Wheat Ridge         CO       80033
5461277    RMC Consultants, Ltd.                   791 10th St. South, Suite #202                                                                     Naples              FL       34102
                                                                                          791 10th St. South 
5461275 RMC Consultants, Ltd.                      Mark Elwell                            Suite #202                                                  Naples              FL       34102
                                                                                          791 10th St. South 
5461276 RMC Consultants, Ltd.                      Rick Hopwood                           Suite #202                                                  Naples              FL       34102

5459710 RMS INSURANCE BROKERS LLC 100 Ring Road West, Unit 200                                                                                        Garden City         NY       11530‐3217
5463264 ROAT, BRENDA              461 WEST 1ST                                                                                                        HOISINGTON          KS       67544


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5463166 ROBBINS, AUGUSTUS                          5 HAINES DRIVE                                                                                     SCHWENKSVILLE       PA       19473
           ROBERT B SUHR AND 
5459711 COMPANY INC                5300 Steven Creek Blvd. Ste 30                                                                                     San Jose            CA       95129
        ROBERT E HARRIS INSURANCE 
5459703 AGENCY INC                 3150 BRISTOL ST.                                                                                                   COSTA MESA          CA       92626
        ROBERT GREGORY WALKER 
5460399 DBA XXON INSURANCE         16301 Whippoorwill Lane                                                                                            Little Rock         AR       72210
        ROBERT H CLARKSON 
5460290 INSURANCE AGENCY LLC       401 W. Main Street Ste 1500                                                                                        Louisville          KY       40202

5460695 ROBERT L OTT INSURANCE INC 831 Parkway Avenue                                                                                                 Conway              AR       72034
5462400 ROBERTS, LYRA              3417 NW 163RD STREET                                                                                               EDMOND              OK       73013

5461303 Robinson Kriger and McCallum 12 Portland Pier Road                                                                                            Portland            ME       04101
5461095 ROBINSON, NICKIANNA          2465 NW 98TH LANE                                                                                                SUNRISE             FL       33322
           ROCKMAN INSURANCE GROUP 
5460291 INC                                        P.O Box 235                                                                                        Hillsdale           MI       49242
5459704 ROCKWELL GROUP LTD                         640 Fulton Street                     Suite 4                                                      Farmingdale         NY       11735
5463459 RODERIQUE, CINDY                           411 CLAYMATH COURT                                                                                 BALLWIN             MO       63011
           RODRIGUEZ INSURANCE 
5460388    CONSULTANTS INC           14213 SW 35 Street                                                                                               Miami               FL       33175
5462551    RODRIGUEZ, DANIEL         10628 RIGOLETTO DRIVE NW                                                                                         ALBUQUERQUE         NM       87114
5462737    RODRIGUEZ, ERIC           471 NORTH BROADWAY                                  NUMBER 282                                                   JERICHO             NY       11753
5462080    RODRIGUEZ, JESSICA        516 NW 23RD AVENUE                                                                                               FORT LAUDERDALE     FL       33311
5461227    RODRIGUEZ, RAMON          9124 PERSHORE PLACE                                                                                              TAMARAC             FL       33321
5462878    RODRIGUEZ‐DIXON, GLADYS   5144 MARQUETTE AVENUE                                                                                            SAN BERNARDINO      CA       92407
           ROEBUCK ASSOCIATES INS 
5460696    EXCHANGE LLC              5599 S. University Drive, #301                                                                                   Davie               FL       33328
           ROGER BOUCHARD INSURANCE 
5459705    INC                       101 STARCREST DR                                                                                                 CLEARWATER          FL       33765
           ROGERS GUNTER VAUGHN 
5460389    INSURANCEINC              1117 Thomasville Rd.                                                                                             Tallahassee         FL       32303
5463086    ROGERS, ANDREW            923 FAIRWAYCOVE LN UNIT 201                                                                                      BRADENTON           FL       34212
5461577    ROGERS, TAMARA            3321 DORA STREET                                                                                                 FORT MYERS          FL       33916
5461604    ROGERS, TERESA            3321 DORA STREET                                                                                                 FT. MYERS           FL       33916
                                                                                         Attn: Arthur H.       1177 Avenue of the 
5729558    Rohr, Jeffrey                           Kramer Levin Naftalis & Frankel LLP   Aufses III            Americas                               New York            NY       10036
5464617    ROHR, JEFFREY P                         43 GREENFIELD AVENUE                                                                               BRONXVILLE          NY       10708
5462166    ROLLINSON, KAITLYN                      17037 WRIGLEY CIRCLE                                                                               FORT MYERS          FL       33912
5461845    ROMAN, YANIRA                           401 E. LAS OLAS BLVD                  APT 209                                                      PLANTATION          FL       33322
5733790    ROMERO, LUIS E.                         1520 NE 140 ST                                                                                     NORTH MIAMI         FL       33161
5461988    ROMIG, JACQUELINE                       640 TEAL DRIVE                                                                                     WINDER              GA       30680
5462243    RONCEVICH, KEVIN                        1694 VIA VALMONTE CIRCLE                                                                           CORONA              CA       92881


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5459137 RONNOCO COFFEE LLC                         P.O. BOX 959106                                                                                ST. LOUIS           MO      63195
5459384 ROONGY, DAVEKA                             659 Abbington Drive                  Apt #Ta16                                                 East Windsor        NJ      08520
           ROPER INSURANCE AND 
5460390    FINANCIAL SERVICES                      9559 South Kingston Court                                                                      Englewood           CO      80112
5462861    ROS, GEMMA                              14100 SW 21ST ST                                                                               DAVIE               FL      33325
5460970    ROSA, MICHAEL                           237 ALEXANDER ROAD                                                                             NEW MILFORD         PA      18834
5463436    ROSE, CHRISTOPHER                       116 SHANE STREET                                                                               MONTGOMERY          TX      77316
5460871    ROSE, MARY                              1504 NORTHLAKE DRIVE                                                                           SANFORD             FL      32773
5461242    ROSE, REBECCA                           138 SPRING GLEN DR.                                                                            DEBARY              FL      32713
           ROSS & YERGER INSURANCE 
5460280    INC                                     O.O Box 1139                                                                                   Jackson             MS      39215
5462184    ROSS, KAROLYN                           3140 S HIGHWAY 14                                                                              GREENVILLE          SC      29615‐5904
5461310    ROSS, RON                               3140 S HIGHWAY 14                                                                              GREENVILLE          SC      29615‐5904
5461827    ROSS, WILLIAM                           433 CORAL WAY                                                                                  FORT LAUDERDALE     FL      33301
5462329    Rothgerber, Lewis Roca                  201 Third Street N, Suite 1950                                                                 Albuquerque         NM      87102
5461022    ROUSH, MISTY                            3505 NORTH SPRING STREET                                                                       INDEPENDENCE        MO      64050
5463103    ROUSSEL, ANN                            451 PREVOT                                                                                     ST. CHARLES         MO      63303
5460697    ROY N BORDEN AGENCY INC                 300 S. Rodney Parham Rd. Ste. 16                                                               Little Rock         AR      72205
           Royston, Rayzor, Vickery and 
5461326    Williams                                1600 Smith Street, Ste. 5000                                                                   Houston             TX      77002
5461795    ROZHON, VICTORIA                        790 NW 92ND AVENUE                                                                             PLANTATION          FL      33324
5462012    ROZIER, JANDY                           4029 COCOPLUM CIRCLE                                                                           COCONUT CREEK       FL      33063
5462316    ROZIER, LEANNE                          226 ARCHER WAY                                                                                 NIPOMO              CA      93444
5459138    RPR ENTERPRISES INC                     221 W 74 Terrace                                                                               Kansas City         MO      64114
5733791    RPR ENTERPRISES, INC.                   221 W 74TH TERR                                                                                KANSAS CITY         MO      64114
5459706    RSS INSURANCE                           P.O BOX 23685                                                                                  CHATTANOOGA         TN      37422
5465617    RSUI Group, Inc.                        945 East Paces Ferry Rd.             Suite 1800                                                Atlanta             GA      30326‐1160
           RSUI Specialty Insurance 
5458940    Company                                 945 E. Paces Ferry Rd., Suite 1800                                                             Atlanta             GA      30326
5460792    R‐T SPECIALTY LLC                       26289 Network Place                                                                            Chicago             IL      60673‐1262
5461491    RUBANO, SONIA                           1259 CARLENE AVE                                                                               FORT MYERS          FL      33901‐8715
5463344    RUBIN, CASEY                            26456 BROOKS CIRCLE                                                                            STEVENSON RANCH     CA      91381
5461130    RUBINOFF, PALMER                        22192 CAMINITO TIBURON                                                                         LAGUNA HILLS        CA      92653
5461327    Rubio's Restaurants, Inc.               2200 Faraday Ave, Suite 250                                                                    Carlsbad            CA      92008
5459700    RUE INSURANCE ‐ HAZLET NJ               1301 Highway 36                      Bldg.2, Suite 6                                           Hazlet              NJ      07730
                                                                                        1301 Highway 36, 
5459134    RUE INSURANCE ‐ HAZLET NJ               Debra Masterpalo                     Bldg. 2, Suite 6                                          Hazlet              NJ      07730
5462137    RUFO, JOSEPH                            139 LORI LANE                                                                                  BROOMALL            PA      19008
5463325    RUIZ, CARLOS                            655 OAKLAWN AVENUE                                                                             CHULA VISTA         CA      91910
5461060    RUSANOVSKY, NATALIE                     820 RILL DRIVE                                                                                 ALTAMONTE SPRINGS   FL      32714
5462456    RUSHING, CLIFFORD                       8 TULIP COURT                                                                                  EASTON              PA      18045
5460391    RV JOHNSON AGENCY INC                   2041 SE Ocean Blvd                                                                             Stuart              FL      34996



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           RYAN INSURANCE & FINANCIAL 
5459701    SERVICES INC                            302 W. NEW YORK AVE                                                                            DELAND              FL       32720
           RYAN R ROBISON & COMPANY 
5459135    INC                                     3310 W BIG BEAVER ROAD                                                                         TROY                MI       48084
5462348    RYAN, LINDA                             2897 ADAMS DR                                                                                  HATFIELD            PA       19440
           RYDER‐ROSACKER‐MCCUE & 
5460281    HUSTON                                  509 W Koenig Street                                                                            Grand Island        NE       68801

5461335 RYSPONSIS INC                              2645 EXECUTIVE PARK DRIVE, SUITE 648                                                           WESTON              FL       33331
5461336 S and C Claims                             3791 Southern Blvd # 240                                                                       Rio Rancho          NM       87124
           S&P INS PARTNERS LLC‐ 
5459702 CLINTON                                    PO BOX 299                                                                                     CLINTON             AR       72031

5460666 S&P INS PARTNERS LLC‐ MT IDA PO Box 1270                                                                                                  Mount Ida           AR       71957

5459697    S&S INSURANCE SERVICES INC              210 SE 89th Street                                                                             Oklahoma City       OK       73149
5733792    S.K.I., INC.                            18191 NW 68TH AVE #112                                                                         MIAMI               FL       33015
5459699    SABAL INSURANCE GROUP                   1000 EAST BROWARD BLVD                                                                         FORT LAUDERDALE     FL       33301
5462960    SABGA, ADELLE                           2282 MILLTOWNE WAY                                                                             LAKE MARY           FL       32746

5462234 SAENPHIMMACHAK, KESONE                     511 BELLSWORTH DRIVE                                                                           ST. LOUIS           MO       63125
5461340 SAFECO                                     1600 N. Collins Blvd.                                                                          Richardson          TX       75080
           SAFETY EVALUATIONS OF 
5459132 AMERICA LLC                                1798 LAWRENCEVILLE SUWANEE RD                                                                  LAWRENCEVILLE       GA       30043
5459133 SAFEWAY                                    11555 Dublin Canyon Road                                                                       Pleasanton          CA       94588
5733793 SAFEWAY                                    PO BOX 29223                                                                                   PHOENIX             AZ       85038
           SAGE RISK & INSURANCE 
5459692 MGMT                                       21 Ernston Road, Front Door                                                                    Parlin              NJ       08859
           SAGE RISK MANAGEMENT & 
5459693    INSURAN                                 27782 EL LAZO                                                                                  LAGUNA NIGUEL       CA       92677
5462631    SALCEDO, DIANA                          1646 N. LINCOLN STREET                                                                         BURBANK             CA       91506
5461222    SALEM, RACHEL                           605 WYNDVIEW DRIVE                                                                             LAKE ST. LOUIS      MO       63367
5463067    SALES, ANA                              1068 LOTUS PARKWAY                     NUMBER 832                                              ALTAMONTE SPRINGS   FL       32714
5461542    SALES, STEPHEN                          12753 BALLENTINE STREET                                                                        OVERLAND PARK       KS       66213
5459130    SALESFORCECOM INC                       P.O. Box 203141                                                                                Dallas              TX       75320
5461263    SALGADO, RICHARD                        2016 CHARLESTON DRIVE                                                                          BEDFORD             TX       76022
5460971    SALLER, MICHAEL                         5061 NW 64TH DRIVE                                                                             CORAL SPRINGS       FL       33067
5461863    SAMAYOA, YVETTE                         608 SW 22ND AVE                                                                                FORT LAUDERDALE     FL       33312
           SAMUEL P MARTIN INSURANCE 
5460654    AGENCY INC                              500 Jessup Road                                                                                West Deptford       NJ       08066
5461352    San Antonio Water System                2800 U.S.Hwy 281 North                                                                         San Antonio         TX       78212
5462623    SANCHEZ, DENNIS                         1439 NW 4TH AVENUE                                                                             FORT LAUDERDALE     FL       33311
5461790    SANCHEZ, VICTOR                         510 COLUMBUS AVENUE                                                                            SACRAMENTO          CA       95833


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5461023 SANDERS‐WILLIAMS, MIZIKI                   2690 NW 15TH ST                                                                                  FT LAUDERDALE     FL       33311
5458999 SANIBEL CAPTIVA BANK                       15975 MCGREGOR BLVD                                                                              FORT MYERS        FL       33908

5458772 SANIBEL CAPTIVA BANK                       ATTN: PRESIDENT OR GENERAL COUNSEL PO BOX 187                                                    SANIBEL           FL       33957
5463299 SANSON, BUD                                111 WISCASSET WAY                                                                                GREENVILLE        SC       29615
           Santa Ana Unified School 
5461358 District                                   1601 E. Chestnut Ave                                                                             Santa Ana         CA       92701

5459694 SANTA MARIA AND COMPANY 1550 PARKSIDE DR.                                                                                                   WALNUT CREEK      CA       94596

5462958    SANTANA‐CUCUTA, ADELAIDE                16350 BRUCE B DOWNS BLVD            UNIT 46621                                                   TAMPA             FL       33646
5463405    SANTI, CHRIS                            520 1/4 NORTH HELIO TROPE                                                                        LOS ANGELES       CA       90004
5461580    SANTIAGO, TAMMY                         276 VALLEY RD.                                                                                   SULLIVAN          NH       03445
5462582    SAPIENZA, DAVID                         6 WOODBRIAR DR                                                                                   MEDIA             PA       19063
5461472    SAPIENZA, SHERRY                        920 SHADELAND AVENUE                                                                             DREXEL HILL       PA       19026
5462803    SARMIENTO, FRANCES                      628 ANDOVER ROAD                                                                                 NEWTON SQUARE     PA       19073
5463321    SAUERBRUN, CARLA                        1611 BRIDGE MILL DRIVE              APT I                                                        MARIETTA          GA       30067
5462340    SAUNDERS, LILYANA                       14109 RUTGERS AVE.                                                                               ORLANDO           FL       32826
           SAVAGE & MCPHERSON 
5459695    INSURANCE AGENCYINC                     376 Kempsville Rd                                                                                Chesapeake        VA       23320
           SAVERIO PANSINI INSURANCE 
5459696    AGENCY                                  723 Degraw Avenue                                                                                Newark            NJ       07104
           Savvis Communications Corp.             Centurylink Communications, LLC.‐
5728698    d/b/a CenturyLink TS                    Bankruptcy                          220 N 5th ST                                                 Bismarck          ND       58501
           Savvis Communications Corp.             Centurylink Communications, LLC.‐   600 New Century 
5728698    d/b/a CenturyLink TS                    Bankruptcy                          Parkway                                                      New Century       KS       66031

5733566 SC DEPARTMENT OF REVENUE CORPORATE INCOME TAX PAYMENT                                                                                       COLUMBIA          SC       29214‐0007
                                 SC DEPARTMENT OF REVENUE, 
5733564 SC DEPARTMENT OF REVENUE CORPORATION                                                                                                        COLUMBIA          SC       29214‐0006
                                 SC DEPARTMENT OF REVENUE, 
5733565 SC DEPARTMENT OF REVENUE CORPORATE TAXABLE                                                                                                  COLUMBIA          SC       29214‐0006

5733567 SC DEPARTMENT OF REVENUE TAXABLE PARTNERSHIP                                                                                                COLUMBIA          SC       29214‐0036
                                                                                       800 Dutch Square 
5461374    SC State Accident Fund                  Steve Flowers                       Blvd, Suite 160                                              Columbia          SC       29210
5463072    SCARLETT, ANDREA                        19440 SW 54TH STREET                                                                             MIRAMAR           FL       33029
5462901    SCHAEFFER, GREG Matthew                 218 MARTIGNEY DR                                                                                 SAINT LOUIS       MO       63129‐3412
5462645    SCHAFER, DOLLINDA                       8 GREEN ARBOR LANE                                                                               GREENVILLE        SC       29615
5461977    SCHLEGEL V, J                           10 EAST HAZEL STREET                                                                             ORLANDO           FL       32804
5460890    SCHNARRE, MATTHEW                       1452 DALE DR.                                                                                    TROY              IL       62294
5461092    SCHNARRE, NICHOLAS                      1735 NAUGHTON WAY                                                                                SWANSEA           IL       62226
5462349    SCHOLTS, LINDA                          15 SPINNLER DRIVE                                                                                WEST MILFORD      NJ       07480


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5463437 SCHREIBER, CHRISTOPHER                     320 LEIGH ROAD                                                                                 TEQUESTA            FL       33469
           SCHULTHEIS INSURANCE 
5460393 AGENCY INC                                 P.O Box 2728                                                                                   Evansville          IN       47728
5462583 SCHULTZ, DAVID                             808 WINDWARD WAY                                                                               PALM HARBOR         FL       34685
5461696 SCHWEBACH, TINA                            112 SHAIRPIN LANE                                                                              GREENVILLE          SC       29607
           SCIROCCO FINANCIAL GROUP 
5460382 INC                                        777 Terrace Ave, Ste. 309                                                                      Hasbrouck Heights   NJ       07604
5462809 SCOLA, FRANK                               62927 BRAUN DRIVE                                                                              WASHINGTON          MI       48094
                                                                                                           6 CARDINALL AVENUE, 3RD 
5458773 SCOTIABANK                                 ATTN: JONELLE T. CAMPBELL          P.O. BOX 689         FLOOR                                  GEORGE TOWN                  KY1‐1107      GRAND CAYMAN
5462350 SCOTT, LINDA                               7449 W. OCOTILLO ROAD                                                                          GLENDALE            AZ       85303

5461678 SCOTT, THOMAS                              6104 QUEENRIDGE DRIVE                                                                          RANCHO PALOS VERDE CA        90275
5459687 SCOTTSDALE                                 8877 N. Gainey Center Drive                                                                    Scottsdale         AZ        85258
                                                                                      8877 N. Gainey 
5461386 Scottsdale Insurance Company Thomas Joyce                                     Center Drive                                                Scottsdale          AZ       85258
5461149 SEARS, PATRICK               104 N. 8TH STREET                                                                                            OZARK               MO       65721
5462869 SEATON, GEORGE               690 DOE LANE                                                                                                 LEWISBERRY          PA       17339

5461392    Seaworthy Insurance Company             147 Old Solomons Island Rd # 508                                                               Annapolis           MD       21401
5462879    SEAY, GLEN                              748 PINE HARBOR ROAD                                                                           PELL CITY           AL       35128
5462366    SEBASTIANO, LISA                        115 GROVE HOLLOW COURT                                                                         SANFORD             FL       32773
5462185    SECORE, KASI                            297 HALE HILL ROAD                                                                             SWANZEY             NH       03446
5459688    SECURITY FIRST INSURANCE                P.O Box 489                                                                                    Rushville           NE       69360
           Security Management of SC, 
5461393    LLC                                     17 Broad Street                                                                                Sumter              SC       29151
           Security National Insurance 
5461394    Company                                 5701 Stirling Road                                                                             Davie               FL       33314
           SEDGWICK CLAIMS 
5459129    MANAGEMENT SERVICES                     144 E 84TH ST                                                                                  NEW YORK            NY       10028
5461395    SEDGWICK CMS                            Cathey Jackson                     Sedgwick TPA                                                Brea                CA       92821
5461396    SedgwickCMS                             200 meridian Centre Ste. 200                                                                   Rochester           NY       14618

5461397 SedgwickCMS ‐ Advance Auto 1974 St. Route 52                                                                                              Liberty             NY       12754
5461398 SedgwickCMS ‐ Bealls, Inc.     700 13th Avenue East                                                                                       Bradenton           FL       34208
5461399 SedgwickCMS ‐ Butterball       PO Box 1547                                                                                                Kings Mountain      NC       28086
5461400 SedgwickCMS ‐ FedEx            942 South Shady Grove Road                                                                                 Memphis             TN       38120
5461401 SedgwickCMS ‐ Fluor            255 Primera Blvd #400                                                                                      Lake Mary           FL       32746
        SedgwickCMS ‐ Herc Rentals, 
5461402 Inc.                           27500 Riverview Center Bldg 7                                                                              Bonita Springs      FL       34134
5461403 SedgwickCMS ‐ Hertz            8501 Williams Road                                                                                         Estero              FL       33928
        SedgwickCMS ‐ James Glidewell 
5461404 Labs                           4141 MacArthur Blvd                                                                                        Newport Beach       CA       92660


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                                                                                                       Served via First Class Mail
 MMLID            NAME                                             ADDRESS 1             ADDRESS 2                ADDRESS 3          ADDRESS 4              CITY       STATE   POSTAL CODE      COUNTRY
5461405 SedgwickCMS ‐ Pepsi                        700 Anderson Hill Road                                                                        Purchase             NY       10577
           SedgwickCMS ‐ Sheppard 
5461406 Mullin                                     Ge Bldg                                                                                       New York             NY       10112
        SedgwickCMS ‐ Standard 
5461407 Parking                                    200 East Randolph St. Suite 7700                                                              Chicago              IL       60601
5461408 SedgwickCMS ‐ Starwood FL                  255 Primera Blvd #400                                                                         Lake Mary            FL       32746

5461409 SedgwickCMS ‐ Starwood, TX                  PO Box 14497                                                                                 Lexington            KY       40512
5461410 SedgwickCMS ‐ TBC Corp                     4300 TBC Way                                                                                  Palm Beach Gardens   FL       33410
           SedgwickCMS ‐ Tenet 
5461411    Healthcare                              255 Primera Blvd #400                                                                         Lake Mary            FL       32746
5461412    SedgwickCMS ‐ Uni‐Select                170 INDUSTRIEL BLVD.                                                                          BOUCHERVILLE         QC       J4B 2X3       CANADA
5733794    SEDRAK, NANCY E                         4295 FARQUHAR AVENUE                                                                          LOS ALAMITOS         CA       90720
5461413    SegwickCMS ‐ Orbital ATK                45101 Warp Dr.                                                                                Dulles               VA       20166
           SEITLINMARSH & MCLENNAN 
5460282    AGENCY LLC                              9850 NW 41 Street                                                                             Miami                FL       33178
5459689    SEITZ AGENCY INC                        25 W. High St.                                                                                Lawrenceburg         IN       47025
5461415    Select Staffing                         2760 TAPO CANYON RD #4                                                                        SIMI VALLEY          CA       93063
5461418    Selective Insurance                     Kim Lopez                          PO Box 480                                                 Branchville          NJ       07826

                                                                                      11711 North 
5461417 Selective Insurance                        Kurt Lang                          Meridian St. Ste 800                                       Carmel               IN       46032
           Selective Insurance Company of 
5461435    America                         40 Wantage Avenue                                                                                     Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461425    America                         Bonnie Kikkert                             40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461420    America                         Doug Eden                                  40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461428    America                         George Melvin                              40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461430    America                         Gregory E. Murphy                          40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461426    America                         James Klotz                                40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461419    America                         Jamie Cooper                               40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461424    America                         Joanne Houghton                            40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461434    America                         John Winkler                               40 Wantage Avenue                                          Branchville          NJ       07890‐0001
           Selective Insurance Company of 
5461423    America                         Joseph Feo                                 40 Wantage Avenue                                          Branchville          NJ       07890‐0001




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           Selective Insurance Company of 
5461427    America                         Linda McSweeney                              40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461431    America                         Melissa Rubert                               40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461429    America                         Penny Moore                                  40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461422    America                         Ray Farinella                                40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461432    America                         Rosemary Troccoli                            40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461421    America                         Terri Fabiano                                40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           Selective Insurance Company of 
5461433    America                         Tim Violand                                  40 Wantage Avenue                                             Branchville       NJ       07890‐0001
           SELECTIVE RISK MANAGEMENT 
5461436    LLC                             401 E. LAS OLAS BLVD, SUITE 1650                                                                           FORT LAUDERDALE   FL       33301
           SELECTSOLUTIONS INSURANCE 
5460283    SERVICES LLC                    P.O Box 5267                                                                                               Walnut Creek      CA       94596
           SEMINOLE COUNTY FLORIDA 
5458991    PROPERTY APPRAISERS             P.O. Box 630                                                                                               Sanford           FL       32772‐0630
5461438    Seminole Tribe of Florida       6300 Stirling Road                                                                                         Hollywood         FL       33024
5459690    SENA & WHITNEY LLC              190 Glades Rd., Ste. C                                                                                     Boca Raton        FL       33432
           Seneca Insurance Company,                                                    20 N Wacker Drive 
5461439    Inc. (Crum & Foster)            Marcia Anderson                              Ste 1050                                                      Chicago           IL       60606
           SENIOR LIVING INSURANCE 
5459691    BROKERS                         1780 S Bellaire Street, Suite 615                                                                          Denver            CO       80222

5459128 SENSATIONAL BASKETS INC                    2660 HOLCOMB BRIDGE ROAD SUITE 212                                                                 ALPHARETTA        GA       30022
        SENTINEL CASUALTY 
5459682 INSURANCE INC                              P.O Box 551718                                                                                     Davie             FL       33355
5461443 Sentry Insurance                           601 Michigan Ave North                                                                             Steven Point      WI       54481
                                                                                        1800 North Point 
5461440 Sentry Insurance                           Al Coulter                           Drive                                                         Stevens Point     WI       54481
                                                                                        1800 North Point 
5461441 Sentry Insurance                           Bob Wells                            Drive                                                         Stevens Point     WI       54481
                                                                                        1800 North Point 
5461442 Sentry Insurance                           Lori Ostrowski                       Drive                                                         Stevens Point     WI       54481
5461803 SEP, WALTER                                15880 COUNTRY COURT                                                                                FORT MYERS        FL       33912
5462022 SEPULVEDA, JASMINE                         701 LYONS ROAD                       UNIT 13‐204                                                   COCONUT CREEK     FL       33063

5461444 Sequoia Insurance Company                  31 Upper Ragsdale Drive                                                                            Monterey          CA       93940
5459216 SERFF, NAIC                                P.O. Box 87‐5976                                                                                   Kansas City       MO       64187
5461445 Service Lloyds                             6907 Captital of Texas Highway                                                                     Austin            TX       78731



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5459078 SERVICES, TRACEY                           4851 Concordia Lane                                                                                                    Boynton Beach     FL       33436

5460698 SETNOR BYER BOGDANOFF INC 900 S. Pine Island Rd. #300                                                                                                             Plantation        FL       33324
5460383 SEUBERT & ASSOCIATES INC  225 North Shore Drive, Suite 300                                                                                                        Pittsburgh        PA       15212
5463349 SEXTON, CATHY             112 COTTAGE GATE LN                                                                                                                     EASLEY            SC       29642
                                                                                                                  131 S. Dearborn Street, 
5458962 Seyfarth Shaw LLP                          Pamela Devata                             Seyfarth Shaw LLP    Suite 2400                                              Chicago           IL       60603
5461259 SEYMOUR, RHONDA                            143 MANCHESTER DR                                                                                                      MAULDIN           SC       29662
           SFI INC DBA HOSPITALITY 
5459683 INSURANCE AGENCY                           4025 Tampa Road, Suite 1208                                                                                            Oldsmar           FL       34677
5461447 SFM Services, Inc.                         9700 NW 79th Avenue                                                                                                    Hialeah Gardens   FL       33016
           SG PROGRAM INSURANCE 
5459684    AGENCY RETAIL INC                       2211 NW MILITARY HWY, SUITE 211                                                                                        SAN ANTONIO       TX       78213
5459685    SGB ASSOCIATES                          Steven Barretta                           P.O. Box 8128                                                                Hicksville        NY       11801
5459470    SHAIPER, BRANDON                        212 Camelot Drive                                                                                                      Weldon Spring     MO       63304
5460995    SHAIPER, MICHELLE                       212 CAMELOT DRIVE                                                                                                      WELDON SPRING     MO       63304
5733795    SHANFELTER, AUSTIN                      12550 FUQUA STREET                                                                                                     HOUSTON           TX       77034
5720309    Shanfelter, Austin J                    12550 Fuqua Street                                                                                                     Houston           TX       77034‐4600
                                                                                           Attn: Philip Trainer,                                500 Delaware Ave., 8th 
5729568 Shanfelter, Austin J.                      Ashby & Geddes, P.A.                    Jr., Esq.              Attn: Ricardo Palacio, Esq.   Floor                     Wilmington        DE       19801
                                                                                           Attn: Christopher 
                                                                                           Joseph Bosch, Rena 
5466069 Shanfelter, Austin J.                      c/o Sheppard, Mullin, Richter & Hampton Andoh                  30 Rockefeller Plaza                                    New York          NY       10112
                                                                                                                  1901 Avenue of the Stars, 
5466072 Shanfelter, Austin J.                      c/o Sheppard, Mullin, Richter & Hampton John P. Stigi , III    Suite 1600                                              Los Angeles       CA       90067
                                                                                           Attn: Andrew Zaron,  255 Alhambra Circle, Suite 
5729568 Shanfelter, Austin J.                      León Cosgrove, LLC                      Esq.                   800                                                     Coral Gables,     FL       33134
                                                                                           Attn: Marcos D.        255 Alhambra Circle, Suite 
5729568 Shanfelter, Austin J.                      Marcos D. Jiménez, P.A.                 Jiménez, Esq.          800                                                     Coral Gables      FL       33134

5460384    SHARP INSURANCE AGENCY INC              6175 NW 153 Street. Ste 200                                                                                            Miami Lakes       FL       33014
5461314    SHARRAR, RONALD                         137 EAST CHELSEA CIRCLE                                                                                                NEWTON SQUARE     PA       19073
5459686    SHAW INSURANCE SERVICES                 P.O. BOX 729                                                                                                           ANDERSON          CA       96007
5462021    SHEAR, JARED                            2793 GLASBERN CIRCLE                                                                                                   WEST MELBOURNE    FL       32904
5462003    SHEERIN, JAMES                          4016 SE 17TH LANE                                                                                                      OCALA             FL       34471
5462540    SHELTON, DAN                            874 ANDAYOL DRIVE                                                                                                      KOUTS             IN       46347
5462557    SHELTON, DANNY                          874 ANDAYOL DRIVE                                                                                                      KOUTS             IN       46347
5459678    SHEPHERD INSURANCE LLC                  111 Congressional Blvd. Suite 100                                                                                      Carmel            IN       46032
5463295    SHERIFF, BRYAN                          2618 THOMAS STREET                                                                                                     HOLLYWOOD         FL       33020
5460385    SHERLOCK INSURANCE                      1432 West Britton Road Ste 4                                                                                           Oklahoma City     OK       73114
5461679    SHIELDS, THOMAS                         7310 SQUIRES PLACE                                                                                                     NAPLES            FL       34113
5733568    SHIELDS, TOM                            7310 SQUIRES PLACE                                                                                                     NAPLES            FL       34113
5460386    SHILTON & ASSOCIATES INC                660 Cascade West Parkway, S.E                                                                                          Grand Rapids      MI       49546


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5461474    Shirkey Nursing & Rehab Center          Jennifer Brenton                       804 Wollard Blvd.                                             Richmond            MO       64085
5462113    SHIRLEY, JOHN                           180 AUTUMN CHASE                                                                                     PITTSBORO           NC       27312
5463258    SHOEMAKER, BRANDON                      1326 GOLDRIDGE ST                                                                                    SELMA               CA       93662
5459679    SHOMER INSURANCE                        4221 WILSHIRE BLVD.STE 222                                                                           LOS ANGELES         CA       90010
           SHOMER INSURANCE AGENCY 
5459680    INC                                     4221 WILSHIRE BLVD., SUITE #222                                                                      LOS ANGELES         CA       90010
5460860    SHORE, MARNIE                           3208 SADDLEBACK MOUNTAIN RD                                                                          MARIETTA            GA       30062
           SHORELINE INSURANCE 
5460387    AGENCY INC                              875 W. Broadway Avenue                                                                               Muskegon            MI       49441
5462216    SHOTWELL, KELLEY                        324 DUBLIN DRIVE                                                                                     LAKE MARY           FL       32746
5459126    SHRED ONE SECURITY CORP                 P.O. Box 1470                                                                                        Southampton         PA       18996
5461476    SHRED‐IT                                520 Jefferson Ave                                                                                    Secaucus            NJ       07094
5459127    SHRED‐IT USA LLC                        P.O. BOX 13574                                                                                       NEWARK              NJ       07188
5463226    SHULMAN, BETH                           2155 E BROADWAY UNIT B                                                                               WAUKESHA            WI       53186
5462657    SIDWAY, DONNA                           8339 KAPPLEWWOD CT                                                                                   CHARLOTTE           NC       28226
5462114    SIEMINSKI, JOHN                         6705 LAUREN LN                                                                                       MURCHISON           TX       75778
5461894    SIERRA, HEDDA                           7642 ALICIA LANE                                                                                     SARASOTA            FL       34243

5460284 SIGNAL INSURANCE GROUP LLC 669 N. Academy Street                                                                                                Greenville          SC       29601

5733796 SIGNAL MUTAL INDEMNITY LTD 64 DANBURY RD #400                                                                                                   WILTON              CT       06897
5461980 SIGSBY, JACKIE             1326 TALMADGE STREET                                                                                                 LOS ANGELES         CA       90027

5459681    SIHLE INSURANCE GROUP INC               PO BOX 160398                                                                                        ALTAMONTE SPRINGS   FL       32716
5462661    SILLANO, DOROTHY                        11869 NW 53RD COURT                                                                                  CORAL SPRINGS       FL       33076
5463412    SILLS, CHRISTINA                        16223 PLUMMER STREET                                                                                 NORTH HILLS         CA       91343
5462401    SILVA, MABEL                            8150 W. MCNAB ROAD                     APT. 310                                                      TAMARAC             FL       33321
           SILVERSTONE GROUP 
5459675    INCORPORATED                            11516 MIRACLE HILLS DRIVE. SUITE 100                                                                 OMAHA               NE       68154
5462051    SILVESTRI, JENA                         1087 AVILA LANE                                                                                      ORLANDO             FL       32803
5461770    SIMKINS, VALERIE                        838 PAULISON AVENUE                                                                                  CLIFTON             NJ       07013
5462589    SIMMONS, DAWN                           8327 SHERTON DRIVE                                                                                   MECHANICSVILLE      VA       23116
5461578    SIMMONS, TAMIKO                         265 MILLBROOK FARM ROAD                                                                              MARIETTA            GA       30068
5458953    Simpson Thacher                         Gary Horowitz                          Simpson Thacher        425 Lexington Avenue                   New York            NY       10017
           SIMPSON THACHER & 
5733797    BARTLETT LLP                            425 LEXINGTON AVENUE                                                                                 NEW YORK            NY       10017‐3954
5461703    SIMPSON, TOPEKA                         816 BROOKS ROAD                                                                                      MAULDIN             SC       29662
5461093    SINCLAIR, NICHOLAS                      7892 HIGHLAND BOULEVARD                                                                              EDMOND              OK       73025
5461479    Singer VEBA Trust                       PO Box 17264                                                                                         Greenville          SC       29606
5733798    SINGERMAN, BERGER                       350 EAST LAS OLAS BLVD                                                                               FORT LAUDERDALE     FL       33301




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           SINGLE SOURCE INSURANCE 
5459676    INC                                     2189 Cleveland Street, Ste 201                                                                        Clearwater        FL      33765
5461177    SINPHAY, PHINLA                         404 74TH STREET COURT NW                                                                              BRADENTON         FL      34209
5459124    SIRCON CORPORATION                      24431 NETWORK PLACE                                                                                   CHICAGO           IL      60673
5462533    SIRCUS, CYNTHIA                         5141 NE 19 AVE                                                                                        FORT LAUDERDALE   FL      33308
5462530    SIRCUS, CYNTHIA CAMPBELL                5141 NE 19 AVE                                                                                        FORT LAUDERDALE   FL      33308
5461840    SISON, WYNDELL                          10225 NEVADA AVENUE                                                                                   CHATSWORTH        CA      91311
5461481    Sitton Motor Lines                      Ruth Welschmeyer                        P.O. Box 1831                                                 Jefferson City    MO      65102
5461482    SIU                                     1263 Lincoln Dr                                                                                       Carbondale        IL      62901

5461483 SIX POINTS ENTERPRISES LLC                 140 Gassman Road                                                                                      Castle Rock       WA      98611
           SIX POINTS INVESTMENT 
5461484    PARTNERS LLC                            830 3rd Ave, 8th Floor                                                                                New York          NY      10022
5461805    SKARKA, WAYNE M.                        43 TREECREST COURT                                                                                    ROSEVILLE         CA      95678
5461485    SKI Investigations                      18191 NW 6th Ave #112                                                                                 Miami             FL      33015
5463104    SKLOSS, ANN                             8444 FM 1347                                                                                          STOCKDALE         TX      78160
5462048    SKOWRONSKI, JEFFREY                     157 WINGATE ROAD                                                                                      PARSPPANY         NJ      07054
5733569    SKUP, ROBERT                            10101 NW 10TH STREET                                                                                  PLANTATION        FL      33322
5461291    SKUP, ROBERT                            13620 Saw Palm Creek Trl                                                                              Lakewood Rch      FL      34211‐2612
                                                                                           1001 Highlands 
                                                                                           Plaza Drive West 
5461486    SLAIT                                   Steve Wicker                            #500                                                          St. Louis         MO      63110
5460785    SLATON INSURANCE                        P.O Box 220537                                                                                        West Palm Beach   FL      33422‐0537
5460972    SLIPKE, MICHAEL                         7 HIDDEN OAK TERRACE                                                                                  SIMPSONVILLE      SC      29681
5462706    SMALDONE, ELLY                          P.O. BOX 263                                                                                          SUMMITVILLE       NY      12781
5462777    SMALL, FELICIA                          5651 WASHINGTON STREET                  APT 5                                                         HOLLYWOOD         FL      33023
5459125    SMART DATA                              5 Renaissance Square                    Unit PH‐3G                                                    White Plains      NY      10601
                                                                                                            790 CLEVELAND AVENUE 
5461487    SMART DATA SOLUTIONS                    SMART DATA SOLUTIONS, INC.              ATTN: PAT BOLLOM SOUTH                                        ST. PAUL          MN      55116
5461488    Smith Mazure                            111 John Street                                                                                       New York          NY      10038
5463282    SMITH, BRITTANY                         1710 STILL WATER COURT                                                                                CUMMING           GA      30041
5463420    SMITH, CHRISTINE                        1517 SUSAN DRIVE                                                                                      LANSDALE          PA      19446
5462457    SMITH, CLINTON                          2271 CAMDEN DRIVE                                                                                     MARIETTA          GA      30064
5462614    SMITH, DEBRA                            6303 SE WINDSONG LANE                                                                                 STUART            FL      34997
5462804    SMITH, FRANCES                          1002 COQUINA LANE                                                                                     SANFORD           FL      32771
5462060    SMITH, JENNIFER                         2283 BAYSWATER DRIVE NW                                                                               KENNESAW          GA      30144
5462072    SMITH, JESSI                            187 FALCON RIDGE DR                                                                                   BOILING SPRINGS   SC      29316
5462127    SMITH, JORDAN                           131 WEBSTER DRIVE                                                                                     COLUMBIA          IL      62236
5462138    SMITH, JOSEPH                           1070 WASHINGTON STREET                                                                                GLOUCESTER        MA      01930
                                                                                           Christopher J. 
5734071 Smith, Jr., Quentin P.                     Sheppard, Mullin, Richter & Hampton LLP Bosch, Associate       30 Rockefeller Plaza                   New York          NY      10112




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5734071 Smith, Jr., Quentin P.                     Sheppard, Mullin, Richter & Hampton LLP Kandace P. Watson 12275 El Camino Real            Suite 200                  San Diego          CA       92130

5729371 Smith, Jr., Quentin P.                     Sheppard, Mullin, Richter & Hampton LLP Ori Katz             Four Embarcadero Center                                 San Francisco      CA       94111
                                                                                           James L. Patton, C.                               1000 North King Street, 
5729371 Smith, Jr., Quentin P.                     Young Conaway Stargatt & Taylor, LLP    Barr Flinn and       Kara Hammond Coyle           Rodney Square              Wilmington         DE       19801
5461012 SMITH, MISAH                               539 HILLSDALE AVENUE                                                                                                 HILLSDALE          NJ       07642
                                                                                           Attn: Christopher 
                                                                                           Joseph Bosch, Rena 
5466282 Smith, Quentin P., Jr.                     c/o Sheppard, Mullin, Richter & Hampton Andoh                30 Rockefeller Plaza                                    New York           NY       10112
                                                                                                                1901 Avenue of the Stars, 
5466284    Smith, Quentin P., Jr.                  c/o Sheppard, Mullin, Richter & Hampton John P. Stigi , III  Suite 1600                                              Los Angeles        CA       90067
5461250    SMITH, RENE                             4109 CHESTERFIELD PLACE                                                                                              OKLAHOMA CITY      OK       73179
5461596    SMITH, TAYLOR                           421 E. CONCORD ST.                                                                                                   ORLANDO            FL       32803
5462741    SMITHER, ERIK                           1327 R STILLWOOD DRIVE                                                                                               ATLANTA            GA       30306
           SNAPP & ASSOCIATES INS SVS 
5459677    INC                                     438 CAMINO DEL RIO                                                                                                   SAN DIEGO          CA       92108
5460376    SNOW & BELL INC                         P.O Box 338                                                                                                          Brooksville        FL       34605
5463087    SNOW, ANDREW                            1810 COLT ROAD                                                                                                       MEDIA              PA       19063
5459121    SOFLEX COURIER                          1520 Ne 140 St                                                                                                       North Miami        FL       33161
           SOLE PROPRIETOR SOLUTIONS 
5460285    INC                                     1912 East Broad Street                                                                                               Richmond           VA       23223
5461543    SOLIDAY, STEPHEN                        436 Lewis St NW                                                                                                      Vienna             VA       22180‐4102
5463068    SOLIS, ANA                              24007 ARROYO PARK DRIVE                  #62                                                                         VALENCIA           CA       91355
           SOLOMON INSURANCE 
5459671    SERVICESLLC                             1207 Clairmont Pl                                                                                                    Macon              GA       31204‐1098
5461841    SONG, XIAOHONG                          5466 CHANTECLAIRE                                                                                                    SARASOTA           FL       34235
5462990    SOROKIN, ALBERT                         111 FAIRLAMB AVENUE                                                                                                  HAVERTOWN          PA       19083
5463006    SORRELL, ALEXIS                         105 MANOR NORTH DRIVE                                                                                                ALPHARETTA         GA       30004
5460377    SOS INSURANCE SERVICES                  1601 Dove Street, Suite 200                                                                                          Newport Beach      CA       92660
5461309    SOUKASIANS, ROMIK                       1120 MELROSE AVE. UNIT A                                                                                             GLENDALE           CA       91202
5460973    SOULEN, MICHAEL                         6055 TOWN COLONY DR APT 1211                                                                                         BOCA RATON         FL       33433‐1953
           South Carolina Department of            Attn: Andrea Bourgoin, Licensing         Capitol Center, 
5458847    Insurance                               Supervisor                               1201 Main Street      Suite 1000                                            Columbia           SC       29201
           South Carolina Department of            Attn: Andrea Bourgoin, Licensing 
5458846    Insurance                               Supervisor                               P.O. Box 100105                                                             Columbia           SC       29202‐3105
           SOUTH CAROLINA 
5733799    DEPARTMENT OF REVENUE                   CORPORATION                                                                                                          COLUMBIA           SC       29214‐0006
           South Carolina Department of 
5761134    Revenue                                 P.O. Box 12265                                                                                                       Columbia           SC       29211
           SOUTH CAROLINA DEPT OF 
5733800    INSURANCE                               1201 MAIN ST SUITE 1000                                                                                              COLUMBIA           SC       29201




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        SOUTH CAROLINA LAW 
5459122 ENFORCEMENT DIVISION                       4400 Broad River Road                                                                                 Columbia          SC       29210
        SOUTH COUNTY INSURANCE 
5733801 AGENCY                                     P.O BOX 87                                                                                            VICKSBURG         MI       49097
        South Dakota Department of 
        Labor and Regulation Division                                                      124 South Euclid 
5458848 of Insurance                               Attn: Penney Wagoner                    Avenue                 2nd Floor                              Pierre            SD       57501
                                                                                           200 E. BROAD ST., 
5458774 SOUTH STATE                                ATTN: W. WES BRYANT                     SUITE 100                                                     GREENVILLE        SC       29601
                                                                                           200 E. BROAD ST., 
5458775 SOUTH STATE BANK                           ATTN: W. WES BRYANT                     SUITE 100                                                     GREENVILLE        SC       29601
           SOUTHEAST INSURANCE 
5460378    BROKERAGE CO                            2665 South Bayshore Drive, Suite 1001                                                                 Coconut Grove     FL       33133
           Southeast Insurance Brokerage 
5461498    Company                                 2665 S. Bayshore Drive Suite 1001                                                                     Coconut Grove     FL       33133
           Southeast Insurance Brokerage                                                   2665 S. Bayshore 
5461497    Company                                 Fernando Silva                          Drive Suite 1001                                              Coconut Grove     FL       33133
           Southeast Insurance Brokerage                                                   2665 S. Bayshore 
5461496    Company                                 Robert Peres                            Drive Suite 1001                                              Coconut Grove     FL       33133
           Southeast Insurance Brokerage                                                   2665 S. Bayshore 
5461495    Company                                 Steve Harrington                        Drive Suite 1001                                              Coconut Grove     FL       33133
           Southeast Insurance Brokerage                                                   2665 S. Bayshore 
5461494    Company                                 Tom Anderson                            Drive Suite 1001                                              Coconut Grove     FL       33133
           Southeast Safety Association, 
5461499    Inc.                                    227 Erlanger Ave                                                                                      Slidell           LA       70458
           SOUTHEASTERN AGENCY 
5459672    GROUP INC                               1501 HIGHWOODS BLVD. STE. 301                                                                         GREENSBORO        NC       27410
           SOUTHEASTERN AGENCY 
5459673    GROUP INC                               1501 Highwoods Blvd., Stuite 402                                                                      Greensboro        NC       27410
           Southern California Pizza 
5461500    Company                                 1 City Blvd W #750                                                                                    Orange            CA       92868
           SOUTHERN FINANCIAL 
5459674    INSURANCE GROUPLLC                      P.O Box 15913                                                                                         Tallahassee       FL       32309

5461501 Southern Hospitality Services              300 Arthur Godfrey Rd                   Suite 204                                                     Miami Beach       FL       33140
           SOUTHERN RISK INSURANCE 
5459666    SERVICES LLC                            1007 Crestview Road                                                                                   Anderson          SC       29621
           SOUTHERN STATES INSURANCE 
5459667    INC                                     P. O. Box 1117                                                                                        Douglasville      GA       30133
           SOUTHERNMOST INSURANCE 
5460379    AGENCY INC                              1010 Kennedy Drive, Suite 300                                                                         Key West          FL       33040
           SOUTHGROUP INSURANCE & 
5460274    FINANCIAL SERVICES LLC                  1500 Mahan Drive, Suite 111                                                                           Tallahassee       FL       32308
5460380    SOUTHWEST GEORGIA BANK                  P.O Box 3667                                                                                          Moultrie          GA       31776


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5463000 SOUTOS, ALEXANDER                          517 PEWTER DR                                                                                        EXTON              PA       19341
           SOVEREIGN RISK SOLUTIONS                                                      Governor’s Ridge, 
5459668 LLC                                        1640 Powers Ferry Road SE             Building 28                                                    Marietta           GA       30067
5463078 SPAIN, ANDREANNA                           501 KINGFISHER DR                                                                                    SIMPSONVILLE       SC       29680

5459669 SPAR INSURANCE AGENCY LLC 568 South Livingston Avenue                                                                                           Livingston         NJ       07039

                                                                                         568 South 
5459120 SPAR INSURANCE AGENCY LLC Keith Badler                                           Livingston Avenue                                              Livingston         NJ       07039
5462115 SPEARS, JOHN              P.O. BOX 249                                                                                                          MERCEDES           TX       78570
           SPECIAL INSURANCE SERVICES 
5459670 INC                                        401 FAYETTE AVE                                                                                      SPRINGFIELD        IL       62704
           SPECIAL SCHOOL DISTRICT (OF             THE SPECIAL SCHOOL DISTRICT OF ST.    12110 CLAYTON 
5461502    ST LOUIS COUNTY?)                       LOUIS COUNTY                          ROAD                                                           ST. LOUIS          MO       63131
           SPECIALIZED INSURANCE 
5459116    SERVICES INC                            2250 OLD IVY ROAD, SUITE 5                                                                           CHARLOTTESVILLE    VA       22903
           SPECIALIZED INVESTIGATIONS 
5459117    INC                                     9171 GAZETTE AVENUE                                                                                  CHATSWORTH         CA       91311
           SPECIALTY COMMERCIAL 
5460381    BROKERS LLC                             P.O Box 141698                                                                                       Coral Gables       FL       33114
           SPECIALTY INSURANCE 
5459664    CONSULTANTS LLC                         149 S Andover Rd, Suite A                                                                            Andover            KS       67002
           SPECIALTY INSURANCE 
5460370    PARTNERS LLC                            1221 Lake Plaza Drive. Suite D                                                                       Colorado Springs   CO       80906
           SPECTRUM FINANCIAL 
5733802    SERVICES                                1921 GALLOWS ROAD                     SUITE 310                                                      VIENNA             VA       22182
                                                                                         1921 Gallows Road, 
5459118    Spectrum Financial Services             Attn: Kathleen Bingham, Controller    Suite 310                                                      Vienna             VA       22182
5462004    SPELL, JAMES                            1709A GORNTO ROAD                                                                                    VALDOSTA           GA       31601
5462624    SPENCER, DENNIS                         5415 OLD STAGECOACH ROAD                                                                             OREANA             IL       62554
5733803    SPENCER, DENNIS E.                      5415 OLD STAGECOACH ROAD                                                                             OREANA             IL       62554
5461383    SPIEWAK, SCOTT                          479 NW 93RD AVENUE                                                                                   CORAL SPRINGS      FL       33071
                                                                                         1401 Clark Ave at 
5461505 Sports Capital Holding                     Phil Siddle                           Brent Hull Way                                                 St Louis           MO       63103
           SPRATLIN‐HARRINGTON 
5459665    INSURANCE SVCS INC                      PO Box 367                                                                                           Snellville         GA       30078
5463400    SPRINGER, CHERYL                        5635 NW 16TH STREET                                                                                  LAUDERHILL         FL       33313
5461684    SPRINGER, TIM                           507 SHADY DRIVE                                                                                      ENDWELL            NY       13760
5459400    SPRINGS, CRYSTAL                        P.O. Box 660579                                                                                      Dallas             TX       75266
5460856    SQUIRE, MARKESHIA                       111 LAUREL RIDGE PLACE                                                                               GREENWOOD          SC       29649

5461506 SSD WC & 1859 SSD GL                       Ilene Knobler                         12110 Clayton Road                                             St. Louis          MO       63131




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           ST ANTHONY'S MEDICAL                                                          10010 KENNERLY 
5461507    CENTER                                  ST. ANTHONY'S MEDICAL CENTER          ROAD                                                        ST. LOUIS          MO       63128
5462590    ST CLAIR, DAWN                          4091 21ST AVE NORTH                                                                               ST PETERSBURG      FL       33713
           ST GOOD INSURANCE OF 
5460392    FLORIDA INC                             2501 SE Aviation Way, Suite H                                                                     Stuart             FL       34996
           ST LOUIS MISSOURI PROPERTY 
5458980    ASSESSOR                                1200 Market Street                    Room 120                                                    St. Louis          MO       63103
                                                                                         3545 Lindell Room 
5461509 St Louis University                        Stewart Wirth                         306                                                         St. Louis          MO       63103

           ST LUKE'S HEALTH                                                              232 SOUTH WOODS 
5461510 CORPORATION                                ST. LUKE'S HEALTH CORPORATION         MILL ROAD                                                   ST. LOUIS          MO       63017
                                                                                         10010 Kennerly 
5461511 St. Anthony's & St. Alexius                Gregg Panus                           Road                                                        St. Louis          MO       63128
                                                                                         201 N. Second St, 
5461512 St. Charles County                         Ed Noonan                             Rm 529                                                      St. Charles        MO       63301
5461513 St. Louis Housing Authority                Stacy Taylor                          3520 Page Blvd.                                             St. Louis          MO       63106
           ST. LOUIS, MO PROPERTY 
5733570 ASSESSOR                                   1200 MARKET STREET #120                                                                           ST. LOUIS          MO       63103
                                                                                         232 South Woods 
5461514 St. Lukes (1802 & 1803)                    Lisa Love                             Mill Road                                                   Chesterfield       MO       63017
           STA ACCOUNT MANAGEMENT 
5459119    LLC                                     16 PLAZA BAJA DEL SOL                                                                             SAN JUAN CAPOSTRANO CA      92675
5461517    Staffmark                               201 East 4th Street, Suite 800                                                                    Cincinnati          OH      45202
5461518    Stage Stores                            2425 West Loop South, 11th Floor                                                                  Houston             TX      77027
           STAHL & ASSOCIATES 
5459113    INSURANCE INC                           110 Carillon Parkway                                                                              St. Petersburg     FL       33716
           STANBERRY INSURANCE 
5460371    AGENCY INC                              P.O BOX 577                                                                                       SYLVA              NC       28779

5459662    STANDARD LINES BROKERAGE                5900 Hiatus Road                                                                                  Fort Lauderdale    FL       33321
5459114    STANDARD PARKING                        5830 CANOGA AVENUE                                                                                WOODLAND HILLS     CA       91367
5462552    STANGO, DANIEL                          417 ROBERTS LANE                                                                                  WEST CHESTER       PA       19382
5462584    STANISLAWCZYK, DAVID                    10 VILLANOVA DRIVE                                                                                KENDALL PARK       NJ       08824
           STANSBURY INSURANCE AND 
5460372    RISK MGT                                1894 General George Patton, Ste 100                                                               Franklin           TN       37067
           STANTON CHAPEL INS ASSOC‐
5460373    HEALTHCARE                              PO Box 1010                                                                                       Haddonfield        NJ       08033
           STANTON CHAPEL INSURANCE 
5460374    ASSOC                                   PO Box 1010                                                                                       Haddonfield        NJ       08033
           STANTON CHAPEL INSURANCE 
5459663    ASSOCIATES                              P.O. Box 1010                                                                                     Haddonfield        NJ       08033




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                                                                                            83689 Collection 
5729724 Staples                                    Bank of America Lockbox Services Chicago Center Drive                                                  Chicago           IL       60693
                                                                                            300 Arbor Lake 
5729724 Staples                                    Attn: Daneen Lotsey                      Drive                                                         Columbia          SC       29223

5459110    STAPLES BUSINESS ADVANTAGE              P.O. BOX 405386                                                                                        ATLANTA           GA       30384
5461519    Star Insurance                          1921 Baytree Place                                                                                     Valdosta          GA       31601
5460699    STAR INSURANCE AGENCY                   PO Box 88                                                                                              Columbia City     IN       46725
5461544    STARK, STEPHEN                          1906 SW 86 AVENUE                                                                                      N LAUDERDALE      FL       33068
5462066    STARNES, JERRICA                        217 22ND STREET SW                         UNIT I                                                      HICKORY           NC       28602
5462649    STARR, DONALD                           1630 NORTH MERION WAY                      APARTMENT 103                                               FAYETTEVILLE      AR       72704
                                                                                              2955 North 
5461522 State Auto Insurance Group                 Becky Abner                                Meridian St.                                                Indianapolis      IN       46208
                                                                                              2955 North 
5461524 State Auto Insurance Group                 Beth Clements                              Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461528 State Auto Insurance Group                 Christa Scott                              Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461529 State Auto Insurance Group                 Connie Tolson                              Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461521 State Auto Insurance Group                 Jim DeCrane                                Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461526 State Auto Insurance Group                 Rebekah Moore                              Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461525 State Auto Insurance Group                 Regina Majors                              Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461523 State Auto Insurance Group                 Sharon Brutz                               Meridian St.                                                Indianapolis      IN       46206
                                                                                              2955 North 
5461527    State Auto Insurance Group              Sharon Palmore                             Meridian St.                                                Indianapolis      IN       46206
5461530    State Farm Insurance                    Brian Burger                                                                                           Columbia          MO       65201
5461531    State Farm Insurance                    Donna Ravenscraft                                                                                      Columbia          MO       65201
5460375    STATE INSURANCE AGENCY                  P.O BOX 2354                                                                                           STUART            FL       34995
           State of Alabama Attorney 
5458827    General                                 Attention Bankruptcy Dept                  P.O. Box 300152                                             Montgomery        AL       36130‐0152
           State of Alaska Attorney 
5458838    General                                 Attention Bankruptcy Dept                  P.O. Box 110300                                             Juneau            AK       99811‐0300
           State of Alaska Department of 
           Commerce, Community, and 
           Economic Development                    Attn: Katie Damian Licensing Supervisor    550 West 7th 
5458779    Division of Insurance                   (Juneau)                                   Avenue               Suite 1560                             Anchorage         AK       99501‐3567
           State of Arizona Attorney                                                          1275 W. 
5458829    General                                 Attention Bankruptcy Dept                  Washington St.                                              Phoenix           AZ       85007




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        State of Arkansas Attorney 
5458828 General                                    Attention Bankruptcy Dept   323 Center St.          Suite 200                               Little Rock        AR       72201‐2610
        State of California Attorney 
5458830 General                                    Attention Bankruptcy Dept   P.O. Box 944255                                                 Sacramento         CA       94244‐2550
                                                                               Ralph L. Carr 
           State of Colorado Attorney                                          Colorado Judicial 
5458831 General                                    Attention Bankruptcy Dept   Center                  1300 Broadway, 10th Floor               Denver             CO       80203
        State of Connecticut Attorney 
5458832 General                                    Attention Bankruptcy Dept   55 Elm St.                                                      Hartford           CT       06106
        State of Delaware Attorney                                             Carvel State Office 
5458822 General                                    Attention Bankruptcy Dept   Bldg.                820 N. French St.                          Wilmington         DE       19801

           STATE OF DELAWARE DIVISION 
5733571 OF CORPORATIONS                            P.O. BOX 508                                                                                WILMINGTON         DE       19899‐0508
        State of Florida Attorney 
5458823 General                                    Attention Bankruptcy Dept   The Capitol, PL 01                                              Tallahassee        FL       32399‐1050
        State of Georgia Attorney                                              40 Capital Square, 
5458824 General                                    Attention Bankruptcy Dept   SW                                                              Atlanta            GA       30334‐1300
        State of Hawaii Attorney 
5458825 General                                    Attention Bankruptcy Dept   425 Queen St.                                                   Honolulu           HI       96813
                                                                               700 W. Jefferson 
5458815 State of Idaho Attorney General Attention Bankruptcy Dept              Street               P.O. Box 83720                             Boise              ID       83720‐1000
        State of Illinois Attorney                                             100 West Randolph 
5458816 General                                    Attention Bankruptcy Dept   Street                                                          Chicago            IL       60601
                                                                               Indiana 
           State of Indiana Attorney                                           Government Center  302 W. Washington St., 5th 
5458817 General                                    Attention Bankruptcy Dept   South                Floor                                      Indianapolis       IN       46204
                                                                               1305 E. Walnut 
5458826 State of Iowa Attorney General Attention Bankruptcy Dept               Street                                                          Des Moines         IA       50319
           State of Kansas Attorney                                            120 SW 10th Ave., 
5458818    General                                 Attention Bankruptcy Dept   2nd Floor                                                       Topeka             KS       66612‐1597
           State of Kentucky Attorney                                          700 Capitol Avenue, 
5458819    General                                 Attention Bankruptcy Dept   Suite 118                                                       Frankfort          KY       40601
           State of Louisiana Attorney 
5458820    General                                 Attention Bankruptcy Dept   P.O. Box 94095                                                  Baton Rouge        LA       70804‐4095
           State of Maine Attorney                                             6 State House 
5458811    General                                 Attention Bankruptcy Dept   Station                                                         Augusta            ME       04333‐0000
           State of Maryland Attorney 
5458810    General                                 Attention Bankruptcy Dept   200 St. Paul Place                                              Baltimore          MD       21202‐2202
           State of Massachusetts                                              One Ashburton 
5458809    Attorney General                        Attention Bankruptcy Dept   Place                                                           Boston             MA       02108‐1698




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           State of Michigan Attorney                                                        G. Mennen Williams 
5458812 General                                    Attention Bankruptcy Dept                 Building, 7th Floor 525 W. Ottawa St.                P.O. Box 30212    Lansing           MI       48909‐0212
           State of Minnesota Attorney 
5458813    General                                 Attention Bankruptcy Dept                 1400 Bremer Tower        445 Minnesota Street                          St. Paul          MN       55101‐2131
           State of Mississippi Attorney                                                     Walter Sillers 
5458803    General                                 Attention Bankruptcy Dept                 Building                 550 High Street, Suite 1200 P.O. Box 220      Jackson           MS       39201
           State of Missouri Attorney                                                        Supreme Court 
5458814    General                                 Attention Bankruptcy Dept                 Building                 207 W. High St.                               Jefferson City    MO       65102
           State of Montana Attorney                                                         215 N Sanders, 
5458804    General                                 Attention Bankruptcy Dept                 Third Floor              PO Box 201401                                 Helena            MT       59620‐1401
           State of Nebraska Attorney 
5458807    General                                 Attention Bankruptcy Dept                 2115 State Capitol       2nd Fl, Rm 2115                               Lincoln           NE       68509‐8920
           State of Nevada Attorney                                                          100 North Carson 
5458799    General                                 Attention Bankruptcy Dept                 Street                                                                 Carson City       NV       89701
           State of New Hampshire 
5458808    Attorney General                        Attention Bankruptcy Dept                 33 Capitol St.                                                         Concord           NH       03301‐0000
5733804    STATE OF NEW JERSEY                     SURPLUS LINES EXAMINING OFFICE            P.O. BOX 325                                                           TRENTON           NJ       08625‐0325
                                                   CORPORATION BUSINESS TAX 
5733572 STATE OF NEW JERSEY ‐ CBT                  NONRESIDENT PARTNER TAX                   PO BOX 642                                                             TRENTON           NJ       08646‐0642
        State of New Jersey Attorney                                                         RJ Hughes Justice 
5458797 General                                    Attention Bankruptcy Dept                 Complex                  25 Market Street            P.O. Box 080      Trenton           NJ       08625‐0080

           State of New Jersey 
           Department of Banking and               Attn: Ruth Jackson, Supervisor, Insurance 
5458857    Insurance 20 West State Street          Producer Licensing                         P.O. Box 325                                                          Trenton           NJ       08625‐0325
           State of New Mexico Attorney 
5458798    General                                 Attention Bankruptcy Dept                 P.O. Drawer 1508                                                       Santa Fe          NM       87504‐1508
           State of New York Attorney 
5458800    General                                 Attention Bankruptcy Dept                 The Capitol                                                            Albany            NY       12224‐0341
           State of North Carolina                                                           9001 Mail Service 
5458805    Attorney General                        Attention Bankruptcy Dept                 Center                                                                 Raleigh           NC       27699‐9001
           State of North Dakota Attorney                                                                             600 E Boulevard Ave Dept 
5458806    General                                 Attention Bankruptcy Dept                 State Capitol            125                                           Bismarck          ND       58505‐0040
                                                                                             30 E. Broad St., 14th 
5458801 State of Ohio Attorney General Attention Bankruptcy Dept                             Floor                                                                  Columbus          OH       43215
        State of Oklahoma Attorney 
5458802 General                         Attention Bankruptcy Dept                            313 NE 21st Street                                                     Oklahoma City     OK       73105
        State of Oregon Attorney                                                             1162 Court Street 
5458791 General                         Attention Bankruptcy Dept                            NE                                                                     Salem             OR       97301
        State of Pennsylvania Attorney 
5458792 General                         Attention Bankruptcy Dept                            Strawberry Square        16th Floor                                    Harrisburg        PA       17120



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           State of Rhode Island Attorney                                                 150 South Main 
5458793    General                                 Attention Bankruptcy Dept              Street                                                               Providence         RI       02903‐0000
           State of Rhode Island 
           Department of Business 
           Regulation Division of                  Attn: Donna Arabian, Administrative    1511 Pontiac 
5458845    Insurance                               Officer                                Avenue               Bldg. #69‐2                                     Cranston           RI       02920
           State of South Carolina 
5458794    Attorney General                        Attention Bankruptcy Dept              P.O. Box 11549                                                       Columbia           SC       29211‐1549
           State of South Dakota Attorney                                                 1302 East Highway 
5458795    General                                 Attention Bankruptcy Dept              14                 Suite 1                                           Pierre             SD       57501‐8501
           State of Tennessee Attorney 
5458796    General                                 Attention Bankruptcy Dept              P.O. Box 20207                                                       Nashville          TN       37202‐0207

5458785 State of Texas Attorney General Attention Bankruptcy Dept                         Capitol Station      PO Box 12548                                    Austin             TX       78711‐2548

5458786 State of Utah Attorney General Attention Bankruptcy Dept                          PO Box 142320                                                        Salt Lake City     UT       84114‐2320
        State of Vermont Attorney 
5458788 General                                    Attention Bankruptcy Dept              109 State St.                                                        Montpelier         VT       05609‐1001
        State of Virginia Attorney                                                        900 East Main 
5458787 General                                    Attention Bankruptcy Dept              Street                                                               Richmond           VA       23219
        State of Washington Attorney                                                      1125 Washington 
5458789 General                                    Attention Bankruptcy Dept              St. SE                P.O. Box 40100                                 Olympia            WA       98504‐0100
                                                                                          State Capitol 
5459111 STATE OF WEST VIRGINIA           Department of Revenue                            Building 1, W‐300                                                    Charleston         WV       25305
        State of West Virginia Attorney                                                   State Capitol Bldg 1 
5458783 General                          Attention Bankruptcy Dept                        Room E 26                                                            Charleston         WV       25305
                                                                                          Wisconsin 
           State of Wisconsin Attorney                                                    Department of         State Capitol, Room 114 
5458790 General                                    Attention Bankruptcy Dept              Justice               East                         P. O. Box 7857    Madison            WI       53707‐7857
        State of Wyoming Attorney 
5458784 General                                    Attention Bankruptcy Dept              123 Capitol Building 200 W. 24th Street                              Cheyenne           WY       82002

5459658 STATHIS INSURANCE AGENCY                   105 E Annandale Rd., Suite 201                                                                              Falls Church       VA       22046
5460364 STAUB RIGGS & COLLINS INC                  1 S. Queen Street                                                                                           Littlestown        PA       17340

           Stearns Weaver Miller Weissler 
5461534 Alhadeff and Sitterson, PA                 200 E Las Olas Blvd # 2100                                                                                  Fort Lauderdale    FL       33301
5461881 Steel, Havens                              Ruth Welschmeyer                       P.O. Box 1831                                                        Jefferson City     MO       65102
                                                                                          Attn: General 
                                                                                          Manager, Cypress 
6060652 Steelbridge CFC, LLC                       c/o Steelbridge Real Estate Services   Financial Center     3250 Mary Street, Suite 207                     Miami              FL       33133
5463088 STEELE, ANDREW                             1101 CUMBERLAND CROSSING DRIVE         #164                                                                 VALPARAISO         IN       46383




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        STEFFENSMEIER INSURANCE 
5459659 AGENCY                                     201 Main Street, P.O Box 100                                                                Beemer            NE       68716
                                                                                     1500 Park Avenue, 
5719093 Steinmeyer, Donald P.                      Katzoff & Riggs LLP               Suite 300                                                 Emeryville        CA       94608
5459841 STEPHENSON, LESLIE G                       3859 White Plains Road                                                                      Bronx             NY       10467
5459660 STERLING & STERLING INC                    135 Crossways Park Drive          P.O Box 9017                                              Woodbury          NY       11797
           STEVEN BALDO FREEMAN & 
5733805    LIGHTY LLP                              550 FANNIN                        SUITE 700                                                 BEAUMONT          TX       77701
           STEVEN M MARIANO 
           REVOCABLE TRUST; STEVEN M 
5464599    MARIANO TRUSTEE 2008                    414 RIVERIA DRIVE                                                                           FORT LAUDERDALE   FL       33301
5463252    STEVENSON, BONNIE                       1602 WOLF TRAIL ROAD                                                                        WILDWOOD          MO       63021
5462691    STEWARD, EDWARD                         11 NICE ROAD                                                                                THORNTON          PA       19373
           STEWART BRIMNER PETERS & 
5459652    COMPANY INC                             3702 RUPP DRIVE                                                                             FORT WAYNE        IN       46815
           STEWART BRIMNERPETER & 
5459653    STOFFEL INC                             P.O Box 1863                                                                                Marion            IN       46952
           STEWART INSURANCE AGENCY 
5460365    LLC                                     114 East Canal Street                                                                       Picayune          MS       39466
5461234    STEWART, RAQUEL                         6193 ROCK ISLAND ROAD             APARTMENT 414                                             TAMARAC           FL       33319
5461232    STICH, RANDY                            4949 GARDINERS BAY CIRCLE                                                                   SARASOTA          FL       34238
           STIRLING INSURANCE SERVICES 
5459654    INC                                     1700 N. Dixie Hwy. Ste. 109                                                                 Boca Raton        FL       33432
           Stockwell, Harris, Woolverton, 
5461555    and Muehl                               3580 Wilshire Blvd. 19'th Floor                                                             Los Angeles       CA       90010
           STONE CREEK INSURANCE 
5459655    AGENCY INC                              3249 Mt. Diablo Ct.                                                                         Lafayette         CA       94549
5463089    STONE, ANDREW                           6873 SCYTHE AVENUE                                                                          ORLANDO           FL       32812
5462511    STOVALL, COURTNEY                       2569 MOUTAIN VIEW ROAD                                                                      POWHATAN          VA       23139
5461597    STOVALL, TAYLOR                         1904 CEDAR STREET                 APT 106                                                   RICHMOND          VA       23223
5461585    STOVEALL, TANYA                         5805 NW 57TH AVENUE                                                                         TAMARAC           FL       33319
5462221    STOVER, KELLY                           211 VENUS COURT                                                                             EASLEY            SC       29642
5461454    STOVER, SHANNON                         1715 RIDGE ROAD                                                                             CANTON            GA       30114
5462232    STRALEAU, KERIN                         5271 HELENE CIRCLE                                                                          BOYNTON BEACH     FL       33472
5462650    STRASBURGER, DONALD                     6245 DONNINGTON COURT                                                                       SARASOTA          FL       34238
5461556    Strategic Comp                          2404 Edenborn Avenue                                                                        Metairie          LA       70001

5459656    STRAWN & CO INSURANCE LLC               16 Hampton St.                                                                              McDonough         GA       30253
5461985    STREITMATTER, JACOB                     15215 EDNA STREET                                                                           OMAHA             NE       68138
5461292    STRIBLING, ROBERT                       116 VALLEY FORGE DR.                                                                        GREER             SC       29650
5462704    STRICKLAND, ELIZABETH                   3557 SUNSET ISLES BLVD                                                                      KISSIMMEE         FL       34746
5461584    STRICKLAND, TANIA                       24230 MOUNTAIN BEND                                                                         SAN ANTONIO       TX       78258




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5459657    STRINGER INSURANCE AGENCY               P.O Box 367                                                                                           Dahlonega           GA       30533
5733806    STRINGER, MAGGIE                        3349 BRIERHALL DRIVE, APT #3                                                                          BRIDGETON           MO       63044
5460828    STRINGER, MARGARET                      3349 BRIERHALL DRIVE                   APT 3                                                          BRIDGETON           MO       63044
5462512    STROUD, COURTNEY                        11710 PRIDELAND COURT                                                                                 CHARLOTTE           NC       28273
           STRUCTURED NETWORK 
5459108    CABLING INC                             P.O. BOX 753                                                                                          ELLENTON            FL       34222
5461559    STS Holdings, Inc.                      200 NE Jensen Beach BLVD                                                                              Jensen Beach        FL       34957
5459648    STUART INSURANCE INC                    3070 SW MAPP RD.                                                                                      PALM CITY           FL       34990
5460974    STUBENVOLL, MICHAEL                     3695 MENLO AVENUE                                                                                     SAN DIEGO           CA       92105
5461143    STUCZYNSKI, PATRICIA                    2887 SPRING VILLA LN                                                                                  SMYRNA              GA       30080
5461692    STULL, TIMOTHY                          5102 VADIL COURT                                                                                      ST. LOUIS           MO       63129
           STURDEVANT‐BEACH & 
5459649    ASSOCIATES LLC                          P.O Box 290370                                                                                        Port Orange         FL       32127
5459650    SUBURBAN ASSOCIATES INC                 17071 W. Dixie Highway                                                                                North Miami Beach   FL       33160
5459651    SUBURBAN INSURANCE                      6‐16 Saddle River Road                 P.O. Box 400                                                   Fair Lawn           NJ       07410
                                                                                          6‐16 Saddle River 
5459109 SUBURBAN INSURANCE                         Cindy Porporino                        Road                                                           Fair Lawn           NJ       07410
           SUCCEED MANAGEMENT 
5459103    SOLUTIONS                               P.O. BOX 301526                                                                                       DALLAS              TX       75303
5462119    SUCHANEK, JOHNA                         1106 S ELM STREET                                                                                     ST. LOUIS           MO       63119
5461990    SULLIVAN, JADE                          2525 O STREET                                                                                         RICHMOND            VA       23223
5462553    SULZNER, DANIEL                         3106 BOUQUET RD                                                                                       WILDWOOD            MO       63038
5462068    SUMMERS, JERRY                          38025 OSTEN BEARD RD                                                                                  DARROW              LA       70725
5461562    Summit                                  PO Box 988                                                                                            Lakeland            FL       33802‐2034
5459104    SUMNERONE INC                           6717 Waldemar Ave.                                                                                    St. Louis           MO       63139
           SUN CAPITAL PARTNERS 
5733807    GROUP VI, LLC                           100 PARK AVE., 33RD FLOOR                                                                             NEW YORK            NY       10017
           SUN LIFE ASSURANCE                      605 CRESCENT EXECUTIVE COURT, SUITE 
5461563    COMPANY OF CANADA (US)                  340                                                                                                   LAKE MARY           FL       32746
           SUN STATE INSURANCE 
           AGENCY OF THE PALM 
5460688    BEACHES INC                             623 Northlake Blvd                                                                                    North Palm Beach    FL       33408
5461565    Suncoast Resources                      6405 Calvacade                                                                                        Houston             TX       77026
           SUNDACK COVERAGE 
5459647    CORPORATION                             534 Broadhollow Road                   Suite 330                                                      Melville            NY       11747
           SUNDACK COVERAGE                                                               534 Broadhollow 
5459106    CORPORATION                             Jeremy Sundack                         Road Suite 330                                                 Melville            NY       11747
5462116    SUNG, JOHN                              5703 RED BUG LAKE ROAD                 BOX 232                                                        WINTER SPRINGS      FL       32708
           SUNGARD AVAILABILITY 
5733808    SERVICES, LP                            680 E. SWEDESFORD ROAD                                                                                WAYNE               PA       19087
           SUNGATE INSURANCE AGENCY 
5459644    INC                                     1337 S. INTERNATIONAL PKWY #1311                                                                      LAKE MARY           FL       32746


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        Suntrust Robinson Humphrey,                                                  Atlanta Financial 
5466285 Inc.                         3333 Peachtree Road North East                  Center                  South Tower, 9th Floor                 Atlanta            GA       30326
        Suntrust Robinson Humphrey, 
5466288 Inc.                         711 5th Ave                                                                                                    New York           NY       10022

5462937 Superior Investigative Services            4871 South Hill Road                                                                             Milford            MI       48381
5460366 SUPORT SERVICES INC                        5031 Villa Linde Parkway, #32                                                                    Flint              MI       48532
5462482 SUPPLE, CONNOR                             260 AVON ROAD                     APARTMENT H272                                                 DEVON              PA       19333
5461693 SUPPLE, TIMOTHY                            333 LAS OLAS WAY                  UNIT 1708                                                      FORT LAUDERDALE    FL       33301
        SUPPORTIVE INSURANCE 
5459100 SERVICES LLC                               1610 S. OLD DECKER RD                                                                            VINCENNES          IN       47591

           SURRY TELEPHONE 
5459101 MEMBERSHIP CORPORATION                     P.O. BOX 63056                                                                                   CHARLOTTE          NC       28263
           SUTTER MCLELLAN & 
5459645    GILBREATH INC                           1424 N. Brown Rd. 300                                                                            Lawrenceville      GA       30043
           SUYDAM INSURANCE AGENCY 
5459646    LLC                                     1743 Route 27                                                                                    Somerset           NJ       08873
           SUYDAM INSURANCE AGENCY 
5459102    LLC                                     Ryck Suydam                       1743 Route 27                                                  Somerset           NJ       08873
5461078    SWAIN, NESHAA                           5763 NORTH 17TH STREET                                                                           PHILADELPHIA       PA       19141
           SWALLOWS INSURANCE 
5460367    AGENCY INC                              P.O Box 160                                                                                      Livingston         TN       38570
5461293    SWEAT, ROBERT                           243 THELMA CIR                                                                                   JACKSBORO          TN       37757
5463073    SWEDE, ANDREA                           52 NEELD LANE                                                                                    ASTON              PA       19014
5462005    SWEENEY, JAMES                          6854 BUTTONWOOD COURT                                                                            FREDERICK          MO       21703
5463465    SWEET, ZEKIA                            435 CASA MARINA PL                                                                               SANFORD            FL       32771
           SWETT & CRAWFORD OF GA 
5459639    INC                                     7230 McGinnis Ferry Rd.Ste 300                                                                   Suwanee            GA       30024
           SWETT & CRAWFORD OF 
5460275    GEORGIA INC                             7230 McGinnis Ferry Rd. Ste 300                                                                  Suwanee            GA       30024
5461721    SWICK, TRENT                            100 DRIFTWOOD CIRCLE                                                                             IMPERIAL           MO       63052
5462199    SWITZER, KATHRYN                        7761 KNIGHTWING CIRCLE                                                                           FT. MYERS          FL       33912
5461680    SWONGER, THOMAS                         10136 UNION PARK DRIVE                                                                           ORLANDO            FL       32817
           SYCAMORE INSURANCE 
5460368    ASSOCIATES LLC                          999 Ohio Street                                                                                  Terre Haute        IN       47807
5459640    SYNDICATED SERVICES INC                 3408 South Atlantic Ave #129                                                                     Daytona Beach      FL       32118
5461573    Synergy Coverage Solutions              Jill Bowyer                       217 S. Tryon St.                                               Charlotte          NC       28202
           SYNERGY COVERAGE 
5458948    SOLUTIONS LLC                           217 S Tryon St.                                                                                  Charlotte          NC       28202
           SYNERGY COVERAGE 
5733809    SOLUTIONS, LLC                          217 SOUTH TRYON STREET                                                                           CHARLOTTE          NC       28202




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5459641 SYNERGY INSURANCE GROUP                    13800 Jackson Road                                                                                     Mishawaka          IN       46544
5461574 Sysco ‐ Jacksonville                       1501 Lewis Industrial Dr,                                                                              Jacksonville       FL       32254
5459273 SYSTEMS, KASTLE                            P.O. Box 75177                                                                                         Baltimore          MD       21275
           T Mobile/T‐Mobile USA Inc by 
           American InfoSource LP as 
5550461    agent                                   4515 N Santa Fe Ave                                                                                    Oklahoma City      OK       73118
           T Mobile/T‐Mobile USA Inc by 
           American InfoSource LP as 
5550461    agent                                   PO Box 248848                                                                                          Oklahoma City      OK       73124‐8848
           T&V BROKERAGE T/A 
5459642    MIDLANTIC AGENCY                        67 Ramapo Valley Rd.                                                                                   Mahwah             NJ       07430
           T.H.E. INSURANCE COMPANY , 
5733810    INC.                                    10451 GULF BOULEVARD                                                                                   TREASURE ISLAND    FL       33706
5459099    TAF GG LAS OLAS LP                      401 EAST LAS OLAS BLVD                                                                                 FORT LAUDERDALE    FL       33301
                                                   c/o Deutsche Asset & Wealth          RREEF                 3414 Peachtree Road NE, 
6060653 TAF gg LAS OLAS, L.P.                      Management                           Management, LLC       Suite 950                                   Atlanta            GA       30326
                                                   c/o Deutsche Asset & Wealth          Attn: Stephen         101 California Street, Floor 
6060654    TAF gg LAS OLAS, L.P.                   Management                           George, Director      24                                          San Francisco      CA       94111
5461553    TAGHON, STEVEN                          189 38TH AVENUE                                                                                        EAST MOLINE        IL       61244
5459643    TAGRISK LLC                             7755 Central Ave, Suite 605                                                                            Huntington Beach   CA       92647
5463391    TALBOTT, CHARLIE                        1324 APOLLO BEACH BLVD                                                                                 APOLLO BEACH       FL       33572
5462049    TANDY, JEFFREY                          3717 ROYAL PORT RUSH                                                                                   ROUND ROCK         TX       78664
5461322    TANGER, ROSITSA                         2531 NW 31ST CT                                                                                        OAKLAND PARK       FL       33309
5460872    TANNER, MARY                            200 PINEWOOD DRIVE                                                                                     GREENVILLE         SC       29607
5462352    TARALLO, LINDSAY                        8240 NW 23RD ST                                                                                        SUNRISE            FL       33322‐3084
5462308    TARANTO, LAUREN                         44109 W PALO TECA RD                                                                                   MARICOPA           AZ       85138
           Target Managers Insurance 
5460369    Services                                10161 Park Run Drive #150                                                                              Las Vegas          NV       89145
           TARHEEL INSURANCE SERVICES 
5459635    LLC                                     P.O Box 1357                                                                                           Mooresville        NC       28115
5461590    Tarrant County                          100 E. Weatherford, Ste 301                                                                            Fort Worth         TX       76196‐0105
5462038    TATE, JEANNETTE                         6344 COMFREY DRIVE NW                                                                                  ALBUQUERQUE        NM       87120
5463014    TAUCHMAN, ALISON                        3428 PICKNEY BLUFF                                                                                     FORT MILL          SC       29715
                                                                                        1901 Chouteau 
5461593    Taum Sauk OCIP                          Jackie French                        Avenue                                                            St. Louis          MO       63103
5463390    TAYLOR, CHARLETTA                       11 PITTSFIELD CT                                                                                       CHESTERFIELD       MO       63017
5462585    TAYLOR, DAVID                           1309 MESKWAKI WAY                                                                                      CARROLLTON         TX       75010
5460854    TAYLOR, MARK                            10829 HASTINGS MILL LANE                                                                               CHARLOTTE          NC       28277
5461554    TAYLOR, STEVEN                          413 FERRIS STREET                                                                                      YPSILANTI          MI       48197
5461739    TAYLOR, TROY                            P.O. BOX 51545                                                                                         DENTON             TX       76206

5459636 TCE INSURANCE SERVICES INC                 201 Edward Curry Avenue, Suite 205                                                                     Staten Island      NY       10314


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                                                                                                            Master Mailing List
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 MMLID                     NAME                                 ADDRESS 1                  ADDRESS 2                ADDRESS 3                ADDRESS 4               CITY    STATE   POSTAL CODE   COUNTRY
                                                                                                            1251 Avenue of the                                              New 
5760860 TCW Direct Lending LLC                     TCW Direct Lending Group            Suzanne Grosso       Americas                   Suite 4700        New York           York     10020
                                                                                                            1251 Avenue of the                                              New 
5760861 TCW Skyline Lending, L.P.  TCW Direct Lending Group                            Suzanne Grosso       Americas                   Suite 4700        New York           York     10020
        TEAGUE & TEAGUE INSURANCE 
5460689 AGENCY                     P.O. Box 903                                                                                                          Nashville          AR       71852
5462197 TEARE, KATHLEEN            12620 SE MCGILLIVRAY BLVD                                                                                             VANCOUVER          WA       98683
5461599 TEB, Inc.                  121 W. Main Street                                  Suite B                                                           Spartanburg        SC       29306

5461600 Technology Insurance Company 59 Maiden Ln                                                                                                        New York           NY       10038
5459637 TEDFORD & ASSOCIATES LLC     P.O Box 1050                                                                                                        Jenks              OK       74037
           TEETER INSURANCE AGENCY 
5460667 INC                                        3375 Lynnwood Drive                                                                                   Altoona            PA       16602
           TEICHEIRA MARITIME 
5733811    SURVEYORS, INC.                         306 BASSETT ST.                                                                                       PETALUMA           CA       94952
           TEKPARTNERS A P2P STAFFING 
5461601    COMPANY                                 5810 CORAL RIDGE DRIVE, SUITE 250                                                                     CORAL SPRINGS      FL       33076
           Tennessee Department of 
           Commerce and Insurance                                                      Davy Crockett        Twelfth Floor 500 James 
5458849    Insurance Division                      Attn: Kim Biggs, Director           Tower                Robertson Parkway                            Nashville          TN       37243‐0565
5459638    TEQUESTA AGENCY INC                     218 S. US Hwy 1, Ste. 300                                                                             Tequesta           FL       33469
5733812    TERIS‐PHOENIX, LLC                      3550 N CENTRAL AVE, SUITE 150                                                                         PHOENIX            AZ       85012

                                                                                       ATTN: DAVID L.       1599 EAST ORANGEWOOD 
5733812 TERIS‐PHOENIX, LLC                         LAW OFFICES OF DAVID L. KNAPPER     KNAPPER              AVENUE, SUITE 125                            PHOENIX            AZ       85020

           TERMED AGENT*RISK AND 
5460276 INSURANCE CONSULTANTS INC 5416 Glenridge Drive                                                                                                   Atlanta            GA       30342
5460921 TERPSTRA, MEL             10448 SOUTH MASON 1A                                                                                                   OAK LAWN           IL       60453
           TERSCHLUSE‐ALDERFER, 
5461771 VALERIE                                    1962 RIDGE LAKE DRIVE                                                                                 CHESTERFIELD       MO       63017
           TEXAS ASSOCIATION OF 
           SCHOOL BOARDS RISK 
5459095    MANAGEMENT FUND                         12007 RESEARCH BLVD.                                                                                  AUSTIN             TX       78759‐2429
           Texas Association of School 
5461611    Boards, Inc.                            12007 Research Blvd                                                                                   Austin             TX       78768‐2010
5458981    TEXAS COMPTROLLER                       P.O. BOX 149348                                                                                       AUSTIN             TX       78714‐9348
           TEXAS COMPTROLLER OF 
5733813    PUBLIC ACCOUNTS                         PO BOX 149348                                                                                         AUSTIN             TX       78714‐9348
                                                                                       333 Guadalupe 
5458839 Texas Department of Insurance Attn: Mike Carnley, Director                     Street                                                            Austin             TX       78701

5458850 Texas Department of Insurance Attn: Mike Carnley, Director                     P.O. Box 149104                                                   Austin             TX       78714‐9104



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           TEXAS DEPARTMENT OF 
5459096    INSURANCE                               P.O. Box 149104                                                                                      Austin              TX       78714
           Texas Hospital Insurance 
5461612    Exchange                                8310 N. Capital of Texas Hwy, Suite 250                                                              Austin              TX       78731
           TEXAS STATE NATIONAL 
5458982    REQUESTS                                1900 L. Don Dodson Drive                                                                             Bedford             TX       76021
5463106    THACKSTON, ANNE                         205 HUNT CLUB DRIVE                                                                                  SIMPSONVILLE        SC       29680
5463193    THAMES, AZARAIAH                        7370 STIRLING ROAD                        APT 308                                                    DAVIE               FL       33024
5461144    THAMES, PATRICIA                        9690 GLACIER DRIVE                                                                                   MIRAMAR             FL       33025
           THE ANDREW AGENCY INC ‐ 
5460358    RICHMOND                                500 Libbie Avenue, Suite 1A                                                                          Richmond            VA       23226
5459631    THE B&G GROUP                           55 West Ames Court, Suite 400                                                                        Plainview           NY       11803
5460359    THE BARCLAY GROUP                       P.O Box 244                                                                                          Riverton            NJ       08077
5461614    The Beckman Group/OESA                  Brittney Moler                            118 N. 16th Street                                         Muskogee            OK       74401
5461615    The Beckman Group/OESA                  Martin Beckman                            118 N. 16th Street                                         Muskogee            OK       74401
5460668    THE BRIDGE GROUP LLC                    PO Box 867                                                                                           Columbus            MS       39703
           THE BUCCA GROUP INC DBA 
5459632    FHC INSURANCE                           3380 Woods Edge Circle #101                                                                          Bonita Springs      FL       34134
5459633    THE CAMPBELL AGENCY                     P.O. Box 9435                                                                                        Panama City Beach   FL       32407

5460360 THE CARMAN CORPORATION                     920 W Sproul Rd Ste 201                                                                              Springfield         PA       19064‐1241
           THE CELEDINAS INSURANCE 
5460669    GROUP                                   4400 PGA BLVD STE 1000                                                                               PALM BCH GDNS       FL       33410‐6563
5460277    THE CHADLER GROUP INC                   100 Passaic Avenue, Suite 120                                                                        Fairfield           NJ       07004
           THE CHARTWELL LAW OFFICES 
5733815    LLP                                     970 RITTENHOUSE ROAD STE 300                                                                         EAGLEVILLE          PA       19403
           THE CHARTWELL LAW OFFICES 
5461617    PLLC                                    970 RITTENHOUSE ROAD                                                                                 EAGLEVILLE          PA       19403

5463546 The Chartwell Law Offices, PLLC One Battery Park Place, 35th Floor                                                                              New York            NY       10004
5461618 THE CITY MUSEUM 1 LLC           ATTN: JOHN CASSILLY                                  THE CITY MUSEUM 701 N. 15TH STREET                         ST. LOUIS           MO       63103
5460690 THE CLIFTON AGENCY              PO Box 1180                                                                                                     Fairfax             VA       22038‐1180
           THE CORNERSTONE 
5460361 INSURANCE GROUP LLC                        P.O Box 419151                                                                                       Saint Louis         MO       63141
5460278 THE CRANFORD AGENCY INC                    P.O Box 99                                                                                           Asheboro            NC       27204
5460691 THE DEHAYES GROUP                          5150 West Jefferson Blvd.                                                                            Fort Wayne          IN       46804
           THE DELBERT L HAWKINS 
5460362 AGENCYINC                                  P.O Box 100                                                                                          Edina               MO       63537

5460658 THE DELLA PORTA GROUP INC                  7807 BAYMEADOWS RD., E., STE. 301                                                                    JACKSONVILLE        FL       32256
5460363 THE EVANS AGENCY LLC                       1 Grimsby Drive, Suite 200                                                                           Hamburg             NY       14075
           THE FAIRWAY INSURANCE 
5459634 GROUP LLC                                  5461 N. Federal Hwy. Suite 210                                                                       Fort Lauderdale     FL       33308



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 MMLID                     NAME                                  ADDRESS 1                     ADDRESS 2                  ADDRESS 3          ADDRESS 4            CITY    STATE   POSTAL CODE   COUNTRY
                                                   3535 Piedmont Road Building 14, Suite 
5461622 The Finley Firm, PC                        230                                                                                                   Atlanta         GA       30305
5459626 THE FOGLE AGENCY INC                       P.O Box 2932                                                                                          Huntersville    NC       28070
5461624 The Founders Group                         P.O. Box 595                                                                                          Lockport        NY       14095
           The Gas Mart, Inc. (Minute Man 
5461625 Food Mart)                                 P O Box 39                                                                                            Elizabethtown   NC       28337
5460352 THE GEHRING GROUP                          4200 Northcorp Pkwy Ste 185                                                                           West Palm Bch   FL       33410‐4314
           THE GEORGE INSURANCE 
5460692    AGENCY INC                              PO Box 921                                                                                            Fishers         IN       46037
5459627    THE HARBIN AGENCY INC                   P.O Box 1130                                                                                          Tyrone          GA       30290
5459628    THE HARRY A KOCH CO                     P.O. BOX 45279                                                                                        OMAHA           NE       68145‐0279
5461642    The Hartford                            Alex Rodriguez                           1 Hartford Plaza                                             Hartford        CT       06155
5461635    The Hartford                            Barbara Casserly                         1 Hartford Plaza                                             Hartford        CT       06155
5461629    The Hartford                            Beverly Reach                            1 Hartford Plaza                                             Hartford        CT       06155
5461634    The Hartford                            Bobbie Burdette                          1 Hartford Plaza                                             Hartford        CT       06155
5461630    The Hartford                            Carl Blundell                            1 Hartford Plaza                                             Hartford        CT       06155
5461640    The Hartford                            Drew Perry                               1 Hartford Plaza                                             Hartford        CT       06155
5461638    The Hartford                            Elizabeth Mercier                        1 Hartford Plaza                                             Hartford        CT       06155
5461631    The Hartford                            Erin Boger                               1 Hartford Plaza                                             Hartford        CT       06155
5461633    The Hartford                            Fran Bos                                 1 Hartford Plaza                                             Hartford        CT       06155
5461632    The Hartford                            Jalisha Bonner                           1 Hartford Plaza                                             Hartford        CT       06155
5461628    The Hartford                            Jason Banas                              1 Hartford Plaza                                             Hartford        CT       06155
5461647    The Hartford                            Jeremy Viars                             1 Hartford Plaza                                             Hartford        CT       06155
5461641    The Hartford                            Karen Puryear                            1 Hartford Plaza                                             Hartford        CT       06155
5461643    The Hartford                            Latasha Sinclair                         1 Hartford Plaza                                             Hartford        CT       06155
5461637    The Hartford                            Marcos Iglesia                           1 Hartford Plaza                                             Hartford        CT       06155
5461645    The Hartford                            Nona Sodhi                               1 Hartford Plaza                                             Hartford        CT       06155
5461644    The Hartford                            Pat Singer                               1 Hartford Plaza                                             Hartford        CT       06155
5461627    The Hartford                            P. O. Box 1502                                                                                        Vernon          CT       06066
5459094    THE HARTFORD                            P.O. BOX 783690                                                                                       PHILADELPHIA    PA       19178
5461639    The Hartford                            Richard Merritt                          1 Hartford Plaza                                             Hartford        CT       06155
5461636    The Hartford                            Stephanie Gleason                        1 Hartford Plaza                                             Hartford        CT       06155
5461646    The Hartford                            Steven Vaiana                            1 Hartford Plaza                                             Hartford        CT       06155
           THE HARTFORD STEAM BOILER 
           INSPECTION AND INSURANCE 
5461648    COMPANY                                 ATTENTION: GENERAL COUNSEL               ONE STATE STREET                                             HARTFORD        CT       06102
5460693    THE HAYS GROUP INC                      80 S. 8th St. #700                                                                                    Minneapolis     MN       55402
           THE HERITAGE FINANCIAL 
5459629    GROUP LLC                               6505 Blue Lagoon Drive. Ste 110                                                                       Miami           FL       33126
           THE IDEAL INSURANCE AGENCY 
5460353    INC                                     P.O Box 558                                                                                           Lakewood        NJ       08701
5459630    THE INSURANCE CENTER LLC                3020 Washington Blvd                                                                                  Ogden           UT       84401



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           THE INSURANCE COMMISSION                                                      Charlotte and 
5459092 OF THE BAHAMAS                             Charlotte House, 3rd Floor            Shirley Streets      P.O.Box N‐4844                         Nassau                                    The Bahamas
5461649 THE Insurance Company                      10454 Gulf Blvd.                                                                                  Tresure Island     FL       33706

           THE Insurance Group/Rebecca 
5461650 J. Miniscalco                              10451 Gulf Boulevard                                                                              Treasure Island    FL       33706
5459622 THE INSURANCE SHOP LLC                     3809 PROVIDENCE ROAD. STE A                                                                       COLUMBIA           MO       65203

           The Intertech Group (Stop loss 
5461651 renews on 10/1 annually)                   4838 Jenkins Avenue                                                                               North Charleston   SC       29406
5459623 THE JACOBS COMPANY INC                     7164 Columbia Gateway Dr., Ste. 100                                                               Columbia           MD       21046
           THE JOHN GALT INSURANCE 
5459624 AGENCY                                     6300 NW 5th Way, Suite 100                                                                        Fort Lauderdale    FL       33309

5460354 THE JOHN M GLOVER AGENCY 29 S. Main Street                                                                                                   Woodstown          NJ       08098
           THE KAUFFMAN FAMILY                     711 S. OSPREY AVENUE, 1ST & 2ND 
5461652    PARTNERSHIP #2 LIMITED                  FLOORS                                                                                            SARASOTA           FL       34236
           The Law Office of Mark 
5461653    Berguson                                3400 Peachtree rd Ne                                                                              Atlanta            GA       30326
           THE LAW OFFICES OF AGHBALA 
5458949    JIN & CARROLL                           15315 W Magnolia Blvd., Suite 426                                                                 Sherman Oaks       CA       91403
           THE LAW OFFICES OF 
5733817    AGHBALA, JIN & CARROLL                  15315 MAGNOLIA BOULEVARD              SUITE 426                                                   SHERMAN OAKS       CA       91403
           THE LEONARD INSURANCE 
5460279    AGENCY                                  P.O Box 739                                                                                       Chatsworth         GA       30705
           THE LIBERTY COMPANY INS 
5459625    BROKERSINC                              21820 Burbank Blvd #330                                                                           Woodland Hills     CA       91367
           THE LIBERTY COMPANY 
5733818    INSURANCE BROKERS                       21820 BURBANK BLVD #330                                                                           WOODLAND HILLS     CA       91367
           THE LIBERTY COMPANY 
5459617    INSURANCE BROKERS                       444 Airport Blvd. Suite 109                                                                       Watsonville        CA       95076
           THE LINCOLN NATIONAL LIFE 
5461654    INSURANCE COMPANY                       1300 South Clinton Street                                                                         Fort Wayne         IN       46802
5460659    THE LOOMIS COMPANY                      PO Box 7011                                                                                       Wyomissing         PA       19610‐6011
5460355    THE LYDEN GROUP LLC                     P.O Box 467                                                                                       Clifton Park       NY       12065
5460356    THE LYNOXX GROUP LLC                    1 International Blvd Ste 705                                                                      Mahwah             NJ       07495
           THE MADISON INS & FIN'L 
5460682    GROUP CORP                              15190 SW 136 St., Ste. 21                                                                         Miami              FL       33196
5459618    THE MALLORY AGENCY INC                  P.O BOX 1209                                                                                      LAGRANGE           GA       30241
           THE MCKINNEY GROUP DBA 
5460357    MCGHEE INSURANCE NWA                    2894 W WALNUT STE A                                                                               ROGERS             AR       72756




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           THE METROPOLITAN ST LOUIS 
5461657    SEWER DISTRICT                          2350 MARKET STREET                                                                                  ST. LOUIS         MO       63103‐2555
5459619    THE NORRIS AGENCY                       P.O. Box 16118                                                                                      Panama City       FL       32406
           The Ohio Department of                                                          150 E. Gay Street, 
5721094    Taxation                                Attorney General of the State of Ohio   21st Floor                                                  Columbus          OH       43215
           The Ohio Department of 
5721094    Taxation                                Bankruptcy Div.                         P.O. Box 530                                                Columbus          OH       43216
5459620    THE OMNI AGENCY INC                     3021 Avenue J                                                                                       Brooklyn          NY       11210
           THE PALMER INSURANCE 
5460346    AGENCY LLC                              P.O Box 400                                                                                         Mendenhall        MS       39114
5459621    THE PAPOLA GROUP INC                    485 Underhill Blvd.                     Suite 101                                                   Syosset           NY       11791
5459091    THE PAPOLA GROUP INC                    6851 Jericho Turnpike, Suite 120                                                                    Syosset           NY       11791
           THE PELLECHIO INSURANCE 
           AGENCY LLC/PARTNERS 
5459089    AGENCY INC                              325 COLUMBIA TPKE STE 106                                                                           FLORHAM PARK      NJ       07932‐1212
5460660    THE PETERMAN GROUP                      105 Montgomery Ave Ste 2051                                                                         Montgomeryville   PA       18936
5460268    THE PHOENIX COMPANY LLC                 P.O Box 26396                                                                                       Winston‐Salem     NC       27114

5459614 THE PHYSICIANS ADVOCATE LLC 2335 E Atlantic Blvd. Suite 302                                                                                    Pompano Beach     FL       33062

5460347 THE PLASTRIDGE AGENCY INC                  820 N.E 6th Avenue                                                                                  Delray Beach      FL       33483
5460348 THE PRUITT AGENCY INC                      P.O Box 610                                                                                         Judsonia          AR       72081
5461659 The Robison Group                          6017 Chestnut Ct                                                                                    Edmond            OK       73025
           THE ROUGH NOTES COMPANY 
5459090 INC                                        11690 TECHNOLOGY DRIVE                                                                              CARMEL            IN       46032

           THE SURPLUS LINE 
5733819 ASSOCIATION OF CALIFORNIA                  50 CALIFORNIA STREET,                   18TH FLOOR                                                  SAN FRANCISCO     CA       94111
        THE THOMAS INSURANCE 
5460349 AGENCY OF BENTON INC                       P.O Box 49                                                                                          Benton            AR       72018
        THE TRAVELERS INDEMNITY                                                            ONE TOWER 
5458909 COMPANY                                    TRAVPAY SUPPORT                         SQUARE                                                      HARTFORD          CT       6183
5459615 THE TYLER AGENCY INC                       1000 N Hiatus Rd #105                                                                               Pembroke Pines    FL       33026

5461661 The University of Texas System 210 West 7th Street                                                                                             Austin            TX       78701
5459616 THE UPTON GROUP LLC            356 GUNTER AVE.                                                                                                 GUNTERSVILLE      AL       35976
5459607 THE WAGNER AGENCY INC          P.O Box 681385                                                                                                  Marietta          GA       30068
           THE WALKER AGENCY LLC‐
5460350 FARMINGTON                                 1501 San Juan Blvd Suite 201                                                                        Farmington        NM       87401
        THE WATSON INSURANCE 
5459608 GROUP LLC                                  1204‐A E. Washington Street                                                                         Greenville        SC       29601

5459609 THE WHITEHEAD AGENCY INC                   712 Ballard St.                                                                                     Winter Park       FL       32789



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5459610 THE WHITLOCK GROUP INC                     3300 Breckinridge Boulevard, Suite 200                                                               Duluth            GA      30096

5461662 The Zenith                Robert Bermack                                            21255 Califa Street                                         Woodland Hills    CA      91367
        THE ZONE INSURANCE GROUP 
5459611 INC                       4301 Trotter Lane                                                                                                     Flower Mound      TX      75028

5459612 THG INSURANCE AGENCY INC    PO Box 1180                                                                                                         Fairfax           VA      22038‐1180
        THIRD SHORE INVESTIGATIONS 
5459084 INC                         P.O. BOX 2152                                                                                                       NAPERVILLE        IL      60567
5463275 THOLE, BRIAN                120 CUIUNE VALLEY DRIVE                                                                                             TROY              MD      63379

           THOMAS H. LEE MANAGEMENT 
5733820 COMPANY LLC                                100 FEDERAL STREET                                                                                   BOSTON            MA      02110
           THOMAS MCKEE INSURANCE 
5460351    AGENCY LTD                              P.O Box 1041                                                                                         Havertown         PA      19083
5463389    THOMAS, CHARLES                         P O BOX 38423                                                                                        CHARLOTTE         NC      28278
5463397    THOMAS, CHELSEA                         1212 NE 1ST ST                                                                                       FORT LAUDERDALE   FL      33301
5462892    THOMAS, GRACE                           8809 DE HAVILAND AVENUE                                                                              LOS ANGELES       CA      90045
5461906    THOMAS, HILTON                          135 WESTON ROAD                          # 134                                                       WESTON            FL      33326
5462093    THOMAS, JOELLE                          2638 N NOB HILL RD.                                                                                  SUNRISE           FL      33322
5460975    THOMAS, MICHAEL                         2638 NORTH NOB HILL ROAD                                                                             SUNRISE           FL      33322
           THOMPSON PUBLISHING 
5459086    GROUP                                   805 15th St NW #3                                                                                    Washington        DC      20005

5460340 THOMPSONBAKER AGENCY INC P.O Box 3807                                                                                                           St Augustine      FL      32085
5459087 THOMSON REUTERS ‐ WEST   P.O. BOX 6292                                                                                                          CAROL STREAM      IL      60197
5460341 THRIVE INSURANCE         13230 Pawnee Drive, Suite 300                                                                                          Oklahoma City     OK      73114

5459606    THW INSURANCE SERVICES LLC              321 West Main Street                                                                                 Lebanon           TN      37087
5461468    TIBBLES, SHELLY                         1220 CLOVERBROOK DRIVE                                                                               ST. CHARLES       MO      63304
5459088    TIC INVESTMENT COMPANY                  100 N 6TH AVE                                                                                        WEST BEND         WI      53095
5463552    TIC Investment Company                  Jamboree Center 1& 2 LLC                 100 Virtuoso                                                Irvine            CA      92620
           TIC INVESTMENT COMPANY 
5461682    JAMBOREE CENTER 1&2 LLC                 5 PARK PLAZA                             SUITE 100                                                   IRVINE            CA      92614
5460919    TIERNAN, MEGHAN                         4012 LINVILLE FALLS LN                                                                               MONROE            NC      28110‐7648
5462663    TIERNEY, DOUG                           1406 BRAEBURN TERRACE                                                                                LANSDALE          PA      19446
5461915    TIERNEY, HUNTER                         35 BOBBIN MILL ROAD                                                                                  MEDIA             PA      19063
5462309    TIHEN, LAUREN                           423 LANTANA LN                                                                                       SAINT PETERS      MO      63376
5462367    TIHEN, LISA                             423 LANTANA LANE                                                                                     ST. PETERS        MO      63376
           TILLMAN INSURANCE AGENCY 
5460342    INC                                     3964 Old U.S Hwy 41 N                                                                                Valdosta          GA      31602
5460343    TILTON & UNGER INC                      P.O Box 352859                                                                                       Palm Coast        FL      32135


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        TILTONTHOMAS AND MORGAN 
5460344 INC                      1802 UNION STREET                                                                                         ST JOSEPH          MO       64501
5459080 TIME WARNER CABLE        P.O. BOX 1104                                                                                             CAROL STREAM       IL       60132
5460873 TIMMONS, MARY            43120 FENNER AVE                                                                                          LANCASTER          CA       93536

5459604 TINGO INSURANCE AGENCY INC 3771 Nesconset Highway                      Suite 210                                                   South Setauket     NY       11720
                                                                               3771 Nesconset 
5459081 TINGO INSURANCE AGENCY INC Joe Tingo                                   Highway                                                     South Setauket     NY       11720
5460345 TIS INC                    1634 White Circle. Suite 103                                                                            Marietta           GA       30066

5459605 TIS INSURANCE SERVICES INC                 P.O Box 10328                                                                           Knoxville          TN       37939
                                                                               13410 Sutton Park 
5461698    TLC                                     Cherlyn Austria             Drive South                                                 Jacksonville       FL       32224
5459038    T‐MOBILE USA INC                        2920 SE 38TH ST.                                                                        BELLEVUE           WA       98006
5733821    T‐MOBILE USA, INC.                      PO BOX 790047                                                                           ST. LOUIS          MO       63179‐0047
5459083    TNT SURVEILLANCE LLC                    10908 COURTHOUSE RD.        SUITE 102‐242                                               FREDERICKSBURG     VA       22408
5462327    TOBON, LESLIE                           629 VAN HOUTEN AVENUE       NUMBER 1                                                    CLIFTON            NJ       07013
5459076    TODD & ASSOCIATES                       2390 Shelter Island Dr      Ste 220                                                     San Diego          CA       92106
5460334    TODD & ASSOCIATES INC                   P.O Box 87                                                                              Clinton            MS       39060
5460335    TODD GILBERT INC                        713 S. COLLEGE STREET                                                                   MOUNTAIN HOME      AR       72653
5459879    TODD, JOHN R                            P.O Box 1409                                                                            Spring Branch      TX       78070
5462519    TOGGWEILER, CRAIG                       1346 CENTER LANE                                                                        NAPLES             FL       34110
5461391    TOGGWEILER, SEAN                        2230 FIRST STREET APT 201                                                               FORT MYERS         FL       33901
5461694    TONACHIO, TIMOTHY                       PO BOX 110214                                                                           NAPLES             FL       34108
5463296    TOPA, BRYAN                             219 MILFORD HILLS ROAD                                                                  SALISBURY          NC       28144
5461844    TORRES, YAIRA RIVERA                    4501 WEST ATLANTIC BLVD     APT 1516                                                    COCONUT CREEK      FL       33066
5461455    TORRES‐KAUWE, SHANTEL                   1410 NE 21ST PLACE                                                                      CAPE CORAL         FL       33909
5462351    TOSCANO, LINDA                          1155 HARPER JOY ROAD                                                                    DOTHAN             AL       36301
                                                                               11030 Hickman 
5461705 Total Risk Management                      Kandy Terpstra              Mills Drive                                                 Kansas City        MO       64134

           TOWN & COUNTRY FINANCIAL 
5459602 AND INSURANCE GROUP INC   201 E SANDPOINTE #360                                                                                    SANTA ANA          CA       92707
        TOWN & COUNTRY INSURANCE 
5460336 AGENCY INC                1525 HERBERT STREET, SUITE 106                                                                           PORT ORANGE        FL       32129

5459603 TRABACHINO REAL ESTATE &                   347 Cliffwood Avenue        P.O. Box 437                                                Cliffwood          NJ       07721
                                                                               347 Cliffwood 
5459077 TRABACHINO REAL ESTATE &                   Jan Trabachino              Avenue                                                      Cliffwood          NJ       07721
5733822 TRACEY SERVICES                            4851 CONCORDIA LANE                                                                     BOYNTON BEACH      FL       33436

5461714 Trailer Holdings Corp                      Brian Schwegel              12810 County Rd 17                                          Holdingford        MN       56340
5461088 TRAN, NGOCVU                               651 ONETA DRIVE                                                                         NORCROSS           GA       30093


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5462740 TRANCHANT, ERICA                         1788 NW 88TH WAY                                                                                 CORAL SPRINGS      FL       33071
        TRANSUNION RISK AND 
        ALTERNATIVE DATA OLUTIONS 
5733823 INC                         PO BOX 209047                                                                                                 DALLAS             TX       75320
        TRANSUNION RISK AND 
        ALTERNATIVE DATA SOLUTIONS 
5459079 INC                         4530 Conference Way South                                                                                     Boca Raton         FL       33431
5461718 Travelers                   Charles Newman                                    161 N Clark St                                              Chicago            IL       60601
                                                                                      One Tower Square 
5461719 Travelers                                Joe Fox                              SHS109A                                                     Hartford           CT       06183

5461716 Travelers                                LaDai Epperson                       1301 E Collins Blvd.                                        Richardson         TX       75081

5461717 Travelers                                Tom Williams                         1301 E Collins Blvd.                                        Richardson         TX       75081
5463438 TRAVIS, CHRISTOPHER                      542 SHADOWRIDGE DRIVE                                                                            WILDWOOD           MO       63011
5462117 TRAVIS, JOHN                             542 SHADOWRIDGE DRIVE                                                                            WILDWOOD           MO       63011
         TREADSTONE RISK 
5459599 MANAGEMENT LLC                           60 Speedwell Ave, Unit B                                                                         Morristown         NJ       07960
5733573 TREASURER, STATE OF IOWA                 IOWA DEPARTMENT OF REVENUE           PO BOX 10468                                                DES MOINES         IA       50306‐0468
         TREF 1 MARYVILLE HOLDINGS 
5459073 LLC                                      533 Maryville University Dr                                                                      St. Louis          MO       63141
        TRI GEN INSURANCE 
5460269 SOLUTIONS INC‐GA                         1100 Circle 75 Parkway, Suite 1350                                                               Atlanta            GA       30339
        TRI GEN INSURANCE 
5460270 SOLUTIONS INC‐PA                         940 West Sproul Road. Suite 201                                                                  Springfield        PA       19064

5459600 TRI STATE INSURANCE AGENCY 96 US‐206                                                                                                      Augusta            NJ       07822
5461724 Tribal First               9201 Spectrum Center Blvd                                                                                      San Diego          CA       92123
5462052 TRIBBLE, JENEE             115 EAST WALNUT PARK DRIVE                                                                                     PHILADELPHIA       PA       19120

6031284 TRICOR AMERICA INC                       ANDY SUN, ACCOUNTING MANAGER         717 AIRPORT BLVD.                                           SOUTH SAN FRANCISCO CA      94080
6031284 TRICOR AMERICA INC                       PO BOX 8100 S.F.I.A.                                                                             SAN FRANCISCO       CA      94128
         TRIESTER ROSSMAN & 
5460337 ASSOCIATES INC              P.O Box 230                                                                                                   Wayne              PA       19087
        TRIGEN INSURANCE SOLUTIONS 
5461728 INC                         1100 Circle 75 Pkwy, Suite 1350                                                                               Atlanta            GA       30339
        TRIGEN INSURANCE SOLUTIONS 
5459601 INC‐ATLANTA                 1100 CIRCLE 75 PARKWAY, SUITE 1350                                                                            ATLANTA            GA       30339
        TRIGEN INSURANCE SOLUTIONS 
5459595 INC‐BOCA                    315 SE Mizner Blvd. Ste 213                                                                                   Boca Raton         FL       33432

         TRIGEN INSURANCE SOLUTIONS 
5460338 INC‐SPRINGFIELD                          940 West Sproul Road. Suite 201                                                                  Springfield        PA       19064



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5760852 TriGen Insurance Solutions, Inc. 401 E. Las Olas Blvd, Suite 1650                                                                           Fort Lauderdale    FL       33301
        TRIGUARD INSURANCE 
5459596 SERVICES                                   555 ST. CHARLES DR. SUTE 100                                                                     THOUSAND OAKS      CA       91360

5459597    TRIGUARD INSURANCE SVS LLC              555 St Charles Drive, Ste 100                                                                    Thousand Oaks      CA       91360
5463439    TRIM, CHRISTOPHER                       25 LINCOLN DRIVE                                                                                 COLLIERVILLE       TN       38017
5459071    TRIPLE R HOLDING LLC                    3107 Springs Farm Ln                                                                             Charlotte          NC       28226
5461730    Trism (1799)                            Ruth Welschmeyer                     P.O. Box 1831                                               Jefferson City     MO       65102
           TRISTAR ‐ City of 
5461731    Houston/Probe                           Hollister Street                                                                                 Houston            TX       77066
5461732    Tristar ‐ Santa Ana, CA                 203 N. Golden Circle Drive                                                                       Santa Ana          CA       92705
5461733    Tristar Insurance Group                 100 Oceangate, Suite 700                                                                         Long Beach         CA       90802
           TRI‐STAR INSURANCE 
5460339    PROFESSIONALS INC                       4999 Hedgcoxe Rd. Suite 250                                                                      Plano              TX       75024
           Tri‐Star Risk Management ‐ 
5461734    Irving, TX                              5525 N. MacArthur Blvd, Suite 250                                                                Irving             TX       75038
           TriStar Risk Management ‐ 
5461735    Orange County, CA                       203 N Golden Cir Dr #200                                                                         Santa Ana          CA       92705
           Tri‐Star Risk Management ‐ San 
5461736    Antonio, TX                             70 NE Interstate 410 Loop #295                                                                   San Antonio        TX       78216
           Tristar Risk Management ‐ San 
5461737    Diego, CA                               3670 Convoy St.                                                                                  San Diego          CA       90012

5459598 TRI‐STATE HOSPITALITY INS INC 761 West Sproul Road, #311                                                                                    Springfield        PA       19064

5460328    TRITON INSURANCE GROUP INC              100 N State Rd. 7 Suite 304                                                                      Margate            FL       33063
5462902    TROOLINES, GREG                         13309 CAMINHO CIERA                  NUMBER 117                                                  SAN DIEGO          CA       92129
5462520    TRUDELLE, CRAIG                         5830 BLUE BIRD CIRCLE                                                                            OSAGE BEACH        MO       65065
5463227    True, BETH                              300 S WASHINGTON AVE, #118                                                                       FORT MEADE         FL       33841

5458899 Trumbull Insurance Company                 8711 University East Drive                                                                       Charlotte          NC       28213
5459072 TRUSEC CONSULTING LLC                      14359 Miramar Pkwy #106                                                                          Miramar            FL       33027
           TRUST U/W OF MARTIN                     6 BERKELEY ROAD ,2ND FLOOR, SUITE 
5461741 SPINELLI                                   203, DEVON, PA 19333                 8 BERKELEY, 2W,                                             DEVON              PA       19333
           TRUSTED TRANSPORTATION 
5733825    SOLUTIONS, LLC                          411 S BLACK HORSE PIKE #4                                                                        HADDON HEIGHTS     NJ       08035
           TRUSTPOINT INSURANCE LLC‐
5460329    BRISTOL                                 1109 Electric Road                                                                               Salem              VA       24153
           TRUSTPOINT INSURANCELLC‐
5460330    RICHLANDS                               1109 Electric Road                                                                               Salem              VA       24153
           TSM INSURANCE AND 
5459590    FINANCIAL SERVICES INC                  1317 OAKDALE RD. #910                                                                            MODESTO            CA       95355



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5463074    TUCKER, ANDREA                          PO BOX 10723                                                                                      GRAND CAYMAN                 KY1‐1007      CAYMAN ISLANDS
5459433    TUCKER, CHRISTOPHER ERIC                556 Johnson St                                                                                    Bourbon             MO       65441
5461294    TUCKER, ROBERT                          6 CROSS POINTE                                                                                    GREENVILLE          SC       29607
5462061    TULL, JENNIFER                          323 CORONDELET LANE                                                                               NORTH LITTLE ROCK   AR       72113
           TULSA APARTMENT 
5459070    ASSOCIATION                             6855 S CANTON AVE.                                                                                TULSA               OK       74136
5460331    TULSA INSURANCE GUY                     500 Westover Dr # 10928                                                                           Sanford             NC       27330‐8941
5460976    TUMINARO, MICHAEL                       PO BOX 102                                                                                        SOUTH CHINA         ME       04358
5463001    TUMMINELLO, ALEXANDER                   600 SOLAR ISLE                                                                                    FORT LAUDERDALE     FL       33301
           TURNER & ASSOCIATES 
5460683    INSURANCE INC                           PO Box 40                                                                                         Brunswick           GA       31521
5459591    TURNER AGENCY INC                       P.O Box 17677                                                                                     Greenville          SC       29606
5459592    TURNER INSURANCE                        108 S. Morton Ave.                                                                                Centerville         IN       47330
           TURNER WOOD & SMITH 
5460684    INSURANCE                               P.O. Box 1058                                                                                     Gainesville         GA       30503
5461469    TURNER, SHERI                           PO BOX 7176                                                                                       MARYVILLE           TN       37802
5462033    TUTOR, JASON                            805 Arcadia Rd                                                                                    CHESAPEAKE          VA       23320‐3172
           Twin City Fire Insurance 
5461743    Company                                 501 Pennsylvania Parkway, Suite 400                                                               Indianapolis        IN       46280‐0014
           TWIN FORKS INSURANCE 
5459593    AGENCY INC                              P.O. Box 367                                                                                      Islip Terrace       NY       11752
           TWIN LAKES INSURANCE 
5460685    AGENCY                                  608 SW 3rd Street                                                                                 Lees Summit         MO       64063

5459594 TWIN RIVERS INSURANCE INC                  730 E. STRAWBRIDGE AVE. SUITE #101                                                                MELBOURNE           FL       32901
                                                                                         2200 Don Tyson 
5461746 Tyson Foods ‐ Shared Services
                                    Emily Garner, RN,CCM                                 Parkway                                                     Springdale          AR       72762
        U.S. BANK NATIONAL 
        ASSOCIATION, AS COLLATERAL 
5459003 AGENT                       225 ASYLUM STREET, 23RD FLOOR                        EX‐CT‐SS                                                    HARTFORD            CT       06103
                                                                                         PRIVATE WEALTH 
5458776 UBS                                        ATTN: MELLESSA GARDENER‐DAVILA        MANAGEMENT           440 ROYAL PALM WAY                     PALM BEACH          FL       33480

           UBS AG, STAMFORD BRANCH, 
5459000 AS COLLATERAL AGENT                        677 WASHINGTON BOULEVARD                                                                          STAMFORD            CT       06901

5459068 UBS FINANCIAL SERVICES INC                 677 WASHINGTON BLVD                                                                               STAMFORD            CT       06901
5461748 ULLICO                                     420 Lexington Ave., Suite 1631                                                                    New York            NY       10170
           UNDERWOOD ANDERSON & 
5460686 ASSOCIATES INC                             PO Box 9578                                                                                       Pensacola           FL       32513
5459586 UNICO GROUP INC                            1128 LINCOLN MALL, SUITE 200                                                                      LINCOLN             NE       68508

5459009 UNIFI EQUIPMENT FINANCE INC 3893 RESEARCH PARK DRIVE                                                                                         ANN ARBOR           MI       48108



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           UNION COUNTY INSURANCE 
5460332    AGENCY LLC‐CLOVIS                       500 Mitchell Street                                                                           Clovis             NM       88101
           UNION GUARANTY INSURANCE 
5460333    INC                                     216 Bank Street                                                                               Union              MS       39365
           UNION ONE FINANCIAL GROUP 
5460271    LLC                                     370 Commerce Drive, Suite 105                                                                 Fort Washington    PA       19034
           UNISOURCE PROGRAM 
5459587    ADMINISTRATORS LLC                      5560 BROADCAST CT                                                                             SARASOTA           FL       34240
5459588    UNITED AGENCIES                         301 E. Colorado Blvd., Suite 200                                                              Pasadena           CA       91101

5461750 United American Security, LLC              7610 Falls of Neuse Road           Suite 290                                                  Raleigh            NC       27615
        UNITED BUSINESS PARTNERS 
5733826 LLC                                        11275 US HWY 98 W UNIT 7                                                                      MIRAMAR BEACH      FL       32550
        UNITED BUSINESS PARTNERS 
5459589 LLC                                        350 Franklin Road. Suite 330                                                                  Marietta           GA       30067

5733827 UNITED FIRE & CASUALTY CO.                 118 SECOND AVE. SE                 P.O. BOX 73909                                             CEDAR RAPIDS       IA       52407
           UNITED FIRE & CASUALTY 
5458969    COMPANY                                 118 Second Ave. SE                                                                            Cedar Rapids       IA       52407‐3909
           United Fire & Casualty 
5461751    Company                                 Brian Peck                         PO Box 73909                                               Cedar Rapids       IA       52407
           United Fire & Casualty 
5461752    Company                                 Sharon Menke                       PO Box 73909                                               Cedar Rapids       IA       52407
           United Health and Welfare 
5461753    Group                                   333 Sylvan Ave.                    Ste 400                                                    Englewood Cliffs   NJ       07632
           UNITED INSURANCE AGENCY 
5460687    INC                                     P.O. Box 1604                                                                                 El Dorado          AR       71730
           UNITED INSURANCE AGENCY 
5460322    OF HARRISON INC                         P.O BOX 1258                                                                                  HARRISON           AR       72601
5459069    UNITED PARCEL SERVICES                  P.O. BOX 7247‐0244                                                                            PHILADELPHIA       PA       19170
           UNITED RISK MANAGEMENT 
5460323    INC                                     134 Broadway Suite 603                                                                        Brooklyn           NY       11249
5459066    UNITED STATES TREASURY                  1500 PENNSYLVANIA AVENUE, NW                                                                  WASHINGTON         DC       20220
5459582    UNIVERSAL GROUP LTD                     11819 Miracle Hills Dr, Ste 102                                                               Omaha              NE       68154
                                                                                      1234 South 
5461754 Universal Printing                         Bob Ebel                           Kingshighway                                               St. Louis          MO       63110
                                                                                      1105 Carrie Francke 
5461756 University of Missouri                     Joanne Flowers                     Drive                                                      Columbia           MO       65211‐3100
5462189 UNRUH, KATHERINE                           1918 WISMER AVENUE                                                                            ST LOUIS           MO       63114

5458983 UPPER MERION PENNSYLVANIA 175 W. Vally Forge Road                                                                                        King of Prussia    PA       19406
5463115 URBINA, ANTONIO           16642 GOLFVIEW DR                                                                                              WESTON             FL       33326
5461757 Us Administrator Claims   800 Oak Ridge Turnpike, Suite A‐701,                                                                           Oakridge           TN       37830



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                                                                                            475 L'Enfant Plaza, 
5459067 US POSTAL SERVICE                          USPS Office of the Consumer Advocate     SW                   Room 4012                                 Washington         DC       20260‐2200

5459583 US RISK BROKERS ‐HOUSTON                   2050 West Sam Houston Pkwy South                                                                        Houston            TX       77042

5733828 US RISK BROKERS ‐HOUSTON                   8401 N. CENTRAL EXPWY, SUITE 1000                                                                       DALLAS             TX       75225

5459584 US RISK LLC‐DALLAS                         8401 N. Central Expressway. Suite 1000   Attn: Sarah Jessup                                             Dallas             TX       75225

5459585 USG INSURANCE SERVICES INC 3810 NORTHDALE BLVD SUITE 190                                                                                           TAMPA              FL       33624
           USI INSURANCE SERVICES LLC‐
5460324    BLUE BELL                               1787 Sentry Parkway West, Suite 300                                                                     Blue Bell          PA       19422
           USI INSURANCE SERVICES LLC‐
5460793    CHARLOTTE                               P.O BOX 220948                                                                                          CHARLOTTE          NC       28222‐0948
           USI INSURANCE SERVICES LLC‐
5459576    CORAL GABLES                            201 ALHAMBRA CIRCLE SUITE 801                                                                           CORAL GABLES       FL       33134
           USI INSURANCE SERVICES LLC‐
5459577    CORAL GABLES                            P.O Box 141916                                                                                          Coral Gables       FL       33114
           USI INSURANCE SERVICES LLC‐
5460325    FT LAUDERDALE                           2400 E Commercial Blvd. Suite 600                                                                       Ft Lauderdale      FL       33308
           USI INSURANCE SERVICES LLC‐
5459578    TERRE HAUTE                             P.O Box 900                                                                                             Terre Haute        IN       47807
5460326    USI MIDWEST LLC                         308 North 21 Street                                                                                     Saint Louis        MO       63103
5733829    USI OF SOUTHERN CA INS SV               PO BOX 62683                                                                                            VIRGINIA BEACH     VA       23466
           USI OF SOUTHERN CA INS SVS 
5459579    INC                                     38 Discovery St. Ste 250                                                                                IRVINE             CA       92618
           USI OF SOUTHERN CA 
           INSURANCE SVCS INC‐
5459580    WOODLAND HILLS                          PO BOX 62683                                                                                            VIRGINIA BEACH     VA       23466

5459581 USI OF SOUTHERN CALIFORNIA 29A Technology Drive, Ste 100                                                                                           Irvine             CA       92618
5459570 USI SOUTHWEST INC          200 Summit Lake Drive #350                                                                                              Valhalla           NY       10595
           USI SOUTHWEST INC‐NEW 
5460327 MEXICO                                     200 SUMMIT LAKE DRIVE, SUITE 350                                                                        VALHALLA           NY       10595
5461760 USLI Companies                             Diana Neighbor                           PO Box 6700                                                    Wayne              PA       19087
5461761 USLI Companies                             John Colaprete                           PO Box 6700                                                    Wayne              PA       19087
                                                   Attn: Randy Overstreet, Director,        3110 State Office 
5458840 Utah Insurance Department                  Producer Services                        Building                                                       Salt Lake City     UT       84114‐6901
        UTAH LABOR COMMISSION 
        INDUSTRIAL ACCIDENT 
5461762 DIVISION                                   160 East 300 South, 3rd Floor            P.O. Box 146610                                                Salt Lake City     UT       84114‐6610
        UTICA MUTUAL INSURANCE 
5461763 COMPANY                                    P.O. BOX 530                                                                                            UTICA              NY       13503‐0530



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        UTICA NATIONAL INSURANCE                                                      180 GENESEE 
5458910 COMPANY                                    MARTHA DUMONT                      STREET                                                    NEW HARTFORD        NY       13503

5461764 Utica National Insurance Group Martha Dumont                                  180 Genesee Street                                        New Hartford        NY       13413
           VALDOSTA INSURANCE 
5460676    SERVICES INC                            PO Box 2070                                                                                  Valdosta            GA       31604‐2070
5462006    VALENCIA, JAMES                         4085 SW 148TH TERRACE                                                                        MIRAMAR             FL       33027
5462394    VALENZUELA, LUZ                         7647 TERN DRIVE                                                                              ORLANDO             FL       32822
5461772    Valero                                  One Valero Way                                                                               San Antontio        TX       78249
5461773    Vallarta Supermarkets                   12881 Bradley Ave.                                                                           Sylmar              CA       91342
5461849    VALMYR, YONER                           3517 SW 6TH COURT                                                                            FORT LAUDERDALE     FL       33312
           VAN BEURDEN INSURANCE 
5459571    SERVICES INC                            P.O. Box 2053                                                                                Woodland            CA       95776
           VAN BEURDEN INSURANCE 
5459572    SERVICES INC                            P.O. Box 67                                                                                  Kingsburg           CA       93631
           VAN HORN AGENCY INC DBA 
5459573    VAN HORN INSURANCE                      P.O Box 219                                                                                  Camden              SC       29021
           VAN METER INSURANCE 
5460677    GROUP                                   109 International Dr., Ste. 101                                                              Franklin            TN       37067
5459574    VAN NAMEE ASSOCIATES                    3 Tarbell Terrace                                                                            Utica               NY       13501
5462268    VANDONKELAAR, KIRSTEN                   5010 44TH ST. W                                                                              BRADENTON           FL       34210
           VANDROFF INSURANCE 
5459575    AGENCY INC                              5150 Belfort Rd., Bldg. 200                                                                  Jacksonville        FL       32256
5461700    VANESSELSTINE, TODD                     3380 FRED GEORGE ROAD              APARTMENT 614                                             TALLAHASSEE         FL       32303
5463462    VANORMAN, ZACHARY                       105 ELIZABETH AVENUE                                                                         ALTAMONTE SPRINGS   FL       32701

5459568    VANTREO INSURANCE BROKERS               100 STONY POINT ROAD #160                                                                    SANTA ROSA          CA       95401
5459005    VAR RESOURCES, INC.                     800 WALNUT STREET                  MAC N0005‐044                                             DES MOINES          IA       50309
5463113    VARGAS, ANTONIETA                       6389 THUNDER GULCH AVE                                                                       LAS VEGAS           NV       89141
5462228    VARNES, KENNETH                         8 BUNTING DRIVE                                                                              CRAWFOROVILLE       FL       32327
5460832    VARNS, MARIA                            236 COUNTRYSHIRE DRIVE                                                                       LAKE ST. LOUIS      MO       63367
5462190    VAUGHAN, KATHERINE                      5309 BUTTE STREET                                                                            LEHIGH ACRES        FL       33971
5461301    VAUGHN, ROBIN                           7701 BLYTHWOOD LN.                                                                           CHARLOTTE           NC       28227
5463307    VAZQUEZ, CALIXTO                        10 BUCK LANE                                                                                 UPPER CHICHESTER    PA       19061
5462084    VAZQUEZ, JESUS                          4562 SW 126 AVE                                                                              MIRAMAR             FL       33027
5464606    VEADER, ANAT                            3345 NE 18TH TER                                                                             OAKLAND PARK        FL       33306
5461828    VEGA, WILLIAM                           1741 NE 4TH AVENUE                                                                           FORT LAUDERDALE     FL       33305
5461829    VEGA, WILLIAM                           5901 TOSCANA DR.                   APT: 1232                                                 DAVIE               FL       33324
5462010    VELA, JAMIE                             11570 PLANTATION PRESERVE CIRCLE                                                             FORT MYERS          FL       33966
5462694    VELLENOWETH, ELAINE                     627 WEYBRIDGE COURT                                                                          LAKE MARY           FL       32746
5459023    VERIZON                                 140 WEST ST                                                                                  NEW YORK            NY       10013
5459035    VERIZON                                 PO BOX 4833                                                                                  TRENTON             NJ       08650‐4833



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           VERIZON DIGITAL MEDIA 
5459062    SERVICES INC                            13031 W JEFFERSON BLVD #900                                                                             LOS ANGELES        CA       90094
5459063    VERIZON WIRELESS                        P.O. Box 25505                                                                                          Lehigh Valley      PA       18002
           Vermont Department of                   Attn: Sandra Fraser Executive Assistant, 
5458841    Financial Regulation                    Producer Licensing                          89 Main Street                                              Montpelier         VT       05620‐3101
           VERMONT DEPARTMENT OF 
5461778    LABOR                                   PO BOX 4488                                                                                             MONTPELIER         VT       05601‐0488
           Vernis and Bowling of Palm 
5461779    Beach, PA                               884 US‐1,                                                                                               North Palm Beach   FL       33408
           VERONA INSURANCE AGENCY 
5733830    INC                                     110 STEVENS AVENUE                                                                                      LITTLE FALLS       NJ       07424
5459064    VERTAFORE                               P.O. BOX 27167                                                                                          NEW YORK           NY       10087
5852332    Vertafore Inc.                          999 18th St.                                Suite 400                                                   Denver             CO       80202
5852332    Vertafore Inc.                          Silicon Valley Bank                         3003 Tasman Dr.                                             Santa Clara        CA       95054

5460316 VGM INSURANCE SERVICES INC 1111 W San Marnan Drive                                                                                                 Waterloo           IA       50701
                                                                                               18233 HOOVER 
5461784 VIATRON SYSTEMS INC                        VIATRON SYSTEMS, INC.,                      STREET,                                                     LOS ANGELES        CA       90248
        VIKARAN TECHNOLOGY 
5460251 SOLUTIONS                                  401 East Las Olas Blvd                      Suite 1650                                                  Fort Lauderdale    FL       33301
5461306 VILARO, RODRIGO                            3619 CAMERON CROSSING DRIVE                                                                             JACKSONVILLE       FL       32223
5461054 VILFORT, NADEGE                            4863 DELEON STREET                                                                                      FORT MYERS         FL       33907

5460317 VIP INSURANCE SERVICES LLC                 4900 N. Scottsdale Rd, Suite 6000                                                                       Scottsdale         AZ       85251
           VIRGINIA COMMONWEALTH 
5460661    CORPORATION                             2570‐B Gaskins Road                                                                                     Richmond           VA       23238
           VIRGINIA DEPARTMENT OF 
5733574    TAXATION                                PO BOX 1500                                                                                             RICHMOND           VA       23218‐1500
           VIRGINIA DEPARTMENT OF 
5733831    TAXATION                                PO BOX 1777                                                                                             RICHMOND           VA       23218‐1777
           Virginia State Corporation 
           Commission Bureau of                    Attn: Richard J. Tozer Supervisor, Agent 
5458842    Insurance                               Licensing, Administration                   P.O. Box 1157                                               Richmond           VA       23218
           Virginia State Corporation 
           Commission Bureau of                    Attn: Richard J. Tozer Supervisor, Agent 
5458843    Insurance                               Licensing, Administration                   Tyler Building       1300 East Main Street                  Richmond           VA       23219

           VIRGINIA WORKERS' 
5461798 COMPENSATION COMMISSION 333 E. Franklin St.                                                                                                        Richmond           VA       23219
5459569 VISION HR AGENCY INC    347 S. RIDGEWOOD AVE.                                                                                                      DAYTONA BEACH      FL       32114

5459564 VITAS INSURANCE AGENCY LLC 200 AUBURN FOLSOM ROAD                                                                                                  AUBURN             CA       95603




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5459060 VITAS INSURANCE AGENCY LLC 231 Cherry Avenue                                                                                          Auburn              CA       95603
5462686 Vivian, Eberle             206 Railroad Ave N                                                                                         Kent                WA       98032‐4533

5461799 Voith Industrial Services, Inc.            9395 Kenwood Rd Ste 200                                                                    Cincinnati          OH       45242

5460318 VOSS INSURANCE SERVICES INC 2395 JOLLY ROAD, SUITE 195                                                                                OKEMOS              MI       48864
        VOYAGER INSURANCE 
5460272 SERVICES AGENCYLLC                         488 Kinney Avenue NW                                                                       Grand Rapids        MI       49534
5459565 VREELAND INSURANCE INC                     100 Enterprise Drive              Suite 501                                                Rockaway            NJ       07866
5459061 VREELAND INSURANCE INC                     100 Enterprise Dr.                                                                         Dover               NJ       07801

5459566 W LEE TAYLOR JR AGENCY LLC                 147 WAPPOO CREEK DR., 5TH FLOOR                                                            CHARLESTON          SC       29412
5733832 W.B. PAYNE CO., INC.                       46 SCHUYLER STREET                                                                         BOONVILLE           NY       13309
5460319 WA YOUNG INC                               39 S. Main Street                                                                          Rockford            MI       49341

5459567 WADE S DUNBAR AGENCY INC P.O Drawer 3621                                                                                              Laurinburg          NC       28353

5460795 WAFD INSURANCE GROUP INC PO BOX 44158                                                                                                 Rio Rancho          NM       87174‐4158
           WAFD INSURANCE GROUP INC 
           DBA MONTGOMERY 
5459558    INSURANCE AGENCY                        P.O Box 1568                                                                               carlsbad            NM       88220
5460678    WAGNER AGENCY INC                       5020 Centre Ave.                                                                           Pittsburgh          PA       15213
           WAITES & FOSHEE INSURANCE 
5459559    INC                                     PO Box 4803                                                                                Macon               GA       31208
           WALDORFF INSURANCE & 
5459560    BONDING INC                             45 Eglin Parkway NE, Ste 202                                                               Fort Walton Beach   FL       32548
           WALKER BROTHERS 
5460662    INSURANCE INC                           P.O. BOX 7570                                                                              SPRINGDALE          AR       72766‐7570
           WALKER INSURANCE AGENCY 
5460679    INC                                     1110 Washington St.                                                                        Perry               GA       31069
5462490    WALKER, CORINNA                         4488 VILLAGE DRIVE                UNIT D                                                   CHINO HILLS         CA       91709
5462180    WALKER, KAREN                           806 BORDEAU AVE W                                                                          JACKSONVILLE        FL       32211
5719916    Wallace Saunders, Chtd.                 10111 W 87th Street                                                                        Overland Park       KS       66211
           WALLACE WELCH & 
5459561    WILLINGHAM INC                          P.O. BOX 33020                                                                             SAINT PETERSBURG    FL       33701
5461951    WALLACE, IMANI                          1640 SW 116TH AVE                                                                          PEMBROKE PNES       FL       33025‐5709
5461697    WALLACE, TINO                           1358 YELLOW SPRINGS DR                                                                     INDIAN LAND         SC       29707
5463066    WALLER, AMY                             P.O. BOX 918                                                                               CONWAY              SC       29528
           WALLSTREET INSURANCE 
5460321    AGENCY INC                              1530 Rax Court                                                                             Jefferson City      MO       65109
5720311    Walsh, Charles H                        246 E Adelia Street                                                                        Elmhurst            IL       60126‐3569




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                                                                                                                Sheppard, Mullin, Richter, & 
5734050 Walsh, Charles H.                          Christopher J. Bosch                    Associate            Hampton LLP                   30 Rockefeller Plaza     New York           NY      10112
                                                                                           Attn: Christopher 
                                                                                           Joseph Bosch, Rena 
5466079 Walsh, Charles H.                          c/o Sheppard, Mullin, Richter & Hampton Andoh               30 Rockefeller Plaza                                    New York           NY      10112
                                                                                                               1901 Avenue of the Stars, 
5466080 Walsh, Charles H.                          c/o Sheppard, Mullin, Richter & Hampton John P. Stigi , III Suite 1600                                              Los Angeles        CA      90067
                                                                                           12275 El Camino 
5729771 Walsh, Charles H.                          Kandace P. Watson                       Real                Suite 200                                               San Diego          CA      92130

                                                                                           Four Embarcadero 
5729771 Walsh, Charles H.                          Ori Katz                                Center                                                                      San Francisco      CA      94111

5729771 Walsh, Charles H.                          Sheppard, Mullin, Richter & Hampton     Christopher J. Bosch 30 Rockefeller Plaza                                   New York           NY      10112

5734050 Walsh, Charles H.                          Sheppard, Mullin, Richter & Hampton LLP Kandace P. Watson 12275 El Camino Real            Suite 200                 San Diego          CA      92130
                                                                                           James L. Patton, C.                               1000 North King Street 
5734050 Walsh, Charles H.                          Young Conaway Stargatt & Taylor, LLP    Barr Flinn           and Kara Hammond Coyle       Rodney Square             Wilmington         DE      19801
5461572 WALSH, SUZANNE                             8 WESTLUND AVENUE                                                                                                   KENNE              NH      03431
           WALTER R REINHARDT 
5459562    INSURANCE AGENCY INC                    499 W. SHAW AVENUE #130                                                                                             FRESNO             CA      93704
5461713    WAMPLER, TRACY                          PO BOX 1622                                                                                                         PARK HILLS         MO      63601
5463075    WARD, ANDREA                            2520 WALNUT HEIGHTS ROAD                                                                                            APOPKA             FL      32703
5462525    WARD, CRYSTAL                           2912 SAINT CHARLES STREET                                                                                           FORT MYERS         FL      33916
5462125    WARD, JONATHON                          501 SE 2ND STREET                       APARTMENT 1523                                                              FORT LAUDERDALE    FL      33301

        WARRANT LIABILITIES SERIES A 
        (HOLDER: ALTO OPPORTUNITY 
5733833 MASTER FUND, SPC)             1180 AVENUE OF AMERICAS                              SUITE 1940                                                                  NEW YORK           NY      10036
        WARRANT LIABILITIES SERIES A 
        (HOLDER: CVI INVESTMENTS, 
5733834 INC.)                         101 CALIFORNIA STREET                                SUITE 3250                                                                  SAN FRANCISCO      CA      94111
        WARRANT LIABILITIES SERIES A 
        (HOLDER: HUDSON BAY 
5733835 MASTER FUND LTD.)             777 THIRD AVE                                        30TH FLOOR                                                                  NEW YORK           NY      10017

        WARRANT LIABILITIES SERIES B 
        (HOLDER: ALTO OPPORTUNITY 
5733836 MASTER FUND, SPC)             1180 AVENUE OF AMERICAS                              SUITE 1940                                                                  NEW YORK           NY      10036
        WARRANT LIABILITIES SERIES B 
        (HOLDER: CVI INVESTMENTS, 
5733837 INC.)                         101 CALIFORNIA STREET                                SUITE 3250                                                                  SAN FRANCISCO      CA      94111




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           WARRANT LIABILITIES SERIES B 
           (HOLDER: HUDSON BAY 
5733838    MASTER FUND LTD.)                       777 THIRD AVE                  30TH FLOOR                                                   NEW YORK         NY       10017
           WARREN INSURANCE 
5459563    CORPORATION                             950 PENINSULA CORP CIR #1012                                                                BOCA RATON       FL       33487
           Washington DC Attorney 
5458821    General                                 Attention Bankruptcy Dept      441 4th Street, NW                                           Washington       DC       20001
           WASHINGTON DEPARTMENT 
5458984    OF REVENUE                              P.O. Box 9034                                                                               Olympia          WA       98507

           Washington State Office of the  Attn: Jeff Baughman, Licensing and 
5458844 Insurance Commissioner             Education Manager                      P.O. Box 40255                                               Olympia          WA       98504‐0255

                                                                                  405 NORTH KING 
5733839 WASIK, HENRY                               MCCARTER & ENGLISH LLP         STREET, 8TH FLOOR                                            WILMINGTON       DE       19801
           WATERIDGE INSURANCE 
5460310    SERVICES                                10717 SORRENTO VALLEY ROAD                                                                  SAN DIEGO        CA       92121
5459057    WATERLOGIC EAST LLC                     77 MCCULLOUGH DRIVE, SUITE 9                                                                NEW CASTLE       DE       19720
           WATERS EDGE INSURANCE 
5460311    AGENCY INC                              37102 S Groesbeck Hwy                                                                       Clinton TWP      MI       48036
5463297    WATKINS, BRYCE                          6706 KENSINGTON AVENUE                                                                      RICHMOND         VA       23226
5462187    WATSON, KATELYN                         318 OLD LANCASTER RD                                                                        DEVON            PA       19333‐1427
5458971    WB PAYNE CO INC                         2113 Genesse Street                                                                         Utica            NY       13501

                                                                                  47 Barnes Industrial 
                                                                                  Road South P.O. 
5461807    WC Trust                                Nate Shippee                   Box 5042                                                     Wallingford      CT       06492
5459058    WCIRB                                   1221 BROADWAY                  SUITE 900                                                    OAKLAND          CA       94612
5460794    WD CAMPBELL & SON INC                   P.O Box 677                                                                                 Lynchburg        VA       24505‐0677
5462615    WEASENFORTH, DEBRA                      1200 LYNMARST                  APT #4                                                       KEYSER           WV       26726
5461808    Weatherly Investigation                 2430 McLaurin St #27                                                                        Waveland         MS       39576
5461350    WEATHERLY, SAMUEL                       P.O. BOX 2013                                                                               LONG BEACH       MS       39560
           WEATHERSBY‐SAPP, 
5462082    JESTEPHANIE                             1110 LARKFIELD DRIVE                                                                        RICHMOND         TX       77469
5463276    WEBB, BRIAN                             68 HONEFIELD MANORS COURT                                                                   O'FALLON         MO       63366
5733840    WEBB, BRIAN C                           68 HOMEFIELD MANORS CT                                                                      O'FALLON         MO       63366
5462554    WEBB, DANIEL                            1620 NW 28 TERRACE                                                                          CAPE CORAL       FL       33993
5460918    WECHSLER, MEGAN                         19 SOUTH ROLLING ROAD                                                                       SPRINGFIELD      PA       19064
5463011    WEEDON, ALICIA                          1529 N. FRAZIER STREET                                                                      PHILADELPHIA     PA       19131
5463144    WEEKES, ASHIKA                          2200 REID POINTE AVENUE                                                                     INDIAN LAND      SC       29707
5461681    WEHNER, THOMAS                          4 WINDING WAY                                                                               MULLICA HILL     NJ       08062
5461384    WEIBERT, SCOTT                          7735 BOARDWALK TOWER CIRCLE                                                                 OFALLON          MO       63368
5458955    Weil, Gotshal & Manges LLP              Irwin H. Warren                767 Fifth Avenue                                             New York         NY       10153‐0119


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5461897 WEILBAECHER, HELEN                         350 BALDWIN ROAD                          APARTMENT J‐10                                                      PARSIPPANY         NJ       07054
5463076 WEIMER, ANDREA                             4111 CEDARVIEW ROAD                                                                                           DALLAS             TX       75287
5462991 WEINSTEIN, ALBERTA                         2222 VALENCIA RD                                                                                              ORLANDO            FL       32803

5460680 WEISS INSURANCE AGENCY INC 683 Trade Center Blvd., Ste. 100                                                                                              Chesterfield       MO       63005

5460273 WELLINGTON ASSOCIATES INC 7 River Bend Pl.                                                                                                               Flowood            MS       39232
5459555 WELLINGTON PARTNERS       10 Middle Neck Rd Suite 200                                                                                                    Great Neck         NY       11021
           WELLINGTON PARTNERS 
5459556 INSURANCE SERVICES                         10 Middle neck Rd. Suite 200                                                                                  Great Neck         NY       11021
5461516 WELLINGTON, STACEY                         813 SOUTHERN CREEK DR                                                                                         JACKSONVILLE       FL       32259‐6256
5459557 WELLS FARGO INSURANCE                      2030 MAIN STREET SUITE 200                                                                                    IRVINE             CA       92614
           WELLS FARGO INSURANCE 
5460312 SERVICES USA‐TAMPA                         2502 N. Rocky Point Dr. Ste 400                                                                               Tampa              FL       33607
           WELLS INVESTIGATIVE 
5733841    SERVICES LLC                            175 EAST BROAD ST. #354                                                                                       PATASKALA          OH       43062
5462062    WELLS, JENNIFER                         428 OAK PLACE                                                                                                 LAKE SAINT LOUIS   MO       63367
5461295    WELLS, ROBERT                           1940 HAROLD STEWART PARKWAY                                                                                   PATASKALA          OH       43062
5463124    WENGER, ARIANA                          162 PAGE AVENUE                           1ST FLOOR                                                           LYNDHURST          NJ       07071
5461893    WERSINGER, HEATHER                      6460 YELLOWSTONE STREET                                                                                       ORLANDO            FL       32807
5461264    WERSINGER, RICHARD                      5031 DORETTA CT                                                                                               ORLANDO            FL       32807
5458933    Wesco Insurance Company                 234 Spring Lake Drive                                                                                         Itasca             IL       60143
5461812    Wesco Insurance Company                 59 Maiden Ln                                                                                                  New York           NY       10038
           WEST COAST INSURANCE 
5459552    GROUP INC                               5500 Central Ave.                                                                                             Saint Petersburg   FL       33707

5459553 WEST INSURANCE OF FLORIDA 1324 E COMMERCIAL BLVD                                                                                                         FT LAUDERDALE      FL       33331
           WEST INTERACTIVE SERVICES 
5459054    CORPORATION                             11808 MIRACLE HILLS DR.                                                                                       OMAHA              NE       68154
           WEST MICHIGAN INSURANCE 
5460313    INC                                     347 South Division                                                                                            Hesperia           MI       49421
           WEST UNIFIED 
           COMMUNICATIONS SERVICES 
5459039    INC                                     8420 WEST BRYN MAWR SUITE 1100                                                                                CHICAGO            IL       60631
           WEST UNIFIED 
           COMMUNICATIONS SERVICES, 
5733842    INC.                                    PO BOX 281866                                                                                                 ATLANTA            GA       30384‐1866
           West Virginia Direct Lending                                                                             1251 Avenue of the                                              New 
5760862    LLC                                     TCW Direct Lending Group                  Suzanne Grosso         Americas                   Suite 4700        New York           York     10020
           West Virginia Offices of the            Attn: Elizabeth Webb, Director, Agents 
5458834    Insurance Commissioner                  Licensing and Education                   1124 Smith Street                                                   Charleston         WV       25301
           West Virginia Offices of the            Attn: Elizabeth Webb, Director, Agents 
5458833    Insurance Commissioner                  Licensing and Education                   P.O. Box 50540                                                      Charleston         WV       25305‐0540



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5462886 WEST, GLORIA                               1317 SW WHISTLE CIRCLE                                                                           LEES SUMMIT          MO       64082
5462907 WEST, GREGORY                              830 RIVERBEND BLVD                                                                               LONGWOOD             FL       32779
5461226 WEST, RALPH                                9410 WILLOW TREE LANE                                                                            CHARLOTTE            NC       28277
           Westchester Fire Insurance 
5458931 Company                                    11575 Great Oaks Way, Suite 200                                                                  Alpharetta           GA       30022
                                                                                       11575 Great Oaks 
5465622 Westchester Specialty Group                Financial Lines Division            Way                   Suite 200                              Alpharetta           GA       30022
5459056 WESTCO SECURITY SYSTEMS                    215 CHESTERFIELD INDUSTRIAL BLVD.                                                                CHESTERFIELD         MO       63005

5733843 WESTEND COFFEE ROASTERS                    450 FAIRFOREST WAY                                                                               GREENVILLE           SC       29607
5460314 WESTERN ASSURANCE CORP                     3701 PASEO DEL NORTE NE                                                                          ALBUQUERQUE          NM       87113

5459554 WESTERN ELITE INS SOLUTIONS 140 Diamond Creek Place                                                                                         Roseville            CA       95747
        WESTERN ELITE INSURANCE 
5459548 SOLUTIONS                                  140 DIAMOND CREEK PL                                                                             ROSEVILLE            CA       95747
                                                   7090 SOUTH UNION PARK AVENUE, SUITE 
5459052    WEX BANK                                350                                                                                              MIDVALE              UT       84047
5461339    WHALEY, SABRINA                         6143 PARK HILL ROAD                  PRIVATE HOME                                                CHARLOTTE            NC       28277
5461815    Whataburger                             300 Concord Plaza Dr.                                                                            San Antonio          TX       78216
5461814    WHEELER, WESLEY                         9355 113TH STREET                    NUMBER 4652                                                 SEMINOLE             FL       33775
           WHITE RIVER INSURANCE 
5460681    AGENCY INC                              P.O. Box 4420                                                                                    Batesville           AR       72503
5461910    WHITE, HOLLY                            3668 CANYON RIDGE COURT NE                                                                       ATLANTA              GA       30319
5461589    WHITE, TARA                             9474 BELLA DRIVE                                                                                 DAPHNE               AL       36526
5462118    WHITEHURST, JOHN                        PO BOX 31                                                                                        MANTEO               NC       27954
           Wicker Smith O'Hara McCoy 
5461816    and Ford PA                             515 E Las Olas Blvd #1400                                                                        Fort Lauderdale      FL       33301

5460267    WIDERMAN & COMPANY INC                  70 Tanner Street                                                                                 Haddonfield          NJ       08033
5462621    WIEBERG, DENISE                         5373 BURGUNDY DR.                                                                                IMPERIAL             MO       63052
5461901    WILCOX, HENRY                           2411 LANDMEIER ROAD #201                                                                         ELK GROVE VILLIAGE   IL       60007
5462274    WILCOX, KRISTIE                         86 Isle of Venice Dr Apt 2                                                                       FORT LAUDERDALE      FL       33301‐1439
5462281    WILCOX, KYLE                            1716 TERRELL MILL ROAD SE‐J5                                                                     MARIETTA             GA       30067
5461818    Wild, Cater, and Tipton                 246 W Shaw Ave                                                                                   San Francisco        CA       93704

5466289 William Blair & Company, L.L.C. 150 North Riverside Plaza                                                                                   Chicago              IL       60606

5459549 WILLIAM P SMART ASSOC INC                  1520 Route 23 North                 2nd Floor                                                    Wayne                NJ       07470
                                                                                       1520 Route 23 
5459053 WILLIAM P SMART ASSOC INC                  Joe Ast                             North, 2nd Floor                                             Wayne                NJ       07470
        WILLIAMS & STAZZONE 
5733844 INSURANCE AGENCY INC                       6549 N WICKHAM RD UNIT 101                                                                       MELBOURNE            FL       32940
5462453 WILLIAMS JR, CLARK                         4504 WEST SPRUCE STREET             NUMBER 109                                                   TAMPA                FL       33607


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                                                                                                           Master Mailing List
                                                                                                        Served via First Class Mail
 MMLID                     NAME                                  ADDRESS 1                  ADDRESS 2              ADDRESS 3          ADDRESS 4             CITY       STATE   POSTAL CODE   COUNTRY
5463107 WILLIAMS, ANNETTE                          6631 BEULAH OAKS LANE                                                                          NORTH CHESTERFIELD   VA      23234
5463421 WILLIAMS, CHRISTINE                        1246 CABOTS DRIVE                                                                              AUBURN               GA      30011
5461061 WILLIAMS, NATASHA                          11341 NW 29TH STREET                                                                           SUNRISE              FL      33323
5461102 WILLIAMS, NICOLE                           11751 NW 12TH STREET                                                                           PEMBROKE PINES       FL      33026
5461252 WILLIAMS, RENEE                            135 COTTONBELLE DRIVE                                                                          STOCKBRIDGE          GA      30281
5461464 WILLIAMS, SHAVONTE                         4713 3RD AVENUE                                                                                LOS ANGELES          CA      90043
5461776 WILLIAMS, VANESSA                          PO BOX 298                                                                                     CHELTENHAM           PA      19012
        WILLIAMS‐CLEAVELAND 
5459551 COMPANY                                    2815 Wilmington Road. Suite 1                                                                  New Castle           PA      16105
5463077 WILLIAMSON, ANDREA                         1621 BLUE FOREST DRIVE                                                                         PROSPER              TX      75078
5460315 WILLIS OF FLORIDA INC                      300 Colonial Center Pkwy #120                                                                  Lake Mary            FL      32746

5460304    WILLIS OF FLORIDA INC‐MIAMI             4211 W. Boy Scout Blvd Suite 1000                                                              Tampa                FL      33607
5460305    WILLIS OF TENNESSEE INC                 265 Brookview Centre Way. Suite 505                                                            Knoxville            TN      37919
5463098    WILLIS, ANGELA                          12919 WINDFERN #3904                                                                           HOUSTON              TX      77064
5463260    WILLIS, BRANDY                          2405 SW 12TH TERRACE                                                                           LEES SUMMIT          MO      64081
5459413    WILLIS, CONNIE                          616 West Elm Ave                                                                               Fullerton            CA      92832
           WILLKIE FARR & GALLAGHER 
5459049    LLP                                     787 SEVENTH AVENUE                                                                             NEW YORK             NY      10019
           WILSON WASHBURN & 
5459545    FORSTER INC                             16505 NW 13 AVENUE                                                                             MIAMI                FL      33169
5462310    WILSON, LAUREN                          325 MAGUIRE STREET                                                                             DELTONA              FL      32725
5460924    WILSON, MELISIA                         2433 DIQUEDO DRIVE                                                                             RALEIGH              NC      27604
5460996    WILSON, MICHELLE                        28 WILSHIRE VALLEY COURT                                                                       ST. CHARLES          MO      63303
5461701    WILSON, TODD                            1351 LACHMAN LANE                                                                              PACIFIC PALISADES    CA      90272
5733845    WILSON, TODD E.                         1351 LACHMAN LANE                                                                              PACIFIC PALISADES    CA      90272
5461723    WILSON, TREVOR                          1773 NORTH ANDREWS LANE                                                                        SARATOGA SPRINGS     UT      84045
           WINDER INSURANCE CENTER 
5460306    INC                                     P.O Box 743                                                                                    Winder               GA      30680

5461832 Windrose Health Network, Inc. 14 Trafalgar Square                                                                                         Trafalgar            IN      46181
5461833 Windstream                    4001 N Rodney Parham Rd                                                                                     Little Rock          AR      72212‐2442

5459024 WINDSTREAM HOLDINGS INC                    4001 N RODNEY PARHAM RD                                                                        LITTLE ROCK          AR      72212‐2442

5733846 WINDSTREAM HOLDINGS, INC. PO BOX 9001013                                                                                                  LOUISVILLE           KY      40290‐1013

5459546 WINFRED C HARPER AGENCY                    1037 S Main St.                                                                                Burlington           NC      27215
        WINGET, SPADAFORA & 
5733847 SCHWARTZBERG, LLP                          45 BROADWAY                           19TH FLOOR                                               NEW YORK             NY      10006
        WINSTON & ASSOCIATES 
5459547 INSURANCE BROKERS INC                      8570 UTICA AVE.                                                                                RANCHO CUCAMONGA CA          91730




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 MMLID                     NAME                                   ADDRESS 1             ADDRESS 2                  ADDRESS 3          ADDRESS 4              CITY    STATE   POSTAL CODE   COUNTRY
           WINTERS‐OLIVER INSURANCE 
5460307    AGENCY INC                              P.O Box 278                                                                                    Mechanicsville    VA       23111
5461834    Winthrop & Weinstine, PA                225 South 6th St.                                                                              Minneapolis       MN       55402
5461835    Wirerope Post Petition                  Ruth Welschmeyer                  P.O. Box 1831                                                Jefferson City    MO       65102
5461836    Wirerope Pre Petition                   Ruth Welschmeyer                  P.O. Box 1831                                                Jefferson City    MO       65102

           WISCONSIN DEPARTMENT OF 
5458985 FINANCIAL INSTITUTIONS                     201 W Washington Ave              Suite 500                                                    Madison           WI       53703
        WISCONSIN DEPARTMENT OF 
5733848 REVENUE                                    PO BOX 8908                                                                                    MADISON           WI       53708‐8908
        WISCONSIN DEPARTMENT OF 
5733575 REVENUE                                    P. O. BOX 930208                                                                               MILWAUKEE         WI       53293‐0208

           WISCONSIN DEPARTMENT OF 
5461837    WORKFORCE DEVELOPMENT                   201 E. Washington Ave. (GEF‐1)                                                                 Madison           WI       53703
5460981    WISE, MICHELE                           680 LAVERS CIRCLE                 APT 213                                                      DELRAY BEACH      FL       33444‐7949
5459051    WIZARD CREATIONS                        6210 N. Andrews Ave                                                                            Fort Lauderdale   FL       33309
5462063    WOLFE, JENNIFER                         270 MILLION DOLLAR ROAD                                                                        HALIFAX           PA       17032
5461804    WOLFE, WANDA                            65 CENTURY CIRCLE                 # 1050‐C                                                     GREENVILLE        SC       29607
           WOLFERICH INSURANCE 
5459541    GROUP LLC                               33 W 10th Street, Suite 802                                                                    Anderson          IN       46016
           Wollmuth, Maher & Deutsch, 
5458958    LLP                                     William Maher                     500 Fifth Avenue                                             New York          NY       10110
5461581    WOLSCHON, TAMMY                         5148 WOODRUN CT.                                                                               WEST BLOOMFIELD   MI       48323
           WOLTERS KLUWER LAW &                                                      4829 Innovation 
5459047    BUSINESS                                Accounts Receivable Department    Way                                                          Chicago           IL       60682
5733849    WONG, BIBI F                            2531 NE 15TH STREET                                                                            POMPANO BEACH     FL       33062
           WOOD INSURANCE AGENCY 
5459542    INC                                     32 South Common St                                                                             Lynn              MA       01902
5462007    WOOD, JAMES                             8414 HIRSCH WOOD                                                                               CHARLOTTE         NC       28277
5461212    WOODS, QUEEN                            PO BOX 39191                                                                                   PHOENIX           AZ       85069
5462229    WOODWARD, KENT                          3252 SHELTER COVE LANE                                                                         ELK GROVE         CA       95758
5462034    WOOLF, JASON                            205 EAST SCHULZ                                                                                MARION            TX       78124

5461838 Work Comp Strategic Solutions 711 3rd Ave, 6th Floor                                                                                      New York          NY       10017

5760853 Work First Casualty Company                1100 East 6600 South, Suite 260                                                                Salt Lake City    UT       84121
        WORK FIRST CASUALTY 
5461839 COMPANY                                    3411 Silverside Rd., Suite 101                                                                 Wilmington        DE       19810
        WORKERS COMPENSATION 
5459543 FOR LESS LLC                               4300 Highline Blvd                                                                             Oklahoma City     OK       73108
        WORKERS' COMPENSATION 
5459544 GROUP INC                                  P.O. BOX 410                                                                                   BOCA RATON        FL       33429‐0410



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                                                                                                                Master Mailing List
                                                                                                             Served via First Class Mail
 MMLID                     NAME                                   ADDRESS 1                      ADDRESS 2              ADDRESS 3          ADDRESS 4               CITY    STATE   POSTAL CODE      COUNTRY
                                                                                            47 BARNES 
           WORKERS' COMPENSATION                                                            INDUSTRIAL ROAD 
5458911 TRUST                                      NATE SHIPPEE                             SOUTH                                                      WALLINGFORD        CT       6492
           WORK‐LOSS DATA INSTITUTE 
5459048    LLC                                     169 Saxony Rd., Suite 112                                                                           Encinitas          CA       92024
           WORTH INSURANCE AGENCY 
5460308    INC                                     P.O Box 444                                                                                         Sylvester          GA       31791
           WR MCCLURE INSURANCE 
5460320    SERVICES INC                            PO Box 813                                                                                          Flanders           NJ       07836
           WREN SUMMERS INSURANCE 
5459538    INC                                     270 WAYMONT CT., SUITE 100                                                                          LAKE MARY          FL       32746
           WRIGHT‐WARMINGTON, 
5463108    ANNETTE                                 326 WEST BERKLEY STREET                                                                             PHILADELPHIA       PA       19144
5733850    WU, BENSON M.                           18 WINDWOOD                                                                                         IRVINE             CA       92604‐3657
5733851    WYCKOFF, CAROL                          3395 WILD EAGLE RUN                                                                                 OVIEDO             FL       32766
           Wyoming Insurance                       Attn: Tana Howard, Office Support        106 East 6th 
5458837    Department                              Specialist                               Avenue                                                     Cheyenne           WY       82002‐0440
5459044    XACTWARE SOLUTION INC                   1100 WEST TRAVERSE PARKWAY                                                                          LEHI               UT       84043
           XL Insurance 
5461842    Group/Catlin/Indian Harbo               O'Hara House                             P.O. Box HM 2245     One Bermudiana Road                   Hamilton                    HM 08         Bermuda

                                                                                            One Hundred 
5465620 XL Professional                            Attn: Underwriting                       Constitution Plaza   17th Floor                            Hartford           CT       06103
           XL Specialty Insurance 
5461843    Company                                 20 N Martingale Rd., #200                                                                           Schaumburg         IL       60173
           XL Specialty Insurance 
5458930    Company                                 One Constitution Plaza, 16th Floor                                                                  Hartford           CT       06103
5460977    YARIA, MICHAEL                          152 LAUREL DRIVE                                                                                    BEAVER             PA       15009
           YATES INSURANCE & REAL 
5459539    ESTATE INC                              2030 Veterans Blvd.                                                                                 Dublin             GA       31021
5461302    YATES, ROBIN                            4603 BREWINGTON PARKWAY                                                                             ROCK HILL          SC       29732
5461104    YONKOVA, NIKOLINA                       1013 VANESSA DRIVE                                                                                  OVIEDO             FL       32765
5462738    YOOSE, ERIC                             4720 LOS FELIZ BLVD                      #1                                                         LOS ANGELES        CA       90027

5461850 York                                       605 Crescent Executive Court Suite 300                                                              Lake Mary          FL       32746
                                                                                            185 Newman 
5459045 YORK ‐ JERSEY UNDERWRITERS Jason Dineen                                             Springs Road                                               Trinton Falls      NJ       07724

5459540 YORK ‐ JERSEY UNDERWRITERS P.O. Box 810                                                                                                        Red Bank           NJ       07701

           York Risk Serivces Group ‐ City 
5461851 of Fort Worth, Tarrant County              PO Box 160120                                                                                       Austin             TX       78716
5461852 York Risk Services                         5000 Bradenton Avenue                                                                               Dublin             OH       43017



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                                                                                                             Master Mailing List
                                                                                                          Served via First Class Mail
 MMLID                     NAME                                  ADDRESS 1                  ADDRESS 2                ADDRESS 3          ADDRESS 4               CITY    STATE   POSTAL CODE   COUNTRY
           York Risk Services ‐ Westlake 
5461853    Chemical                                PO Box 183188                                                                                    Columbus           OH       43218
           York Risk Services Group ‐ 
5461854    Albuquerque, NM                         2201 Buena Vista Dr. SE, Ste. 311                                                                Albuquerque        NM       87106
           York Risk Services Group ‐ 
5461855    American Mining                         PO Box 161979                                                                                    Roseville          CA       95661‐9079
           York Risk Services Group ‐ 
5461856    Baker Hughes                            PO Box 619079                                                                                    Roseville          CA       95661‐9079
           York Risk Services Group ‐ 
5461857    Birmingham, AL                          2 Perimeter Park South, Suite 300W                                                               Birmingham         AL       35243
           York Risk Services Group ‐ 
5461858    Columbus, OH                            PO Box 183188                                                                                    Columbus           OH       43218
           York Risk Services Group ‐ 
5461859    Dallas, TX                              5501 LBJ Freeway, Ste. 300                                                                       Dallas             TX       75240
           York Risk Services Group ‐ 
5461860    Ensign Group                             605 Crescent Executive Court                                                                    Lake Mary          FL       32746

           York Risk Services Group ‐ 
5461861 Texas Association of Counties              PO Box 160120                                                                                    Austin             TX       78716
5459046 YORK SERVICES GROUP                        1 Upper Pond Rd                                                                                  Parsippany         NJ       07054
5733852 YORK SERVICES GROUP                        PO BOX 160120                                                                                    AUSTIN             TX       78716
           Young Conaway Stargatt & 
5458961    Taylor LLP                              Barr Flinn                           Rodney Square         1000 North King Street                Wilmington         DE       19801
5462353    YOUNG, LINDSAY                          1204 FUNNELL STREET                                                                              VIRGINIA BEACH     VA       23455
5461320    YOUNG, ROSHYNE                          3615 CRESTWOOD LAKE                  APT 301                                                     FORT MYERS         FL       33901
5461546    YOUNG, STEVE                            PO BOX 12096                                                                                     OKLAHOMA CITY      OK       73157
5462778    YU, FENGYUAN                            490 SILVER PALM WAY                                                                              WESTON             FL       33327
           Zachry Construction 
5463463    Corporation                             2330 N Loop 1604 W                                                                               San Antonio        TX       78248
5461036    ZARAGOZA, MONICA                        1300 NORTH BRAND BLVD                                                                            GLENDALE           CA       91202
5462725    ZAYAS, ENID                             2300 WILDREST DRIVE                  APARTMENT #123                                              HOUSTON            TX       77042
5463422    ZECCA‐MAICON, CHRISTINE                 6006 HARBOR ISLE WAY                                                                             TAMARAC            FL       33321
5461296    ZEHRUNG, ROBERT                         1401 VINMAR COURT                                                                                ROSEVILLE          CA       95661
5459536    ZELEN RISK SOLUTIONS INC                7964 DEVOE ST.                                                                                   JACKSONVILLE       FL       32220
5463477    Zenith Insurance Company                21255 Califa St.                                                                                 Woodlang Hills     CA       91367

5458905 ZENITH INSURANCE COMPANY CUSTOMER SERVICE                                       1390 MAIN STREET                                            SARASOTA           FL       34236

5463469 Zenith Insurance Company                   Elina Baron                          21255 Califa Street                                         Woodland Hills     CA       91367‐5021

5463473 Zenith Insurance Company                   Jack Miller                          21255 Califa Street                                         Woodland Hills     CA       91367‐5021

5463475 Zenith Insurance Company                   Joleen Williams                      21255 Califa Street                                         Woodland Hills     CA       91367‐5021



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                                                                                                           Master Mailing List
                                                                                                        Served via First Class Mail
 MMLID                     NAME                                     ADDRESS 1           ADDRESS 2                  ADDRESS 3          ADDRESS 4            CITY       STATE   POSTAL CODE       COUNTRY

5463471 Zenith Insurance Company                   Kelly Kovar                      21255 Califa Street                                           Woodland Hills     CA       91367‐5021

5463470 Zenith Insurance Company                   Kevin Hunt                       21255 Califa Street                                           Woodland Hills     CA       91367‐5021

5463474 Zenith Insurance Company                   Michael Wiesehahn                21255 Califa Street                                           Woodland Hills     CA       91367‐5021

5463472 Zenith Insurance Company                   Rajiv Mehrotra                   21255 Califa Street                                           Woodland Hills     CA       91367‐5021

5463476    Zenith Insurance Company                Stanley Zax                      21255 Califa Street                                           Woodland Hills     CA       91367‐5021
5462144    ZIEGLER, JOYCE                          2065 WALBERT AVENUE                                                                            ALLENTOWN          PA       18104
5461547    ZIELINSKI, STEVE                        3181 HOLIDAY SPRINGS BOULEVARD   APT 42                                                        MARGATE            FL       33063
5461315    ZIEMBINSKI, RONALD                      614 SW 1ST WAY                                                                                 POMPANO BEACH      FL       33060
5459040    ZIPP EXPRESS                            P.O. BOX 1538                                                                                  MARYLAND HEIGHTS   MO       63043
5459041    ZOHO CORPORATION                        4141 HACIENDA DRIVE                                                                            PLEASANTON         CA       94588

5459537 ZORN & SON INSURANCE INC                   P.O Box 385                                                                                    Vidalia            GA       30475
5463479 Zurich                                     Michael Coyne                    1299 Zurich Way                                               Schaumburg         IL       60196‐1056
           ZURICH AMERICAN INSURANCE                                                TOWER I, 19TH 
5459042 COMPANY                                    1400 AMERICAN LANE               FLOOR                                                         SCHAUMBURG         IL       60196
        Zurich American Insurance 
5463481 Company                                    Nancy Mueller                    7045 College Blvd                                             Shawnee Mission    KS       66224
        Zurich American Insurance 
5463480 Company                                    Terry McCafferty                 7045 College Blvd                                             Shawnee Mission    KS       66224
                                                                                    CAYMAN 
           ZURICH AMERICAN INSURANCE               OLD GUARD RE, SPC C/O PATRIOT    CORPORATE 
5463482    COMPANY (ZAIC)                          CAPTIVE MANAGEMENT, LTD          CENTER                 27 HOSPITAL RD                         GEORGE TOWN                 KY1‐1102      Cayman Islands
5459043    ZURICH INSURANCE GROUP                  1400 American Lane                                                                             Schaumberg         IL       60196
5463483    ZURICH NORTH AMERICA                    1299 Zurich Way                                                                                Schaumburg         IL       60196‐1056
5463484    Zurich North America                    Sarah Londono                    1299 Zurich Way                                               Schaumburg         IL       60196




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                                                                                               Exhibit D
                                                                                    Schedule G Parties Service List
                                                                                      Served via First Class Mail

MMLID                        NAME                                ADDRESS 1            ADDRESS 2               ADDRESS 3                  CITY   STATE POSTAL CODE   COUNTRY
5462943 ABBA VENDING COMPANY                       2 Victor St                                                              Greenville          SC   29609

5462949 ACCIDENT FUND HOLDINGS INC                 200 N. GRAND AVE                                                         LANSING             MI   48933

5733858     ACCIDENT FUND HOLDINGS, INC.           3 PARK PLAZA, SUITE 1920                                                 IRVINE              CA   92614
5733859     ACE COMPANIES                          P.O. BOX 1000                                                            PHILADELPHIA        PA   19106
5459522     ACS CLAIM SERVICE INC                  101 Old Schoolhouse Lane                                                 Mechanicsburgh      PA   17055
5459522     ACS CLAIM SERVICE INC                  P.O. BOX 257                                                             MECHANICSBURG       PA   17055
5733860     ADOBESIGN P2                           345 PARK AVE                                                             SAN JOSE            CA   95110
5462966     AFCO DIRECT                            14 WALL STREET, SUITE 8A‐19                                              NEW YORK            NY   10005

5458925 AIG Specialty Insurance Company            175 Water Street                                                         New York            NY   10038‐4969
        AIG SPECIALTY INSURANCE 
5733861 COMPANY                                    FINANCIAL LINES CLAIMS        PO BOX 25947                               SHAWNEE MISSION     KS   66225
5733862 AJIRA AI LLC                               750 WARRENVILLE ROAD          SUITE 303                                  LISLE               IL   60532
5459515 ALLEGIANT MANAGED CARE                     2741 NOBLESTOWN ROAD                                                     PITTSBURGH          PA   15205

        ALTERNATIVE INSURANCE                                                                            1770 INDEPENDENCE 
5733863 RESOURCES, INC.                            AIR, INC.                     ATTN: JENNY CABLE       COURT, SUITE 100   VESTAVIA            AL   35216
5463022 ALTON STEEL INC                            #5 CUT STREET                                                            ALTON               IL   62002

        AMERICAN BANKERS INSURANCE  ATTN: SENIOR VICE PRESIDENT‐                 8655 E. VIA DE 
5733938 COMPANY OF FLORIDA           FLOOD                                       VENTURA                                    SCOTTSDALE          AZ   85258
        AMERICAN FIDELITY ASSURANCE 
5463044 COMPANY                      9000 Cameron Parkway                                                                   Oklahoma City       OK   73114
                                                                       7400 WEST CAMPUS 
5459512 AMERICAN HEALTH HOLDING INC AMERICAN HEALTH HOLDING, INC. DRIVE, F‐510                                              NEW ALBANY          OH   43054
        AMERICAN HEALTH HOLDING,      ATTN.: PAUL E. LAVIN, PRESIDENT  7400 WEST CAMPUS 
5733939 INC.                          AND CEO                          ROAD, F‐510                                          NEW ALBANY          OH   43054
        AMERICAN PUBLIC LIFE 
5463047 INSURANCE COMPANY             ATTN: MS. SHARON STARNES         VP CUSTOMER SERVICE 305 LAKELAND DRIVE               FLOWOOD             MS   39232
                                                                       800 SUPERIOR AVE. E., 
5463057 AMTRUST NORTH AMERICA         AMTRUST NORTH AMERICA, INC. 21ST FLOOR                                                CLEVELAND           OH   44114
        AMWINS BROKERAGE OF ILLINOIS  AMWINS BROKERAGE OF ILLINOIS,  10 SOUTH LASALLE 
5463058 LLC                           LLC                              STREET, SUITE 200                                    CHICAGO             IL   60603




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                                                                              C/O INVESTOR 
5733940 AON SECURITIES, INC.          AON PLC                                 RELATIONS              200 EAST RANDOLPH   CHICAGO           IL   60601
        APEX ADMINISTRATIVE SERVICES                                          2701 TROY CENTER, 
5463119 LLC                           DINO ROTONDO, CEO                       SUITE 400                                  TROY              MI   48084
5733941 ARISSA COST STRATEGIES, LLC   15901 RED HILL AVE SUITE 201                                                       TUSTIN            CA   92780
                                                                              479 WHEELER'S FARM 
5733942 ARM SOFTWARE                            MAIL FINANCE, INC.            ROAD                                       MILFORD           CT   06461
        ARROWHEAD GENERAL AGENCY                                              701 B STREET, SUITE 
5463130 INC                                     ARROWHEAD GENERAL AGENCY      2100                                       SAN DIEGO         CA   92101
                                                                              5835 BLUE LAGOON 
5463140 ASCENDANT UNDERWRITERS LLC ASCENDANT UNDERWRITERS                     DRIVE, SUITE 400                           MIAMI             FL   33126
                                   401 EAST LAS OLAS BOULEVARD, 
5463149 ASHMERE INSURANCE COMPANY SUITE 1550                                                                             FORT LAUDERDALE   FL   33301

        ASHMERE INSURANCE COMPANY                                             401 EAST LAS OLAS 
        (F/K/A AMERICAN FUJI FIRE AND                                         BOULEVARD, SUITE 
5463152 MARINE INSURANCE COMPANY) ASHMERE INSURANCE COMPANY                   1550                                       FORT LAUDERDALE   FL   33301

5733943 ASSURANT SPECIALTY PROPERTY             P.O. BOX 979135                                                          Miami             FL   33197‐9982
        ASSURED BENEFITS                                                      12221 MERIT DRIVE, 
5733932 ADMINISTRATORS, INC.                    ATTN: GENERAL COUNSEL         SUITE 1950                                 DALLAS            TX   75251
        ASSURITY LIFE INSURANCE 
5463156 COMPANY                                 2000 Q Street                                                            Lincoln           NE   68503
                                                                                                     ATTN: GLENNA 
5463157 ASTENJOHNSON INC                        ASTENJOHNSON, INC.            4399 CORPORATE RD      MOORE               CHARLESTON        SC   29405
5459487 AVYUKTA IENTHUSIAST INC                 8160 E Morning Sun Lane                                                  Anaheim           CA   92808

        AXIS INSURANCE COMPANYAXIS 
        SURPLUS INSURANCE COMPANY 
        ANDAXIS REINSURANCE                                                                          11680 GREAT OAKS 
5463188 COMPANY                     ATTN: JOHN TATUM               AXIS INSURANCE                    WAY, #500           ALPHARETTA        GA   30022
                                    717 PONCE DE LEON BLVD. SUITE 
5463191 AXXIS SOLUTIONS             307                                                                                  CORAL GABLES      FL   33134

5463195 BALDWIN & LYONS INC                     111 CONGRESSIONAL BOULEVARD                                              CARMEL            IN   46032
5462299 BARTH, LAURA                            809 OVERLAND TRAIL                                                       ROSELLE           IL   60172


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        BEEHIVE HOMES STAFFING                                                   4811 HARDWARE 
5463203 SERVICES CORPORATION                    ATTN: NATE MANNING               DRIVE NB, SUITE D‐1                    ALBUQUERQUE      NM   87109
                                                                                 725 LOWNDES HILL 
5463205 BENEFIT GUARANTY LLC                    ATTENTION: CARL STECKER          ROAD                                   GREENVILLE       SC   29607
                                                                                 400 RIVERWALK 
5463206 BENEFIT INFORMATICS INC                 ATTN: JAY JACKSON                TERRACE, SUITE 250                     JENKS            OK   74037
        BENEFIT MANAGEMENT                                                       11550 1H 10 WEST, 
5463207 ADMINISTRATORS INC                      ATTENTION: JAMES BURKHOLDER      SUITE 220                              SAN ANTONIO      TX   78230
                                                                                 ATTENTION: CHAD 
5463208 BENEFIT MANAGEMENT INC       P.O. BOX 1090                               SOMERS                                 GREAT BEND       KS   67530
        BENEFIT PLAN ADMINISTRATORS                                              101 SOUTH JEFFERSON 
5463209 INC                          ATTENTION: MORRIS MASINTER                  STREET                                 ROANOKE          VA   24011

        BERKLEY INSURANCE COMPANY 
        AND/OR BERKLEY REGIONAL 
5463217 INSURANCE COMPANY                       412 MT. KEMBLE AVE, SUITE 310N                                          MORRISTOWN       NJ   07960
5461135 BISSOON, PARTAP                         7512 NW 23RD ST                                                         PEMBROKE         FL   33024
        BLUE CHIP COMMERCIAL                                          ATTN: CYNTHIAL . 
5463237 CLEANING                                7250 EDINGTON DR.     WOEHRINGER                                        CINCINNATI       OH   45249
                                                                      2301 MAIN 
        BLUE CROSS AND BLUE SHIELD OF  ATTN: RON ROWE, BLUE CROSS     STREETKANSAS CITY, 
5463239 KANSAS CITY                    AND BLUE SHIELD OF KANSAS CITY MO 64108                                          KANSAS CITY      MO   64108
                                                                      401 E LAS OLAS BLVD., 
5463241 BLUE INTERACTIVE AGENCY        CONTEGO SERVICES GROUP         SUITE 1650                                        FT. LAUDERDALE   FL   33301

5463245 BMO FINANCIAL GROUP                     P.O. BOX 3200 RPO STREETSVILLE                                          MISSISSAUGA      ON   L5M 0S2        CANADA
5463248 BMO HARRIS BANK NA                      P.O. BOX 6138                                                           CAROL STREAM     IL   60197‐6138
        BORDENTOWN PROFESSIONAL                 163 ROUTE 130 NORTH, BUILDING 
5463253 PLAZA LLC                               2, 1ST FLOOR                                                            BORDENTOWN       NJ   08505
        BRANDYWINE INSURANCE 
5733933 ADVISORS, LLC                           6 BERKELEY ROAD                                                         DEVON            PA   19333

5733934 BRIMINGHAM ENTERPRISES, LLC             JAMES DEAN BRIMINGHAM            1463 LARKIN ROAD                       SPRING HILL      FL   34608‐6562
        BROWN & RIDING INSURANCE 
        SERVICES, INC. D/B/A ALASKA             777 SOUTH FIGUEROA STREET 
5733935 GENERAL INSURANCE AGENCY                SUITE 2550                                                              LOS ANGELES      CA   90017


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5461800 BUSER, WALLY                               715 CONGAREE ROAD                                                        GREENVILLE        SC   29607
        CANDID INVESTIGATIONS 
5463312 SERVICES LLC                               6739 ACADEMY ROAD NE            SUITE 238                                ALBUQUERQUE       NM   87109
5463315 CAREER SEARCH INC                          P.O. BOX 210942                                                          WEST PALM BEACH   FL   33421‐0942
5463333 CAROLINA HEALTH ALLIANCE                   3515 TREE FARM RD                                                        HILLSBOROUGH      NC   27278
                                                                                   500 E. 52ND. ST. 
5733936     CBM MANAGED SERVICES                   ATTN: AMBER GARRY               NORTH                                    SIOUX FALLS       SD   57104
5463369     CENNAIRUS LLC                          711 S. OSPREY AVENUE            1ST & 2ND FLOORS       SUITE 2           SARASOTA          FL   34236
5733937     CENTURY HOSIERY, INC.                  ATTN: KATHY MARTIN              P.O. BOX 1410                            DENTON            NC   27239
5733926     CENTURYLINK                            6700 N ANDREWS AVE #602                                                  FORT LAUDERDALE   FL   33309

                                                   ATTN: THEODORE K. WHITFIELD,                           1715 WEST 38TH 
5463394 CHATTEM INC                                JR., VP AND GENERAL MANAGER     CHATTEM, INC.          STREET            CHATTANOOGA       TN   37409
        CHESTNUT HILL TECHNOLOGIES                 132 CHIEF JUSTICE CUSHING 
5463402 INC                                        HIGHWAY                                                                  COHASSET          MA   02025
5733927 CHUBB COMPANIES                            ATTN: JUDITH M. CALLIHAN        436 WALNUT STREET                        PHILADELPHIA      PA   19106
        CHUBB GROUP OF INSURANCE 
5733928 COMPANIES                                  15 MOUNTAIN VIEW ROAD                                                    WARREN            NJ   07059

                                                   ATTN: WENDY L. JACKSON 
                                                   ENTERPRISE PRODUCER CONTRACT 
                                                   & COMPLIANCE LEGAL & PUBLIC  1601 CHESTNUT 
5463452 CIGNA                                      AFFAIRS‐CIGNA                 STREET                                     PHILADELPHIA      PA   19192
        CIGNA HEALTH AND LIFE 
5463453 INSURANCE COMPANY INC                      900 COTTAGE GROVE ROAD                                                   BLOOMFIELD        CT   06002
        CISCO SYSTEMS CAPITAL                                                      M/S RTP 3L/2, 
5733929 CORPORATION                   7025‐3 KIT CREEK ROAD                        RESEARCH                                 TRIANGLE PARK     NC   27709‐4987
                                      401 EAST LAS OLAS BLVD, SUITE 
5733930 CITY NATIONAL BANK OF FLORIDA 1650                                                                                  FORT LAUDERDALE   FL   33301

        CITY OF CAPE GIRARDEAU                     ATTN: DAVID MILAM, DIRECTOR     CITY OF CAPE 
5462419 MISSOURI                                   HR                              GIRARDEAU, MISSOURI 401 INDEPENDENCE     CAPE GIRARDEAU    MO   63701
                                                   THE CITY OF COLLINSVILLE,       125 SOUTH CENTER 
5462421 CITY OF COLLINSVILLE ILLINOIS              ILLINOIS                        STREET                                   COLLINSVILLE      IL   62234
5462423 CITY OF COLUMBIA MISSOURI                  SARAH PERRY, RISK MANAGER       PO BOX 6015                              COLUMBIA          MO   65205‐6015
5462425 City of East St. Louis                     Monica Grandberry               301 River Park Drive                     East St. Louis    IL   62201


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            CITY OF JEFFERSON (A MUNICIPAL 
            CORPORATION OF THE STATE OF 
5462431     MISSOURI)                       DEPT. OF HUMAN RESOURCES              320 EAST MCCARTY                           JEFFERSON CITY     MO   65101
            CITY OF JEFFERSON (A MUNICIPAL 
            CORPORATION OF THE STATE OF  ATTN: DREW W. HILPERT, CITY 
5733931     MISSOURI)                       COUNSELOR                             320 EAST MCCARTY                           JEFFERSON CITY     MO   65101
                                            ATTN: REBA L. SNAVELY CITY OF 
5462434     CITY OF JOPLIN MISSOURI         JOPLIN                                602 SOUTH MAIN                             JOPLIN             MO   64801
            CITY OF KIRKWOOD (A MUNICIPAL 
            CORPORATION OF THE STATE OF  ATTN: CHIEF ADMINISTRATIVE            139 SOUTH KIRKWOOD 
5462439     MISSOURI)                       OFFICER                            ROAD                                          KIRKWOOD           MO   63122
                                            ATTN: CHIEF ADMINISTARTIVE         100 NORTH MAIN 
5462441     CITY OF O'FALLON MISSOURI       OFFICER                            STREET                                        O'FALLON           MO   63366
            CITY OF SPRINGFIELD A                                              THE CITY OF 
            MUNICIPAL CORPORATION OF                                           SPRINGFIELD,        840 BOONVILLE 
5462443     THE STATE OF MISSOURI           DOUGLAS STONE, RISK MANAGER        MISSOURI            AVENUE                    SPRINGFIELD        MO   65801
                                                                               THE CITY OF 
                                                                               SPRINGFIELD,        840 BOONVILLE 
5462445 CITY OF SPRINGFIELD MISSOURI               DOUGLAS STONE, RISK MANAGER MISSOURI            AVENUE                    SPRINGFIELD        MO   65801
                                                                               200 NORTH SECOND 
5462447 CITY OF ST CHARLES MISSOURI                ATTN: DIRECTOR OF FINANCE   STREET                                        ST. CHARLES        MO   63301
                                                                               THE CITY OF ST.     ONE ST. PETERS 
5462448 CITY OF ST PETERS MISSOURI                 RUSSELL W. BATZEL           PETERS, MISSOURI    CENTRE BLVD.              ST. PETERS         MO   63376
        CLAIMS MANAGEMENT & 
5462451 CONSULTING INC                             544 3RD STREET NW              SUITE 210                                  ELK RIVER          MN   55330

5462460 COASTAL TPA                 928 EAST BLANCO ROAD                          ATTN: DEBI HARWICK                         SALINAS            CA   93901
                                    COHEN'S DRYWALL COMPANY,                      ATTN: EMPLOYEE 
5462463 COHEN'S DRYWALL COMPANY INC INC.                                          BENEFITS MANAGER        1415 OLD HWY. 52   MONCKS CORNER      SC   29461
                                                                                  300 HUNTER 
                                                   ATTN: KEVIN L. THOMPSONCOIN    AVENUEST. LOUIS, MO 
5462465 COIN ACCEPTORS INC                         ACCEPTORS, INC.                63124                                      ST. LOUIS          MO   63124
        COMFORT KEEPERS                                                           945 E. MAIN ST., SUITE 
5462470 SPARTANBURG                                ATTN: CHRIS COUCH              E                                          SPARTANBURG        SC   29302




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        COMMERCIAL INDUSTRIAL 
        BUILDING OWNERS ALLIANCE, INC 
5733920 (CIBA)                         655 NORTH CENTRAL AVENUE                 SUITE 2100                                   GLENDALE            CA   91203‐1443
        COMPANION LIFE INSURANCE 
5733921 COMPANY                        7909 PARKLANE ROAD #200                                                               COLUMBIA            SC   29223

                                                                                ATTN: THOMAS M. 
                                                                                SEARS, JR. ‐ GENERAL 
5462478 CONDUSTRIAL INC                         CONDUSTRIAL, INC.               COUNSELPHON             514 E. NORTH STREET GREENVILLE           SC   29601
        CONNECTICUT GENERAL LIFE                                                8505 EAST ORCHARD 
5462480 INSURANCE COMPANY                       LEGAL COUNSEL CIGNA             ROAD                                         GREENWOOD VILLAGE   CO   80111
        CONSOLIDATED 
5459409 COMMUNICATIONS                          PO BOX 66523                                                                 SAINT LOUIS         MO   63166
        CONVEY COMPLIANCE SYSTEMS               CONVEY COMPLIANCE SYSTEMS,      9800 BREN ROAD E., 
5462487 INC                                     INC.                            SUITE 300                                    MINNETONKA          MN   55343
5462856 COULTER, GARRY W                        2403 AUGUSTA ST.                                                             GREENVILLE          SC   29605
        COVENTRY HEALTH CARE OF THE                                             ASSOCIATE BROKER        2801 SLATER ROAD, 
5462513 CAROLINAS INC                           ATTN: LEZANA INGRAM             SUPPORT ANALYST         STE. 200             MORRISVILLE         NC   27560

        COVENTRY HEALTHCARE                     6730‐B ROCKLEDGE DRIVE SUITE 
5733922 WORKERS COMPENSATION, INC.              700                                                                          BETHESDA            MD   20817
5462521 CRAWFORD & COMPANY                      1001 SUMMIT BOULEVARD           ATTN: LEGAL                                  ATLANTA             GA   30319
                                                                                2500 CALIFORNIA 
5462522 CREIGHTON UNIVERSITY                    KATIE BOOTON, RISK MANAGER      PLAZA                                        OMAHA               NE   68178
        D&D DISTRIBUTORS LLLP DBA               JERRY JASIEK, CFO D&D 
5462535 GREY EAGLE DISTRIBUTORS                 DISTRIBUTORS, LLP               2340 MILLPARK DRIVE                          MARYLAND HEIGHTS    MO   63043
5733923 DATAFIRM GROUP, INC.                    130‐495                         401 E LAS OLAS BLVD STE 130                  FT LAUDERDALE       FL   33301‐2477
5462564 DATASTAFF INC                           7721 SIX FORKS ROAD             SUITE 120                                    RALEIGH             NC   27615
        DE LAGE LANDEN FINANCIAL 
5733924 SERVICES                                1111 OLD EAGLE SCHOOL ROAD                                                   WAYNE               PA   19087‐1453
5460833 DIAZ, MARIANELLA                        9741 NW 11TH ST                                                              PLANTATION          FL   33322
                                                                                DIERBERGS MARKETS,  16690 SWIGNLEY 
5462637 DIERBERGS MARKETS INC                   MR. STEVEN D. RADCLIFF          INC.                RIDGE ROAD               CHESTERFIELD        MO   63017
                                                PATRICK BLOOMINGDALE, 
                                                DOUGLAS COUNTY BOARD OF         1819 FARMAN STREET, 
5462667 DOUGLAS COUNTY NEBRASKA                 COMMISSIONERS                   SUITE LC2                                    OMAHA               NE   68183


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                                                   1100 FIFTH AVENUE SOUTH, SUITE 
5462673 DUAL COMMERCIAL LLC                        301                                                                         NAPLES             FL   34102
                                                   ATTN: BUSINESS RENTAL SALES       600 CORPORATE PARK 
5462683 EAN SERVICES LLC                           DEPT.                             DRIVE                                     ST. LOUIS          MO   63105
                                                   ATTN: EMPLOYEE BENEFITS           10801 LOMAS BLVD. 
5462693 EL MIRADOR INC                             MANAGER                           SUITE 115                                 ALBUQUERQUE        NM   87112
5462712 EMERIC INC                                 676 SOUTH UNIVERSITY BLVD.                                                  MOBILE             AL   36609
                                                                                     676 SOUTH 
5462713 EMERIC INC AND PMOA INC                    ATTN: GERALD ELLIS                UNIVERSITY BLVD.                          MOBILE             AL   36609
                                                                                     ATTENTION: MIKE 
5462714 EMI HEALTH INC                             852 E. ARROWHEAD LANE             HOFFMAN                                   MURRAY             UT   84107

        EMPLOYERS COMPENSATION                                                       ATTENTION: AGENCY      10375 PROFESSIONAL 
5462719 INSURANCE COMPANY                          EMPLOYERS                         MANAGEMENT             CIRCLE              RENO              NV   89521

        ENDURANCE AMERICAN 
5733925 SPECIALTY INSURANCE COMPANY 4 MANHATTANVILLE ROAD                                                                      PURCHASE           NY   10577

            ENDURANCE AMERICAN 
            SPECIALTY INSURANCE COMPANY, 
            ENDURANCE AMERICAN 
            INSURANCE COMPANY, 
            ENDURANCE REINSURANCE 
            CORPORATION OF AMERICA AND 
            ENDURANCE RISK SOLUTIONS      3333 NEW HYDE PARK ROAD, 
5733914     ASSURANCE CO                  SUITE 210                                                                            NEW HYDE PARK      NY   11042
            EPOCH UNDERWRITING 
            MANAGEMENT AGENCY CORP 
            DBA QUADRANT INSURANCE 
5462727     MANAGERS ("QUADRANT")         501 W. SCHROCK RD.                         SUITE 301                                 WESTERVILLE        OH   43081
            EXAMWORKS CLINICAL 
5459355     SOLUTIONS LLC                 2397 HUNTCREST WAY                         SUITE 200                                 LAWRENCEVILLE      GA   30043
            EXAMWORKS CLINICAL 
5733915     SOLUTIONS, INC.               2397 HUNTCREST WAY SUITE 200                                                         LAWRENCEVILLE      GA   30043
            EXECUTIVE RISK SPECIALTY 
5462760     INSURANCE COMPANY             82 HOPMEADOW STREET                                                                  SIMSBURY           CT   06070‐7683


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5462761 FA RICHARD & ASSOCIATES INC              1625 WEST CAUSEWAY APPROACH                                                    MANDEVILLE          LA   70471
5462659 FANELLI, DOREEN                          1656 WEST 5TH STREET                                                           BROOKLYN            NY   11223
        FHA‐TPA BENEFIT 
5462787 ADMINISTRATORS               6941 SW 196TH ST., SUITE 402                                                               FT LAUDERDALE       FL   33332
                                     450 SKOKIE BOULEVARD, SUITE 
5462791 FIRST INSURANCE FUNDING CORP 1000                                                                                       NORTHBROOK          IL   60062
                                                                                 ATTN: BOB PETERS, 
        FIRST INSURANCE FUNDING                                                  CHIEF OPERATING           401 EAST LAS OLAS 
5462792 GROUP                                    PATRIOT UNDERWRITERS, INC.      OFFICER                   BLVD, SUITE 1650,    FT. LAUDERDALE      FL   33301
5733916 FIRTH THIRD BANK                         38 FOUNTAIN SQUARE PLAZA                                                       CINCINNATI          OH   45202
        FLORENCE COMFORT KEEPERS                 ATTN: EMPLOYEE BENEFITS         218 DOZIER 
5733917 DBA COMFORT KEEPERS                      MANAGER                         BOULEVARD                                      FLORENCE            SC   29502

        Florida Department of Financial 
        Services as Receiver for Guarantee  ATTN: SALMA ZACUR, DEPUTY            2020 CAPITAL CIRCLE 
5462798 Insurance Company                   RECEIVER                             SE SUITE 310                                   TALLAHASSEE         FL   33301

                                                 JOSEPHINE L. GRAVES, PRESIDENT, 
5462800 FORTE INC                                PATRIOT RISK SERVICES            P.O. BOX 2159                                 FT LAUDERDALE       FL   33303
        FREEMAN HEALTH SYSTEM 
        FREEMAN NEOSHO HOSPITAL INC              H. DWIGHT DOUGLAS, GENERAL      FREEMAN HEALTH            1102 WEST 32ND 
5462812 AND OZARK CENTER                         COUNSEL                         SYSTEM                    STREET               JOPLIN              MO   64804
5459184 FUNKHOUSER, PAIGE D                      38 Michalec Road                                                               Willington          CT   06279
        GARRISON GREENVILLE 
5462855 PATEWOOD III LLC                         80 INTERNATIONAL DRIVE          PATEWOOD V                SUITE 500            GREENVILLE          SC   29615
5733918 GARTNER, INC.                            56 TOP GALLANT ROAD                                                            STAMFORD            CT   06904
5462863 GENEX SERVICES                           440 E. SWEDESFORD ROAD          SUITE 3000                                     WAYNE               PA   19087
                                                                                 AR ANALYST ‐ 
                                                                                 ACCOUNTING                1933 N. MEACHAM 
5462863 GENEX SERVICES                           LORRAINE WULF                   DEPARTMENT                ROAD, SUITE 300      SCHAUMBURG          IL   60173

        GODSHALL AND GODSHALL 
5462887 PERSONNEL CONSULTANTS INC                310 UNIVERSITY RIDGE                                                           GREENVILLE          SC   29602
5462890 GORACK LLC                               800 Water Street                Suite 202                                      Jacksonville        FL   32204
5461138 GRANDMAISON, PATRICIA                    8926 PRINCE JAYME DRIVE                                                        BOYNTON BEACH       FL   33436


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MMLID                     NAME                            ADDRESS 1                     ADDRESS 2               ADDRESS 3              CITY   STATE POSTAL CODE      COUNTRY
        GREEN MOUNTAIN AGENCY INC 
5462899 (GMA)                                   TRIGEN (BWI)                       6 BERKLEY RD                             DEVON             PA   19333
                                                                                   6 NORTH PARK DRIVE, 
5462912 GROUP BENEFIT SERVICES                  ATTN: KATHY F. SIMMONS             SUITE 310                                HUNT VALLEY       MD   21030
                                                ATTN: EMPLOYEE BENEFITS            401 EAST LAS OLAS 
5733919 GUARANTEE INSURANCE GROUP               MANAGER                            BLVD.                                    FORT LAUDERDALE   FL   33301
        GUARANTEE INSURANCE GROUP 
5464597 INC                          401 EAST LAS OLAS BLVD                        Suite 1540                               FORT LAUDERDALE   FL   33301
5461870 HALCYON UNDERWRITERS INC     2301 Lucien Way                               Suite 360                                Maitland          FL   32751
5461872 HAMILTON RYKER GROUP INC     HAMILTON RYKER GROUP, INC.                    PO BOX 1068                              MARTIN            TN   38237
        HAMPTON PARK BAPTIST CHURCH 
5461874 MINISTRIES                   ATTN: W. BRENT HONSHELL                       875 STATE PARK ROAD                      GREENVILLE        SC   29609

        HARRIS, NA (FORMERLY KNOWN 
        AS HARRIS TRUST AND SAVINGS 
        BANKS) AND FACILITATED BY                                                  150 N MARTINGALE RD 
5733908 MONERIS SOLUTIONS, INC.      MONERIS SOLUTIONS                             #900                                     SCHAUMBURG        IL   60173
        HARTFORD FIRE INSURANCE 
5458943 COMPANY                      One Hartford Plaza                                                                     Hartford          CT   06155
                                                                                                           1600 WEST 
        HAWAII MAINLAND                         HAWAII MAINLAND                    ATTENTION: LEAO         BROADWAY ROAD 
5461882 ADMINISTRATORS LLC                      ADMINISTRATORS, LLC                LIGHT                   SUITE 300        TEMPE             AZ   85282
        HEALTH CARE INSURERS, A 
        DIVISION OF RISK PLACEMENT 
5733909 SERVICES, INC.                          2850 GOLF ROAD                                                              ROLLING MEADOWS   IL   60008
5461886 HEALTH EZ INC                           7201 W 78th St                     Ste 100                                  Minneapolis       MN   55439
5461903 HEWS CLEANING SERVICES                  PO BOX10594 APO                                                             GRAND CAYMAN                          CAYMAN ISLANDS
5461912 HOSTNET                                 3500 NW BOCA RATON BLVD                                                     BOCA RATON        FL   33431
                                                                                   500 WEST MAIN 
5461913 HUMANA INC                              HUMANA INC.                        STREET                                   LOUISVILLE        KY   40202
5733910 IMAGENET CONSULTING, LLC                14080 NW 82ND AVENUE                                                        MIAMI LAKES       FL   33016
        INDIANA WORKER'S 
5461953 COMPENSATION BOARD                      402 West Washington Street         Room W‐196                               Indinapolis       IN   46204
        INFINITY INSURANCE SOLUTIONS 
5461954 LLC                                     401 E. LAS OLAS BLVD, SUITE 1650                                            FORT LAUDERDALE   FL   33301




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MMLID                     NAME                             ADDRESS 1                 ADDRESS 2                 ADDRESS 3                   CITY   STATE POSTAL CODE   COUNTRY
                                                                                                           ATTN: EMPLOYEE 
5461956 INSULATION BY COHEN'S LLC               INSULATION BY COHEN'S, LLC      1415 OLD HWY. 52           BENEFITS MANAGER    MONCKS CORNER      SC   29461
                                                                                130 S. EASTON ROAD 
5461960 INSURANCE INNOVATORS INC                INSURANCE INNOVATORS, INC.      P.O. BOX 969                                   GLENSIDE           PA   19038

5733911 INTERMOUNTAIN CLAIMS, INC.              170 S COLE ROAD                                                                BOISE              ID   83709
        INTERNATIONAL INSURANCE 
5461964 CONSULTANTS INC                         645 SE 10th St                                                                 Deerfield Beach    FL   33441
        IROQUOIS MID‐ATLANTIC GROUP 
5461968 INC                                     IROQUOIS GROUPPO                BOX 806                                        OLEAN              NY   14760
5733912 JONES, MARTY                            2982 MABRY ROAD                                                                ATLANTA            GA   30319‐4701
                                                5090 CENTRAL SARASOTA 
5733913 JORGE, GIOVANNA                         PARKWAY                         APT 106                                        SARASOTA           FL   34238
5733902 JUDGE TECHNICAL STAFFING                JUDGE TECHNICAL SERVICES        151 S WARNER RD                                WAYNE              PA   19087‐2125
        KENTUCKY DEPARTMENT OF 
5462230 WORKERS' CLAIMS                         657 Chamberlin Ave                                                             Frankfort          KY   40601
        KENTUCKY HEALTH 
5462231 ADMINISTRATORS                          2331 FORTUNE DRIVE SUITE 185                                                   LEXINGTON          KY   40509
        KEVIN DAVIS INSURANCE 
5462237 SERVICES INC                            800 W SIXTH STREET                                                             LOS ANGELES        CA   90055
                                                PHIL SIDDLE, CHIEF FINANCIAL 
5462247 KIEL CENTER PARTNERS LP                 OFFICER                         1401 CLARK AVENUE                              ST. LOUIS          MO   63103
        LACKAWANNA AMERICAN 
5462284 INSURANCE COMPANY                       46 Public Square, Suite 501                                                    Wilkes‐Barre       PA   18701
        LACKAWANNA CASUALTY 
5462285 COMPANY                                 46 PUBLIC SQUARE, SUITE 501                                                    WILKES‐BARRE       PA   18701
                                                                                46 Public Square, Suite 
5462286 Lackawanna Insurance Group              John Burns                      501                                            Wilkes‐Barre       PA   18701
                                                ATTN: EMPLOYEE BENEFITS         2258 HIGHWAY 70 SE, 
5462288 LAIL GROUP                              MANAGER                         SUITE 101                                      HICKORY            NC   28602

5462289 LAKE CITY COMMUNITY HOSPITAL 258 N. RON MCNAIR BLVD            PO BOX 1479                                             LAKE CITY          SC   29560
5733903 LEGAL BILL REVIEW, INC.      PO BOX 680250                                                                             MARIETA            GA   30068‐0005
                                     ATTN: CHARITY R. ELMER, SR. VICE 
                                     PRESIDENT AND GENERAL             COXHEALTH, LEGAL                    3850 S. NATIONAL 
5462328 LESTER E COX MEDICAL CENTERS COUNSEL                           DEPARTMENT                          AVENUE, SUITE 760   SPRINGFIELD        MO   65807


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        LIBERTY MUTUAL INSURANCE 
5462338 COMPANY                                 175 BERKELEY STREET                                                         BOSTON               MA   02116
                                                                                 9820 NORTHCROSS 
5462354 LINKEDAGENCY LLC                        ATTN: ERIC E MILLER, PRESIDENT   CENTER COURT                               HUNTERSVILLE         NC   28078
        LIVE OAK CORPORATE CENTER, 
5733904 LLC                                     2601 CATTLEMEN ROAD, SUITE 104                                              SARASOTA             FL   34232
5462376 LOREN COOK COMPANY                      STEVE BURNEY, PRESIDENT         2015 E. DALE ST.                            SPRINGFIELD          MO   65803‐4637
        MADDEN COMPANY, INC. (DBA               240 WEST PALMETTO PARK ROAD, 
5733905 TRANSMEDIA GROUP)                       SUITE 300                                                                   BOCA RATON           FL   33432
                                                800 OAK RIDGE TURNPIKE SUITE A‐
5462407 MADISON PEO OF FLORIDA                  402                                                                         OAK RIDGE            TN   37830
                                                                                479 WHEELER'S FARM 
5733906 MAILFINANCE                             MAIL FINANCE, INC.              ROAD                                        MILFORD              CT   06461
        MANAGED CARE RISK SERVICES,             200 EAST BROWARD BOULEVARD, 
5733907 INC.                                    SUITE 1300                                                                  FORT LAUDERDALE      FL   33308
        MANAGED CARE RISK SERVICES, 
5733897 INC.                                    MCMC, LLC                        P.O. BOX 809302                            CHICAGO              IL   60680‐9302
        MANAGED CARE RISK SERVICES,                                              300 CROWN COLONY 
5733899 INC.                                    MCRS HOLDINGS, INC.              DRIVE, SUITE 203                           QUINCY               MA   02169

        MANAGED CARE RISK SERVICES,                                              ATTENTION: ROBERT A.  300 CROWN COLONY 
5733896 INC.                                    MCRS HOLDINGS, INC.              MILLERICK             DRIVE, SUITE 203        QUINCY            MA   02169
        MANAGED CARE RISK SERVICES,                                                                    401 E. LAS OLAS BLVD., 
5733898 INC.                                    PATRIOT RISK SERVICES, INC.      ATTN: PRESIDENT       STE 1650,               FORT LAUDERDALE   FL   33301
                                                                                 18081 CHESTERFIELD 
5460845 MARK ANDY INC                           MIKE HOWARD, VICE PRESIDENT      AIRPORT RD.                                   CHESTERFIELD      MO   63005
                                                                                 7500 DALLAS 
5463487 MARKEL CORPORATION                      MARKEL MID SOUTH                 PARKWAY, SUITE 400                            PLANO             TX   75024
                                                MARKEL MIDWEST, TEN PARKWAY 
5460855 MARKEL CORPORATION                      NORTH                                                                       DEERFIELD            IL   60015
                                                                                 310 HIGHWAY 35 
5463488 MARKEL CORPORATION                      MARKEL NORTHEAST                 SOUTH                                      RED BANK             NJ   07701
                                                                                 4521 HIGHWOODS 
5463489 MARKEL CORPORATION                      MARKEL SOUTHEAST                 PARKWAY                                    GLEN ALLEN           VA   23060
                                                                                 21600 OXNARD 
5463490 MARKEL CORPORATION                      MARKEL WEST                      STREET, SUITE 400                          WOODLAND HILLS       CA   91367


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5460993 MARTEN, MICHELLE             2724 MILLER ROAD                                                              GENEVA            IL   60134
                                     ATTN: VICE PRESIDENT AND CHIEF  400‐2 TOTTEN POND 
5460893 MBI BENEFITS INC             FINANCIAL OFFICER                ROAD PO BOX 6125                             WALTHAM           MA   02451
5733900 MCCARSON, LISA               125 CLEARVIEW CIRCLE                                                          TRAVELERS REST    SC   29690
        MCLAUGHLIN YOUNG EMPLOYEE                                     5925 CARNEGIE BLVD, 
5460896 SERVICES INC                 MOIRA LOCASCIO, CEO              SUITE 350                                    CHARLOTTE         NC   28209
                                                                      ATTN: JOSIE GRAVES,  401 E. LAS OLAS BLVD., 
5459238 MCMC LLC                     PATRIOT RISK MANAGEMENT, INC. PRESIDENT               SUITE 1540              FT. LAUDERDALE    FL   33301
5463220 MCNAIR, BERNARD              2202 WINDERMERE WAY                                                           POWDER SPRINGS    GA   30127
                                     ATTN: ANTHONY PALMISANO JR., 
                                     VICE PRESIDENT AND ASSISTANT  100 PARSONS POND 
5460912 MEDCO HEALTH SOLUTIONS INC GENERAL COUNSEL                    DRIVE                                        FRANKLIN LAKES    NJ   07417
        MEDICAL BENEFITS 
5460913 ADMINISTRATORS INC           ATTENTION: CAROLINE FRAKER       1975 TAMARACK RD                             NEWARK            OH   43055
        MEDICAL TRANSPORTATION       DONALD C, TIEMEYER GENERAL       125 WHARF STREET, 
5460915 MANAGEMENT INC               COUNSEL                          SUITE 25                                     LAKE ST. LOUIS    MO   63367
                                                                      ATTN: MARIE 
        METROPOLITAN LIFE INSURANCE                                   PENNINGTON, 
5460942 COMPANY ("METLIFE")          LAW DEPARTMENT                   COUNSEL              200 Park Ave Lowr 4     NEW YORK          NY   10166‐0010
                                                                      1900 WEST 
5460945 MEXICO PLASTICS INC          RANDY ROBLEY, VICE PRESIDENT BOULEVARD ST.                                    MEXICO            MO   65265
        MICHIGAN COMMERCIAL 
5460997 INSURANCE MUTUAL             P.O. BOX 19769                                                                SARASOTA          FL   34276‐2769
        MID ATLANTIC INSURANCE 
5460998 SERVICES INC                 401 E. LAS OLAS BLVD, SUITE 1650                                              FORT LAUDERDALE   FL   33301
                                     TRIGEN INSURANCE SOLUTIONS,  315 SE MIZNER BLVD., 
5460999 MIDLANDS                     INC.                             SUITE 200                                    BOCA RATON        FL   33432

        MISSISSIPPI WORKERS 
5461014 COMPENSATION COMMISSION        DOROTHY IRVING                  1428 LAKELAND DRIVE POST OFFICE BOX 5300 JACKSON              MS   39296‐5300
        MISSOURI DIVISION OF WORKERS' 
5461018 COMPENSATION                   1410 Genessee St., #210                                                   Kansas City         MO   64102

        MISSOURI EMPLOYERS MUTUAL 
5461019 INSURANCE COMPANY                       101 N. KEENE STREET                                              COLUMBIA            MO   65201




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        MISSOURI FIRE AND AMBULANCE  STEVE WICKER, VP, DANIEL &                  1001 HIGHLANDS 
5461020 DISTRICTS INSURANCE TRUST    HENRY COMPANY                               PLAZA DRIVE WEST         SUITE 500            ST. LOUIS          MO   63110

        MISSOURI INTERGOVERNMENTAL  MATTHEW BRODERSON,                                                    3002 FALLING LEAF 
5461021 RISK MANAGEMENT ASSOCIATION EXECUTIVE DIRECTOR                           MIRMA                    COURT                COLUMBIA           MO   65201
5733901 MORRIS, C. TIMOTHY          49 ARCHDALE ST., 2F                                                                        CHARLESTON         SC   29401
                                                                                 401 EAST LAS OLAS 
5461039 MORSTAN GENERAL AGENCY                     PATRIOT UNDERWRITERS, INC.    BLVD, SUITE 1650                              FT. LAUDERDALE     FL   33301
                                                   ATTN: EMPLOYEE BENEFITS       1722 PINE ISLAND 
5461040     MOSELEY PARTNERS LLC                   MANAGER                       ROAD                                          MYRTLE BEACH       SC   29577
5459219     MOUNT TALLAC HOLDINGS LLC              1912 EAST BROAD STREET                                                      RICHMOND           VA   23223
5461042     MOUNT VERMON MILLS INC                 ATTN: BRITTANY CARTER         503 S. MAIN STREET                            MAULDIN            SC   29662
5461045     MSA ADMINISTRATORS LLC                 782 SPIRIT 40 PARK DRIVE                                                    CHESTERFIELD       MO   63005
5461049     MULTIPLAN INC                          115 FIFTH AVENUE                                                            NEW YORK           NY   10003‐1004
                                                                                 GLOBAL TPA               32 OLD SLIP‐ 6TH 
5733890 MULTIPLE INSURANCE CARRIERS                AIG PROPERTY CASUALTY         MANAGEMENT               FLOOR,               NEW YORK           NY   10005

5733891 MURPHY, GINA                               CWIBENEFITS, INC.             80 INTERNATIONAL DR STE 500                   GREENVILLE         SC   29615‐6944
        MYRTLE BEACH AREA CHAMBER                  ATTN: EMPLOYEE BENEFITS       1200 NORTH OAK 
5461051 OF COMMERCE                                MANAGER                       STREET                                        MYRTLE BEACH       SC   29578
5461071 NATURCHEM INC                              ATTN: KIM HOOK                270 BRUNER ROAD                               LEXINGTON          SC   29072
        NAVIGATORS SPECIALTY 
5461073 INSURANCE COMPANY                          ONE PENN PLAZA, 32ND FLOOR                                                  NEW YORK           NY   10119
        NDB LLP (ACCOUNTANTS AND 
5461075 CONSULTANTS)                               P.O. BOX 29130                                                              ATLANTA            GA   30359
5462532 NEDER, CYNTHIA                             9022 NW 38TH DRIVE                                                          CORAL SPRINGS      FL   33065
5733892 NEFF, DAVID                                4713 E 87TH PL                                                              TULSA              OK   74137
        NEW JERSEY MANUFACTURERS 
5461080 INSURANCE COMPANY                          301 SULLIVAN WAY                                                            WEST TRENTON       NJ   08628
        NEW MEXICO WORKERS' 
        COMPENSATION 
5461083 ADMINISTRATION                             ATTN: STATISTICS              PO BOX 27198                                  ALBUQUERQUE        NM   87125‐7198
        NEW YORK STATE INSURANCE 
5461084 FUND                                       199 CHURCH STREET                                                           NEW YORK           NY   10007
5461112 NORTHERN ADJUSTERS INC                     PATRIOT RISK SERVICES, INC.   PO BOX 6550                                   CHESTERFIELD       MO   63006


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MMLID                     NAME                            ADDRESS 1                 ADDRESS 2              ADDRESS 3                 CITY       STATE POSTAL CODE   COUNTRY
                                                ANDREW JOHNSON, GENERAL        20600 EMERALD 
5461115 OATEY COMPANY                           COUNSEL                        PARKWAY                                     CLEVELAND            OH   44135
        OLD NATIONAL INSURANCE / 
5733893 EMPLOYEE PLANS, LLC                     11111 CHESTNUT HILLS PARKWAY                                               FORT WAYNE           IN   46814
5461125 ORCHID MEDICAL INC                      P.O. BOX 560370                                                            ORLANDO              FL   32856
        OZARKS COCA‐COLA/DR PEPPER 
5461127 BOTTLING COMPANY                        MICHELLE HEIDT                 1777 N. PACKER ROAD                        SPRINGFIELD           MO   65808
                                                                               PATRIOT NATIONAL,  401 E. LAS OLAS BLVD., 
5460256 PATRIOT NATIONAL INC                    ATTN: NAOMI BARNETT            INC.                SUITE 1650             FT. LAUDERDALE        FL   33301
5733894 PAYLOCITY CORPORATION                   615 CRESCENT EXEC CT.                                                     LAKE MARY             FL   32746
        PEACHTREE SPECIAL RISK 
5733895 BROKERS, LLC                            1815 GRIFFIN ROAD SUITE 300                                                DANIA BEACH          FL   33004
        PEACHTREE SPECIAL RISK 
5733884 BROKERS, LLC                            1 PARK PLACE                                                               BOCA RATON           FL   33487
5462294 PEKOL, LARISSA                          27 N. 7TH STREET               APT. #436                                   ALLENTOWN            PA   18101
        PENNSYLVANIA DEPARTMENT OF 
        LABOR AND INDUSTRY AND                                                 1171 SOUTH 
        BUREAU OF WORKERS'                                                     CAMERON STREET, 
5461165 COMPENSATION                            NATHANIEL M. HOLMES, CHIEF     ROOM 103                                    HARRISBURG           PA   17104‐2501
5461372 PEREZ, SARAY                            232 KENSINGTON WAY                                                         WELLINGTON           FL   33414
                                                KIMBERLY DAVIS, CHIEF          PATRIOT NATIONAL,      401 E. LAS OLAS BLVD., 
5461167 PERR & KNIGHT                           COMPLIANCE OFFICER             INC.                   SUITE 1540              FORT LAUDERDALE   FL   33301
        PERSONAL INSURANCE 
        ADMINISTRATORS INC AND 
        SUMMIT AMERICA INSURANCE 
        SERVICES INC BOTH D/B/A 
        ASCENSION BENEFITS &                                                   1277 TREAT BLVD., 
5461168 INSURANCE SOLUTIONS                     ASCENSION INSURANCE, INC.      SUITE 650                                   WALNUT CREEK         CA   94596
        PHOENIX BENEFITS                        PHOENIX BENEFITS               410 PEACHTREE          BUILDING 400, SUITE 
5461178 MANAGEMENT LLC                          MANAGEMENT, LLC                PARKWAY                4225                 CUMMING              GA   30041
                                                ATTN: EMPLOYEE BENEFITS 
5461181 PIERBURG US LLC                         MANAGER                        PIERBURG US, LLC.      5 SOUTHCHASE COURT FOUNTAIN INN           SC   29644
5461184 PIZZO & HAMAN LLP                       3433 NE 31ST AVE                                                         LIGHTHOUSE POINT       FL   33064
        PRAETORIAN INSURANCE 
5461189 COMPANY                                 QBE NORTH AMERICA              88 PINE STREET                              NEW YORK             NY   10005




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        PRESIDIO TECHNOLOGY CAPITAL,               401 EAST LAS OLAS BLVD, SUITE 
5733885 LLC                                        1650                                                                        FORT LAUDERDALE   FL   33301
        PRESIDIO TECHNOLOGY                        401 EAST LAS OLAS BLVD, SUITE 
5733886 SOLUTIONS, INC.                            1650                                                                        FORT LAUDERDALE   FL   33301

5733887 PRICE, HENRY                               CWIBENEFITS, INC.                80 INTERNATIONAL DR STE 500                GREENVILLE        SC   29615‐6944
                                                                                    1662 STOCKTON 
5461192 PRIDE RISK SOLUTIONS INC                   PRIDE RISK SOLUTIONS, INC.       STREET                                     JACKSONVILLE      FL   32204

5461198 PRO‐CLAIM PLUS INC                         ATTN: DANIEL V. LION             PRO‐CLAIM PLUS, INC. 5620 COVENTRY LANE FT. WAYNE            IN   46804

            PROSIGHT SPECIALTY 
            MANAGEMENT COMPANY INC ON 
            BEHALF OF NEW YORK MARINE 
            AND GENERAL INSURANCE 
            COMPANY GOTHAM INSURANCE 
            COMPANY AND SOUTHWEST 
            MARINE AND GENERAL         NEW YORK MARINE AND GENERAL                  412 MT. KEMBLE 
5461202     INSURANCE COMPANY          INSURANCE COMPANY                            AVENUE, SUITE 300C                         MORRISTOWN        NJ   07960
5733888     PRS GROUP                  401 E. LAS OLAS BOULEVARD                                                               FORT LAUDERDALE   FL   33301
5461206     PURCHASING POWER LLC       PURCHASINGPOWER, LLC                         695 PYLANT ST,                             ATLANTA           GA   30306
5461208     QBE AMERICAS INC           QBE NORTH AMERICA                            88 PINE STREET                             NEW YORK          NY   10005
5462111     REARER, JOHN               621 NW 102 AVENUE                                                                       CORAL SPRINGS     FL   33071
                                                                                    10812 AMBASSADOR 
5461244 RED‐CARD SYSTEMS LLC                       RED—CARD SYSTEMS, LLC ("RCS")    DRIVE                                      SAINT LOUIS       MO   63132
        REDNECK INC DBA REDNECK 
5461245 TRAILER SUPPLY                             ERNEST W. GIDDENS, CHAIRMAN      REDNECK, INC.          2100 N. WEST BYPASS SPRINGFIELD       MO   65803
                                                                                    10155 WESTMOOR 
5461247     REED GROUP LTD                         REED GROUP, LLC                  DRIVE, SUITE 210                           WESTMINSTER       CO   80021
5733889     RENEE LESLIE IAIA                      1274 S. NIGHT STAR WAY                                                      ANAHEIM           CA   92808
5462871     RICHARDSON, GEX                        1009 CORDOVA ROAD                                                           FORT LAUDERDALE   FL   33316
5461254     RODRIGUEZ, RENNIE                      6 BERKELEY ROAD                                                             DEVON             PA   19333
                                                   1100 CIRCLE 75 PARKWAY, SUITE 
5459131 SA 1100 C75 LLC                            1350                                                                        ATLANTA           GA   30339
5461341 SAFEWAY INC                                5918 STONERIDGE MALL ROAD                                                   PLEASANTON        CA   94588




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MMLID                        NAME                           ADDRESS 1             ADDRESS 2              ADDRESS 3                  CITY     STATE POSTAL CODE   COUNTRY
                                                                             WOOL CENTER ROOM 
5461343 SAINT LOUIS UNIVERSITY                     3545 LINDELL BLVD         306                                        ST. LOUIS            MO   63103
5462635 SALES, DIANE                               12753 BALLENTINE STREET                                              OVERLAND PARK        KS   66213
5461539 SALES, STEPHEN D & DIANE K                 10705 BARKLEY, SUITE B                                               OVERLAND PARK        KS   66211

            SAN DIEGO COUNTY 
            SUPERINTENDENT OF SCHOOLS AS  THE SAN DIEGO COUNTY 
            AUTHORIZED AGENT FOR SAN       SUPERINTENDENT OF SCHOOLS 
            DIEGO COUNTY SCHOOLS FRINGE  SAN DIEGO COUNTY SCHOOLS            ATTENTION: DIANE       6401 LINDA VISTA 
5733878     BENEFITS CONSORTIUM            FRINGE BENEFITS CONSORTIUM        CROSIER                ROAD #505           SAN DIEGO            CA   92111
5463274     SCHUSTER, BRIAN                1458 JACKSON STREET                                                          HOLLYWOOD            FL   33020
            SCOTTSDALE INSURANCE 
5461387     COMPANY                        8877 N. GAINEY CENTER DRIVE                                                  SCOTTSDALE           AZ   85258
            SCOTTSDALE INSURANCE 
5461385     COMPANY                        PO BOX 4110                                                                  SCOTTSDALE           AZ   85261‐4110
            SCOTTSDALE INSURANCE           SCOTTSDALE INSURANCE              ATTN: VICE PRESIDENT ‐ 8877 N. GAINEY 
5461388     COMPANY;                       COMPANY                           LEGAL                  CENTER DRIVE        SCOTTSDALE           AZ   85258
            SELECT PROVIDER NETWORKS INC  22 INVERNESS CENTER PARKWAY, 
5461414     D/B/A SPNET                    SUITE 500                                                                    BIRMINGHAM           AL   35242
            SELECT TEMPORARIES INC DBA                                       12700 HILLCREST 
5461416     SELECT STAFF                   ATTN: GINNY COPE                  ROAD, #218                                 DALLAS               TX   75230
                                           MR. CHRIS BROWN,                  SHIRKEY‐LEISURE 
5461475     SHIRKEY‐LEISURE ACRES          ADMINISTRATOR                     ACRES                  804 WOLLARD BLVD.   RICHMOND             MO   64085
5733879     SHRED‐IT                       PO BOX 13574                                                                 NEWARK               NJ   07188‐3574
            SINGER RETIREES VEBA TRUST                                       SINGER RETIREES VEBA 
5461478     FUND                           ATTN: PRESTON SCOTT               TRUST FUND            PO BOX 17264         GREENVILLE           SC   29606
                                           ATTN: EMPLOYEE BENEFITS                                 809 WEST NATIONAL 
5461480     SITE STAFFING INC              MANAGER                           SITE STAFFING, INC.   AVENUE               MILWAUKEE            WI   53204
                                           CORPORATE CREATIONS               SIX POINTS VENTURES  11380 PROSPERITY 
5733880     SIX POINTS ENTERPRISES, LLC    NETWORK, INC.                     1, LLC                FARMS ROAD #221E     PALM BEACH GARDENS   FL   33410
            SIX POINTS INVESTMENT          CORPORATE CREATIONS               SIX POINTS VENTURES  11380 PROSPERITY 
5733881     PARTNERS, LLC                  NETWORK, INC.                     1, LLC                FARMS ROAD #221E     PALM BEACH GARDENS   FL   33410
            SOUTH CAROLINA STATE 
5461493     ACCIDENT FUND                  1201 MAIN STREET, SUITE 600                                                  COLUMBIA             SC   29201
            SPECIAL SCHOOL DISTRICT OF ST  THE SPECIAL SCHOOL DISTRICT OF 
5461503     LOUIS COUNTY                   ST. LOUIS COUNTY                  12110 CLAYTON ROAD                         ST. LOUIS            MO   63131


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5461504 SPECTRUMCAREERS                         1921 GALLOWS ROAD, SUITE 310                                               VIENNA             VA   22182
                                                                                                      1001 HIGHLANDS 
                                      STEPHEN D. WIEKER, SENIOR VICE  THE DANIEL AND                  PLAZA DRIVE WEST, 
5461508 ST LOUIS AREA INSURANCE TRUST PRESIDENT                       HENRY COMPANY                   SUITE 500            ST. LOUIS          MO   63110

5733882 ST. ANTHONY'S MEDICAL CENTER 10010 KENNERLY ROAD                                                                   ST. LOUIS          MO   63128

5733883 ST. LUKE'S HEALTH CORPORATION 232 SOUTH WOODS MILL ROAD                                                            ST. LOUIS          MO   63017
        STATE AUTO INSURANCE                                                   TRIGEN INSURANCE       901 W SPROUL RD STE 
5461520 COMPANIES                     CARLA BUSICK, CEO                        SOLUTIONS, INC.        201                  SPRINGFIELD        PA   19064
        STATE NATIONAL INSURANCE 
        COMPANY INC; NATIONAL 
        SPECIALTY INSURANCE COMPANY; 
        UNITED SPECIALTY INSURANCE 
5461532 COMPANY                       1900 L. Don Dodson Drive                                                             Bedford            TX   76021
        STATE OF KENTUCKY 
        DEPARTMENT OF WORKERS                                                  DEPT. OF WORKERS'      657 CHAMBERLIN 
5461533 CLAIMS                        KENTUCKY LABOR CABINET                   CLAIMS                 AVENUE               FRANKFORT          KY   40601
        STRINGER WARE & COMPANY INC  STRINGER WARE & CO, INC DBA               3025 WINDWARD 
5461557 DBA GENESEE GENERAL           GENESEE GENERAL                          PLAZA, STE 400                              ALPHARETTA         GA   30005
                                      ATTN: EMPLOYEE BENEFITS                                         2000 NE JENSEN 
5461558 STS HOLDINGS INC              MANAGER                                  STS HOLDINGS, INC.     BEACH BOULEVARD      JENSEN BEACH       FL   34957
        SUCCEED MANAGEMENT 
5461560 SOLUTIONS LLC                 4000 Kruse Way Place                     Building 1, Suite 310                       Lake Oswego        OR   97035
                                                                               BUSINESS 
                                                                               INFORMATION GROUP 
5461564 SUN LIFE FINANCIAL                      SUN LIFE                       INC.,                 P.O. BOX 130          SOUTHAMPTON        PA   18966
                                                                               1101 SOUTH BLVD., 
5733872 SYNERGY LEGAL STAFFING, INC.            ATTN: KAREN J. PORDUM          SUITE 204                                   CHARLOTTE          NC   28203
5461575 TALUS PARTNERS LLC                      321 MAIN STREET                                                            FARMINGTON         CT   06032
                                                                               104 N. DANIEL 
                                                ATTN: EMPLOYEE BENEFITS        MORGAN AVE., SUITE 
5461598 TEB INC                                 MANAGER                        220                                         SPARTANBURG        SC   29306

5461613 THE ALPHATECH INC                       ATTN: MELINA NANNING           388 CANE CREEK ROAD                         FLETCHER           NC   28732


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            THE CARLSTAR GROUP LLC 
            (MEDICAL TRANSPORTATION                                                  725 COOL SPRINGS 
5461616     MANAGEMENT)                            THE CARLSTAR GROUP, LLC           BLVD                                      FRANKLIN          TN   37067
5461619     THE CITY OF BREVARD                    ATTN: KELLY CRAIG                 95 W. MAIN ST.                            BREVARD           NC   28712
            THE CITY OF GRANITE CITY 
5461620     ILLINOIS                 LYNNETTE KOZER, RISK MANAGER 2000 EDISON AVE                                              GRANITE CITY      IL   62040
            THE COUNTY OF ST CHARLES THE COUNTY OF. ST. CHARLES, 
5461621     MISSOURI                 MISSOURI                     100 N. THIRD STREET                                          ST. CHARLES       MO   63301
                                     FLORIDA WORKERS 
        THE FLORIDA WORKERS'         COMPENSATION JOINT 
        COMPENSATION JOINT           UNDERWRITING ASSOCIATION, 
5461623 UNDERWRITERS ASSOCIATION INC INC.                         P.O. BOX 48957                                               SARASOTA          FL   34230‐5957

                                                                                  THE GUARDIAN LIFE 
            THE GUARDIAN LIFE INSURANCE                                           INSURANCE COMPANY 
5461626     COMPANY OF AMERICA                     OFFICE OF THE GENERAL COUNSEL, OF AMERICA         7 HANOVER SQUARE          NEW YORK          NY   10004
            THE LINCOLN NATIONAL LIFE 
5461655     INSURANCE COMPANY                      8801 INDIAN HILLS DRIVE                                                     OMAHA             NE   68114
            THE LINCOLN NATIONAL LIFE 
5733873     INSURANCE COMPANY                      PO BOX 0821                                                                 CAROL STREAM      IL   60132‐0821
5461656     THE MCGOWAN COMPANIES                  20595 LORAIN ROAD,                                                          FAIRVIEW PARK     OH   44126

        THE METROPOLITAN ST. LOUIS                                               METROPOLITAN ST. 
5733874 SEWER DISTRICT                             STEVE TRENZ, PURCHASING AGENT LOUIS SEWER DISTRICT 2350 MARKET STREET ST. LOUIS               MO   63103‐2555
5461658 THE PHIA GROUP LLC                         THE PHIA GROUP, LLC           163 BAY STATE DRIVE                     BRAINTREE               MA   02184
        THE TRAVELERS INDEMNITY 
5733875 COMPANY                                    CORI HEINONEN                     ONE TOWER SQUARE                          HARTFORD          CT   06183
        THE TRAVELERS INDEMNITY 
5461660 COMPANY                                    ONE TOWER SQUARE                                                            HARTFORD          CT   06183
5461704 TORUS US SERVICES INC                      401 E. LAS OLAS. BLVD. STE 1650                                             FT LAUDERDALE     FL   33301
5461706 TPA EXCHANGE INC                           ATTN: KRISTIN BULLOCK             PO BOX 1043                               MATTHEWS          NC   28106
5461715 TRAVELERS                                  One Tower Square                                                            Hartford          CT   06183
        TRIGEN INSURANCE SOLUTIONS 
5459075 INC                                        401 East Las Olas Blvd            Suite 1650                                Fort Lauderdale   FL   33301
                                                                                     340 E. BIG BEAVER, 
5461729 TRION SOLUTIONS INC                        TRION SOLUTIONS, INC.             SUITE 145                                 TROY              MI   48083


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5461742 TRUSTED PLANS SERVICE CORP              ATTENTION: TINA VASEN               PO BOX 1894                               TACOMA           WA   98401
5461747 TYSON SHARED SERVICES INC               2200 DON TYSON PARKWAY                                                        SPRINGDALE       AR   72762‐6999
5461749 ULLICO CASUALTY COMPANY                 1625 Eye Street, NW                                                           Washington       DC   20006
                                                                   401 E. LAS OLAS BLVD., 
5733876 ULLICO CASUALTY COMPANY                 PATRIOT UNDERWRITERS, INC.
                                                                   SUITE 1540                                   FORT LAUDERDALE                FL   33301
                                                                   PROCUREMENT             1105 CARRIE FRANCKE 
5461755 UNIVERSITY OF MISSOURI       UNIVERSITY OF MISSOURI SYSTEM SERVICES                DRIVE                COLUMBIA                       MO   65211
                                                                   PATRIOT NATIONAL,  401 E. LAS OLAS BLVD., 
5461758 US PATENT & TRADEMARK OFFICE GEX 'JAY' RICHARDSON          INC.                    SUITE 1700           FT. LAUDERDALE                 FL   33301

5461759 US RISK INSURANCE GROUP INC             8401 N Central Expy., Suite 1000                                              Dallas           TX   75225

        UTAH LABOR COMMISSION 
5733877 INDUSTRIAL ACCIDENT DIVISION            150 E 300 STREET                                                              SALT LAKE CITY   UT   84111
5461765 V3 INSURANCE PARTNERS                   115 Pheasant Run, Suite 218                                                   Newtown          PA   18940
                                                                                    401 E. LAS OLAS BLVD., 
5461777 VANTAGE AGORA INC                       PATRIOT UNDERWRITERS                SUITE 1540                                FT. LAUDERDALE   FL   33301
        VERMONT DEPARTMENT OF 
        LABOR, WORKERS'                         5 GREEN MOUNTAIN DRIVE, PO 
5733866 COMPENSATION DIVISION                   BOX 4488                                                                      MONTPELIER       VT   05601‐0488
        VGM INSURANCE SERVICES INC 
        DBA PTI INSURANCE SOLUTIONS 
        AND VGM SPECIALTY 
5461783 UNDERWRITERS                            401 E. LAS OLAS BLVD., SUITE 1650                                             FT. LAUDERDALE   FL   33301

        VIRGINIA WORKERS' 
5733867 COMPENSATION COMMISSION       3959 ELECTRIC ROAD #425                                                                 CAVE SPRING      VA   24018
5461224 WALIMOHAMED, RAFIQ            11620 NW 56TH DRIVE                           NUMBER 108                                CORAL SPRINGS    FL   33076
        WILLIS OF NEW HAMPSHIRE INC; 
        WILLIS PROGRAMS OF 
        CONNECTICUT INC; SMITH BELL 
        AND THOMPSON INC; AND WILLIS  TRIGEN INSURANCE SOLUTIONS, 
5461830 OF MICHIGAN INC               INC.                                          6 BERKELEY ROAD                           DEVON            PA   19333
                                                                                                              14 TRAFALGAR 
5461831 WINDROSE HEALTH NETWORK                 ATTN: SCOTT ROLLETT                 CORPORATE OFFICE          SQUARE          TRAFALGAR        IN   46181‐9515




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        WISCONSIN DEPARTMENT OF 
5733868 WORKFORCE DEVELOPMENT                   201 E. WASHINGTON AVENUE                                                 MADISON          WI   53703
5463233 WONG, BIBI                              2531 NE 15TH STREET                                                      POMPANO BEACH    FL   33062

5733869 WORK FIRST CASUALTY COMPANY 1100 EAST 6600 SOUTH, SUITE 260                                                      SALT LAKE CITY   UT   84121
5463332 WYCKOFF, CAROL              3395 WILD EAGLE RUN                                                                  OVIDEO           FL   32766
                                                                               8167 US HIGHWAY 19 
5463466 ZELIS PAYMENTS INC                      ZELIS PAYMENTS, INC.           NORTH, SUITE 300                          CLEARWATER       FL   33764

5463467 ZENITH AMERICAN SOLUTIONS               ATTENTION: NATE CURRY          3501 FRONTAGE ROAD                        TAMPA            FL   33607
                                                                               1400 AMERICAN LANE, 
                                                RAY DICELLO, VP ‐ CBU/TPA      TOWER I — 12TH 
5733870 ZURICH                                  OPERATIONS                     FLOOR                                       SCHAUMBURG     IL   60196‐1056
                                                                                                      1400 AMERICAN LANE, 
                                                                               VP — CBU / TPA         TOWER II ‐ 12TH 
5463478 ZURICH                                  RAY DICELLO                    OPERATIONS             FLOOR                SCHAUMBURG     IL   60196‐1056
                                                                               1400 AMERICAN LANE, 
                                                                               TOWER I — 12TH 
5733864 ZURICH                                  TPA OPERATIONS                 FLOOR                                     SCHAUMBURG       IL   60196‐1056
                                                RAY DICELLO, VP — CBU / TPA                       TOWER II ‐ 12TH 
5733865 ZURICH NORTH AMERICA                    OPERATIONS                     1400 AMERICAN LANE FLOOR                  SCHAUMBURG       IL   60196‐1056
        ZURICH NORTH AMERICA 
5463485 COMMERCIAL                              1299 Zurich Way                                                          Schaumburg       IL   60196‐1056




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                                                                                              Exhibit E
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BROADRIDGE                                       JOBS N18677                           51 MERCEDES WAY                                                  EDGEWOOD        NY   11717
MEDIANT COMMUNICATIONS                           ATTN STEPHANIE FITZHENRY PROXY CTR    100 DEMAREST DRIVE                                               WAYNE           NJ   07470-0000
DEPOSITORY TRUST CO                              ATTN ED HAIDUK                        55 WATER STREET                      25TH FLOOR                  NEW YORK        NY   10041
DEPOSITORY TRUST CO                              ATTN HORACE DALEY                     55 WATER STREET                      25TH FLOOR                  NEW YORK        NY   10041
AMERICAN ENTERPRISE 0216 0756 2146               ATTN ERIN M STIELER                   682 AMP FINANCIAL CENTER                                         MINNEAPOLIS     MN   55474
AMERICAN ENTERPRISE 0216 0756 2146               ATTN PROXY MGR                        2178 AMERIPRISE FINANCIAL CENTER     ROUTING S6 2178             MINNEAPOLIS     MN   55474
AMERICAN ENTERPRISE 0216 0756 2146               ATTN GREG WRAALSTAD                   901 3RD AVE SOUTH                                                MINNEAPOLIS     MN   55474
APEX CLEARING CORPORATION 0158                   ATTN BRIAN DARBY                      350 M ST PAUL SUITE 1300                                         DALLAS          TX   75201
APEX CLEARING CORPORATION 0158                   ATTN SHERRY MUSMAR                    350 N ST PAUL STREET                 SUITE 1300                  DALLAS          TX   75201
BAIRD & CO INCORPORATED 0547                     ATTN JAN SUDFELD                      777 E WISCONSIN AVENUE               19TH FLOOR                  MILWAUKEE       WI   53202

BARCLAYS CAPITAL INC 0229 8455 7256              ATTN ANTHONY SCIARAFFO OR PROXY MGR   745 SEVENTH AVENUE                   16TH FLOOR                  NEW YORK        NY   10019
BB & T SECURITIES0702                            ATTN JESSE W SPROUSE OR PROXY DEPT    8006 DISCOVERY DRIVE                 SUITE 200                   RICHMOND        VA   23229
BB & T SECURITIES0702                            ATTN RICKY JACKSON OR PROXY DEPT      CORPORATE ACTIONS                    8006 DISCOVERY DRIVE        RICHMOND        VA   23229
BMO NESBITT BURNS INC CDS 5043                   ATTN LOUISE TORANGEAU                 1 FIRST CANADIAN PLACE 13TH FL       PO BOX 150                  TORONTO         ON   M5X 1H3
BMO NESBITT BURNS INC CDS 5043                   ATTN PHUTHORN PENIKETT                BMO FINANCIAL GROUP                  250 YONGE ST 8TH FLOOR      TORONTO         ON   M5B 2M8
BNP PARIBAS NY BRANCH 1569 2787                  ATTN DEAN GALLI OR PROXY MGR          525 WASHINGTON BLVD 9TH FLOOR                                    JERSEY CITY     NJ   07310-0000
BNY WEALTH 8275                                  ATTN KEVIN KELLY                      ONE WALL STREET                                                  NEW YORK        NY   10005
                                                                                                                            525 WILLIAM PENN PL STE
BNY WEALTH 8275                                  ATTN BETH COYLE OR PROXY MGR          TWO BNY MELLON CENTER                1215                        PITTSBURGH      PA   15259
BROWN BROTHERS HARRIMAN & CO 0010                ATTN JERRY TRAVERS                    525 WASHINGTON BLVD                                              JERSEY CITY     NJ   07310-0000

BROWN BROTHERS HARRIMAN & CO 109                 ATTN SHELDON BROUTMAN OR PROXY MGR    140 BROADWAY                                                     NEW YORK        NY   10005
CANACCORD FINANCIAL LTD 5046                     ATTN AARON CAUGHLAN OR PROXY MGR      P O BOX 10337 PACIFIC CENTER 2200    609 GRANVILLE STREET        VANCOUVER       BC   V7Y 1H2
CANACCORD FINANCIAL LTD 5046                     ATTN ALMA GOCA OR PROXY MGR           P O BOX 10337 PACIFIC CENTER 2200    609 GRANVILLE STREET        VANCOUVER       BC    V7Y 1H2
CHARLES SCHWAB & CO INC 0164                     ATTN CHRISTINA YOUNG                  2423 E LINCOLN DRIVE                                             PHOENIX         AZ   85016-1215
CHARLES SCHWAB & CO INC 0164                     ATTN JANA TONGSON OR PROXY MGR        2423 EAST LINCOLN DRIVE              PHXPEAK 01 1B571A           PHOENIX         AZ   85016
CIBC WORLD MARKETS INC CDS 5030                  ATTN NICASTRO JERRY OR PROXY MGR      161 BAY ST 10TH FL                                               TORONTO         ON   M5J 258
                                                                                                                            22 FRONT ST W 7TH FL ATTN
CIBC WORLD MARKETS INC CDS 5030                  ATTN REED JON                         CANADIAN IMPERIAL BANK OF COMMERCE   CORP ACT                    TORONTO         ON   M5J 2W5
CIBC WORLD MARKETS INC CDS 5030                  ATTN HENRY H LIANG                    22 FRONT ST W                        7TH FLOOR                   TORONTO         ON   M5J 2W5
CITIBANK NA 0908                                 ATTN PAUL WATTERS                     3801 CITIBANK CENTER                 B 3RD FLOOR ZONE 12         TAMPA           FL   33610
CITIGROUP GLOBAL MRTS INC 0418 0505              ATTN SHERRYL NASH COOK                388 GREENWICH STREET 11TH FLOOR                                  NEW YORK        NY   10013

CITIGROUP GLOBAL MRTS INC 0418 0505              ATTN ROSE MARIE YODICE OR PROXY MGR   388 GREENWHICH STREET 11TH FLOOR                                 NEW YORK        NY   10013
COR LLC 0052                                     ATTN LUKE HOLLAND                     1200 LANDMARK CENTER                 SUITE 800                   OMAHA           NE   68102
COR LLC 0052                                     ATTN ANH MECHALS                      9300 UNDERWOOD AVENUE                SUITE 400                   OMAHA           NE   68114
COR LLC 0052                                     ATTN AMBRA MOORE OR PROXY MGR         1200 LANDMARK CTR STE 800                                        OMAHA           NE   68102-1916



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                                                                                                                                                    RESEARCH
CREDIT SUISSE SECURITIES 0355                   ATTN ANTHONY MILO                     7033 LOUIS STEVENS DRIVE              GLOBAL PROXY SERVICES   TRIANGLE PARK     NC   27560
                                                                                                                            2 COMPLEXE DESJARDINS
DESJARDINS SECURITIES INC 5028                  ATTN KARLA DIAZ FOR MATERIALS         VALEURS MOBILIARES DESJARDINS         TOUR EST                NIVEAU 62 E1 22   QC   H5B 1J2
DESJARDINS SECURITIES INC 5028                  ATTN REORG DEPT MTL 1060 1ER E        1060 ROBERT BOURASSA BLVD SUITE 101                           MONTREAL          QC   H3B 5L7
DESJARDINS SECURITIES INC 5028                  1253 MCGILL COLLEGE AVEENUE           10TH FLOOR                                                    MONTREAL          QC   H3B2Y5
DEUTSCHE BANK SECURITIES INC 0573               ATTN ERIC HERBST                      5021 GATE PARKWAY SUITE                                       JACKSONVILLE      FL   32256
DEUTSCHE BANK SECURITIES INC 0573               ATTN SARA BATTEN                      5022 GATE PARKWAY SUITE 100                                   JACKSONVILLE      FL   32256
E TRADE CLEARING LLC 0385                       ATTN JOHN ROSENBACH                   1271 AVENUE OF THE AMERICAS           14TH FLOOR              NEW YORK          NY   10020
E TRANSACTION CLEARING 0873                     ATTN KEVIN MURPHY                     660 S FIGUEROA STREET                 SUITE 1450              LOS ANGELES       CA   90017
E TRANSACTION CLEARING 0873                     ATTN JANE BUHAIN OR PROXY MGR         660 S FIGUEROA STREET SUITE 1450                              LOS ANGELES       CA   90017
                                                                                                                                                    MARYLAND
EDWARD D JONES & CO 0057                        ATTN ELIZABETH ROLWES                 201 PROGRESS PARKWAY                                          HEIGHTS           MO   63043-3042
EDWARD D JONES & CO 0057                        ATTN AJ MAYTAS OR PROXY MGR           CORPORATE ACTIONS & DISTRIBUTION      12555 MANCHESTER ROAD   ST LOUIS          MO   63141
FIFTH THIRD BANK THE 2116                       ATTN LANCE WELLS                      5001 KINGSLEY DRIVE                   MAIL DROP 1MOB2D        CINCINNATI        OH   45227
FIFTH THIRD BANK THE 2116                       ATTN CARRIE POTTER OR PROXY MGR       5001 KINGSLEY DRIVE                   MAIL DROP 1M0B2D        CINCINNATI        OH   45227
FIRST CLEARING LLC 0141                         ATTN MATT BUETTNER                    2801 MARKET STREET                    H0006 09B               ST LOUIS          MO   63103
FIRST CLEARING LLC 0141                         ATTN FINESSA ROSSON OR PROXY MGR      ONE NORTH JEFFERSON STREET 9 F                                ST LOUIS          MO   63103
FOLIO FN INVESTMENTS INC 0728                   ATTN ASHLEY THEOBALD OR PROXY MGR     8180 GREENSBORO DRIVE 8TH FLOOR                               MCLEAN            VA   22102
GOLDMAN SACHS & CO 0005                         ATTN DEVIN GEIMAN OR PROXY MGR        30 HUDSON STREET PROXY DEPARTMENT                             JERSEY CITY       NJ   07302-0000
                                                                                                                            PARAMOUNT PLAZA 1633
INDUSTRIAL & COMMERCIAL BANK OF CH              FINANCIAL SVCS LLC EQUITY CLEARANCE   ATTN PROXY MGR                        BROADWAY                NEW YORK          NY   10019
INTERACTIVE BROKERS 0017 0534                   ATTN KARIN MCCARTHY                   8 GREENWICH OFFICE PARK                                       GREENWICH         CT   06831-0000
INTERACTIVE BROKERS 0017 0534                   ATTN KARIN MCCARTHY                   2 GREENWICH OFFICE PARK 2ND FLOOR                             GREENWICH         CT   06831-0000
JANNEY MONTGOMERY SCOTT INC 0374                ATTN BOB MARTIN OR PROXY MGR          1801 MARKET STREET 9TH FLOOR                                  PHILADELPHIA      PA   19103-1675
JP MORGAN CLEARING CORP 0352                    ATTN JOHN FAY                         500 STANTON CHRISTIANA ROAD OPS 4     FLOOR 03                NEWARK            DE   19713-2107
JPMORGAN CHASE BANK IA 2357                     ATTN SUSHIL PATEL OR PROXY MGR        14201 DALLAS PARKWAY SUITE 121                                DALLAS            TX   75254
JPMORGAN CHASE BANK NA 0902                     ATTN SACHIN GOYAL                     500 STANTON CHRISTIANA ROAD OPS 4     FLOOR 02                NEWARK            DE   19713-2107
JPMORGAN CHASE BANK NA 0902                     ATTN JACOB BACK OR PROXY MGR          14201 DALLAS PARKWAY 12TH FLOOR                               DALLAS            TX   75254
JPMORGAN CHASE BANK NA 0902                     ATTN JACOB BACK OR PROXY MGR          14201 DALLAS PARKWAY                  12TH FLOOR              DALLAS            TX   75254
KNIGHT CLEARING SERVICES LLC 0295               ATTN JANICA BRINK OR PROXY MGR        545 WASHINGTON BLVD                                           JERSEY CITY       NJ   07310-0000
LEK SECURITIES CORPORATION 0512                 ATTN DANIEL HANUKA OR PROXY MGR       140 BROADWAY 29TH FLOOR                                       NEW YORK          NY   10005
LPL FINANCIAL CORPORATION 0075                  ATTN KRISTIN KENNEDY                  9785 TOWNE CENTER DRIVE                                       SAN DIEGO         CA   92121-1968
LPL FINANCIAL CORPORATION 0075                  ATTN MARTHA LANG                      4828 PARKWAY PLAZA BLVD                                       CHARLOTTE         NC   28217
MERRILL LYNCH 5198                              ATTN EARL WEEKS OR PROXY MGR          4804 DEER LAKE DR E                                           JACKSONVILLE      FL   32246
MORGAN STANLEY & CO INC INTL 7309               ATTN DAN SPADACCINI OR PROXY MGR      901 SOUTH BOND ST 6TH FL                                      BALTIMORE         MD   21231
MORGAN STANLEY & CO INTL PLC 7309               ATTN BRIAN ODOWD OR PROXY MGR         901 SOUTH BOND ST 6TH FL                                      BALTIMORE         MD   21231




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                                                                                             Exhibit E
                                                                                        Nominees Service List
                                                                                      Served via Overnight Mail


                       Name                                       Address 1                                Address 2                   Address 3               City   State Postal Code
MORGAN STANLEY & CO INTL PLC 7309                ATTN GREGORY CONTALDI OR PROXY MGR   901 SOUTH BOND ST 6TH FL                                        BALTIMORE       MD   21231
MORGAN STANLEY & CO LLC 0050                     ATTN KENNETH EWING OR PROXY MGR      1300 THAMES STREET WHARF 7TH FLOOR                              BALTIMORE       MD   21231
MORGAN STANLEY SMITH BARNEY LLC                  ATTN JOHN BARRY OR PROXY MGR         1300 THAMES STREET                   6TH FLOOR                  BALTIMORE       MD   21231
NATIONAL FINANCIAL SVCS LLC 0226                 ATTN PROXY MANAGER                   499 WASHINGTON BLVD 5TH FL                                      JERSEY CITY     NJ   07310-0000
NBCN INC CDS 5008                                ATTN GESTION DE l’INFO TR 5609 1     1010 RUE DE LA GAUCHETIERE OUEST     17e étage                  MONTREAL        QC   H3B 5J2
OPPENHEIMER & CO INC 0571 0303                   ATTN OSCAR NAZARIO OR PROXY MGR      85 BROAD STREET 4TH FL                                          NEW YORK        NY   10004
PEOPLE SEC 0220                                  ATTN PATRICIA CHONKO                 850 MAIN STREET                                                 BRIDGEPORT      CT   06604-0000
PERSHING LLC 0443                                ATTN JOSEPH LAVARA                   ONE PERSHING PLAZA                                              JERSEY CITY     NJ   07399-0000
PHILLIP CAPITAL INC 8460                         ATTN STEVEN MILCAREK                 141 W Jackson Blvd SUITE 3050                                   CHICAGO         IL   60604
QTRADE SECURITIES INC 5084                       ATTN MARY KORAC OR PROXY MGR         505 BURRARD STREET SUITE 1920                                   VANCOUVER       BC   V7X 1M6
QUESTRADE INC 5084                               ATTN MAURIZIO ARANI OR PROXY MGR     5650 YONGE STREET SUITE 1700                                    TORONTO         ON   M2M 4G3
RAYMOND JAMES & ASSOCIATES INC 0725              ATTN ROBERTA GREEN OR PROXY MGR      880 CARILION PARKWAY TOWER 2         4TH FLOOR                  ST PETERSBURG   FL   33716
RBC CAPITAL MARKETS CORP 0235                    ATTN STEVE SCHAFER                   60 S 6TH ST P09                                                 MINNEAPOLIS     MN   55402-4400
RBC CAPITAL MARKETS CORP 0235                    ATTN STEVE SCHAFER OR PROXY MGR      510 MARQUETTE AVE SOUTH                                         MINNEAPOLIS     MN   55402
RBC DOMINION CDS 5002                            ATTN SHAREHOLDER SERVICES            180 WELLINGTON ST W 9TH FLOOR                                   TORONTO         ON   M5J 0C2
                                                                                                                           ROYAL BANK PLAZA NORTH
RBC DOMINION CDS 5002                            ATTN KAREN OLIVERES                  200 BAY STREET 6TH FLOOR             TOWER                      TORONTO         ON   M5J 2W7
RBC INVESTOR SERVICES 0901                       ATTN EMMA SATTAR OR PROXY MGR        155 WELLINGTON ST W 3RD FLOOR                                   TORONTO         ON   M5V 3L3
SCOTIA CAPITAL INC CDS 5011                      ATTN CAROL ANDERSON                  40 KING STREET WEST                                             TORONTO         ON   M5H 1H1
SCOTIA CAPITAL INC CDS 5011                      ATTN NORMITA RAMIREZ CORP ACTION     40 KING STREET WEST                                             TORONTO         ON   M5H 1H1
SEI PRIVATE TRUST COMPANY 2039 2663              ATTN MELVIN ALLISON OR PROXY MGR     ONE FREEDOM VALLEY DRIVE                                        OAKS            PA   19456
SEI PRIVATE TRUST COMPANY 2039 2663              ATTN ERIC GREENE OR PROXY MGR        ONE FREEDOM VALLEY DRIVE                                        OAKS            PA   19456
SG AMERICAS SECURITIES LLC 0286                  ATTN CHARLES HUGHES OR PROXY MGR     245 PARK AVE                                                    NEW YORK        NY   10167
SSB&T CO CLIENT CUSTODY SVCS 2678                ATTN MYRIAM PIERVIL OR PROXY MGR     1776 HERITAGE DRIVE NORTH                                       QUINCY          MA   02171-0000
STATE STREET 0997                                ATTN CHRISTINE SULLIVAN              1776 HERITAGE DR                                                NORTH QUINCY    MA   02171-0000

STATE STREET 0997                                ATTN MIKE FEELEY OR PROXY MGR        CORP ACTIONS JAB5E                   1776 HERITAGE DRIVE NORTH QUINCY           MA   02171-0000
STATE STREET 0997                                ATTN MIKE FEELEY OR PROXY MGR        CORP ACTIONS JAB5E                   1776 HERITAGE DRIVE        NORTH QUINCY    MA   02171-0000

STIFEL NICOLAUS & CO 0793                        ATTN CHRIS WIEGAND                   C O MEDIANT COMMUNICATIONS INC       200 REGENCY FOREST DRIVE   CARY            NC   27518
STOCKCROSS FINANCIAL 0445                        ATTN DIANE TOBEY                     77 SUMMER STREET                                                BOSTON          MA   02110-0000
STOCKCROSS FINANCIAL 0445                        ATTN ELEANOR PIMENTEL OR PROXY MGR   77 SUMMER STREET 2ND FLOOR                                      BOSTON          MA   02210-0000
TD AMERITRADE CLEARING INC 0188                  ATTN MANDI FOSTER                    1005 N AMERITRADE PLACE                                         BELLEVUE        NE   68005
TD AMERITRADE CLEARING INC 0188                  ATTN GARY SWAIN OR PROXY MGR         1005 AMERITRADE PLACE                                           BELLEVUE        NE   68005
TD WATERHOUSE CA INC CDS 5036                    ATTN PROXY MANAGER                   77 BLOOR STREET WEST 3RD FLOOR                                  TORONTO         ON   M5S 1M2
THE BANK OF NEW YORK MELLON 0901                 ATTN BRIAN MARNELL OR PROXY MGR      525 WILLIAM PENN PLACE               ROOM 0300                  PITTSBURGH      PA   15259
THE BANK OF NY MELLON 901 2510 2209              ATTN JENNIFER MAY                    525 WILLIAM PENN PLACE               SUITE 153 0400             PITTSBURGH      PA   15259



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                                                                                      Served via Overnight Mail


                      Name                                     Address 1                                   Address 2                    Address 3         City       State Postal Code
THE BANK OF NY MELLON 901 2510 2209             ATTN BRIAN MARNELL OR PROXY MGR       525 WILLIAM PENN PLACE ROOM 0300                              PITTSBURGH       PA   15259
TRADESTATION 0271                               ATTN ANDREA AUGUSTIN                  8050 SW 10 ST                                                 PLANTATION       FL   33324
TRADESTATION 0271                               ATTN DAVID BIALER OR PROXY MGR        8050 SW 10TH ST SUITE 400                                     PLANTATION       FL   33324
TRADESTATION 0271                               ATTN RICK GORDON OR PROXY MGR         8050 SW 10TH ST SUITE 2000                                    PLANTATION       FL   33324
UBS AG STAMFORD UBS AG LONDON 2507              ATTN JOSEPH POZOLANTE OR PROXY MGR    315 DEADERICK STREET                                          NASHVILLE        TN   37238
UBS FINANCIAL SERVICES LLC 0221                 ATTN JANE FLOOD OR PROXY MGR          1000 HARBOR BLVD                                              WEEHAWKEN        NJ   07086-0000
UBS SECURITIES LLC 0642                         ATTN MICHAEL HALLETT                  315 DEADERICK STREET                                          NASHVILLE        TN   37238
US BANCORP INVESTMENTS INC 0280                 ATTN KATHY DABRUZZI OR PROXY MGR      60 LIVINGSTON AVE EP MN WN2H                                  ST PAUL          MN   55107-1419
US BANCORP INVESTMENTS INC 0280                 ATTN KEVIN BROWN                      60 LIVINGSTON AVE                                             ST PAUL          MN   55107-1419

US BANCORP INVESTMENTS INC 0280                 ATTN TARA TUCHSCHERER OR PROXY MGR    60 LIVINGSTON AVENUE EP MN WN2H                               ST PAUL          MN   55107-1419
US BANK NA 2803                                 ATTN STEPHANIE KAPTA                  1555 N RIVERCENTER DRIVE SUITE 302                            MILWAUKEE        WI   53212
US BANK NA 2803                                 ATTN PAUL KUXHAUS OR PROXY MGR        1555 N RIVER CENTER DRIVE SUITE 302                           MILWAUKEE        WI   53212
VANGUARD 0062                                   ATTN BEN BEGUIN OR CORPORATE ACTION   14321 N NORTHSIGHT BLVD                                       SCOTTSDALE       AZ   85260
VISION FINANCIAL MARKETS LLC 0595               ATTN ANA MARTINEZ MARVIN MONZON       120 LONG RIDGE ROAD                   3 NORTH                 STAMFORD         CT   06902-0000
WEDBUSH STOCK LOAN 5166 8199                    ATTN ALAN FERREIRA OR PROXY MGR       1000 WILSHIRE BLVD                    SUITE 850               LOS ANGELES      CA   90017
WELLS FARGO BANK NA 2027                        ATTN LORA DAHLE                       550 SOUTH 4TH STREET                  MAC N9310 141           MINNEAPOLIS      MN   55415
WILSON DAVIS & CO INC 0283                      ATTN BILL WALKER OR PROXY MGR         236 SOUTH MAIN STREET                                         SALT LAKE CITY   UT   84101
WILSON DAVIS & CO INC 0283                      ATTN JANET TAYLOR OR PROXY MGR        236 SOUTH MAIN STREET                                         SALT LAKE CITY   UT   84101




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Exhibit F
                                                               Exhibit F
                                                  Nominees and Depository Service List
                                                           Served via Email


                              Name                                                   Email

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